                                                                         Filed: 6/20/2018 4:46 PM
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                                                  Monroe Circuit Court 1                                                            Clerk
                                                                                                                   Monroe County, Indiana

                                                    SUMMONS

                    IN THE CIRCUIT COURT OF MONROE COUNTY, INDIANA

 SYCAMORE VILLAGE             )
 HOMEOWNERS ASSOCIATION, INC.,)
                              )                                                         53C01-1806-CT-001204
           Plaintiff,         )                                   Cause No.
     v.                       )
                              )
 TRAVELERS CASUALTY INSURANCE )
 COMPANY OF AMERICA,          )
                              )
           Defendant.         )


 TO DEFENDANT:
                             Travelers Casualty Insurance Company of America__
                             c/o Corporation Service Company, Registered Agent
                             251 East Ohio Street, Suite 500
                             Indianapolis IN, 46204

          You are hereby notified that you have been sued by the person named as plaintiff and in the Court indicated
 above.

           The nature of the suit against you is stated in the complaint which is attached to this Summons. It also
 states the relief sought or the demand made against you by the plaintiff.

          An answer or other appropriate response in writing to the complaint must be filed either by you or your
 attorney within twenty (20) days, commencing the day after you receive this Summons, (or twenty-three (23) days if
 this Summons was received by mail), or a judgment by default may be rendered against you for the relief demanded
 by plaintiff.

            If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must
 assert it in your written answer.

         6/21/2018
 DATED: __________________                               _____________________________________(Seal)
                                                         Clerk, Superior/Circuit Court of Monroe County

                   (The following manner of service of summons is hereby designated.)


                      X               Registered or certified mail. –
                                      Service on individual - (Personal or copy) at above address.
                                      Service at place of employment, to-wit:
                                      Service on agent. (Specify)
                                      Other Service. (Specify)

 Donald D. Levenhagen (#10327-49)
 LANDMAN BEATTY, LAWYERS
 9100 Keystone Crossing, Suite 870
 PO Box 40960
 Indianapolis, IN 46240-0960
 (317) 236-1040
 Attorney for Plaintiff
Case 1:18-cv-01982-JMS-DLP Document 1-2 Filed 06/28/18 Page 2 of 178 PageID #: 8


                                       SHERIFF'S RETURN ON SERVICE OF SUMMONS

           I hereby certify that I have served this summons on the ________day of ___________________, 2018:

           (1) By delivering a copy of the Summons and a copy of the complaint to the defendant, _______________________
                                                                                                                   .

           (2) By leaving a copy, and mailing a copy of the Summons and a copy of the complaint at

            which is the dwelling place or usual place of abode of

 and mailing a copy;

           (3) Other Service or Remarks: _____________________________________________________________________



 Sheriff's Costs                                                      Sheriff
                                                             By:
                                                                      Deputy

                                           CLERK'S CERTIFICATE OF MAILING

           I hereby certify that on the _______ day of _____________, 2018, I mailed a copy of this Summons and a copy of the

 complaint to the defendant, ____________________________, by ______________ mail, requesting a return receipt, at the

 address furnished by the plaintiff.


                                                                      Clerk of the Circuit Court of Monroe County

 Dated: ______________________, 2018.                        By:
                                                                      Deputy

                                       RETURN ON SERVICE OF SUMMONS BY MAIL

           I hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the

 complaint mailed to defendant _______________________________________________ was accepted by the defendant on the

 _____________ day of _______________________, 2018.

           I hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the

 complaint was returned not accepted on the __________________ day of ________________________________, 2018.

           I hereby certify that the attached return receipt was received by me showing that the Summons and a copy of the

 complaint mailed to defendant ___________________________________________________________was accepted by

 ______________________________________________________________________________________ on behalf of said

 defendant on the ______________ day of ____________________________________, 2018.


                                                             Clerk of the Circuit Court of Monroe County

                                                   By:
                                                             Deputy
                                                                         Filed: 6/20/2018 4:46 PM
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                                          Monroe Circuit Court 1                                              Clerk
                                                                                             Monroe County, Indiana



 STATE OF INDIANA                 )             IN THE MONROE COUNTY CIRCUIT COURT
                                  ) SS:
 COUNTY OF MONROE                 )             CAUSE NO.          53C01-1806-CT-001204

 SYCAMORE VILLAGE             )
 HOMEOWNERS ASSOCIATION, INC.,)
                              )
           Plaintiff,         )
                              )
     v.                       )
                              )
 TRAVELERS CASUALTY INSURANCE )
 COMPANY OF AMERICA,          )
                              )
           Defendant.         )


              COMPLAINT IN TORT FOR BAD FAITH INSURANCE CONDUCT

        Plaintiff Sycamore Village Homeowners Association, Inc. (“HOA”), by counsel, for its

 Complaint against defendant Travelers Casualty Insurance Company of America (“Travelers”),

 states and alleges as follows:

        1.      Plaintiff HOA is an Indiana corporation with its principal place of business in

 Bloomington, Monroe County, Indiana.

        2.      Defendant Travelers is duly licensed or has legal authority to insure risks located

 in the State of Indiana and in fact does insurance business in the State of Indiana.

        3.      Pursuant to recorded Declarations on file and of public record in Monroe County,

 Indiana, HOA is responsible for repair and maintenance of certain real estate and structures,

 including but not limited to roofs and siding, which are part of the Sycamore Village

 condominiums located on and around 2421 East Cape Cod Drive, Bloomington, Monroe County,

 Indiana, 47401.
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         4.      Plaintiff HOA is an insured and Sycamore Village condominiums are an Insured

  Location on an insurance policy issued by defendant Travelers, Policy No. 680-2408N586, with

  effective dates of March 10, 2015, to March 10, 2016 (the “Policy”). A true and accurate

  certified copy of the Policy is attached hereto as Exhibit A.

         5.      On February 19, 2016, Sycamore Village condominiums sustained property

  damage in a weather storm which included high winds (“Loss”). The Policy subject to its terms

  and conditions provides first party property insurance coverage for the Loss and a timely claim

  was made under the Policy.

         6.      Defendant Travelers has not only breached its contractual obligations by failing to

  pay the claim in full by denying replacement of all the HOA’s roof shingles when matching

  shingles to replace damaged shingles are no longer commercially available, but defendant did so

  in bad faith by among other things making an unfounded refusal to pay policy proceeds, causing

  an unfounded delay in making payment, and deceiving its insured.

         7.      Defendant Travelers denial of claim payment for replacement of the HOA’s

  damaged roofs knowing that there was no rational, principle basis for doing so is evidenced by

  among other things the statements of its adjuster Kristin Kulikowski, and the fact that defendant

  Travelers in other instances involving roof shingle damage has agreed to replace all shingles

  when matching shingles to replace damaged shingles are no longer commercially available,

  including an instance involving a subsequent claim for roof damage by the plaintiff HOA where

  Travelers has agreed to replace all shingles when only some were damaged.

         8.      As a direct and proximate result of defendant’s breach of the duty of good faith

  and fair dealing, plaintiff HOA has sustained damages above the contractual obligation of

  defendant Travelers under the Policy.




                                                   2
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          9.       Defendant Travelers above referenced actions were done with a state of mind

  reflecting dishonest purpose, moral obliquity, furtive design, or ill will which supports an award

  of punitive damages.

          WHEREFORE, plaintiff Sycamore Village Homeowners Association, Inc. respectfully

  requests the Court to enter a judgment in its favor and against defendant Travelers in an amount

  as shown by the evidence, punitive damages, prejudgment interest, for costs and for all other

  proper relief.

                                               LANDMAN BEATTY, LAWYERS, LLP

                                       By:     /s/Donald D. Levenhagen
                                               Donald D. Levenhagen (# 10327-49)
                                               Attorneys for Plaintiff


  LANDMAN BEATTY, LAWYERS LLP
  9100 Keystone Crossing, Suite 870
  P.O. Box 40960
  Indianapolis, Indiana 46240-0960
  (317) 236-1040
  (317) 236-1049 facsimile
  Attorneys for Plaintiff




                                                  3
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                                                  Monroe Circuit Court 1                                            Clerk
                                                                                                   Monroe County, Indiana




                                             CERTIFIED POLICY
                 This certiﬁcation is afﬁxed to a policy which is a true and accurate copy of
             3
                 the document in the company's business records as of the date shown
    _.
                 h_elow..



             i
                 No   additional insurance   is   afforded by this copy.


                  TRAVELERS CASUALTY INSURANCE COMPANY 0F AMERICA
                 Name       of Insuring Company(ies)


         i

                 680—2408N586                     03/10/15-03/10/16                 03/27/17
                 Policy     Number(s)         Policy Period(s)                     Date




                                                  Kemeih Kupecéw’ond Vlad President
                                                  BI   Document Management




                                                                             TMVHEIS DOC MGMT 1 of 171
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                                  AH
       TRAVELERS J                                                                  One Tower Square.     Hartford. Connecticut 061 ea

       COMMON POLICY DECLARATIONS                 POLICY No.: 680-24DBNS86—15-42
       CONDOMINIUM PAC                     V
                                                  Issue DATE; 03/12/2015
       BUSINESSﬂomo - 5-12 UN
       INSURING COMPANY:
       TRAVELERS CASUALTY INSURANCE COMPANY OF AMERICA
       1. NAMED INSURED AND MAILING ADDRESS:
          ;SYGAMORE— VILLAGE HOMEOWNERS           n
          AND AS PER CG D0 74                                                 u         _..
                                                                                                                                        ‘7
                                                                      u
          C/O HALLMARK RENTALSEMGMT
          1205 N WALNUT STREET
          BLOOMINGTON IN 47404

      2.    POLICY PERIOD: From 03/10/2015                  to   03/10/2016          12:01 A.M. Standard Time at your mailing address.
      3.    DESCRIPTION OF PREMISES:
                                                                                                    ADDRESS
            PREM. LOC. NO. BLDG. NO.            OCCUPANCY                          (same as    Mailing Address unless speciﬁed othemise)
                  001               ALI.       combo    -    5-12 rm               2200 a CAPE con DR
                                                                                   ﬂ 2272
                                                                                   nLooumG'rox                              IN     47401



   4.       COVERAGE PARTS AND SUPPLEMENTS FORMING PART 0F THIS POLICY AND INSURING
            COMPANIES
                                 COVERAGE PARTS       and    SUPPLEMENTS                                       INSURING          COMPANY
                 Businessovmers Coverage Part
                                                                                                                             ACJ
                 Directors a Officers Coverage Supplement
                                                                                                                             ACJ




  5.       The COMPLETE POLICY consiss of this declarations and all other declarations,
                                                                                        and the forms and endorse                               -
           ments for which symbol numbers are attached on a separate listing.
  6.       SUPPLEMENTAL POLICIES:              Each of the       following   is   a separate   policy containing   its   complete provisions.
                        POLICY                                       POLICY NUMBER                                   INSURING COMPANY




  7.       PREMIUM SUMMARY:

           Provisional   Premium                                                   3,893.90
           Due   at Inception
                                                                       WW“

           Due   at   Each

 NAME AND ADDRESS 0F AGENT 0R BROKER                                                   COUNTERSIGNED         BY:
 FIRST INS GROUP INC                             »
                                                       CPXBB
 1405 N COLLEGE AVE
                                                                                                   Authorized Representative
 BLOOKINGTON                                         IN 47404
 IL    To 19 02 05 (Page 1 of 01)                                                     DATE:       03/12/2015
 Ofﬁce:     INDIANAPOLIS IN       DOWN



                                                                                                       TRAVELERS DOC MGMT           2 of 171
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       _...




     --.«




                     TRAVELERﬂ'
u.._-...__




4-




                                        Report Claims Immediately by Calling‘
                                                   1-800—238-6225
                                        Speak directly with a claim professional
                                           24 hours a day, 365 days a year
                                   *Unl'ess   Your Policy Requires Written Notice or Reporting




                                              CONDOMINIUM PAC
                                              CONDO    -   5-12   UNITS PER FIRE DIVISION




                                    A Custom       Insurance Policy Prepared         for:


                                    SYCAMORE VILLAGE HOMEOWN ERS
                                    ASSOCIATION, INC It THEIR INDIVIDUAL UN
                                    CIO HALLMARK RENTALS&MGMT
                                    1205 N WALNUT STREET
                                    BLOOMINGTON IN 47404




                       Presented by: FIRST INS      GROUP         INC



                                                                                         TRAVELERS DOC MGMT 3 of 171
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    TRAVELERéT‘                                               cnequm. Ham. Comm...                  ems
   BUSINESSOWNERS COVERAGE PART DECLARATIONS
   CONDOMINIUM PAC
                                                            POLICY NO.: 660-240831535-15-42
                                                            ISSUE DATE: 03/12/2015
   INSURING COMPANY:
   TRAVELERS CASUALTY INSURANCE COMPANY 0F AMERICA

   pbixcv PERIOD:
   From 03-10-15 to 03-10-16 12:01 A.M. Standard
                                                 Time at your mailing address
   FORM OF BUSINESS:                CORPORATION

   COVERAGES AND LIMITS OF INSURANCE: Insurance
                                                applies only to an item for which a
   "limit" or the word "included” is
                                     shown.


                           COMMERCIAL GENERAL LIABILITY COVERAGE
  OCCURRENCE FORM
                                                                  LIMITS OF INSURANCE
  General Aggregate (except Products-Completed
                                                Operations Limit)    s      2,000,b00
  Products-canpleted Operations Aggregate Limit
  Personal and Advertising Injury Limit                              s      2,000,000
  Bach Occurrence Limit                                              $      1,000,000
  Damage to Praminan Rented to You                                   $      1,000,000
  Medical Payments Limit (any one person)                            $        300,000
                                                                     $          5,000


                                           BUSINESSOWNERS PROPERTY COVERAGE

  DEDUCTIBLE AMOUNT:                Businesaovmers Property Coverage:   s   1, 000 per occurrence.
                                    Building Glass:                     s   1,000 per occurrence.


  BUSINESS INCOME/EXTRA EXPENSE LIMIT:                Actual loss for 12 consecutive months
  Period of Restoration-Time Period:
                                                       Immediately
  ADDIT IONAL COVERAGE          :




 Other additional coverages apply and may be
                                             changed by an endorsement.                      Please
 read the policy.




 SPECIAL PROVISIONS:
                     COMMERCIAL GENERAL LIABILITY COVERAGE
                     IS SUBJECT TO A GENERAL AGGREGATE
                                                       LIMIT
 MP To o1   02 os   (Page   1   otz)


                                                                            TRAVELERS DOC MGMT4 0f 171
Case 1:18-cv-01982-JMS-DLP Document 1-2 Filed 06/28/18 Page 10 of 178 PageID #: 16




                                           BUSINIBSOWNERS PROPERTY COVERAGE

   PREMISES LOCATION        NO.:     001         BUILDING NO.   :   ALL

                                                  LIMIT or                                                  INFLATION
               COVERAGE                          INSURANCE
  BUILDING
                                                                         VALUATION   comsumcn                 GUARD
                                           s   4 , 520 , G43 Blanket: Limit  RC*         N/A                     0        .   0%
       *Rap'lav'emexzt C303 t:                     '




                                                                                          ------
                                                                                                    4   .   .f                :.   at. -v_-~ _«LL—u-V—
                                                                                                                     .,
                                                                                                                                                         2.


  Other coverage extensions apply and may be changed
                                                     by an endorsement.                            Please read
  the policy.




  MP T0 01   02 05   (Page 2 of 2)


                                                                              TRAVELERS DOC MGMT 5 of 171
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                                                     COMMON POLICY CONDITIONS
       Al!   Coverage Parts included                   in this policy   are subject to the following conditions:

   A.         CANCELLATION                                                                    C.     EXAMINATION                  OF       YOUR...BOOKS                AND...
              1.    The     ﬁrst   Named Insured shown in                  the Decla—                RECORDS
                    rations       may cancel this policy by                mailing or                We   may examine and audit your books and re«
                    delivering to us                 advance     written    notice of                cords as they relate to this policy at any time dur—
                    cancellation.                                                                    ing the policy period and up to three years after-
              2.    We may cancel this policy or any Coverage                                        ward.
                    Pan by mailing or delivering to the ﬁrst                                  D.     INSPECTIONS AND SURVEYS
                    Named Insured written notice of cancellation
                    at least:
                                                                                                     1.    We have the right to:
                    a.     10 days before the effective date of can-                                       a.    Make        inspections and surveys at any
                                                                                                                 time;
                           cellation if we cancel for nonpayment of
                           premium; or                                                                     b.    Give you           reports on the conditions            we
                    b.     30 days before the eﬁ‘ective date of can-                                             ﬁnd;and
                           cellation if we cancel for any other rea-                                       c.    Recommend changes.
                          son.                                                                             We
                                                                                                    2.               are not obligated lo make any inspec-
             3.    We will       mail or deliver our notice to the ﬁrst                                    tions,      surveys, reports or recommendatlons
                   Named         Insured's last mailing address known                                     and any such actions we do undertake relate
                   to us.                                                                                 only to insurability and the premiums to be
             4.    Notice of cancellation will state the effective                                        charged. We do not make safety inspections.
                   date of cancellation. If the policy is cancelled.                                      We do not undertake to pelfonn the duty of
                   that date will become the end of the policy                                            any person or organization to provide for the
                                                                                                          health or safety of workers or the public.                   And
                   period.    a Coverage Part is cancelled, that
                                 If

                   date will become the end of the policy period                                          we do  not warrant that conditions:
                   as respects that Coverage Pan only.                                                    a.    Are safe or         healthful; or

             5.    If    this policy or         any Coverage Part is can-                                 b.    Comply   with laws, regulations. codes or
                   celled,       we    will   send the ﬁrst Named Insured                                       standards.
                   any premium refund due. If we cancel, the re-                                    3.    Paragraphs  1. and 2. of this condition apply
                   fund will be pro rata. If the ﬁrst Named ln—
                                                                                                          not only to us, but also to any rating, advi-
                   sured cancels, the refund may be less than
                                                                                                          sory, rate service or similar organization
                   pro rata. The cancellation will be effective                                           which makes insurance inspections. surveys,
                   even     if   we have        not    made     or offered     a   re—                    :eports or recommendations.
                   fund.
                                                                                                   4.     Paragraph 2. of  this condition does not apply
             6.    If   notice  mailed, proof of mailing will be
                                  is
                                                                                                          to any inspections, surveys. reports or rec-
                   sufﬁcient proof of notice.
                                                                                                          ommendations we may make relative to certi-
       .     CHANGES                                                                                      ﬁcation, under state or municipal statutes, or-

           This policy contains                                                                           dinances or regulations. of boilers. pressure
                                the agreements between
                                               all
                                                                                                          vessels or elevators.
           you and us concerning the insurance afforded.
           The     ﬁrst    Named Insured shown in the Declara-                              E.     PREMIUMS
           tions    is   authorized to make changes in the terms                                   1.     The   ﬁrst     Named       Insured shown       in   the Decla-
           of this policy with our consent. This policy‘s tenns
                                                                                                          rations:
           can be amended or waived only by endorsement
           issued by us as part of this policy.                                                           a.    ls   responsible for the payment of              all   pre-
                                                                                                                miums; and
                                                                                                          b.    VWI be the payee             for   any   return premi-
                                                                                                                ums we       pay.




  IL   T3 15 09 07          (Rev. 03—1 1) Includes       me   copyrighted material of Insurance   SeMces omoe,        Inc. with Its permission.           Page1 of2

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         2.     We compute all premiums for this policy in                                  3.    Standard Property forms including. but not
                accordance with our rules. rates. rating plans,                                   limited to, the following:
                premiums and minimum premiums. The pre—
                                                                                                 a.        Building     and Personal Property Coverage
                mium shown             in    the Declarations       was oom-
                                                                                                           Form;
               puted based on rates and rules in effect at
               the time the policy was issued. 0n each re-                                       h.        Business Income Coverage For_m;
               newal. continuation or annivetsary pgthe ej-                                      c4        Commercial Property Conditions;
               fective date of thi‘s‘ policy', we will compute
               the premium in accordance with our [ates
                                                                                                 d.        Condominium                Association      Coverage
               and rules then in effect.                                                                   Form;

   F.   TRANSFER OF YOUR RIGHTS AND DUTIES                                                       e.    Condominium Commercial Unit-Owners
        UNDER THIS POLICY                                                                              Coverage Form;

        Your rights and duties under this policy may not                                         f.    Causes          of Loss Basic Form;
        be transferred without our written consent except                                        9.    Causes          of Loss Special Form; and
        in the case of death of an individual named in-
                                                                                                 h.    Causes          of Loss   Eaﬂhquake Form.
        sured.
                                                                                                 Endorsements referencing the Commercial
        If    you   your rights and duties will be trans-
                     die,
                                                                                                 Property Coverage Pan or the Standard
        ferred to your legal representative but only while
                                                                                                 Property Forms referenced above apply to
        acting within the scope of duties as your legal
                                                                                                 the Businessowners Property Coverage Spe-
        representative. Until your legal representative is
                                                                                                 cial Form in the same manner as they apply
        appointed. anyone having proper temporary cus-
                                                                                                 to the forms they reference.
        tody of your properly wi|| have your rights and
        duties but only with respect to that property.                                           Endorsements referencing the Commercial
                                                                                                 General Liability Coverage Part apply to the
    .   BUSINESSOWNERS COVERAGE PART —
                                                                                                 Commercial General Liability Coverage Form
        REFERENCES T0 FORMS AND ENDORSE-
                                                                                                 (included in the Businessownets Coverage
        MENTS
                                                                                                 Part) in the same manner as they apply to the
        In some instances, the Common Policy Declara-                                            form they reference.
        tions may Iisi endorsements included in the Busi-
                                                                                   H.      INSURANCE UNDER TWO OR MORE COVER-
        nessowners Coverage Part that reference:
                                                                                          AGE PARTS
        1.    The Commercial                Property Coverage Part;                       If   two or more cf         Coverage Pans ap-
                                                                                                                        this policy's
        2.    The Commercial General                    Liability   or Liquor              ply to the       same damage. we will not pay
                                                                                                                       loss or
               Liabiliiy    Coverage         Part; or                                     more than the actual amount of the loss or dam-
                                                                                          age.
  This policy consists of the                Common      Policy Declarations    and the Coverage Parts and endorsements                             listed in that
  declarations form.
  In return for payment of the premium, we agree with the Named Insured to pmvide
                                                                                      the insurance afforded by a
  Coverage Part forming part of this policy. That insurance will be provided by the company indicated as insuring
  company in the Common Policy Declarations by the abbreviation of its name opposite that Coverage Part
  One of the companies listed below (each a stack company) has executed this policy, and this policy is counter-
  signed by the ofﬁcers listed below:
  The Travelers Indemnity Company (IND)
  The Phoenix Insurance Company (PHX)
  The Charter Oak Fire Insurance Company (COF)
  Travelers Property Casualty Company of America (TIL)
  The Travelers Indemnity Company of Connecticut (TCT)
  The Travelers Indemnity Company of America (TIA)
  Travelers Casualty Insurance Company of America (ACJ)




              ”msww                                                                         WW“ C‘“
  Page 2      of 2          Includes   me copyrighted material or Insurance Services   Ofﬁce, Inc.   wim   its   permission.     IL   T3 15 09 07     (Rev. 03-11)



                                                                                                                       TRAVELERS DOC MGMT 7 of 171
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                                                       POLICY NUMBER:    680-2408N586—15-42
                                                       EFFECTIVE DATE:   03/10/2015
                                                           ISSUE DATE:   03/12/2015


                            LISTING OF'FORMS, ENDORSEMENTS AND SCHEDULE NUMBERS

            THIS LISTING SHOWS THE
            BY LINE 0F BUSINESS
                                               WEE OF    FORMS. SCHEDULES AND ENDORSEMENTS



                      IL    '1'0    15 02 05    CMON POLICY DECLARATIONS
                   MP T0 01 02 05               BUSINESSOWNERS COVERAGE PART DECLARATIONS
                   II- TB 01 01 01

                      IL T3 15 09 07
                                                FORMS ENDORSEMNTS AND SCHEULE        MERE
                                                COMON POLICY CONDITIONS

            BUSINESSOWNERS
                  MP Tl 30 02 05                TABLE OF CONTENTS - BUSINESSOWNERS COVERAGE PART -
                                                DELUXE PLAN
                           T1 02 02 05          BUSINESSOWN’ERS PROPERTY COVERAGE SPECIAL FORM
                           T1 D3 02 05         AMENDATORY PROVISIONS CONDOMINIUM ASSOCIATION'COVBRAGE
                  ﬁﬁﬁﬁﬁ    T3 06 02 07         SEWER OR DRAIN BACK UP EXTENSION
                           T3 25 01 08         TERRORISM RISK INSURANCE ACT OF 2002 DISCLOSURE
                           T3 37 02 05         NON-COMPENSATED OFFICERS INCLUDED FOR WPLOYEE
                                               DISHONESTY
                           T3 40 02 05         PROPERTY MANAGERS INCLUDED FOR EMPLOYEE DISHONES'IY
                  E55      T3 50 11 06         EQUIPMM BREmOWN - SERVICE INTERRUPTION LIMITATION
                           T3 56 02 OB         MATCH!       PROVISIONS — GREEN BUILDDIG AND BUSINESS
                                               PERSONAL PROP COV ENHANCEMENTS
                  5        T1 55 02 05         EMPLOYEE DISHONESTY AND FORGERY 0R ALTERATION
                                               INMSED LIMIT
                           Tl 71 04 09         BUILDING OWNERS ENDORSEMENT
                           T1 52 04 09         CAUSES OF LOSS ~ EARTHQUAE
                           1'3 23 08 06
                 Qﬁﬁﬁﬁ
                                               FUNGUS. ROT. BACTERIA AND OTHER CAUSES OF LOSS CHANGES
                           T9 70 03 06         POWER PAC ENDORSEMENT
                           1'9 59 02 11
                                               INDIANA GANGES-RIGETS OF RECOVERY

           COMBRCIAL GENERAL LIABILITY
                 CG T0 34 11 O3                TABLE 0F CONTENTS —-
                                                                    COMERCIAL GENERAL LIABILITY
                                               COVERAGE FORM CG 00 01 10 01
                 CG        1'0     59 10 91    TABLE OF CONTENTS - DIRECI‘ORS AND OFFICERS ENDORSEMENT
                                               FORM CG DO 28
                 CG 00 OJ. 10 01               COMBRCIAL GENERAL LIABILITY COVERAGE FORM
                 CG 21 70 01 08                CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
                 CG D2 37 11 03                EXCLUSION - REAL ESTATE DEVELOPMENT ACTIVITIES           -


                                               COIDLETED OPERATIONS
                 CG D2 55 11 03                AMENDMENT OF COVERAGE - POLLUTION
                 CG D3 09 11 03
                 CG D4 71 01 15                mm
                                               WIDE!      ENDR- PRODUCTS-COIELET- OPERATIONS HAZARD
                                                         OF COVERAGE B — PERSONAL AND ADVERTISING
                                               INJURY LIABILITY
                 CG D0 28 10 91                DIRECTORS AND OFFICERS LIABILITY ENDORSHENT           CWITY
                                               ASSOCIATIONS
                 CG D0 37 04 05                OTHER INSURANCE - ADDITIONAL INSUREDS


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                                               POLICY NUMBER:     680-2408NSBG—15—42
                                               EFFECTIVE DATE:    03/10/2015
                                                   ISSUE DATE:    03/12/2015



            COMERCIAL GENERAL LIABILITY (CONTINUED)
                  CG   D1 86 ll 03     x'rmm   Emonsmm
                  CG   D2 03 12 97     AMEND  - NON cmmnon      or EACH occ
                  CG   D4 13 04 ca     mun    cove — POLLUrIon—EQUIP Exczrnou
                  MP   T1 25 11 03     HIRED AUTO AND NON-OWNED AUTO LIABILITY
                  CG   D2 43 01 02
                  CG
                  CG
                       D2
                       D2
                          56 11 03
                          BB 11 03
                                       mum
                                       runs: on BACTERIA EXCLUSION
                                                  or COVERAGE - PROPERTY mums:
                                       mmmm-RELATED PRACTICES EXCLUSION
                  CG   D3 26 10 11     EXCLUSION - UNSOLICITED COMMUNICATION
                  CG   D3 56 05 14     MOBILE EQUIPMENT “DEFINED - EXCLUSION or VEHICLES
                                       SUBJECT To MOTOR VEHICLE Laws
                  CG D4 21 O7 08       mun comm       LIAB Exel. — Exc To NAMED INS
                  CG D6 18 10 11       EXCLUSION — VIOLATION or CONSUMER FINANCIAL rno‘rEc'rIow
                                       Laws
                  CG D7 46 01 15       EXCLUSION — ACCESS on DISCLOSURE or CONFIDENTIAL on
                                       PERSONAL INFORMATION
                  CG   D0 76 06 93     EXCLUSION - LEAD
                  CG   D1 42 01 99     EXCLUSION - DISCRIMINATION
                  CG   D2 42 01 02     EXCLUSION — WAR
                  CG   F1 19 09 08     INDIANA CHANGES — DEFINITION or POLLUTANTS
                  CG   T4 78 02 90     EXCLUSION — ASBESTOS

           MULTIPLE SUBLINE       Emonsmm's
                 CG T3 33 11 03        LIMITATION WHEN Two on MORE POLICIES APPLY

           INTERLINE ENDORSEDENTS
                 IL 1‘3 82 05 13       EXCLUSION 0F LOSS DUE TO VIRUS OR BACTERIA
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                 II-01 17 12 10        ImIANA CHANGES   -   WORKERS COMPENSATION EXCL
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                                       FRAUD
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                                                 DELUXE PLAN
       The following      indicates the contents of the principal forms which
                                                                             may be attached                                                 to your policy.                       It   contains
       no reference       to the Declarations or   Endorsements which also may be attached.


                                    BUSINESSOWNERS PROPERTY COVERAGE
                                          SPECIAL FORM MP T1 02
                                                                                                                                                             Beginning on Page

      COVERAGE              ‘




                                                                                                                                                                               1

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             Property Not Covered
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             Business Income and Extra Expense
                                                                                                                                                                               2
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                                                                                                                                     BUSINESSOWNERS


                             BUSINESSOWNERS PROPERTY COVERAGE
                                                                    SPECIAL FORM
   Various provisions                in this policy restrict       coverage. Read the entire policy carefully to determine
   what       is   and                             ‘                                                                                           rights, duties          and
                         {s_pot     covered.
                                                                                     A                                              __    ,
                                                                                                                                                   33%..
                                                                                         ’                           _                         _               _.;
                                                                                                                                                                        T
   Throughout this policy the words "you" and "your" refer to
                                                               the Named Insured shown                                         in   the DeclaratiOns.                  The
   words “we", "us" and "our" refer to the Company providing this
                                                                  insurance.
   Other words and phrases that appear                        in   quotation marks have special meaning. Refer to Paragraph
   ERTY DEFINITIONS.                                                                                                                                  G — PROP-
   A.    COVERAGE                                                                                                  Lawn maintenance and snow
                                                                                                            (f)                                                         re-
         We will pay for direct physical loss of or damage                                                         move. equipment? and
         to Covered Property at the premises described
                                                         in                                                 (g)    Alarm systems; and
         the Declarations caused by or resulting from
                                                          a                                                 lfnotcovered by otherinsmance:
         covered cause “Loss'                                                                        (3)

         1.        Covered Property                                                                         (a)    Additions under construction, a4-
                                                                                                                   terations and repairs to the build-
                   Covered Property, as used             in this      Coverage                                     inQ 0r SthCtU'ei and
                   Form.     means the typeof property described
                   in this Paragraph A.1., and limited
                                                                                                            (b) MateriaIS,          equipment,             supplies
                                                         in Para-
                   graph A.2.. Property Not Covered, if a Limit of
                                                                                                                   and temporary              structures,            on or
                                                                                                                   within 1,000 feet of the described
                   Insurance is shown in the Declarations for
                   tha‘ type 0f Property.
                                                                                                                   premises, used for making addi-
                                                                                                                   tions, alterations or repairs to                    the
               a.      Bullding,       meaning the      building or struc-                                         bUi'ding 0f SWCIUTE-
                       Pure described       in   the Declarations, includ-
                                                                                               b_    Busingss personal property located in
                       ”'93
                                                                                                     or on the buildings described in the Dec-
                       (1)    Completed additions;                                                   larations or in the open (or in a vehicle)

                      (2)     Fences;                                                               within 1.000 feet of the described                           prem-
                                                                                                    ises, including:
                      (3)     Fixtures. including      outdoor ﬁxtures;
                                                                                                    (1)    Propeny owned by you and used                               in
                      (4)     Retaining walls. whether or not at-
                                                                                                           your business;
                              tached:
                                                                                                    (2) Property of others that is in                  your care.
                      (5)     Permanently attawed:
                                                                                                           custody or control;
                              (a)   Machinery; and
                                                                                                    (3)    Your use interest as tenant in im-
                              (b)   Equipment;                                                             provements and betterments. |m-
                      (6)    Outdoor swimming pools;                                                       provements and betterments are ﬁx-
                                                                                                           tures, alterations, installations or                       ad-
                      (7)    Personal property owned by you that
                                                                                                           ditions:
                             is used to maintain or service the

                             building or structure or its premises.                                       (a)     Made a      part of the buifding or
                             including:                                                                           structure you rent, lease or oc-
                                                                                                                  cupy but do not awn; and
                             (a) Fire extinguishing      equipment;
                                                                                                          (h)     You acquired           or    made       at         your
                             (b)    0Utd°°rfumimrei
                                                                                                                  expense but are not permitted                        to
                             (c)    Floor coverings;
                                                                                                                  remove;and
                             (d)    Lobby and hallway     furnishings;                              (4)   "Money"and"Securities".
                             (e)    Appliances used for refrigerating,                   2.   Property Not Covered
                                    ventilating. cooking. dishwashing
                                                                                              Unless the forlowing   is added by endorse-
                                    Or laundering:
                                                                                              ment to this Coverage Form, Covered Prop-
                                                                                              erty does not include:




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    BUSINESSOWNERS

              9'     Aircraft;                                                             "Valuable Papers and Records". except
                     Automobiles held for sale;                                            as provided in the Valuable Papers and
                     Vehicles or self—propelled machines that                              Records Coverage Extension;
                     are:                                                                  Property that             is   covered under another
                            Licensed for use on public roads; or                           Coverage Form of this or any other policy
                     (1)
                                                                                           in which it is more speciﬁcally described.
                     (2)    Operated        pn'hcipafly   away from lhe                    except for theiexcess of the amountdue-
                            described premises;                                            (whether you can collect on it or not) from
                    This paragraph does not apply            to:                           that other insurance:

                    (1) Vehicles or self—propelled machines                               "Fine Ans" except as provided               in   the Fine
                        or autos you manufacture, process or                              Arts Additional Coverage;
                           warehouse;                                                     Bullion. gold, silver, platinum and other

                    (2) Vehicles or self-propelled machines,                              precious alloys or metals, except if they
                        other than autos, you hold for safe; or                           are used in your "operations" (theﬂ limita-
                                                                                          tion applies);
                    (3) Trailers    or semi-trailers, except as
                           provided in the Non-Owned Detached                             "Electronic Data Processing Equipment“

                           Trailers   Coverage Extension.                                 (not including "stock") except as provided
                                                                                          in the Electronic Data Processing Cover-
                    Dams        or dikes;
                                                                                          age Extension;
                    Contraband, or property in the course of
                                                                                          "Electronic Data Processing Dam and
                    illegal transportation or trade;
                                                                                          Media" (not including "stock") except as
                   The cost   of excavating, grading, backﬁll-                            provided in the Electronic Data Process-
                    ing or ﬁlling (except those costs made                                ing Coverage Brtension or in the Ac-
                   necessary due to repair cf buildings in—                               counts Receivable Coverage Extension;
                   sured under this Coverage Form from a                                  or
                   Covered Cause of Loss). reclaiming or                           l'.
                                                                                          Outdoor signs, except as provided                 in   the
                   restoring land or water.
                                                                                          Signs Coverage Extension.
                   Water or land whether in its natural slate                  .   Business Income and Extra Expense
                   or othenNI‘se (including land on which the
                                                                                   Business Income and Extra Expense is pro—
                   property is located), land improvements,
                                                                                   vided at the premises described in the Decla-
                   growing crops or standing timber;
                                                                                   rations when the Declarations show that you
                   Outdoor trees, shrubs, plants and lawns,                        have coverage for Business Income and Ex—
                   other than "stock" except as provided in
                                                                                   tra Expense.
                   the Outdoor Trees, Shrubs, Plants and
                   Lawns Coverage Extension.
                                                                                   a.    Business Income

                   The  following property while outside of                              (1)   Business Income means:
                   the buildings:                                                              (a)   Net Income (Net Proﬁt or Loss
                                                                                                     before income taxes) that would
                   (1) Bridges,   walks, roadways, patios or
                         other paved surfaces; or
                                                                                                     have been earned or incurred, in-
                                                                                                     eluding:
                   (2)   Outdoor radio or television antennas,
                                                                                                     (i)     "RentalValue"; and
                         (including satellite dishes) and includ-
                         ing their lead-in wiring. masts or iow-                                     (Ii)    "Maintenance Fees", if you
                                                                                                             are a condominium associa-
                         ers;
                                                                                                             tion;   and
               except as provided    the Outdoor Prop-
                                               in
                                                                                               (b) Continuing  normal operating ex-
               erty Coverage Extension;
                                                                                                     penses incuned, including pay-
               Watercraft (including motors, equipment                                               roll.
               and accessories) while afloat;
                                                                                         (2)   We  will pay for the actual loss of
               Accounts and bills, except as provided in
                                                                                               Business Income you sustain due to
               the Accounts Receivable Coverage Ex-
                                                                                               the necessary "suspension" of your
               tension;                                                                        "operations" during the "period of res-
                                                                                               toration".     The "suspension" must be


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                                                                                                                                 BUSINESSOWNERS

                           caused by            direct physical loss of or                               to the extent  reduces the amount of
                                                                                                                            it

                           damage         lo properly at the described                                       loss that othem/ise
                                                                                                                            would have been
                          premises.           The      loss or    damage must                            payable under Paragraph a. Business
                          be caused by or                result   from a Cov-                            Income. above.
                          ered Cause of Loss.                   VWh   respect to           c.    Extended Business Income
                          loss of or          damage       to personal prop-
                               it} _the open or-personal pmperﬁy
                                                                                                 lf    the necessary "suspensionff
                          erty                                                                                                                   9f your
                          in a vehicle, the described premises                                   "operations"          producesa Business        Ihcor'ﬁé
                          include the area within 1.000 feet of                                  loss payable under Paragraph a. Busi-

                          the site at which the described prem-                                  ness Income above, we will also pay for
                          ises are located.                                                      the actual loss of Business Income you
                                                                                                 susbin dun‘ng the period           that:
                   (3)    With respect to the requirements set
                          forth in Paragraph (2) above, if you                                   (1)     Begins on the date property        is actu-

                          rent, lease or occupy only part of the
                                                                                                         ally repaired. rebuilt     or replaced and
                                                                                                        "operations" are resumed; and
                          site at which the descn'bed premises
                          are lccated, the described premises                                    (2)    Ends on the earﬁer        of:
                          means:                                                                        (a)     The date you could        restore your
                          (a)    The    portion of the building which                                           "operations"      with
                                                                                                                                     reasonable
                                 you    rent,    lease or occupy; and                                          speed, to the level which would
                                                                                                               generate the Business Income
                         (b)     Any area within the building or on
                                 the site at which the described
                                                                                                               amount thatwould have existed             ‘rf


                                                                                                               no direct physical loss or damage
                                 premises are located, if that area
                                                                                                               occuned; or
                                 services, or is      used to gain ac-
                                 cess   to,   the described premises.                                   (b) Sixty consecutlve           days after the
            b.    Em Expense                                                                                   date determined
                                                                                                               above.
                                                                                                                                   in    Paragraph (1)

                  (1)    Extra Expense means reasonable
                                                                                                However, this extended Business Income
                         and necessary expenses you incur
                                                                                                does not apply to loss of Business In-
                         during the "period of restoration" that
                                                                                                come incurred as a result of unfavorable
                         you would not have incurred if there
                                                                                                business conditions caused by the impact
                         had been no direct physical loss of or
                                                                                                of the Covered Cause of Loss in the area
                         damage to property caused by or re-
                                                                                                where the described premises are lo-
                         sulting from a Covered Cause of
                                                                                                sated.
                         Loss.
                                                                                         d.     If   the Declarations show for Business              In-
                 (2)     We        pay Extra Expense (other
                                 will
                                                                                                come and         Extra Expense:
                         than the expense to repair or replace
                         properly)      to:                                                     (1)    Actual  loss  for  12 consecutive
                                                                                                       months, then we will pay for loss of
                         (a)    Avoid or minimize the "suspen—
                                                                                                       Business Income and Extra Expense
                                sion" of business and to continue
                                                                                                       that occurs within 12 consecutive
                                "operations" at the described
                                                                                                       months         following the date of direct
                                premises or at replacement
                                                                                                       physical loss or      damage; or
                                premises or temporary locations.
                                including            relocaiion    expenses                     (2)    Actual      up to 12 consecutive
                                                                                                                   loss
                                and costs            to equip    and operate                           months subject to a maximum dollar
                                the     replacement                                                   limit, then we will pay for loss of Busi-
                                                                premises    or
                                tern porary locations; or                                             ness Income and Extra Expense that
                                                                                                      occurs within 12 consecutive months
                        (b)     Minimize         the     "suspension"      of
                                                                                                      following the date of direct physical
                                business        if   you cannot continue
                                                                                                      loss or damage, subject to the limit
                               "operations".
                                                                                                      shown      in   any one occurrence.
                 (3)    We        also pay Extra Expense (in-
                                will
                                                                                    4.   Covered Causes of Loss
                        cluding Expediting Expenses) to re-
                        pair or replace the prpperty, but only                           RISKS OF DIRECT PHYSICAL LOSS                          unless
                                                                                         the loss      is:




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    BUSI NESSOWN ERS


                  a.         Limited in Paragraph A.5., Limitations; or
                                                                                                                            (b)   Containers of property held for
                  b.         Excluded             in   Paragraph       B.,   Excrusions.                                          sale; or
        5.        Limitations                                                                                              (c)    Photographic or scientiﬁc            instru-
                  a.        We will not pay for loss of or damage lo:                                                             ment lenses.
                                      The        "interior of                                                c.     For loss or damage by "theft", the most
     "m _ "   _        _
                            (1)                                  any    building or struc-
                                 5"
                                      'tiire"o'r'7'toupersonal-propert'y’ir'iithe                        _   ‘
                                                                                                                  P_weyillpay in any.oneo_ccyrrenc¢ fox the
                                                                                                                                                                 ’

                                                                                                                   ‘follbwih'g ty'p‘e‘s‘of                                 ‘
                                                                                                                                                                               "
                                      building or structure,
                                                        caused by rain,                                                                        property   is:

                                      snow, sleet, ice, sand or dust,                                               (1)    $2,500 for all furs, fur garments and
                                      whether driven by wind or not,                                                       garments trimmed with fur.
                                      unless:
                                                                                                                   (2)     $5,000 for all jewelry, watches, watch
                                      (a)    The       building o: structure        first   sus—                          movements, jewels, pearls, precious
                                             tains       damage by a Covered                                              and semi-precious stones, bullion,
                                             Cause  of Loss to its roof or walls                                          gold, silver, platinum and other pre-
                                             through which the rain, snow,                                                cious alloys or metals. This limit does
                                             sieet, ioe,      sand or dust        enters; or                              not apply to jewelry and watches
                                      (b)   The        loss or   damage                                                   worth $500 or less per item.
                                                                             is   caused by
                                            or results frorn thawing of snow,                                      (3)    $2.500 for     all   patterns, dies,         molds
                                            sleet or ice on the building or                                               and forms.
                                            structure.
                                                                                                         d.        We      will   not pay for    any   loss or       damage
                           (2)        Steam          steam pipes. steam
                                                   boilers,                                                        caused by any of the following, even                    if
                                  engines, or steam turbines, caused                                              they are Covered Causes of Loss, if the
                                  by or resulting from any condition or                                           building where loss or damage occurs
                                  event inside such equipment. But we                                             has been "vacant" for more than 60 con-
                                  will pay for loss of or damage to
                                                                    such                                          secutive days before that loss or damage
                                  equipment caused by or resulting                                                occurs:
                                  from an explosion of gases or fuel
                                                                                                                  (1)     Vandalism;
                                  within the furnace of any ﬁred vessel
                                  or within the ﬂues or passages                                                  (2) Sprinkler     Leakage, unless you have
                                  through which the gases of combus-                                                      protected the system againsl freez-
                                                                                                                          ing:
                                  tion pass.

                                  Hot water boilers or other water heat-                                          (3) Building glass         breakage;
                           (3)
                                  ing equipment caused by or resulting                                            (4)    Discharge or leakage of water:
                                  from any condition or event inside
                                                                                                                  (5) "Theft"; or
                                  such boilers or equipment, other than
                                                                                                                  (8)    Attempted "theﬂ".
                                  explosion.
             b.        We will   not pay for loss of or damage to
                                                                                                                  Nth   respec1 to Covered Causes of Loss
                                                                                                                  other than those listed in Paragraphs
                       the following types of property unless                                                                                           (1)
                                                                                                                  through (6) above, We will reduce the
                       caused by any of the "speciﬁed causes of
                       loss" or building glass                                                                    amount we would othemise pay                       for the
                                               breakage:
                                                                                                                  loss or   damage by 15%.
                       (1) Live animals, birds or ﬁsh,                            and then              e.       Coverage for Business Income and Extra
                                 only       if   they are        or their destruc-
                                                              killed
                                                                                                                 Expense does not apply to any toss or in-
                                 tion is         made    necessary.
                                                                                                                 crease in loss caused by direct physical
                   (2)           Fragile articles such as glassware.                                             loss of or        damage       to "Electronic Data
                                 statuary,             marbles,        chinaware       and                       Processing Data and Media", except as
                                 poroelains,            if   broken. This limitation                             provided in the Interruption of Computer
                                 does not apply to:                                                              Operations Coverage Extension.
                                 (a)    Glass that is part of the exterior                         6.   Additional Coverages
                                        or interior of a building or struc-                             Unless otherwise stated, payments made un-
                                        ture;                                                           der the following Additional Coverages are in
                                                                                                        addition Io the applicable Limits of Insurance.




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                                                                                                                                     BUSINESSOWNERS

            a.    Arson and Theft Reward                                                                  ing within         180 days of the date of        di-

                  (1)    We will      pay    for reasonable        expenses                               rect physical loss       or damage.
                         you    incur for rewards that lead to:
                                                                                            (2)           Debris          Removal does            not apply to
                         (a)    An arson         conviction
                                                     connection
                                                              in                                          costs       to:
                                with a covered ﬁre or explosion                                                     Extract "poilutants" from land or
                                                                                                          (a)
                                loss. or                                                                           water; or
                                                                    .,.___, .“m   .                  __        _

                         nay}: "med“ congicﬁaa'ia sonnewa'ﬁ-
                                                                                            '
                                                                                                 "
                                                                                                          (b) 'Re‘ﬁibxi‘e‘,       restore   o‘r   repléce pol—
                             with a covered "theft" loss.                                                          luted land or water.
                  (2)    The most we will pay under this Addi-                              (3)           Except as provided             in   Paragraph     (4)
                         tional   Coverage          inconnection with a                                   below,          payment    for Debris      Removal
                         particular loss is        $5.000.                                                is   included within the applicable Limit
            b.    Claim Data Expense                                                                  of Insurance  shown in the Declara-
                         We will pay the reasonable expenses                                          tions.The most we will pay under this
                  (1)
                                                                                                      Additional Coverage 1's 25% of:
                         you     incur      in    preparing claim         data
                         when we         require such data to            show                         (a)          The amount we pay for the direct
                         the extent of loss. This includes the                                                     physical loss or damage to Cov-
                         cost of taking inventories, making ap-                                                    ered Property: plus
                         praisals.             income state-
                                         preparing                                                    (b)          The deductible in this Coverage
                         ments, and preparing other documen-                                                       Form applicable to that loss or
                        tation.                                                                                    damage.
                 (2)     Under    this Additional           Coverage,       we             (4)        When   the debris removal expense
                        will   not pay for:                                                           exceeds the  25% limitation in Para-
                        (a)    Any expenses             incurred, directed.                           graph (3) above or when the sum of
                               or billed by or payable to attor-                                      the debn’s removal expense and the
                               neys. insurance adjusters or their                                     amount we pay                for the direct physicaf
                               associates or subsidiaries;                                            loss of or            damage
                                                                                                                         to Covered Prop-
                                                                                                      erty exceeds the applicable Limit of
                        (b)    Any    costs        in    connection      with
                                                                                                     Insurance, we will pay up to an addi-
                               Paragraph         E.2., Appraisal;   or
                                                                                                     tional $25,000 for debris removal ex-
                        (c)    Any expenses             incurred. directed,                          pense in any one occurrence, at each
                               or billed by or payable to insur—                                     described premises.
                               ance brokers or agents. or their
                                                                                      d.   Employee Dishonesty
                               associates or subsidiaries, with-
                               out our written consent prior to                            (1)       We will              pay   for loss of or    damage    to
                               such expenses being incurred.                                         Covered Property resulting                       directly
                                                                                                     from "employee dishonesty".
                 (3)    The most we  will pay for preparation
                        of claim data under this Additional                                          We            will   pay   for loss or   damage you
                        Coverage     any one occurrence
                                       in                                    I‘s                     sustain              through acts committed or
                        $5,000 regardless of the number of                                           events occurring during the Policy
                        premises involved.                                                           Period. Regardless of the number of
                                                                                                     years this insurance remains in force
           c.    Debris Removal
                                                                                                     or the number of premiums paid. no
                 (1)    We will      pay your expense to remove                                      Limit of Insurance cumulates year to
                        debris    of CoveredProperty, other                                          year or period to period.
                        than outdoor trees, shrubs, plants
                        and lawns as described in the Out-                                 (2)       Paragraphs B.2.h. and 3.2.0. do not
                        door                                                                         apply to this Additional Coverage.
                               Trees, Shmbs,      Plants and
                        Lawns Coverage Extension. caused                                   (3)       We  will not pay for loss resulting from

                        by or resulting from a Covered Cause                                         the dishonest acts of any "employee"
                       of Loss that occurs dur1ng the policy                                         ifcoverage for that "employee" was
                       period. The expenses will be paid                                             either cancelled or excluded from
                                                                                                                                    any
                       only if they are reported to us in writ-                                      previous insurance policy of yours




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                            providing         "employee           dishonesty"                              (a) This Additional            Coverage. as of
                            coverage                                                                              its   effective date;- or
                    (4) This Additional   Coverage is cancelled                                            (b)    The prior"Employee Dishonesty"
                           as to any "employee" immediately                                                       insurance, had it remained in ef-
                           upon discovery by:                                                                    fect.

                           (a)»Ycu;oL          .:.      .-.»W         .-                  e.   r.   Expediting Expensgg
                                                                                                                                                           .   ..



                           (b)    Any     of your partners. "members".                              (1)    In   the event of direct physical loss of
                                  "managers". ofﬁcers, directors or                                        or damage to Covered Property
                                  trustees, not in collusion with the                                     uused by or resulting from a Cov'
                                  "employee".                                                             ered Cause of Loss, we will pay for
                           of any fraudulent dishonest act oom-                                           the reasonable    and necessary addi-
                           mitted by that "employee" before or                                            tional    expenses you incur to make
                           after being      employed by you.                                              temporary repairs, expedite perma-
                                                                                                          nent repairs, or expedite permanent
                   (5)    We will pay for covered loss or dam-
                                                                                                          replacement, at the premises sustain—
                          age only if discovered no }ater than
                                                                                                          ing loss or damage. Expediting ex-
                          one year from me end of the Policy
                                                                                                          penses include oveﬂime wages and
                          Period.
                                                                                                          the extra cost of express or other
                   (3)    The most we will pay            for loss or        dam-                         rapid means of transportation. Expe-
                          age under this Additional Coverage                    in                        ditingexpenses do not include ex-
                          any one occunenoe is $25,000.                                                   penses you incur for the temporary
                          With respect                                                                    rental of property or             temporary re-
                   (7)                        to this Additional            Cover-
                          age, occurrence             means      all       loss or                        placemem         of   damaged     property.
                          damage caused by or involving                        the              (2)       With respect to this Addilional Cover-
                          same "employee(s)" whether the                       re-                        age, "breakdown" to "covered equip-
                          sult of   a    single act or series of acts.                                    ment" will not be considered a Cov-
                   (5)    If.   dun'ng the period of any prior               “Em-                         ered Cause of Loss. even if otherwise
                         ployee Dishonesty" insurance, you                                                covered elsewhere in this Coverage
                         (or any predecessor in interest) sus-                                            Form.
                         tained loss or damage that you could
                                                                                                (3)       The most we will pay under this Addi-
                         have recovered under that insurance,
                                                                                                          tional Coverage in any one occur-
                         except that the time within which to
                                                                                                          rence    is    $25,000, regardless of the
                         discover loss or            damage has        expired.                           number of premises            involved.
                         we \M‘ll
                                pay for it under this Additional
                         Coverage. subject to the following:                         f.        Fine Arts

                         (a)    This insurance became effective                                (1)    When   a Limit of Insurance is shown
                                at the time of cancellation or ter-                                   inthe Declarations for Business Per-
                                mination of the prior insurance;                                      sonal Property at any described
                                and                                                                   premises, we will pay for direct physi-

                                The
                                                                                                      cal loss of or         damage         to "fine arts"
                         (b)            loss or   damage would have
                                been covered by this insurance
                                                                                                      which are          owned by:
                                had it been in effect when the                                        (a)       You; or
                                acts or events causing the loss or                                    (b)       Others and       in   your care, custody,
                                damage were committed                      or oc-                               or control;
                                curred.
                                                                                                      caused by or              resulting   from a Cov-
               (9)       The insurance provided under Para-                                           ered       Cause
                                                                                                                   of Loss, including while
                         graph    (8)    above    is part of.   not    in   addi-                     on exhibit. anywhere within the Cov—
                         tion    to the      Limit of Insurancede-                                    erage       Territory.
                         scribed    in   Paragraph (6) above and is
                                                                                               (2)    The breakage    limitation under Para-
                         limited to the lesser of the           amount        re-
                                                                                                      graph A.5.b.(2) does not apply to this
                         coverable under:
                                                                                                      Additional Coverage.




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                 (3)        The    following exclusions apply to this                         liability       for     ﬁre      department            service
                            Additional Coverage:                                              charges:
                            (a)    We   will not pay for loss or dam—                         (1)    Assumed by             contract or        agreement
                                   age caused by or resulting from                                    prior to loss; or
                                   wear and tear, any quafily in the
                                                                                              (2)     Required by         local ordinance.
                                   property that causes it to damage
                      r-                                                                              Pro‘tectixg         Equipment Discharge
                                  .or. destmy itself. gradualdeterio                         ’Fire,
                                                                                         .




                                  ration.       insects. birds,    rodents or                 (1)     Ifﬁre protective equipment dis-
                                  other animals;                                                     charges accidentally or to control a
                            (b)   We  will not pay for loss or dam-                                  Covered Cause of Loss                 we    will   pay
                                  age caused by or resulting from                                    your oostto:
                                  dampness or dryness of atmos-                                             Reﬁll or recharge the system with
                                                                                                     (a)
                                  phere. or changes I'n or extremes                                         the   extinguishing agents that
                                  of temperature;
                                                                                                            were discharged; and
                           (c)    We  wiil not pay for loss or dam-
                                                                                                     (b)    Replace or       repair faulty valves or
                                  age caused by or resulting from                                           controls which        caused the dis-
                                  any repairing, restoration or re-                                         charge.
                                  touching process;
                                                                                             (2)    The most we will pay under this Addi-
                           (d)    We       not pay for loss or dam-
                                         will
                                                                                                    tional Coverage in any one occur-
                                  age caused by or resulting from
                                                                                                     rence     is    $10,000, regardless of the
                                  faulty packing;
                                                                                                     number        of premises involved.
                           (e)    Paragraph         B.1.b.      Earth    Move-
                                                                                             Forgery or Alteration
                                  ment;
                           (f)    Paragraph B.1.c. Governmental                              (1)    We      will    pay   for loss resulting directly

                                  Action;                                                           from "forgery" or alteration of checks,
                                                                                                    drafts. promissory notes, or similar
                           (g)    Paragraph B.1.d. Nuclear Haz-
                                                                                                    written promises. orders or directions
                                  ard;
                                                                                                    to        sum certain in money that
                                                                                                           pay a
                           (h)    Paragraph       B.1.f.   War and      Military                    are made or drawn by or drawn upon
                                  Action:                                                           you, or made or drawn by one acting
                           (i)    Paragraph B.1.g. Water;                                           as an agent or purported                    to    have
                                  Paragraph B.1.h. Neglect; and                                     been so made or drawn.
                           (j)


                           (k)    Paragraph 3.2.9.                                                  We      will    consider signatures that are
                                                                                                    produced or reproduced elec1roni—
                       No other exclusions in Paragraph B.
                                                                                                    cally. mechanically or by facsimile the
                       Exclusions apply to this Additional
                                                                                                    same as handwritten signatures.
                       Coverage. However, if any exclusions
                       are added by endorsement to this                                             We      will   pay    for loss that   you sustain
                       Coverage Form, such exclusions                      will                     through acts committed or events oc-
                       apply to this Additional Coverage.                                           curring during the Policy Period. Re-
                                                                                                    gardless of the number of years this
                (4)    The most we pay                for loss or    damage                         insurance remains in force or the
                       under        this Additional  in anyCoverage
                                                                                                    number of premiums paid, no Limit of
                       one occurrence is $25,000, or the
                                                                                                    Insurance cumulate's from year to
                       amount shown in the Declarations for
                       "ﬁne                                                                         year or period to period.
                                   arts".   whichever      is   greater. This
                       limit applies regardless of the               number                  (2)    We will not pay for loss resulting from
                       of premises involved.                                                        any dishonest or criminal acts com-
                                                                                                    mitted by you or any of your partners,
            .   Fire       Department Service Charge
                                                                                                    “employees". "membe ", "manag-
                When   the ﬁre deparlment is called to                                              ers".    ofﬁcers,       directors     or tmstees
                save or protect Covered Property from a                                             whether acting alone or               in   collusion
                Covered Cause of Loss. we will pay up lo                                            with other persons.
                $25,000 in any one occurrence for your




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                      (3)       We  will pay for covered loss discov-                                               fend against the suit. we will pay for
                                ered no later than one year from the                                                any reasonable legal expenses that
                                end of the Policy             Period.                                               you incur and pay in that defense.
                      (4)       The most we             willpay for loss under                                      The amount we will pay for these le-
                                this Additional          Coverage in any one                                        gal expenses will be part of and not in
                                occurrencg                                                                          addition to the limii described in
                                                   is   $25000, regardless of
                            th'e hamber‘of'ﬁre‘mises
                                                                                       ’
                                                                                           "   "'        r   ~~ Paragmphm) above
                                                     involved.                                                                                              _   _              _




                      (5)       Nth      respect to this Additional Cover-
                                                                                                    j.       Newly Acquired or Constructed                             Pr‘op-
                                                                                                             arty
                                age,       occurrence              means       all    loss
                                caused by any person, or                       in    which                   (1)    Buildings
                                that person         is       oonoemed or             impli-                                We
                                                                                                                    (a)            will     pay    for direct physical
                             cated. either resulting from a single                                                         loss of or       damage to the following
                             act or any number of such acts,                                                               propeny caused by or                     resulting
                            whether the loss involves one or                                                               from a Covered Cause of Loss:
                             more instruments.
                                                                                                                           (i)    Your:
                     (5)       during the period of any prior For-
                             If,
                                                                                                                                  a)     New      buildings while be-
                            gery or Aiteration insurance, you (or                                                                        ing buiIt     on a premises
                            any          predecessor              in   interest)      sus-                                               shown        in   the      Declara-
                            tained loss or              damage         that   you could                                                  tions;
                            have recovered under that insurance.
                            except that the time within which to
                                                                                                                                  b)     New buildings while be-
                                                                                                                                         ing built on newly ac-
                            discover loss or damage has expired,
                                                                                                                                         quired premises; and
                            we will pay        for      it   under     this Additional
                            Covetage provided:                                                                                    c)    Materials,              equipment.
                                                                                                                                        supplies and temporary
                            (a)     This insurance became effective
                                                                                                                                        stmctures used in con-
                                    at the time of cancellation or ter-
                                                                                                                                        nection with such build-
                                    mination of the prior insurance;
                                                                                                                                        ings while they are being
                                   and
                                                                                                                                        built;   or
                            (b)    The      loss wouid             have been cov-                                         (ii)   Buildings you acquire by pur-
                                   ered      by     this          insurance had it                                               chase or lease at any prem-
                                   been      in effect            when   the acts or
                                                                                                                                 ises,      including      those prem-
                                   events causing the loss were
                                                                                                                                 ises     shown       in   the Declara-
                                   committed or occurred.
                                                                                                                                 tions.
                     (7)    The insurance provided under Para—                                                            The most we
                                                                                                                   (b)                         will pay for loss of
                            graph (6) above is part of, and not in                                                        or     damage      to newly constructed
                            addition to the limit described in Para-
                                                                                                                          buildings or newly acquired build-
                            graph (4) above and is limited to the                                                         ings under this Additional Cover-
                            lesser of the amount recoverable un-
                                                                                                                          age in any one occurrence                       is
                           der:
                                                                                                                          $500,000 at each premises.
                           (a)     This Additional Coverage up to
                                                                                                         (2)       Business Personal Property
                                   the applicable Limit of Insurance
                                   under     this   Coverage Form, as of                                           (a)    When a            Limit of Insurance            is

                                   its   effective date; or
                                                                                                                          shown        in    the Declarations for
                                                                                                                          Business          Personal Property at
                           (b)     The     prior   Forgery or Alteration              in-
                                                                                                                          any described premises. we will
                                   surance. had              it   remained      in    ef-
                                                                                                                          pay for direct physical bss of or
                                   fect.
                                                                                                                          damage         to the following property
                 (3)       If you are sued for refusing to pay                                                           caused by or resulting from a
                           any covered instrument described in                                                           Covered Cause of Loss:
                           Paragraph (1) above on the basis
                                                                                                                         (i)     Business Personal Property,
                           that it has been forged or altered, and
                                                                                                                                 including such property that
                           you have our written consent to de-
                                                                                                                                 you newly acquire, at a build-




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                                       ing you acquire by purchase                                      property as a consequence of en—
                                       or lease at any premises, in-                                    forcement of the minimum re-
                                       cluding    those    premises                                     quirements of any ordinance or
                                       shown in the Declaraﬁons;                                        law. This increased cost of con-
                                       and                                                              struction coverage applies only if:
                               (ii)    Business Personal           Propeﬂy                             (i)      The building           is   insured for re-
                                      thab/ou newly.acquite ap-a,             ,.   .
                                                                                                m:     -    -
                                                                                                                ,plgcggpgnt cost;
                                      described premises.
                                                                                                       (ii)     The      building       is    repaired,      re-
                       (b)    The most we will pay for loss of                                                  built   or reconstructed; and
                              or damage to Business Personal
                                                                                                       (iii)The repaired.                    rebuilt or re-
                              Property          under     this   Additional
                                                                                                                construmed building is in-
                              Coverage in any one occurrence
                                                                                                                tended for similar occupancy
                              is $250,000 at each premises.
                                                                                                                as   the   current   building,
                (3)    Period Of Coverage                                                                       unless othenMise required by
                       (a)    With respect to insurance under                                                   zoning or land use ordinance
                              this Additional Coverage, cover-                                                  oriaw.
                              age will end when any of the fol-                           (2)   The ordinance                 or law referred Io             in
                              lowing ﬁrst occurs:                                               this Additional               Coverage         is   an ordi-
                              (i)     This poficy expires;                                       nance or Law that:
                              (ii)    180 days expire after you ac-                             (a)    Regulates the demolition,                         con-
                                      quire the property or begin to                                   struction or repair of buildings, or
                                      construct the property;                                          establishes zoning or land                           use
                                                                                                      requirements at                   the     described
                              (Ill)   You     report values to us; or
                                                                                                      premises; and
                              (iv)    The     property   is   more speciﬁ-
                                                                                                (b) ls in force at the time of the loss.
                                      cally insured.

                      (b)    We        charge you additional
                                       will
                                                                                         (3)    We will         not pay under this Additional
                             premium for values reponed to us                                   Coverage          for.

                             from the date construction begins                                  (a)   Loss due           to   any ordinance or law
                             or you acquire the property.                                             that:

           k.   Ordinance or Law                                                                      (I)       You were tequired lo comply
                                                                                                                with before the loss, even if
                (1)   lnthe event of damage by a Covered
                      Cause of Loss to a building that is                                                       the building        was undamaged;
                                                                                                                and
                      Covered Property, we will pay for:
                                                                                                      (ii)      You   failed to     comply          with; or
                      (a) Loss in value of the undamaged
                          portion of the building as a con-                                     (b) Costs    associated with the en-
                          sequence of enforcement of the                                              forcement of any ordinance or
                          minimum requirements of any or-                                             [mu that requires any insured or
                             dinance or law that requires the                                         others to test for, monitor, clean
                             demolition of undamaged parts of                                         up. remove. contain. treat, detox—
                             the same building;                                                       ify or neutralize, or in any way re—
                                                                                                      spond       to,    or assess the effects of
                      (b) Demolition           meaning the
                                                 cost,
                                                                                                      "pollutants".
                             cost to demolish and clear the
                             site of undamaged parts of the                              (4)    Paragraph 8.1.3. does not apply to
                             same building as a consequence                                     1his Additional
                                                                                                             Coverage.
                             of enforcement of the minimum                                      Subject          to   the
                                                                                         (5)                                   limit        described       in
                             requirements of any ordinance or                                   Paragraph         (6) below:
                             law that required demolition of
                             such undamaged property; and                                       (a)   The insutance provided under
                                                                                                      this Additional           Coverage            for loss
                      (c)    The increased  cost of construc-                                               value
                                                                                                      in                to    the   undamaged            por-
                             tion, meaning the increased cost
                                                                                                      tion of the building is limited                       as
                             to repair.       rebuild or construct the                                follows:




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2
                                       (i)    If   Replacement Cost Cover-                              (6)     The most we  will pay for loss under
                                              age     applies and the building
                                                                                                               this Addiﬁonal Coverage for the total
                                              is   repaired or repl'aced on the
l                                                                                                              of all coverages described in Para-
                                              same         or another premises,
                                                                                                               graph (1) above in any one occur-
                                              we will      not pay more than the
                                                                                                               rence is $25,000 at each described
                                              lesser      of:
                                                                                                               premises.
                      _;_..~;
                                              a)        The'arﬁbuh't you-~a'ctuauy.
                                                                                                        Outd‘o‘br
                                                        spend     to
                                                                                                                           Trees,        Shiubs‘,‘       Plants ‘and
                                                                        repair,    rebuild
                                                    or
                                                                                                        Lawns
                                                            reconstruct          the   un-
                                                    damaged ponion                 of the               (1)    We will pay for direct physical loss of
                                                    building; or                                               or damage ho outdoor trees, shrubs,
                                                    The amount                                                 plants (other than "stock" of trees,
                                              b)                          it   would cost
                                                    to  restore the undam-                                     shrubs or plants) and lawns located
                                                    aged portion of the build-                                 at the described premises caused
                                                                                                                                                by
                                                    ing on the same prem-                                      or resulting from a Covered                    Cause of
                                                    ises and to the same                                       Loss.
                                                    height        ﬂoor area,         style             (2)     The most we will pay for loss or dam,
                                                    and comparable                 quality                     age under this Additional Coverage in
                                                    of     the     original       undam-                       any one occurrence is $3,000 at each
                                                    aged        portion of the build-
                                                                                                              described premises.
                                                    ing; or
                                                                                                       (3)    Debris removal. because of covered
                                  (ii)       IfReplacement Cost Cover-
                                                                                                              loss or damage to outdoor trees.
                                             age applies and the building
                                             is not repaired or replaced, or
                                                                                                              shrubs. plants         and lawns,          is   included
                                                                                                              within lhe limis described in Para-
                                             if Replacement Cost Cover-

                                             age does not apply, we will                                      graph       (2)    above.
                                             not pay more than the aclual                         .    Pollutant Cleanup                 and Removal
                                             cash value of the undamaged
                                                                                                       (1)    We will pay your necessary and rea—
                                             portion of the building at the
                                                                                                              sonable expense to extract "pollut—
                                             time of loss.
                                                                                                              ants" from land or water at the de-
                           (b)    We will          not pay more for demoli-                                   scribed premises,              if    the discharge,
                                  tion costs than the                    amount you                           dispersal.  seepage, migration, re-
                                 actually           spend        to    demolish and                           lease or escape of the Y'pollutants" is
                                 clear the site of the described
                                                                                                              caused by or results from a "speciﬁed
                                 premises.
                                                                                                              cause of loss" which occu rs:
                           (c)   The insurance provided                            under                      (a)   At the described premises;
                                 this Additional                 Coverage         for in-
                                 creased cost of constmction                           is
                                                                                                              (b)   To Covered           Properly;      and
                                 limited as follows:                                                         (c) During the policy period.

                                 (i)     If the buildlng is repaired or                                      The expenses will be
                                                                                                      (2)                                 paid only if they
                                         replaced at the same prem-                                          are reported           tous in writing within
                                         ises. or if        you       elect to rebuild                       180 days of            me date on which the
                                         at        another
                                                       premises. the                                         "specified         cause of loss" occurs.
                                         most we will pay is the in-
                                         creased cost of construction                                 (3) This Additional      Coverage does not
                                         at the same premises; or                                            apply to costs to test for, monitor or
                                                                                                             assess the existence, concentration
                                 (ii)    If the ordinance or law re-
                                                                                                             or effects of "pollutants". But we will
                                         quires relocation to another
                                                                                                             pay    for testing      which        is   performed   in
                                         premises, the most we will
                                                                                                             the course of extracting the "pollut-
                                         pay    the increased cost of
                                                   is
                                                                                                             ants" from the land or water.
                                        construction at the new prem-
                                        lses.                                                         (4)    The most we will pay under this Addi-
                                                                                                             ﬁonaf,   Coverage         is $25,000 for the
                                                                                                             sum     of    all   covered expenses arising



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                                                                                                                                                       BUSINESSOWNERS

                                        out of all Covered Causes of Loss
                                                                                                                         (a)    Caused by or                resulting      from a
                                       occurring during each separate 12
                                                                                                                                Covered Cause              of Loss;
                                       month period of this policy beginning
                                       with the effective date of this policy.
                                                                                                                         (b)    Up     to $50,000 at        each temporary
                                                                                                                                lowﬁon            in   any one occurrence;
                                       Thisamount applies regardless of the
                                                                                                                                and
                                       number of premises involved.
‘“   ‘



                    ~'
                                                                                                                         (c)    During the storage period of up to
                         n;     Pres'ervatinn of Prop‘e‘ﬁry
                                                                                                                                90 consecu'ﬁve days'bm-n‘ot'be'ﬁ’.                  1:—


                                (1)    If it   necessary to move Covered
                                                is
                                                                                                                                yond expiration of this policy.
                                       Property from the described premises
                                                                                                               (2) This Additional                      Coverage does not
                                       to preserve it from loss or damage
                                                                          by                                             apply         the stored property
                                                                                                                                  if                              is more
                                       a Covered Cause            of Loss.    we will   pay                              speciﬁcally insured.
                                       for:
                                                                                                        p.    Water Damage, Other                          Liquids,      Powder
                                       (a)    Any direct physical loss of or                                  or Molten Material
                                              damage to such properly while:                                                             Damage
                                                                                                              (1)        If loss or damage caused                     or result-
                                              (i)     Being moved; or                                                                             by
                                                                                                                         ing from covered water or other liq-
                                              (ii)   Temporarily stored at another                                       uid, powder or molten material dam-
                                                     location only if the loss or                                    age occurs, we will also pay the cost
                                                     damage occurs within 90                                         to tear out
                                                                                                                               and replace any part of the
                                                     days aﬂer the property is ﬁrst                                  building or structure to repair                  damage
                                                     moved; and                                                      to  the system or appliance from
                                      (b)     The costs    incurred     to:                                          which the water or other substance
                                                     Remove such                                                     escapes.
                                              (i)                   property fmm
                                                     the described premises; and                              (2)    We will not pay the cost to                   repair    any
                                             (ii)    Return such property to the                                     defect to a system or appliance from
                                                     described premises.                                             which the water, other liquid, powder
                                                                                                                     or molten material escapes. But we
                              (2)     Coverage under this Additional Cov-
                                      erage
                                                                                                                     will      pay the cost             to repair or replace
                                           will end when any of the follow-
                                                                                                                     damaged pans                      of ﬁre extinguishing
                                      ing   first    occurs:
                                                                                                                     equipment          if   the       damage:
                                      (a)    When   the policy is amended to
                                                                                                                     (a)       Results    discharge of any sub-
                                                                                                                                             in
                                             provide insurance at the new Io-
                                                                                                                               stance from an automatic ﬁre pro-
                                             cation;
                                                                                                                            tection system; or
                                    (b)      The      property returned to the
                                                                 is
                                                                                                                    (b) ls directly           caused by       freezing.
                                             original described premises;

                                             90 days expire after the property                               (3)    Payments under                     this Additional     Cav-
                                    (c)
                                                                                                                    erage are subject to and not                      in   addi-
                                             is ﬁrst moved; or
                                                                                                                    tion to the applicable Limit of Insur—
                                    (d) This policy expires.                                                        ance.
                              (3)   Payments under             this Additional       Cov-     7,   Coverage Extensions
                                    erage are subject            lo   and not   in   addi-
                                                                                                   Unless otherwise stated, payments made un-
                                    tion to the applicable Limit of Insur-
                                                                                                   der the following Coverage Extensions are
                                    anoe.
                                                                                                   subject to            and not in      addition to the applicable
                   o.     Temporary Relocation of Property                                         Limits of Insurance.
                          (1) If Covered Propetty is removed from                                  a.        AccounB            Receivable
                              the described premises and stored
                                                                                                             (1)    When   a Limit of Insurance is shown
                              temporarily at a location you own,
                                                                                                                    in the Declarations for Business Per-
                                    lease or operate while the described
                                                                                                                    sona! Property at the described prem-
                                    premises is being renovated or re-
                                                                                                                    ises.      you may extend that insurance
                                    modeled. we will pay for direct physi-
                                                                                                                    Io     apply to     as described in
                                                                                                                                              loss,
                                    ca! loss of or damage to that stored
                                                                                                                    Paragraph      below, due to direct
                                                                                                                                        (2)
                                    property:
                                                                                                                    physical loss of or damage to your




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                         records of accounts receivable (in—
                                                                                                      (g)   Paragraph    B.1.f.   War and    Military
                         cluding  those on electronic data                                                  Action;
                         processing media) caused by or re—
                                                                                                      (h)   Paragraph B.1.g.Water,
                         sulting  from a Covered Cause of
                         Loss. Credit card company media will                                         (i)   Paragraph B.1.h. Neglect; and
                         be considered accounts receivable                                                  Paragraph 3.2.9.
                                                                                                      (j)
                         until delivered to the‘ctedit card com-
                                                                                                      No' bther exdlusibne          Piarag‘iab'li'B‘.
                                                                                                                           in
                         pany,
                                                                                                      Exclusions apply to this Coverage
                  (2)    We willpay for:                                                              Extension. However, if any exclu-
                         (a) All   amounts due from your cus-                                         sions are      added by endorsement           to
                                tomers that you are unable to col-                                 this     Coveer Form,          such exclusions
                                lect;                                                             will      apply to this Coverage Extension.
                         (b) Interest charges               on any loan re-                (4)    The most We will pay under   this Cov-
                                quired to offset           amounts you are                        erage Extension for loss of or dam-
                                unable       to    collect     pending   our                      age to records of accounts receivable
                                payment       of these      amounts;                              in any one occurrence while in transit

                        (c)    Collection expenses in _excess of                                  or at a premises other than the de-
                               your nbrmal collection expenses                                    scribed premises is $25,000.
                               that are made necessary by the                                     The most we
                                                                                           (5)                  will pay under this Cov—
                               loss or      damage; and                                           erage Extension for loss of or dam-
                        (d)    Other reasonable expenses that                                     age to records of accounts receivable
                               you incur to re-establish your re-                                 in any one occurrence at each de-
                               cords of accounts receivable.                                      scribed premises is $25000 or the
              (3)       The     following exclusions apply to this                                amount shown in the Declarations for
                        Coverage Extension:                                                       Accounts Receivable, whichever is
                                                                                                  greater.
                        (a)    We       not pay for loss caused
                                      will
                               by or resulting from bookkeeping,                          (6)     Payments made under             this   Coverage
                               accounting or billing errors or                                   Extension are in addition lo the appli—
                               omissions;                                                        cable Limits of Insurance.

                        (b)    We       not pay far loss that re-
                                     will                                             .   Appurtenant Buildings and Structures
                              quires    anaudit of records or any                                When a
                                                                                          (1)             Limit of Insurance is shown
                               inventory computation to prove its
                                                                                                 inthe Declarations for Building at the
                              factual existence;
                                                                                                 described premises, you may extend
                    (c)       We     will    not pay for loss caused                             that  insurance to apply to direct
                              by or resulting from alteration.                                   physical loss of or damage to inciden-
                              falsiﬁcation, concealment or de-                                   ml appurtenant buildings or struc-
                              struction of records of accounts                                   tures, within
                                                                                                             1,000 feet of that de-
                              receivable done to conceal the                                     scribed premises.     caused by or re-
                              wrongful giving, taking or with-                                   sulting      from a Covered Cause of
                              holding of money. securities or                                    Loss.
                              other properly. But this exclusion
                              applies only to the extent of the                           (2)    When a   Limit of Insurance is shown
                                                                                                 in the Declarations for Business Per-
                              wrongful giving, taking or with-
                                                                                                 sonal Property at the described prem-
                              h°ldingi
                                                                                                 ises, you may extend that insurance
                    (d) Paragraph                 B.1.b.    Earth   Move—                        to apply to direct physical loss of or
                              ment;
                                                                                                 damage        to    Business Personal Prop-
                    (e)       Paragraph        B.1.c.       Governmental                         erty       within
                                                                                                             incidental appurtenant
                              Action;                                                           buildings or structures within 1.000
                    m         aprafgraph
                                               3‘1'd'       "wear Haz _                         feet of that described premises.
                                 '
                                                                                                caused by or resulting from a Cov-
                                                                                                ered Cause of Losa.




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                                                                                                                                         BUSI NESSOWN ERS


                   (3)        Incidental            appurtenant      buildings          or                      by chemicals accidentally or mali—
                              structures include:
                                                                                                               ciously applied to glass.
                                     Storage buildings;
                              (a)
                                                                                                        (3)    We        will   also pay for necessary ex—
                              (b) Carports;                                                                    penses           in connection with loss or
                              (c)    Garages;                                                                  damage covered              in   Paragraphs     (1) or
                                                                                                               (2)     above, incurred by you         to:
                          (d)        Pump housesmr
                                                                                                              ~'(a)’
                                                                                                                       Put up‘ temporary plates or’boar‘d
                          (e)       Above ground            tanks;
                                                                                                                       up openings;
                          which have not been speciﬁcally de-
                                                                                                               (b) Repair       or          replace        encasing
                          scribed             in   the Declarations.
                                                                                                                       frames; and
                  (4)     The most we will pay for loss or dam-
                                                                                                               (c)     Remove or replace           obstructions.
                          age under this Coverage Extension in
                          any one occurrence for any combina-                                          (4)     The following exclusions apply                 to this
                         tion of loss               of or   damage                                             Coverage Extension:
                                                                          to Building
                         and Business Personal Property                              is                       (a)      We will not pay for loss or dam-
                         $50.000, regardless of the number of                                                          age caused by or resulting from:
                         described premises involved.
                                                                                                                       (i)     Wear and    tear;
                  (5)    Payments made under                      this    Coverage                                             Hidden or
                                                                                                                       (ii)                latent defect;
                         Extension are in addition to the appli-
                         cable Limits of Insurance.                                                                    (iii)   Corrosion; or

            c.   Building Glass                                                                                        (iv)    Rust;

                                                                                                              (b)      Paragraph        B.1.b.     Earth     Move-
                 (1)     If:

                                                                                                                       ment;
                         (a)        You       are the building owner;         and
                                                                                                              (c)      Paragraph B.1.c. Governmental
                        (b)         A    Limit of Insurance          is    shown    in                               Action;
                                    the Declarations for Building at
                                                                                                              (d)      Paragraph B.1.d. Nuclear Haz-
                                    the described premises;
                                                                                                                     ard;
                        you may extend     that insurance to ap-
                                                                                                             (e)     Paragraph         B.1.f.   War and     Military
                        ply to direct physical loss of or dam-
                                                                                                                     Action;     and
                        age to all exterior and interior building
                        glass caused by or resulting from a                                                  (f)     Paragraph B.1.g.Water.
                        Covered Cause of Loss, including                                                     No  other exclusions in Paragraph B.
                        glass breakage and damage to glass                                                   Exclusions apply to this Coverage
                        by chemicals accidentally                          or mali-                          Extension. However, if any exclu-
                        ciously applied to glass.                                                            sions are     added by endorsement to
                 (2)    If:                                                                                  this   Coverage Form. such exclusions
                                                                                                             will   apply to this Coverage Extension.
                        (a)     You are a            tenant;
                                                                                                 d.   Business Income and Extra Expense
                        (b)     A  Limit of Insurance is shown in
                                                                                                      From Dependent Property
                                the Declarations for Building or
                                Business Personal Property                         at                 (1)   When  the Declarations show that you
                                the described premises; and                                                 have coverage for Business Income
                                                                                                            and Extra Expense, you may extend
                        (c)     You are contractually obligated  to
                                                                                                            that insurance to apply to the actual
                                repair or replace building glass at
                                                                                                            loss of Business Income you sustain
                                the described premises;
                                                                                                            and reasonable and necessary Extra
                       you may extend that insurance to ap-                                                 Expense you incur due lo the “sus-
                       ply to direct physical loss of or                      dam-                          pension" of your "operations" during
                       age to           all   exterior   and   interior building                            the "period of restoration". The "sus-
                       glass caused by or resulting from a                                                  pension" must be caused by direct
                       Covered Cause of Loss, including                                                     physical loss or     damage at the prem-
                       glass breakage and damage to glass
                                                                                                            ises of      a Dependent Property, caused




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                             by or resulting from a Covered Cause                                  (4)    This Coverage Extension:
                             of Loss.
                                                                                                          (a)   Applies to Dependent Property
                      (2)    Dependent Property means propeny                                                   premises lowted within the Cov-
                             operated by others whom you de-                                                    erage Territory; and
                             pend on to:
                                                                                                          (b)   Does not apply when you have
                             (a) ,Dgliver           materials _or _services,                                    more speciﬁc insuranc_e_ undeL
                                                                                                                                               '

                                                  than "water supply ser-
                                                                                                                                                   L



                                     (either                                                                    a'n‘y   cthe’r policy.
                                    vices",        "communication       supply
                                    services" or "power supply ser-
                                                                                                   (5)    We  will reduce the amount of your
                                                                                                          Business Income loss, other than Ex-
                                    vices") to you, or to others for
                                                                                                          tra  Expense, to the extent you can
                                    your account (Contributing Loca-
                                                                                                          resume "operations" in whole or in
                                    tions);
                                                                                                          part, by using any other available:
                            (b)     Accept your products or services
                                                                                                          (a)   Source of materials; or
                                    (Recipient Locations);
                                                                                                          (b) Outlet for      your products.
                            (c)     Manufacture products for delivery
                                    to your       customers under contract                        (6)    The most we will pay for Business ln-
                                    of     sale      (Manufacturing     Loca-                            come and Extra Expense under this
                                   tions); or                                                            Coverage Extension in any one oo-
                            (d) Attract   customers to your busi-                                        currenoe is $10,000, regardless of
                                   ness (Leader Locations).                                              the number of described premises or
                                                                                                         number of Dependent Properties in-
                  (3)       With respect to this Coverage Exten-.
                                                                                                         valved.
                            sion, the "period of restoration":

                                   Begins 24 hours after the time of                              (7)    Payments made under this Coverage
                            (a)
                                                                                                         Extension are in addition to the appli-
                                   direct physicalloss or damage
                                                                                                         cable Umits of Insurance.
                                   mused by or resulting from any
                                   Covered Cause of Loss at the                              .    Business Income and Extra Expense —
                                   premises of the Dependent Prop-                                Newly Acquired Premises
                                   erty:
                                                                                                 (1)     When  the Declarations show that you
                            (b)   Ends on the date when the prop-                                        have coverage for Business Income
                                  eny at the premises of the De-                                         and Extra Expense. you may extend
                                  pendent Property should be re-                                         that insurance to apply to the aclual
                                  paired,      rebuilt   or replaced with                                loss of Business Income you sustain
                                  reasonable          speed and       similar                            and reasonable and necessary Extra
                                  quality:     and                                                       Expense you incur. due to the "sus-
                        (c)       Does not include any increased                                         pension" of your "operations" during
                                  period required due to the en—                                         the "period of restoration". The "sus-
                                  forcement of any ordinance or                                          pension" must be caused by direct
                                  Iawthat:                                                               physical loss ordamage caused by or
                                  (I)    Regulates the constmction.                                      resultingfrom a Covered Cause of
                                         use or repair, or requires the                                 Loss a! any premises you newly ac-
                                         tearing down of any properly;                                  quire by purchase or lease (other
                                         or                                                             than at fairs. trade shows or exhibi-
                                                                                                        tions).
                                  (ii)   Requires any insured or oth-
                                         ers to test for, monitor, clean                         (2)    The most we  will pay under this Cov-

                                         up,   remove.     contain,    treat,                           erage Extension for the sum of Busi-
                                         detoxify or neutralize. or in                                  ness Income and Extra Expense you
                                         any way respond        to,   or as-                            incur in any one occurrence is
                                         sess the effects of "pollut-                                   $250,000 at each newly acquired
                                         ants".                                                         premises.

                                                                                                 (3)    Insurance under this Coverage Ex-
                                                                                                        tension for  each newly acquired




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                       premises will end when any of the                    fol-                    (f)     Othemvise covered under the
                       lowing ﬁrst occurs:                                                                  Fine Arts Additional Coverage; or

                       (a) This policy expires;                                                     (g) Othenlvise           covered under the      fol-

                                                                                                            lowing Coverage Extensions:
                       (b)    90 days expire after you acquire
                             that premises;                                                                 (i)     Accounts Receivable;
                             You raven shat nwmisaﬁ t9. us: 9r                                                      EJectronigDatg Precessiqg;
                      m.                                                                                   '(ii)

                       (d)   The Business ‘In’oo'rﬁe' 6r 'Extra                                             (iii)   Personal Effects; or
                             Expense is more speciﬁcally in-                                                (iv)ValuabIe         Papers    and     Re-
                             sured.                                                                                 cords.
                      We      will        charge you additional pre                      g.   Civil Authority
                      mium          for    premises reported from the
                      date you acquire that premises.                                         (1)   When  the Declarations show that you
                                                                                                    have coverage for Business Income
                (4)    Payments made under                   this   Coverage                        and Extra Expense, you may extend
                      Extension are in addition to the appli-                                       that insurance to apply to the actual
                      cable Limits of Insurance.                                                    loss of Business income you sustain
           f.   Business Personal Property Off Prem-                                                and reasonable and necessary Extra
                ises                                                                                Expense you incur mused by action
                                                                                                    of    civil    authority that prohibits access
                (1)   When a   Limit of Insurance is shown
                      inihe Declarations for Business Per-
                                                                                                    to the described premises.              The    civil

                      sonal Property at the described prem-                                         authority action          must be due   to direct

                      ises.       you     may extend         that insurance
                                                                                                    physical loss of or           damage    to prop-
                                                                                                    erty at locations. other than described
                      to apply to direct             physiwl loss of or
                      damage          to       such propeny caused by                               premises, that are within 100 miles of
                      or resulting             from a Covered Cause of                              the descn’bed premises, caused by or
                      Loss while:                                                                   resulting from a Covered Cause of
                                                                                                    Loss.
                      (a)    In the course of transit to or from
                             the described premises; or                                       (2)   The coverage for Business Income
                                                                                                    will begin 24 hours after the time of
                      (b) Temporarily away from the de-
                                                                                                    that action and will apply for a period
                          scribed premises. and:
                                                                                                    of three consecutive weeks after cov-
                             (i)     At a premises you do not                                       erage begins.
                                     own, lease or operate; or
                                                                                              (3)   The coverage             for Extra   Expense   will
                             (ii)    At any       fair.   trade   show   or ex-
                                                                                                    begin immediately after the time of
                                     hibition at      a premises you do
                                                                                                    that actionand will end when your
                                     not   own     or regularly occupy.
                                                                                                    Business Income coverage ends for
                (2)   This Coverage Extension does not                                              this    Coverage Extension.
                      apply to property:
                                                                                         h.   Electronic Data Processing
                      (a)    While        in   the custody of the United
                                                                                              (1)   When a   Limit of Insurance is shown
                             States Postal Service;
                                                                                                    inthe Deciarations for Business Per-
                      (b)    Rented or leased to others;                                            sonal Property at the described prem-
                      (c) After delivery to               customers;                                    you may extend that insurance
                                                                                                    ises.

                             In     the care, custody or control of
                                                                                                    toapply to direct physical loss of or
                      (d)
                             your       salespersons, unless the
                                                                                                    damage to "Electronic Data Process-
                                                                                                    ing Equipment" and to "Electronic
                             property is in such care, custody
                             or control at a fair, trade show or                                    Data Processing Data and Media",
                             exhibition;
                                                                                                    caused by or resulting from a Cov-
                                                                                                    ered Cause of Loss.
                      (e')   Temporarily at a premises for
                             more than 60 consecutive days,                                   (2)   Worldwide coverage is provided un-
                             except "money" and "securities"                                        der this Coverage Extension. The
                             at a "banking premises";                                               coverage territory as described in




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                           Paragraph F.8.b. does not apply to                                                       deﬁciency in design. installa-
                          this     Coverage Extension.                                                              tion, maintenance, repair or

                    (3)   This          Covemge          Extension does not                                         modiﬁcation of your computer
                          apply         to:                                                                         system or any computer sys-
                                                                                                                    tem or network to which your
                          (a) "Stock"; or
                                                                                                                    system is connected or on
                          (b)     Propmy          that is‘leas‘ed'ar‘rented                                         which your system. depends f          *:

                                  to others.
                                                                                                                    (inciuding electronic data) re_-
                    (4)   The   following  exclusions as de—                                                        suits in a "specified cause of
                          scribed in Paragraph B. Exclusions                                                        loss" or mechanical break-
                          do not apply to this Coverage Exten-                                                      down    of "Electronic Data
                          sion:                                                                                     Processing Equipment", we
                                                                                                                    will pay for the loss or dam-
                          (a)     Paragraph           1.e. Utility Services;
                                                                                                                    age caused by that "speciﬁed
                          (b)     Paragraph           2.a.;   or                                                    cause of loss" or mechanical
                          (c)     Paragraph           2.d.(6).                                                      breakdown    of   "Electronic
                          The  following additional exclusions
                                                                                                                    Data Processing Equipment";
                (5)
                          apply to this Coverage Extension:                                                  (iv)Unexplained        or    indetermin-
                                                                                                                able failure,
                          (a)    We       will   not pay for loss or dam-                                                           malfunction      or
                                 age caused by or resulting from                                                    slowdown of a computer sys-
                                                                                                                    tem.    including     "Electronic
                                 any of the following:
                                                                                                                    Data Processing Data and
                                 (i)     Programming                errors,     omis-                               Media" or the inability to ac-
                                         sions or incorrect instructions
                                                                                                                    cess or properly manipulate
                                         to a machine. But if pro-                                                  "Electronic Data Processing
                                         gramming errors, omissions                                                 Dam and   Media": or
                                         or incorrect instructions lo a
                                        machine results in a "speci-                                         (v)    "Electronic   Vandalism"        ex-
                                                                                                                    cept as provided       in     Para—
                                        ﬁed cause of loss" or me-
                                                                                                                    graph (9) below.
                                        chanical breakdown of "Elec-
                                        tronic   Data    Processing                            (3)   The most we     wilf pay under this Cov-
                                         Equipment“.          we will pay for                        erage Extension for loss of or dam-
                                        the loss or           damage caused                          age to "Electronic Data Processing
                                        by that "speciﬁed cause of                                   Equipment" and to "Electronic Data
                                        toss” or mechanical break-                                   Processing Data and Media". while in
                                        down of "Electronic Data                                     transit or at a premises other than the
                                        Processing Equipment";                                       described premises, in any one oc—
                                                                                                     currence, is $25,000.
                                (il)    Unauthorized viewing, copy-
                                        ing or use of "Electronic Data                         (7)   The most we will pay under            this   Cov-
                                        Processing Data and Media"                                   erage Extension for loss of or dam-
                                        (or any proprietary or conﬁ-                                 age to duplicates of your "Electronic
                                        dential information or intellec-                             Data Processing Data and Media"
                                        tual property) by any person.                                while stored at a separate premises
                                        even    such activity is char-
                                                 if                                                  from where your original "Electronic
                                        acterized as "theft";                                        Data Processing Data and Media" are
                                (iii)   Errors or deﬁciency              in   design,
                                                                                                     kept,     in     any   one occurrence.         is

                                                    maintenance, re-
                                        instaflation,                                                $25,000.
                                        pair or modiﬁcation of your                            (8)   The most we will pay under this Cov-
                                        computer systems or any                                      erage Extension for loss or damage
                                        computer system or network                                   to "Electronic Data Processing Equip-
                                        to which your system is con-                                 ment". including such property you
                                        nected or on which your sys-                                 newly acquire in any one occurrence
                                        tem depends           (including elec-                       is $25,000 at each newly acquired
                                        tronic data).         But   If   errors or                   premises. With respect toinsurance




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                      under this Coverage Extension on                                    time and are the result of the same
                      newly   acquired  "Electronic Data                                  cause will also be considered one
                      Processing Equipment". coverage will                                "breakdown".
                      end when any of the following ﬁrst
                                                                                    (2)   Under          this    Coverage Extension, the
                      occurs:
                                                                                          following           coverages also apply:
                      (a)      This policy expires;
                                                                                          (a)     Expediﬁng Expenses
                      (Bj-     180 days     éip‘iFe-afte‘r   you   a‘oquire‘                 ‘

                                                                                                          In tiie 'eVénto'fdireCtphysical
                                                                                                  (i)
                               the "Electronic Data Processing                                            loss of or     damage to Covered
                               Equipment“; or                                                             Property caused by or result—
                      (c)      You     report values tn us.                                               ing from a “breakdown" to
                                                                                                          "covered equipment", we will
               (9)    The most we will pay under this Cov-
                      erage Extension for loss of or dam-                                                 pay for the reasonable addi-
                                                                                                         tional     expenses you neces-
                      age to "Electronic Data Processing
                      Data and Media" caused by or result-
                                                                                                         sarily incur to    make tempo-
                                                                                                         rary repairs to. or expedite
                      ing from "electronic vandalism", in
                                                                                                         the permanent repair or re-
                      any one occurrence is $25,000. re-                                                 placement of, the lost or
                      gardléss of the number of the number
                                                                                                         damaged Covered            Property.
                      of premises involved. Such limit also
                                                                                                  (ii)   Expediling expenses include
                      applies to any otherwise covered loss
                                                                                                         overtime wages and the extra
                     of Business            Income or Extra Ex-
                                                                                                         cost of express or other rapid
                     pense.
                                                                                                         means of transportation.
              (10)   The most we will pay under               this   Cov—
                                                                                                 (iii)   The most we will pay under
                     erage Extension for loss of or dam—
                                                                                                         thisCoverage Extension for
                     age to "Electronic Data Processing
                                                                                                         allExpediting Expenses aris-
                     Equipment" and to "Electronic Data
                                                                                                         ing out of any one “break-
                     Processing Data and Media". at the                                                  down"     is   $25.000. This   limit is
                     described premises, in any one oc-                                                  part of    and not    in addition to
                     currence,is the Limit of Insurance
                                                                                                         the Limit of Insutance that
                     shown    the Declarations for Busi—
                                  in                                                                     applies to lost or damaged
                     ness Personal Property at such                                                      Covered        Property.
                     premises or $50,000, whichever is
                                                                                          (b) "Pollutants"
                     less.
                                                                                                 (i)’    In    the event of direct physical
               Equipment Breakdown                                                                       loss of or     damage to Covered
               (1)   When a            Limit of Insurance     is   shown                                 Property caused by or result-
                     in     the Declarations for Building or                                             ing from a "breakdown" to
                     Business Personal Properly at the                                                   "covered equipment". we will
                     described premises, you may extend                                                  pay for the additional cast to
                     that insurance to apply to direct                                                   repair or replace Covered
                     physical loss of or          damage       to    Cov-                                Property because of con-
                     ered Property at the described prem-                                                tamination by "pollutants".
                     ises caused by or resulting from a                                                  This includes the additional
                     "breakdown" to "covered equipment".                                                 expenses to clean up or dis-
                                                                                                         pose of such properly. Addi-
                     VWth respect to otherwise covered                                                   tional costs      mean     those be-
                     Business Income and Extra Expense.
                                                                                                         yond what would have been
                     "breakdown" to "covered. equipment"
                                                                                                         required had no "polluhnts"
                     will    be considered a Covered Cause                                               been involved.
                     of Loss.
                                                                                                 (ii)    The most we         will   pay under
                     If   an   initial   "breakdown" causes other                                        this Coverage Extension for
                     “breakdowns". all will be considered                                                loss or damage to Covered
                     one "breakdown". All "breakdowns"                                                   Property caused by contami-
                     that manifest themselves at the same                                                nation by "pollumnts" arising




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                                       out of any one "breakdown"                                       (c)    Paragraph      2.e.
                                       is $25,000. This limit i's sub-
                                                                                                 (7)    \Mth respect to this Coverage Exten~
                                       ject to   and not   in addition         to
                                                                                                        sion. the following condition is added
                                       the Limit of Insurance that
                                                                                                        to Paragraph F. Commercial Property
                                       applies to last or damaged
                                                                                                        Conditions:
                                       Covered Property.
                        (c) Sewidélnte'rrdisfi‘dzi
                                                           "    *4    '

                                                                          f:   :4 ~——   :34,-           Suspension
                                                                                                        Ifany "covered equipment" is found
                               When       the Declarations     show   that
                                                                                                       to be in, or exposed to a dangerous
                              you have coverage for Business
                                                                                                       condition, any of our representatives
                              Income and Extra Expense, you
                              may extend that insurance to ap-                                         may immediately suspend the insur-
                                                                                                       ance provided by this Coverage Form
                              ply to loss caused by or resulting
                                                                                                       for loss or damage caused by or re-
                              from a "breakdown" to equipment
                              that is owned. operated or con-
                                                                                                       suﬂing from a "breakdown" to that
                                                                                                       "covered  equipment". This can be
                              trolled by a local public or private
                                    or distributor that directly
                              utility
                                                                                                       done by delivering or mailing a notice
                              generates, transmits, distributes                                        of    suspension      lo:

                              or provides the following utility                                        1.     Your    last   known address;      or
                              services:                                                                2.     The address where the "covered
                              (i)     "Water Supply Services";                                                equipment"       is located.

                              (ii)    "Communication Supply Ser-                                       Once suspended in this way, such in-
                                      vices"; or                                                       surance can only be reinstated by a
                              (iii)   "Power Supply      Services".                                    written endorsement issued by us. If

                       We will  not pay under this Coverage
                                                                                                       we suspend your insutance, you will
                 (3)
                                                                                                       get a pro rata refund of premium for
                       Extension for loss or damage caused
                                                                                                       that "covered equipment". But the
                       by or resulting from any of the follow-
                                                                                                       suspen'sion will        be    effective   even   if
                       ing tests:
                                                                                                       we have       not yet   made or offered a      re-
                       (a)    A      hydrostatic,    pneumatic or gas                                  fund.
                              pressure test of any boiler or
                              pressure vessel; or                                               (8)    The most we  will pay under this Cov—
                                                                                                       erage Extension for all direct physical
                       (b)    An      insulation    breakdown test of
                                                                                                       loss of or     damage to:
                              any type     of electrical equipment.
                                                                                                       (a)    "Diagnostic Equipment";
                 (4)   We will  not pay under this Coverage
                       Extension for toss or damage caused                                             (b)    "Power Generating Equipment";
                       by or resulting from a change in:                                                      or

                       (a)    Temperature; or                                                          (c)    "Production Equipment";

                       (b) Humidity;                                                                   caused by or resulting from a "break-
                                                                                                       down" to “covered equipment" in any
                       as a consequence of "breakdown" lo
                       "covered eq uipment".                                                           one occurrence is $1 00,000.
                                                                                                Interruption of        Computer Operations
                 (5)   The following limitations in Paragraph
                       A.5. do not apply to this Coverage                                       (1)    When                    show thal you
                                                                                                                   the Declarations
                       Extension:                                                                      have coverage for Business Income
                              Paragraph :42); and
                                                                                                       and Extra Expense, you may extend
                       (a)
                                                                                                       that insurance to apply to a "suspen-
                       (b)    Paragraph 1(3).                                                          sion" of "operations" caused by an in-
                 (6)   The  following exclusions in Para-                                              terruption of computer operations due
                       graph B. Exclusions do not apply to                                             to direct physical loss of or             damage
                       this   Coverage Extension:                                                      to "Electronic Data Processing Data
                       (a)    Paragraph      2.a.;                                                     and Media" at ihe described premises
                                                                                                       caused by or resulting from a Cov-
                       (b)    Paragraph      2.d.(6);   and
                                                                                                       ered   Cause     of Loss.




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                (2)    The most we     will pay under this Cov—                                         or not the motor vehicle or motor~
                       erage Extension is $25000 for the                                                ized conveyance is in motion; or
                       sum of all covered interruptions an's-                                           During hitching or unhitching op-
                                                                                                 (b)
                       ing out of all Covered Causes of Loss
                                                                                                        erations, or when a trailer or
                       occurring during each separate 12
                                                                                                        semi—trailer     becomes   accidentally
                       month period of               lhis policy   beginning                            unhilched from a motor vehicle or
                       withvthe eﬁective date of this polin-u                      -
                                                                                                        motorized conveyance.         ;
                                                                                                                                       '
                                                                                                                                        -

                (3)    Payments made under                  this   Coverage               (3)    The most        we will pay for   loss or   dam-
                       Extension are in addition to the appli-                                   age under this Coverage Extension in
                       cable Limits of Insurance.                                                any one occurrence is $5,000 regard-
               Money Orders and Counterfeit Paper                                                less of the number of described
               Currency                                                                          premises, trailers or semi-trailers           in-
                                                                                                 volved.
               When a   Limit of Insurance is shown in the
               Declarations for Business Personal Prop-                                   (4) This           insurance   is   excess over the
               erty at the described premisesnyou may                                           amount due (whether you can collect
               extend that insurance to apply to loss due                                       on it or not) from any other insurance
               lo thegood faith acceptance oﬁ                                                   covering such property.

               (1)    Any  U.S. or Canadian post ofﬁce or                              m. Ordinance or Law — Increased Period
                      express money order, issued or pur-                                 of Restoration
                       porting tohave been issued by any                                        When:
                                                                                          (1)
                      post ofﬁce or express company. if the
                      money order is not paid upon presen-                                      (a)     A Covered Cause of Loss occurs
                      tation; or
                                                                                                        to  propeny at the described
                                                                                                        premises; and
               (2)    Counterfeit United States or                       Cana-
                      dian paper currency;                                                      (b)     The Declarations show that you
                                                                                                        have coverage for Business ln-
               in exchange for merchandise, "money" or
                                                                                                        come and Extra Expense;
               services or as part of a normal business
               transaction.                                                                     you     may extend       that insurance lo ap—
                                                                                                ply to the amount of actual loss of
               Non-Owned Detached                     Trailers
                                                                                                Business Income you sustain and
               (1)    When a      Limit of Insurance is shown                                   reasonable and necessary Extra Ex-
                      in    the Declarations for Business Per-                                  pense you incur during the increased
                      sonal Property at the described prem-                                     period of "suspension" of "operations"
                      ises,       you may extend that insurance                                 caused by or resulting from the en-
                      to apply to direct physical ioss of or                                    forcement of any ordinance or law
                      damage           to    trailers   or semi-trailers                        that:
                      that   you do not own, provided               that:
                                                                                                       Regulates the construction. repair
                                                                                                (a)
                      (a)    The      trailer     or semi-trailer   is   used                          or replacement of       any property;
                             in   your business;                                                       Requires the tearing down or re-
                                                                                                (b)
                      (b)    The      trailer      or semi-trailer       is   in                       placement of any parts of prop-
                             your are. custody or control at                                           erty notdamaged by a Covered
                             the described premises; and                                               Cause of Loss; and
                      (c)    You have a            contractual responsi-                        (c)    Is in   force at the time of loss.
                             bility   to    pay   for loss of or   damage                             Coverage Extension applies only
                                                                                         (2) This
                             to the trailer or semi-trailer.
                                                                                                to the period that would be required,
              (2)     We     will     not pay for loss or          damage                       with reasonable speed. to recon-
                      that occurs:                                                              struct. repair or replace the property

                      (a)   While the         trailer or semi-trailer is                        to comply with the minimum require-
                            attached to any motor vehicle or                                    ments of the ordinance or law.
                            motorized conveyance. whether                                (3) This        Coverage Extension does not
                                                                                                applyto:




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                         (a)     Loss due to an ordinance or law                                         Io    apply to direct physical loss of or
                                 that:                                                                   damage      to personal effects owned
                                 (i)    You were required to                    comply                   by:
                                        with before the loss.                   even if                  (a)    You; or
                                        the     property             was        undam-
                                                                                                         (b)    Your ofﬁcers,         partners.     "mem-
                                        aged; and              _
                                                                                                                bers". 'fmanagers", "emplqyees",
                                (ii)    Ybu‘   faile'd   to'
                                                                   Comply   with; 6r
                                                                                                                                                               “
                                                                                                               directors or trustee‘s;
                         (b) Costs     associated with the en—                                           caused by or resulting from a Gov'-
                                forcement of any ordinance or                                           ered       Cause   of Loss.
                                law that requires any insured or
                                others to test                                                    (2)   Such property must be located                 at a
                                                         for,       monitor. cfean
                                                                                                        described premises.
                                up,    remove, contain,               treat,     detox-
                                ify    or neutralize, or in any way re~                           (3)   The mosi we will pay for loss or dam-
                                spond      to, or assess the effects of                                 age under this Coverage Extension in
                                "pollutants".                                                           any one occurrence is $25,000 at
                         Paragraph                                                                      each described premises.
                  (4)                         B.1.a.,    does not apply to
                         this   Coverage Extension.                                               (4)   Payments under             this   Coverage Ex-
                         The most we                                                                    tension are        in   addition to the applica-
                  (5)                will pay for loss under
                            Coverage Extension in any one
                         this                                                                           ble Limits of Insurance.

                        occurrence is $25,000 at each de-                                    p.   Signs
                        scribed premises.
                                                                                                  (1)   !f:

                  (6)   Payments made under                         this   Coverage                            You are the
                                                                                                        (a)                      building owner;    and
                        Extension are in addition to the appli-
                        cable Limits of Insurance.                                                      (b)    A   Limit of Insurance       is   shown    in

                                                                                                               the Declarations for Building;
            n.   Outdoor Property
                                                                                                        at the described premises,  you may
                  (1)   When a           Limit of Insurance                is   shown                   extend that insurance to apply to di-
                        in  the Declarations for Building or
                                                                                                        rect physical loss of or damage to
                        Businesa Personal Properly at the
                                                                                                        outdoor signs attached to the build-
                        described premises, you may extend
                                                                                                        ing. or on or within 1,000 feet of the
                        that insurance to apply to direct
                                                                                                        described premises, caused by or re-
                        physical loss of or damage to the fol-
                                                                                                        sulting     from a Covered Cause of
                        lowing types of outdoor property at
                                                                                                        Loss.
                        that described premises caused by or
                        resulting from a Covered Cause of                                         (2)   If:


                        Loss:                                                                           (a)    You are a tenant;
                        (a)     Radio or television antennas (in-                                       (b)    A Limit of Insurance is shown in
                                cluding microwave or satellite                                                 the Declarations for Business
                               dishes)  and their lead-in                       wiring,                        Personal Property; and
                                masts or towers: or
                                                                                                        (c)    You own      or are contractually ob-
                        (b)    Bridges, walks, roadways, patios                                                ligated to repair or replace out—
                               and other paved surfaces.                                                       door signs;
                 (2)    The most we will pay for loss                       or dam-                     at the described premises.  you may
                        age under this Coverage Extension in                                            extend that insurance to apply to di-
                        any one occurrence is $1 0,000 at                                               rect physical loss of or            damage       to
                        each described premises.                                                        outdoor signs attached to the build-
        o.       Personal Effects                                                                       ing, or on or within 1,000 feet ofthe
                                                                                                        described premises, caused by or re-
                 (1)    When a    Limit of Insurance is shown
                                                                                                        sulting from a Covered Cause of
                        in the Declarations for Business Per-
                                                                                                        Loss‘
                        sonal Property at the described prem-
                        ises, you may extend that insurance




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            q.     Spoilage — Consequential Loss                                                       service of such non-awned build-
                                                                                                       ing.
                   (1)   When a          Limit of Insurance          4‘s   shown
                         in the Declarations for Business Per-                            (2)   We will       not pay under this Coverage
                         sonal Property at the described prem—                                  Extension for loss or damage;
                         ises,    you may extend that insurance                                        Caused by or      resulting from ﬁre
                                                                                                (a)
                         to apply to consequential loss to your
                                                                                                       O_r   explpsion; qr            _H
          ”64‘.-       r’JFlusines's      Perscnal Property'cau‘sed
                                                                                                                                               _




                                                                                                       'ro g'lass (othe'r    thah glass bﬁiidﬁ"
                                                                                                (b)
                         by a change          in:
                                                                                                       ing blocks) or to     any   lettering, or-
                         (a)     Temperature; or
                                                                                                      namentation or           burglar      alarm
                         (b) Humidity;                                                                tape on glass.
                         caused by or resulting from a Cov-                               (3)   This Coverage Extension applies only
                         ered Cause of Loss to any of the fol-                                  if you are a tenant and you are con-

                         lowing types of equipment situated                                     tractually obligated to insure this ex-
                         within the building at the described                                   posure.
                                                      '



                         premises:
                                                                                     s.   Valuable Papers and Records
                         (a)     Refrigerating;
                                                                                          (1)   When   a Limit of Insurance is shown
                         (b) Cooling;                                                           in the Declarations for Business Per-
                         (c)     Humidifying;                                                   sonal Property at the described prem—
                                                                                                ises, you may extend that insurance
                         (d) Air—conditl‘oning;
                                                                                                to appIy to direct physical loss of or
                         (e)    Heating;                                                        damage to "valuable papers and re—
                         (f)    Generating or convening power;                                  cords", that:
                                or                                                              (a)   You own; or
                         (g) Connections, supply or transmis-                                   (b)   Are owned by       others, but in your
                             sion Iines and pipes associated                                          care, custody or control;
                                with the   above equipment.
                                                                                                caused by or         resulting from        a Cov-
                 (2)     With respect ta this Coverage Exten-                                   ered   Cause of Loss.
                         sion, "breakdown" to "covered equip—
                                                                                          (2)   This Coverage Extension includes
                         ment" will not be considered a Cov-
                                                                                                the cost to research. replace or re-
                         ered Cause of Loss, even if othelwise
                                                                                                store the lost information on "valuable
                         covered elsewhere in this Coverage
                                                                                                papers and records" for which dupli-
                         Form.
                                                                                                cates do not exist.
                 (3)     Paragraphs                 B.2.d.(7)(a)            and                 The    following exclusions apply to this
                                                                                          (3)
                         B.2.d.(7)(b)      do not apply          to this   Cov—                 Coverage Extension:
                         erage Extension.
                                                                                                (a)   We        not pay for any loss or
                                                                                                              will
           r.    Theft        Damage to Rented             Property                                   damage    to "valuable papers and
                 (1)     When a       Limit of Insurance is shown                                     records" caused by or resulting
                         in    the Declarations for Business Per-                                     from any errors or omissions in
                         sonal Properly at the described prem-                                        processing or copying. But if er-
                         ises,   you may extend that insurance                                        rors or omissions in processing or
                         to apply to direct physical loss of or                                       copying results in ﬁre or explo—
                         damage to the following caused by or                                         sion. we will pay for the resulting
                         resulting       by    "theft"      or    attempted                           loss or damage caused by that
                                     ‘




                         "theft":                                                                     ﬁre or explosion.

                         (a)    That part of a building you oo                                  (b)   Paragraph       B.1.b.   Earth       Move-
                                cupy. but do not own, which con-                                      ment;
                                tains Covered Property; and                                     (c)   Paragraph B.1.c. Governmental
                                                          such non-awned                              Action;
                         (b) Pruperty within
                                building   used      for   maintenance or                       (d)   Paragraph B.1.d. Nuclear Haz-
                                                                                                      ard;




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                          (e)    Paragraph        B.1.f.   War and   Military                           (a)   An  ordinance or law that is en-
                                Action;                                                                       forced even if the property has
                          (f)   Paragraph B.1.g. Water;                                                       not    been damaged; or
                          (g)   Paragraph B.1.h. Neglect; and                                           (b)   The increased            cosls incurred to

                                Paragraph 8.2.9.                                                              comply with an ordinance or law
                          (h)
                                                                                                              in the course of construction, re-
                          No other éxclusiéns‘in Piiégrap‘hﬁB‘.“                                              pair,-reno'Vation,: remodeling or
                         Exclusions apply to this Coverage                                                    demolition of property, or removal
                         Extension.    However. if any exclu-                                                 of   its   debris, following       a physical
                         sions are   added by endorsement to                                                  loss to that property.
                         this Coverage Form, such exclusions
                                                                                          b.    Earth       Movement
                         will apply to this Coverage Extension.

                                                                                                (1) Earthquake. including any earth sink-
                  (4)    The most we   will pay under this Cov-
                                                                                                    ing, rising or shiﬂing related to such
                         erage Extension for loss of or dam-
                                                                                                    event;
                         age to "valuable papers and records"
                         in any one occurrence whire in transit                                 (2) Landslide,            including     any earth           sink-
                         or at a premises other than the de—                                           ing, rising or shifting related lo                   such
                         scribed premises is $25,000.                                                  event;

                  (5)    The most we will pay under this Cov-                                   (3)    Mine subsidence, meaning subsi—
                        erage Extension for loss of or dam-                                            dence of a man-made mine, whether
                        age to "valuable papers and records"                                           or not mining activity has ceased; or
                        in any one occurrence at each de—                                      (4) Earth sinking (other than sinkhole col-
                        scn‘bed premises is $25,000 or the                                             lapse), rising or shifting including soil
                        amount shown             in   the Declarations for                             conditions          which       cause         settling,
                        Valuable       Papers              and     Records.                           cracking or other disarrangement of
                        whichever     is   greater.                                                   foundations or other parts of realty.
                                                                                                      Soil    conditions        include contraction,
                  (6)   Payments made under this Coverage
                        Extension arejn addition to the appli-                                        expansion,          freezing,      thawing.           ero-
                        cabfe Limib of Insurance.                                                     sion, improperly          compacted            soil   and
                                                                                                      the action of water under the ground
  B.   EXCLUSIONS                                                                                     surface;
       1.   We will not pay for loss or damage caused di—                                      all    whether naturally occurring or due to
            reme or indirectly by any of the following.                                        man made            or other artiﬁcial causes.
            Such loss or damage is excluded regardless
            of any other cause or event that contributes                                       But if Earth Movement, as described in
            concurrently or in any sequence to the loss.                                       Paragraphs (1) through (4) above results
            These exclusions apply whether or not the                                          in    ﬁre or explosion,          we     will    pay    for the
            loss event results in widespread                     damage
                                                                                               loss or      damage caused by             that ﬁre or ex-
                                                                          or
            affecls a substantial area.                                                        plosion.

            a.   Ordinance or Law                                                              (5)    Volcanic eruption. explosion or effu-
                                                                                                      sion. But if volcanic eruption, explo-
                 (1)    The enforcement               of any ordinance or
                                                                                                      sion or effusion results            in   ﬁre or vol-
                        law:
                                                                                                      'canic action.       we
                                                                                                                         pay for the loss
                                                                                                                                will
                        (a)    Regulating the construction. use                                       or damage caused by that ﬁre or vol-
                               or repair of any property; or                                          canic action.
                        (b) Requiring the tearing down of any                                         Volcanic action         means      direct loss or
                            propeny, including the cost of                                            damage        resulting from the eruption of
                               removing    its   debris.                                              a volwno, when the               loss or   damage
                 (2) This exclusion, Ordinance or Law,                                                is caused by:

                     applies whether the loss results from:                                                 Airborne
                                                                                                      (a)                  volcanic      blast       or air—
                                                                                                            borne shock waves;




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                                                                                                                    BUSI NESSOWN ERS


                           (b)   Ash, dust. or paﬂiculate matter;                                 governmental authority in hindering
                                 or                                                               or defending against any of these.
                         (c)     Lava ﬂow.                                          g.    Water
                         All      volcanic      eruptions
                                                        occur    that                     (1) Flood, surface water.        waves, tides,
                         within any 168—hour period will con-                                     tidalwaves. ovemow of any body of
                         stitute      a   single occurrence.                                      water, or their spray. all whether
                         Volcanic action does no't include the                                    driven'by Wind o'r'n‘ot;

                         cost to remove ash, dust or particu—                             (2)     Mudslide or mudﬂow;
                         late matter that does not cause direct
                                                                                          (3)     Water or sewage that backs up or
                         physical loss of or            damage       to   Cov-                    overﬂows from a sewer. drain or
                         ered Property.
                                                                                                  sump; or
            c.    Governmental Action
                                                                                          (4)     Water under the ground surface
                  Seizure or destruction of property by or-                                       pressing on, or ﬂowing or seeping
                  der of governmental authority.                                                 through:
                 But we will pay for loss or damage                                              (a)    Foundations,    walls,    ﬂoors        or
                 caused by or resulting from acts of de-                                               paved surfaces;
                 struction ordered by governmental au-
                                                                                                 (h)   Basements,      whether paved or
                 thority and done al the time of a ﬁre to
                                                                                                       not;or
                 prevent its spread, if the ﬁre would be
                 covered under this policy.                                                      (c) Doors,     windows or other open—
                                                                                                       ings:
             .   Nuclear Hazard
                                                                                         all    whether naturally occurring or due to
                 Nuclear reaction or radiation. or radioac-
                                                                                         man made or other artiﬁcial        causes.
                 tive contamination, however caused.
                                                                                         But   Water. as described 'rn Paragraphs
                                                                                                 if
                 But if nuclear reaction or radiation, or ra-
                                                                                         (1) through (4) above results in ﬁre, ex-
                 dioactive contamination results in ﬁre, we
                                                                                         plosion or sprinkler leakage,           we   will    pay
                 will   pay      for the loss or   damage caused by                      for the loss or        damage caused by             that
                 that ﬁre.
                                                                                         fire,   explosion or sprinkler leakage.
            .    Utility     Services
                                                                                         Neglect
                 The failure      or ﬂuctuation of power or other
                                                                                         Neglect of an insured to use reasonable
                 utility     service supplied to the described
                                                                                         means to save and preserve propeny
                 premises, however caused,                  if   the cause               from further damage at and         after the        time
                 of the failure or ﬂuctuation occurs                      away           of loss.
                 from the described premises.
                                                                                         Collapse of Buildings
                 But   the failute or ﬂuctuation of power or
                        if

                 other utility service results in a Covered                              Collapse of buildings meaning an abrupt
                 Cause of Loss, we will pay for the loss or                              falling dawn or caving in of a building or

                 damage           resulting      from    that      Covered               any part of a building with the result being
                 Cause       of Loss.                                                    that the building or part of a building can-
                                                                                         not be occupied for its intended purpose.
                 War and         Military Action
                                                                                         (1) This exclusion     does not apply to ool-
                 (1)    War,       including     undeclared or            civil
                                                                                                 lapse of buildings if caused only by
                        war;
                                                                                                 one or more of the following:
                        Warh'ke action by a military force, in-
                 (2)
                                                                                                 (a)   A  "speciﬁed cause of loss" or
                        cluding action in hindering or defend-
                                                                                                       breakage of building glass;
                        ing against an actual or expected at-
                        tack, by any government, sovereign                                       (b)   Decay, insect or vermin damage
                                                                                                       that is hidden from view, unIess
                        or other authority using military per-
                        sonnel or other agents; or                                                     the presence of such deouy or in-
                                                                                                       sect or vermin damage is known
                 (3)    Insurredion,           rebellion,        revolution,                           to an insured prior to collapse;
                        usurped power or action                  taken by




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                          (c)    Weight of people or personal                                           is    not considered to have collapsed
                                 PTOPGW;                                                                but    is considered to be in a slate of

                          (d)    Weight of           rain that collects        on a                     imminent collapse.
                                 roof;    or                                                            With respect to buildings
                                                                                                 (4)                                              in   a state of
                          (e)    Use          of    defeciive         material   or                     imminent collapse,                we will   not pay for
                                 methogs"infucqnstrqctqu, [_emod-                                       toss or       damage
                                                                                                                          unless the state of
                                ’eling orire'n’o'vatjon         'if
                                                                      irré'collapse                    ‘i'nirﬁﬁﬁén't
                                                                                                                   Collapsé ﬁrst'manifests Ti;
                                 occurs during the course of 00n-                                       self during the policy period and is
                                 struction,remodeling or renova-                                        caused only by one or more of the
                                 tion;   or                                                             following which occurs during the pol-

                         (f)     Use          of    defective         material   or                     icy period:

                                 methods    in construction, remod-                                     (a)    A  "speciﬁed cause of                    loss"    or
                                 eling or renovation if the collapse                                           breakage of glass;
                                 occurs after construction, remod-
                                                                                                        (b)    Weight of people or personal
                                eling, or renovation is complete
                                                                                                               Property:
                                and      is   caused     in part   by a cause
                                of loss listed           in    Paragraphs (a)                           (c)    Weight of        rain that collects           on a
                                through (d) above.                                                             roof; or

                         In the event collapse results in a                                            (d)     Use       of    defective          material      or
                         Covered Cause of LOSS. we will only                                                  methods          in   construction.       remod-
                         pay for the resulting loss or damage                                                 elingor renovation if the state of
                         by that Covered Cause of Loss.                                                       imminent collapse occurs during
                                                                                                              the course of construction, re-
                  (2)    We will not pay for loss of or damage
                                                                                                              modeiing or renovation.
                        to the following types of property, if
                        otherwise covered                in     Coverage
                                                               this
                                                                                      2.   We   will not pay for loss or damage caused by

                        Form           under           Paragraphs                          or resulting from any of lhe following:
                                                                   (1)(b)
                        through (1)(f) above, unless the loss                                   Artificially       generated electrical current,                in—
                        or damage is a direct result of the col—                                cluding electric arcing that disturbs elec-
                        lapse of a building:                                                    h'ical devices, appliances or wires unless

                        (a)     Awnings.             gutters     and         down-              caused by a "speciﬁed cause of loss".
                                spouts;                                                         But    if   artiﬁcially       generated        electrical cur-

                        (b)     Outdoor radio or television an—                                 rent results in ﬁre,           we will pay for the           loss
                                tennas (including microwave or                                  or    damage caused by that ﬁre.
                                satellite dishes) and their lead-in                             Delay, loss of use or loss of market.
                                wiring, masts or towers;
                                                                                           c.   Smoke, vapor or gas from agricultural
                        (c)     Fences;                                                         smudging or industial operations.
                        (d) Piers,       wharves and docks;                                     (1)    Wear and        tear,

                        (e)     Beach or           diving platforms or ap-                      (2)    Rust, corrosion. fungus, decay, dete-
                                purtenanoes;                                                           rioration, wet or dry rot, mold. hidden

                        (f)     Retaining walls;                                                       or latent defect or any quality in prop-

                               Walks, roadway and other paved
                                                                                                       erty that      causes        it   to   damage     or de-
                        (g)
                                                                                                       stroy   itself;
                               surfaces;

                               Yard ﬁxtures; or                                                 (3)    Smog;
                        (h)

                               Outdoor swimming pools.                                          (4) Settling,         cracking.          shrinking      or ex-
                        (i)
                                                                                                      panslon;
                 (3)    A building or part of a building that:
                                                                                                (5)   Nesting or infestation, or discharge or
                        (a)    Is in   imminent danger of abruptly                                    release of waste products or secre-
                               falling   down or caving           in;   or
                                                                                                      tions,       by insects,           birds,   rodents or
                        (b) Suffers a substantial impairment                                          other animals;
                            of structu ral integrity;




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                                                                                                                           BU SIN ESSOWN ERS


                        (6)   Mechanical    breakdown,  including                               terns)      caused by or resulting from freez-
                              rupture or bursting caused by cen-                                ing, unless:
                              trifugal     force.      But    if   mechanical
                                                                                                (1)    You do your best    to maintain heat         in
                              breakdown resulm in elevator colli—
                                                                                                       the building or structure; or
                              sion, we will pay for the loss or dam-
                              age caused by that elevator collision;                            (2)   You drain the equipment and shut off
                '   '                                                                                 the water s_upply if the heat is_not
                        {7r ff?! following causes oi loss to per~
                                                                                                      maintained.
                            sonal property:
                                                                                                Dishonest or criminal acts by you, or any
                              (a)   Dampness          or dryness of atmos-
                                                                                                of your partners, "members", ofﬁcers.
                                    phere;
                                                                                                "managers",     "employees"     (including
                              (b)   Changes      in    or extremes of tem-                      leased employees). directors, trustees,
                                    perature;                                                   authorized representatives or anyone to
                              (c)   Marring or scratching;                                     whom         you entrust the property       for   any
                                                                                                purpose:
                              (d)   Changes      in    ﬂavor, color, texture
                                    or ﬁnish;                                                  (1)    Acting alone or      in collusion with 0th»
                                                                                                      ers; or
                              (e) Evaporation or leakage; or
                                                                                               (2)    Whether or not occurring during the
                        (8) Contamination             by other than   "pollut—
                            ants".                                                                    hours of emponment‘

                        But   if   an excluded cause of loss                                   This exclusion does not apply to acts of
                                                                        that   is
                                                                                               destruction by your "employees" (includ-
                             Paragraphs (1) through (8) above
                        listed in
                                                                                               ing leased employees). but "theft" by "em-
                                a "speciﬁed cause of loss".
                        results in
                                                                                               ployees" (including teased employees) is
                    building glass breakage or "breakdown"
                    to "covered equipment" (only if.otherwise                                  not covered.
                    a Covered Cause of Loss),                 we will pay for                  Voluntary parting with any property by
                    the loss or damage caused by that                                          you or anyone else   to whom you have en-
                    "speciﬁed cause of loss", building glass                                   trusted the property.
                    breakage or "breakdown" to "covered                                        Rain, snow, sand, dust, ice or sleet to
                    equipment" (only if otherwise a Covered                                    personal property in the open.
                    Cause          of Loss).
                                                                                               Discharge. dispersal, seepage, migration.
            I       Explosion of steam boilers, steam pipes,                                   release or escape of "pollutants" unless
                    steam engines or steam turbines owned                                      the discharge, dispersal, seepage, migra-
                    or leased by you, 0r operated under your                                   tion, release or escape is itself caused by
                    control. But if explosion of steam boilers,                                any of the "specified causes of loss". But
                    steam   pipes. steam engines or steam                                      if   the discharge. dispersal, seepage, mi-
                    turbines results in ﬁre or combustion ex-                                  gration, release or   escape of "pollutants"
                    plosion,        we   will   pay   for the loss or   dam-                   results in   a "speciﬁed cause of loss", we
                    age caused by            that ﬁre or combustion ex-                        will   pay                damage caused by
                                                                                                            for the loss or
                    plosion.        We will also pay for loss or dam-                          that   "specified cause of loss".
                    age caused by or              resulting   from the ex-
                                                                                               This exclusion, k. does not apply to dam-
                    plosion of gases or fuel within the fumaoe
                                                                                               age to glass caused by chemicals applied
                    of any ﬁred vessel or within the ﬂues or
                                                                                              to the glass.
                    passages through which the gases of
                    combustion pass.                                                           Default on any credit sale, loan, or similar
                                                                                              transaction.
                    Continuous or repeated seepage or leak-
                    age ofwater, or ﬂ'le presence or conden-                                   Property that      is   missing,   where the only
                sation of humidity, moisture or vapor. that                                   evidence of the loss or damage           is a short-

                occurs over a period of 14 days or more.                                      age disclosed on taking inventory. or
                                                                                              other instances where there is no physi-
            .   Water, other   liquids, powder or molten
                                                                                              cal evidence to show what happened to
                material that leaks or ﬂaws from plumb-
                                                                                              the properly. This exclusion does not ap-
                ing, heating. air conditioning or other
                                                                                              ply to   "money" and       "securities".
                equipment                (except      ﬁre protection sys-




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                n.         Loss of properly or that pan of any loss,
                                                                                                                    (1)    Any       cost    of      correcting          or    making
                           the proof of which as to its existence or
                                                                                                                           good the         fault.    inadequacy or defect
                           amount          is    dependent on:                                                             itself, including any cost incurred to
                           (1)   Any       inventory computation; or                                                       tear  down, tear out. repair or replace
                           (2)   A   proﬁt        and   loss computation.                                                  any part of any property to correct the
       '                                                                                                                   fault. inadequacy or defect; or
           ,    oi.        The,transfer_gf property t0 aperson 0t to
                           a place outside the described premises                                               ‘
                                                                                                                 (23'     Any   resulling loaS‘for' damage by a

                           on the basis of unauthorized instructions.                                                      Covered C'ause of Loss to the prop-
                                                                                                                           edy that has the fault, inadequacy or
                p.         Loss of "money" or "securities" caused by
                                                                                                                           defect until the fault. inadequacy or
                           or resulting from accounting or arithmetic
                                                                                                                          defect     is   corrected.
                           errors or omissions.
                                                                                                    4.    Business Income and Extra Expense Ex-
                q.     The cost of correcting                    or   making good the                     clusions
                       damage              to personal property attribumble
                       to    such property being processed, manu—                                         We will not pay for:
                       factured.            tested,        repaired,        restored,   re-               a:    Any        Extra Expense. or increase of Busi-
                       touched or otherwise being worked upon.                                                  ness Income loss, caused by or resulting
               We will not pay for loss or damage caused by                                                     from:
               or resulting from                   any of the          following under                                    Delay in rebuilding, repairing or re-
                                                                                                                (1)
               Paragraphs              a.        through    c.   Butan excluded
                                                                       if                                                 placing the property or resuming "op-
               cause of loss that is                    listed in Paragraphs a.                                           erations".         due      to     interference          by
               and b. below results                     in a Covered Cause of                                             strikersor other persons at the Ion-
               Loss.        we       will       pay   for the resulting          loss or                                  tion of the rebuilding, repair or re-
               damage caused by                         that     Covered Cause of                                         placement; or
               Loss.
                                                                                                               (2)        Suspension, lapse or cancellation of
               a.     Weather               conditions,          but this exclusion
                                                                                                                          any   license, lease or contract. But if
                       only applies if weather conditions contrib-
                                                                                                                          the suspension, lapse or cancellation
                       ute in any way with a cause or event ex-
                                                                                                                          is directly caused by the "suspension"
                      cluded          in    Paragraph 8.1. above to pro-
                                                                                                                          of "operations".            we     will   cover such
                      duce the loss or damage.
                                                                                                                          loss that       affects your Business ln-
               b.     Acts or decisions. including the failure to                                                         come during the              "period of restora-
                      act or decide, of any person, group, or-                                                            tion"    and the period of Extended
                      ganization or governmental body.                                                                    Business Income; or
               c.     Faulty, inadeq uate or defective:                                                  b.    Any other consequential                      loss.

                      (1)    Planning, zoning, development, sur-                              C.   LIMITS      OF INSURANCE
                             veying, siting;
                                                                                                   1.    The most We   will pay for loss or damage in
                      (2)    Design, speciﬁcations, workmanship,                                         any one occurrence is the applicable Limit of
                             repair. construction. renovation, re-                                       Insurance shown in the Declarations. Sched-
                             modeling. grading, compaction;                                              ules. Coverage Foms, or endorsements.

                      (3)    Materials used in repair, construction,                                     Inﬂation Guard
                             renovation or remodeling; or
                                                                                                         a.    When a             percentage for Inﬂation Guard is
                      (4)    Maintenance;                                                                      shown         in    the Declarations. the Limit of ln-
                      of    pan or of any properly on or off the
                                           all
                                                                                                               surance            for property to          which        this   cover-
                      described premises.                                                                      age applies           will   automatically increase by
                                                                                                               thai annual percentage.
                      If   an excluded cause of                   loss that is listed
                      in    Paragraphs      (1) through (4) above re-
                                                                                                         b.    The amount             of increase          will   be:
                      sults in       a Covered Cause of Loss, we will                                          (1)    The       Limit of Insurance that applied                   on
                      pay for the resulting loss or damage                                                            the most recent of the poiicy inoep—
                      caused by that Covered Cause of Loss.                                                           tion date, the policy anniversary date.
                      But    we will        not pay      for;                                                         or any other policy change amending
                                                                                                                      the Limit of Insurance, multiplied by




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                                                                                                                                     BUSINESSOWNERS


                 (2)    The percentage of annual increase                                         in   any one occurrence            is    the Building Glass
                        shown in the Declarations. expressed                                      Deductible          shown   in the Declarations.
                        as a decimal (example:                  8%    is   .08),                  The Businessowners Properly Coverage De-
                        multiplied by
                                                                                                  ductible          does not apply to any of the follow—
                 (3)    The number of days since the begin-                                       ing:
                        ning of the current policy year or the                                    a.     Fire       Department Service Charge;
                 '
                                 date eHhe mast recem pol;
                      "'«erfective
                        icy change amending the Limit of In-
                        surance, divided by 365.                                                  c.     Arson and Theft Reward; and

                Example:                                                                          d.     Accounts Reoe'wable.

                If:
                                                                                                  If   more than one deductible applies                   to Ioss or
                                                                                                  damage     in any one occurrence. we                    will    apply
                The applicable Building                  limit is   $100,000
                                                                                                 each deductible separately. But the total of all
                The annual percentage
                                                                                                 deductible amounts applied in any one occur—
                increase       is
                                       ‘
                                                                           8%                    rence will not exceed the largest applicable
                The number           of    days since                                            deductibla
                the beginning of the
                policy year (or            last   poﬁcy
                                                                                   E.   PROPERTY LOSS CONDI‘I10NS
                change) is                                                 146          The       following conditions apply                in   addition to the
                The amount of increase is                                               Common              Policy Condiﬁonsz

                $100900 x .08 x (146/365) =                          $3,200             1.       Abandonment
     3.    Business Personal Property Limit — Sea-                                               There 03" be ”0 abandonment 0f any Prop-
           sonal Increase                                                                        erty to us.

           a.   The   Limit of Insurance for Business Per-                                   .   Appraisal
                sonal Property shown in the Decrarations                                         If    we and you         disagree on the value of the
                will automatically increase by 25% to pro-                                                          amount of Net Income and op-
                                                                                                 property, the
                vide for seasonal variations.                                                    erating       expense or the amount of loss. either
           b.   This increase will apply only 'rf the Limit of                                   may make written demand        an appraisal of
                                                                                                                                           for
                Insurance shown for Business Personal                                            the    loss. In this     event. each party
                                                                                                                                   will select a

                Property I'n the Declarations is at least                                        competent and impartial appraiser. The two
                100% oi your average monthly values                                              appraisers will select an umpire. If they can-
                dun‘ng the lesser            of:                                                 not agree. either            may   request that selection
                                                                                                 be made by a judge of a coun having jurisdic-
                (1)    The 12 months immediately preced-
                                                                                                 tion. The appraisers will stale separately the
                       ing the date the loss or               damage       oc-
                                                                                                 value of the property. the amount of Net ln-
                       curs; or
                                                                                                 come and operating expense or the amount
                (2)    The  period of time you have been in                                      of loss. If they fail to agree, they will submit
                       business as of the date the loss or                                       their differences to the umpire.                    A
                                                     ‘
                                                                                                                                                           decision
                       damage        occurs.                                                     agreed to by any two               will   be    binding.         Each
     DEDUCTIBLES                                                                                 party      will:

     1.    We will not pay for loss or damage in                    any one                      a.     Pay    its   chosen appraiser; and
           occurrence         the amount of loss or dam-
                             until                                                               h.     Bear the other expenses of the appraisal
           age exceeds the Businessowners Property                                                      and umpire equally.
           Coverage Deductible shown in the Declara-
                                                                                                 If   there    is   an appraisal,   we will      still   retain    our
           tlons. We  will then pay the amount of covered
                                                                                                 right to     deny the    claim.
           loss or damage in excess of that Deducﬁble.
           But we wil1 not pay more than the applicable                                 3.       Duties In the Event of Loss               or'   Damage
           Limit of Insurance.                                                                   a.    You must see      that the following are done
          Regardless of the amount of the Busines-                                                     in   the event of loss or damage to Covered
          sowners Property Coverage Deductible. (he                                                     Property:
          most we will deduct from any loss or damage                                                  (1)    Notify the police if a law may have
          under the Building Glass Coverage Extension                                                         been broken. This duty does not ap-




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    BUSINESSOWNERS


                             ply to loss or damage arising from                                        may      result in loss of or          damage       to
                             "employee dishonesty" and "forgery"                                       Covered Property.
                             or alteration.
                                                                                                (9)    Cooperate with us in the investigation
                      (2)    Give us prompt notice of the loss or                                      and settlement of the Claim.
                             damage. Include a description of the
                                                                                               (10)   If you intend to continue your busi-
                             p(operty involved.
                                                                                                      ness. you must resume all qr-part of
                      (3)    As soon as       possilile,   give   us'
                                                                        a de—                         your "operations" as quickly as poss'L
                             scription of how,      when and where        the                         ble.
                             loss or   damage occurred.                                        We may examine any insured under oath.
                      (4)    Take all reasonable steps to protect                              while not  in the presence of any other in—
                             the Covered Property from further                                 sured and at such times as may be rea-
                             damage, and keep a record of your                                 sonably required, about any matter relat-
                             expenses necessary to protect the                                 ing to this insurance or the claim, includ-
                             Covered Propetty. for consideration                               ing    an    insured's     books and records.         In   the
                             in  the settlement of the claim. This                             event of an examination. an insured's an-
                             will not increase the Limit of Insur—                             swers must be signed.
                             ance. However. we will not pay for                        4.   Loss Payment             —    Building       and Personal
                            any subsequent loss or damage re-                               Property
                            sulting from a cause of loss that is not
                                                                                               In    the    evem of       loss or   damage covered
                            a Covered Cause of Loss. Also, if
                                                                                               by    this    Coverage Form,         at   our option,      we
                            feasible,   set the     damaged
                                                        property                               willeither:
                            aside and in the best possible order
                            for examination.                                                   (1)    Pay the value of              lost or    damaged
                                                                                                      PFOPEHV;
                  (5)       At our request. give us complete              in-
                            ventories of the        damaged and un-                            (2)    Pay the cost of repairing or replacing
                                                                                                      the lost or damaged property. subject
                            damaged     property. Include quantities,
                            costs,   values and amount of loss
                                                                                                      to   Paragraph       b.   below;
                            claimed.                                                           (3)    Take all or any part of the property                at
                            As                                                                        an agreed or appraised value; or
                  (6)             often as    may be
                                                   reasonably re-
                            quired. permit us to inspect the prop-                             (4)    Repair, rebuild or replace the prop-
                            erty proving the loss or       damage and                                 erty with other property of like kind
                            examine your books and         records.                                   and    quality, subject to         Paragraph        b.
                                                                                                      below.
                            Also permit us to take samples of
                            damaged and undamaged                 property
                                                                                              We      will    determine the value of             lost or
                            for inspection, testing        and    analysis,
                                                                                              damaged          property, or the cost of        its   repair
                            and permit us      lo   make copies from                          or replacement. in accordance with the
                            your books and records.                                           applicable terms of Paragraph e. below or
                                                                                              any applicable provision which amends or
                  (7)       For loss or damage from other than
                                                                                              supersedes these valuation conditions.
                            "employee dishonesty" or "forgery" or
                            alteration send us a signed. swom
                                                                                              The cost to repair, rebuild or replace does
                                                                                              not include the increased cost attributable
                            proof of loss containing the informa—
                                                                                              to enforcement of any ordinance or law
                            tion we request to investigate the
                                                                                              regulating the oonslruc‘lion, use or repair
                        claim. You must do this within 60
                                                                                              of any property, except as provided in the
                        days after our request. We will supply
                                                                                              Ordinance or Law Additional Coverage.
                        you with the necessary forms.
                        For loss or damage resulting from
                                                                                              We will give notice of our intentions within
                 (8)
                        “employee dishonesty" or "forgery" or
                                                                                              30 days        after   we   receive lhe proof of loss.

                        alteration, giveus a detailed, sworn
                                                                                              We will not pay you more than your ﬁnan-
                        proof of loss within 120 days after                                   cial interest in       the Covered Property.
                        you discovera loss or situation that




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           e.   We will      determine the value of Covered                                                (i)     The    Limit of Insurance appli-
                Property      in the event of covered loss or                                                      cable to the          lost   or damaged
                damage as follows:                                                                                 Propeny;

                (1)   At replacement cost (without deduc-                                                  (ii)    The cos1 to replace the lost or
                      tion for depreciation). except as pro-                                                       damaged property with other
                      vided in Paragraphs (2) through (1 8)                                                        property:
                                           -'

                      beisw. -7;                                                                                   a)-    Of comparable              matecial"

                      (a)   You may make a claim for loss or                                                              and    quality;   and
                            damage covered by this insur-                                                          b)     Used         for the    same      pur-
                            ance on an actual cash value ba-                                                              pose; or
                            sis instead of on a replacement
                                                                                                           (Iii)   1he amount    actually spent
                            cost basis. In the event you elect
                                                                                                                   that   necessary to repair or
                                                                                                                          is
                            to have loas or damage settled
                                                                                                                   replace the lost or damaged
                            on an actual cash value basis.
                                                                                                                   Property-
                            you may still make a claim on a
                            replacement cost basis if you no-                                              If a building is rebuilt at a new

                            tify us of your intent to do so                                                premises, the cost described in
                            within 180 days after the loss or                                              Paragraph            (ii)   above     is limited to

                            damage.                                                                        the cost which would have been
                                                                                                           incurred if the building had been
                      (h)   We, will not pay on a replacement
                                                                                                           rebuilt at the original premises.
                            cost basis for any loss or dam-
                            age:                                                                    (d)    The cost        of repair or replacement

                                   Until        the   lost    or    damaged                                does not include the increased
                            (i)
                                                                                                           cost attributable to enforcement
                                   property is actually repaired
                                                                                                           of any ordinance or law regulat-
                                   or replaced; and
                                                                                                           ing the construction, use or repair
                            (ii)   Unless the repairs or re-
                                                                                                           of any property.
                                   placement are made as soon
                                   as reasonably possible after                               (2)   If   the Declarations indicate that Ac—
                                   the loss or        damage.                                       tual Cash Value applies to Buildings
                                                                                                    or Business Personal Property, Para-
                            VWth        respect          to   tenants'   im-
                                                                                                    graph (1) above does not apply to the
                            provements and beﬂennents, the
                                                                                                    property for which Actual                    Cash Value
                            following also applies:
                                                                                                    is indicated.
                                   a)   If the conditions in Para-
                                                                                              (3)   Personal Property of others at the
                                        graphs (I) and (ii) above
                                                                                                    amount   for which you are liable plus
                                        are not met, the vaiue of
                                                                                                    the cost of labor, materlals or ser-
                                        tenants'  improvements
                                                                                                    vices furnished or arranged by you on
                                        and betterments will be
                                                                                                    personal property of others. not to
                                        determined as a propor-
                                                                                                    exceed the replacement cost.
                                        tion ofyour original cost.
                                        as set forth under Para-                              (4)   The    following propeny at actual cash
                                        graph e.(7) below; and                                      value:

                                   b)   We        will   not pay for loss                           (a)    Used or second-hand merchan-
                                        or       damage        to    tenants'                              dise held       in   storage or for sale;
                                        improvements and bet-                                              Household            furnishings;      and
                                                                                                    (b)
                                        terments if others pay for
                                                                                                    (c)    Personal eﬁects.
                                        repairs or replacement.
                            We will not pay more for loss or                                  (5) "Fine Arts" as follows:
                      (c)
                            damage on a replacement         cost                                    (a)    If there is a schedule of “ﬁne arts"

                            basis than the least of Para-                                                  on ﬁie which includes a descrip-
                            graphs (l), (ii) or (Ill) subject to                                           tion and value of the lost or dam—
                            Paragraph (d) below:                                                           aged item, we will pay the value
                                                                                                           as stated in the schedule for that




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                             item        if    there   is    a total loss to that                             are  not restored or repfaqed, the
                             item.        If   there    isa partial loss to an                                "valuable papers and records" will be
                             item.       we will        pay the cost of rea-                                  valued at the cost of replacement
                             sonably restoring or repairing that                                              with blank material of substantially
                             item.
                                                                                                              identicaltype.
                     (b) For "ﬁne arts" without a schedule                                                    "Stqqk" you have sold but not deliv-
                        "6h ﬁle as described fn3ParagI‘éph                                            (_9)

                                                                                                              ered ‘at the selling price less dis~
                         (a) above. the value of "ﬁne arts"
                                                                                                              counts and expenses you otherwise
                            will        be the        least of the following
                                                                                                              would have had.
                            amounts:
                                                                                                     (10) Property in transit (other than "stock"
                            (i)      Market vafue of the                     lost or
                                     damaged item                     at   the   time
                                                                                                              you have           sold) at the       amount of     in-

                                     and place                                                                voice, including your prepaid or ad-
                                                        of toss;
                                                                                                              vanced         freight       charges     and other
                            (ii)    The   cost of reasonably re-
                                                                                                              charges which
                                    storing the lost or damaged
                                                                                                                                         may have accrued         or
                                                                                                              become          due from you since
                                                                                                                             legally
                                    item; or
                                                                                                              the shipmenL If you have no invoice,
                            (iii)   The cost of replacing that lost                                           actual cash value            will   apply.
                                    or damaged item with prop-
                                                                                                     (11)     "Money" at          its   face value.
                                    erty substantially the                 same.
                     Glass at the cost of replacement with                                           (1 2) "Securities" at their value at the close
              (6)
                     safety glazing material                                                                 of business on the day the loss is dis-
                                                                 if   required by
                     law.                                                                                    covered.

              (7)   Tenants' Improvements and Better-                                                (1 3)   Accounts Receivable as follows:
                     mems at:                                                                                (a)    If    you cannot accurately            establish
                            Replacement cost                                                                        the amount of Accounts Receiv-
                    (a)                                          if    you make
                            repairs promptfy.                                                                       able outstanding as of the time cf
                                                                                                                    loss,    we will:
                    (b)   A    proportion of your original cost
                            if  you do not make repairs                                                             (i)    Determine the total of the av-
                            promptly.           We
                                            will determine the
                                                                                                                           erage monthly amounts of
                          proportionate value as follows:                                                                  Accounts Receivable for the
                                                                                                                           12 months immediately pre-
                          (i)       Multiply the original cost                    by                                       ceding the month in which
                                    the       number of days from the
                                                                                                                           the loss occurs; and
                                    loss or      damage         {o the expira-
                                                                                                                   (ii)    Adjust that total for any nor-
                                    tion of the lease;           and
                                                                                                                           mal    ﬂuctuations    in   the
                          (ii)      Divide            the     amount         deter—
                                                                                                                           amount for Accounts Receiv-
                                    mined    Paragraph (i) above
                                                 in
                                                                                                                           able for the month in which
                                   by the number of days from                                                              the loss occurred or for any
                                   the installation of improve-
                                                                                                                           demonstrated variance from
                                   ments        to the expiration of the
                                                                                                                           the average for that month.
                                   lease.
                                                                                                             (b)   If     you can accurately establish
                                   If your lease contains a re-                                                    the     amount of Accounts Receiv-
                                   newal option. the expiration                                                    able outstanding, that amount will
                                   of the renewal option period                                                    be used in the determination of
                                   will replace the expiration of
                                                                                                                   loss.
                                   the lease in this procedure.
                                                                                                             (c)   The  following will be deducted
                    (c)   Nothing. if others                  pay     for repairs                                  from the total amount of Accounts
                          or replacement.
                                                                                                                   Receivable, however that amount
             (a)    "Valuable Papers and Records" at                                                               is    established:
                    the cost of restoration or replace-                                                                    The amount      of the accounts
                                                                                                                   (i)
                    ment: To the extent that the contents                                                                  for   which there was no loss;
                    of the “valuable papers and records"




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                           (ii)    The amount          cf the accounts                                   termining the value of Coveted Prop-
                                   that    you are abte                to    re-                         erly:
                                   establish or collect;
                                                                                                        (a)    Distilled spirits;
                           (iii)   An amount          lo allow for prob-
                                                                                                               \Mnes;
                                                                                                        (b)
                                   able bad debts that you are
                                                                                                        (c)    Rectiﬁed products; or
                                   normally unable to collect
                            -
                                iand                         -
                                                                                                 .7:    ~(d) :Beer...

                           (iv)AI|     unearned interest                    and                   (18) Lottery tickets at their iniﬁal cost to
                                   seNice charges.                                                     you except for winning tickets at their
              (14) "Electronic Data Processing Equip-
                                                                                                        redeemed        value.
                   ment" at replacement cost as of the                                      f.     Our payment          for loss of or   damage    to
                     time and place of                deduc-
                                                 loss, without                                     personal property of others will only be for
                     tion for physical deterioration, depre-                                       the account of the owners of the property.
                     ciation, obsolescence or depletion.                                           We   may adjust losses with the owners of
                     However, in the event replacement of                                          lost or damaged property. if other than
                     "Electronic Data Processing Equip-                                            you. If we pay the owners, such pay-
                     ment" with identical ptoperty is im-                                          ments           your claims against us
                                                                                                              will satisfy

                     possible. the replacement cost will                     be                                           We will not pay
                                                                                                   for the owners' property.
                     the cost of items that are similar to                                         the owners more than their ﬁnancial in-
                     the damaged or destroyed equipment                                            terest in the    Covered Property.
                     and intended to perfonn the same                                              We have the right but not the duly to de-
                     function, but which may iriclude tech-                                       fend you against suits arising from claims
                     nologiml advances.                                                           of owners of property. We will do so at
                     "Electronic Data Processing Equip-                                           our expense.
                     ment" that is obsolete or no longer                                          We will   pay for covered loss or damage
                     used by you will be valued at actual                                         within  3O days after we receive the sworn
                     cash value.                                                                  proof of loss provided you have complied
              (15) "Electronic Data Processing         Dam and                                    with all of the terms of this policy; and
                     Media"        forwhich duplicates do not                                     (1)   We   have reached agreement with
                     exist will    be valued as follows:                                                you on the amount of loss; or
                     (a)   The     cost of blank media;               and                         (2)   An    appraisal   award has been made.
                     (b)   Your cost       to research, replace or                                At our option, we may make a partial
                           restore the lost electronic data                 on                    payment toward any claim, subject to the
                           lest.         damaged        or        destroyed                       policy provisions and our normal adjust-
                           "Electronic Data Processing Data                                       ment process. To be considered for par—
                           and Media" but only                   if   the lost                    tial claim payment, you must submit a
                           electronic          data   ‘is                   re-
                                                             actually                             partial sworn proof of toss with supporting
                           placed or restored.                                                    documentation. Any applicable policy de-
              (1 6) Duplicate "Electronic Data Process-
                                                                                                  ductibles must be satisﬁed before any
                    ing Data and Media" at the cost of:                                           partial payments are made.

                     (a)   Blank media; and                                           5.    Loss Payment - Business Income and Ex-
                                                                                            tra Expense
                     (b)   Labor to copy the electronic data.
                           but only       if   the electronic data           is
                                                                                            a.    The amount        of Business Income loss       will

                           actually copied.                                                       be determined based on:

              (17)   The value of United States Govern-                                           (1)   The Net Income           of the business be—
                     ment Internal Revenue Exes and                                                     fore the direct physical loss or        dam—
                     custom duties and refundable state                                                 age occurred;
                     and local taxes paid or fully deter-                                         (2)   The  likely Net Income of the business
                     mined on the following property held                                               if no physical loss or damage oc-
                     forsale willnotbe considered                      in   de-                         curred. but not incIuding any likely in-
                                                                                                        creasein Net Income attributable to




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                         an increase in the volume of business                                                          the described premises or elsewhere;
                         as a result of favorable business                                                              or
                         conditions caused by the impact of
                                                                                                             (2)        Bdra Expense loss to the extent you
                         the Covered Cause of Loss on cus-
                                                                                                                        can return "operations" to normal and
                         tomers or on other businesses;
                                                                                                                        discontinue such Extra Expense.
                 M(3) The operating expenses‘
                        ’payfoli' éxbenses‘.          necé§§ary
                                                                   including
                                                                         to'    re-'"
                                                                                                   d.
                                                                                                        V    n
                                                                                                             you
                                                                                                             r'i'o'i"
                                                                                                                          do not resumgijperaﬁonsf‘,_ or do
                                                                                                                        I‘ééume "operations" as quickly as
                         sume         "Operations"        with   the      same                               possible,       we win pay based on            the length
                         quality of service that existed just be-
                                                                                                             of time    would have taken to resume
                                                                                                                            it
                         fore lhe direct physiml loss or                  dam-                               "operations" as quickly as possible.
                         age; and
                                                                                                   e.        We will pay for covered loss or damage
                  (4)    Other relevant sources of information.                                              within 30 days after we receive your
                         including:                                                                          sworn proof of loss provided you have
                         (a)   Your ﬁnancial records and ac-                                                 complied with all of the terms of this pol-
                               counting procedures;                                                          icy;   and
                         (b)   Bills.    invoices     and other vouch-                                       (1)    We have reached agreement with
                               ers;    and                                                                          you on the amount of loss; or
                         (c)   Deeds.     liens or contracts.                                               (2)     An    appraisal     award has been made.
            b.    The amount of           Extra Expense          will   be de-               6.    Recovered Property
                  termined based on:                                                               If   either      you or We recover any property aﬂer
                  (1) All   reasonable and necessary ex-                                           loss settlement, that party must give the other
                        penses that exceed the normal oper-                                        prompt notice. At your option, you may retain
                        ating    expenses that would have been                                     the property. But then you must return to us
                        incurred by "operations" during the                                        the amount we paid to you for the property.
                        "period of restoration" if no direct                                       We  will pay the recovery expenses and the

                        physical        loss   or    damage had                oc-                 expenses to repair the recovered propedy,
                        curred.    We will deduct from the                total                    subject to the applicable Limit of Insurance.
                        of    such expenses:                                                       Noncumulative Limit
                        (a)    The salvage value            that remains                           No       Limit of Insurance cumulates from policy
                               of any property bought for tempo-                                   period to policy period.
                               rary use during the "period of res-
                                                                                        F.   COMMERCIAL PROPERTY CONDITIONS
                                        once "operations" are
                               toration".
                               resumed; and                                                  1.   Concealment, Misrepresentation or Fraud

                        (b)    Any      Extra Expense that          is    paid
                                                                                                  This Coverage                  Form   is   void   in   any case   of
                               for                                                                fraud by you. ll is also void if you or any other
                                     by other insurance, except                for
                               insurance that        is   written subject                         insured, at any time, intentionally conceal or
                               to the    same       plan, terms. condi-                           misrepresent a material fact concerning:
                               tions and provisions as              this in—                      a.        This Coverage Form;
                               surance; and                                                       b.        The Covered           Property;
                 (2) All    reasonable and necessary ex-                                                    Your
                                                                                                  c.                    interest in the   Covered        Property; or
                        penses that reduce the Business ln-
                        come     loss that otherwise         would have
                                                                                                  d.        A claim        underthis Coverage Form.
                        been    incurred.                                                         Control of Properly
            c.   We will reduce the amount of your:                                               Any act or              neglect of    any person other than
                        Business Income loss, other than Ex-
                                                                                                  you beyond your                 direction or control will not
                 (1)
                                                                                                  affect this insurance.
                        tra  Expense, to the extent you can
                        resume your "operations", in whole or                                     The breach of any condition of this Coverage
                        in part, by using damaged or undam—                                       Form at any one or more premises will not af-
                        aged property          (including ”stock") at                             fect coverage at  any premises where, at the
                                                                                                  time of loss or damage. the breach of condi-
                                                                                                  tion      does not        exist.




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            Ihsurance Under Two or More Coverages                                         (2) \Mthin the           coverage     territory;   and
            If two or more coverages under this Coverage                           b.     The coverage            territory is:
            Form apply to the same loss or damage, we
                                                                                          (1)    The United States of America                (includ-
            will not pay more than the actual amount of
                                                                                                 ing    its   territories   and possessions);
            the loss or damage.
                                                                                          (2)    Puerlo Rico; and
            Legal A_ction Against           [15

            No one may                                                                   (3)     Canada.
                          bring a legal action against us
            under this Coverage Form unless:                                      Transfer of Righb 0f Recovery Against
                                                                                  others to Us.
            a.    There has been full compliance with all of
                  the terms of this Coverage Form; and                            If    any person or organization to or                for   whom
            b.    The    action brought within 2 years after
                                    is
                                                                                  we make payment under this Coverage Form
                  the date on which the direct physical loss
                                                                                  has rights to recover damages from another,
                                                                                  those rights are transferred lo us to the extent
                  or damage occurred,
                                                                                  bf our payment. That person or organization
            Liberalization
                                                                                  must do everything necessary to secure our
           If we adopt any revision that would broaden                            rights and must do nothing after loss to impair
           the coverage under this Coverage Form with-                            them. But you may waive your righm against
           out additional premium within 45 days prior to                         another party in writing:
           or during the policy period, the broadened                             a.     Prior to       a loss to your Covered Property
           coverage will immediately apply to this Cov-                                  or Covered Income: or
           erage Form.
                                                                                  b.     After a loss to your Covered Property or
           No Beneﬁt to Bailee                                                           Covered Income only if. at time of loss,
           No person or organization,              other than you,                       that party is one of the following:
           having   custody of Covered                Property wll
                                                                                         (1)     Someone         insured by this insurance;
           benefrt from this insurance.
                                                                                         (2)     A business ﬁrm:
           Other Insurance
                                                                                                 (a)    Ownéd or controlled by you; or
           a.    You may have   other insurance subject lo
                 the same plan, terms, conditions and pro-                                       (b)    That owns or controlsyou; or
                 visions as the insurance under this Cov-                                (3)     Your tenant.
                 erage Form. If you do, we will pay our
                                                                                  This    will   not resttict your insurance.
                 share of the covered loss or damage. Ou‘r
                 share is the proportion that the applicable                10.   Coinsurance
                 Limit of Insurance under this Coverage                           Ifa Coinsurance percentage is shown in the
                 Form bears         to the Limits of Insurance of                 Declarations. the following condition applies.
                 all   insurance covering on the        same   basis.             a.    We        not pay the full amount of any
                                                                                                 will
           b.    If    thereother insurance covering the
                               is                                                        loss   the value of Covered Property at
                                                                                                 if

                 same loss or damage, other than that de-                                the time of loss multiplied by the Coinsur—
                 scribed in Paragraph a. above. we will                                  ance percentage shown   for it in the Dec-
                 pay only      for the     amount of covered        loss                 iarations  greater than the Limit of ln-
                                                                                                         is
                 or    damage       in   excess of the amount       du'e                surance forthe property.
                 from that other insurance. whether you
                                                                                         Instead,    we will determine the mest                    we
                 can collect on it or not. But we will not pay
                                                                                        will    pay using the following steps:
                 more than the           applicable Limit of Insur-
                 ance.                                                                  (1)     Multiply the value of             Covered Prop-
                                                                                                erty at thetime of loss by the Coin-
           Policy Period, Coverage Territory
                                                                                                surance percentage;
           Underthis Coverage Form:
                                                                                        (2)     Divide the Limit of Insurance of the
           a.    We   cover loss or damage you sustain
                                                                                                property by the ﬁgure determined in
                 through acts committed or events occur-
                                                                                                step");
                 ring:
                                                                                        (3)     Multiply the total       amount of the cov-
                 (1)    Dun'ng the policy period shown         in   the
                                                                                                ered     loss.     before the application of
                        Declarations; and




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                                  any deductible, by the ﬁgure                    deter-                   (2) Additional      Coverages;
                                  mined in step (2); and
                                                                                                           (3)    Coverage Extensions; or
                       (4) Subtract the deductible                       from the ﬁg—
                                  ure determined in step
                                                                                                           (4)    Loss or     damage        in    any one occur-
                                                                       (3).
                                                                                                                  rence totaling less than $2,500.
                       We         will    pay the amount determined in
                                                                                           11.   Mortgageholders
                       step (43          .onthe limitzef insurance, which~
                                                                                                       Th’e" ierm.                                     'inclu'des’:
                       ever        is less.                                                                                 mo‘rtgageholder,                          ﬁﬁs~
                                                                                                       tee.
                       For the remainder. you will either have lo
                       rely on other insurance or absorb the loss
                                                                                                 h.    We  will pay for covered loss of or damage
                                                                                                       to buildings or structures to each mort-
                       yourself.
                                                                                                       gageholder shown in the Declarations in
                       Example No.             1   (Underinsurance):                                   their orderof precedence, as interests
                       When:                                                                           may        appear.
                   The value of the property                      is          $250,000                 The mortgagehofder has the right to re-
                   The Coinsurance percent                                                             ceive loss payment even if the mortgage-
                                                                                                       holder has started foreclosure or similar
                   for       it   is                                               90%
                                                                                                       action on the building or structure.
                   The           Limit of Insurarice for
                   it   is                                                    $1 12,500
                                                                                                       If    we     deny your claim because of your
                   The Deductible is                                                                   acts or because you have failed to oom-
                                                                                  $250
                                                                                                       ply with the terms of this Coverage Form,
                   The amount of loss                    is                    $40,000                 the morlgageholder            will   still     have the        right
                   Step           (1):   $250,000 x          90% = $225,000                            to receive loss          payment          if   the mortgage-
                   (the minimum amount of insurance to                                                 holder:
                   meet your Coinsurance requirements)
                                                                                                       (1)       Pays any premium due under this
                  Step            (2):   $112.500/$225.ooo = .50                                                 Coverage Form at our request if you
                  Step            (3):   $40,000 x .50 = $20,000                                                 have failed to do so;
                  Step            (4):   $20,000    -   $250 = $19,750                                (2)        Submits a signed. sworn proof of loss
                                                                                                                 within 60 days after receiving notice
                  We             will    pay no more than $1 9,750. The
                                                                                                                 from us of your failure to do so; and
                  remaining $20,250                     is   not covered.
                                                                                                      (3)        Has notiﬁed us of any change                           in
                  Example No. 2 (Adequate Insurance):                                                            ownership or     oocupanw              or substan-
                  When:                                                                                      tial   change      in risk   known         to the mort-
                                                                                                             gageholder.
                  The value of the property is                                $250,000
                  The Coinsurance percentage                                                          All of the
                                                                                                               terms of this Coverage Form will
                  for                                                                                 then apply directly to the mortgageholder.
                            it   is                                               90%
                  The            Limit of Insurance for                                               If   we pay         the mortgageholder for any loss
                  it   is                                                     $225,000
                                                                                                      or    damage and deny payment                       to   you be-
                 The Deductible is                                                                    cause  of your acts or because you have
                                                                                 $250                 failed to comply with the terms of this
                 The amount of loss                     is                    $40,000                 Coverage Form:
                 The minimum amount of insurance                                    lo                       The mortgageholder's rights under
                                                                                                      (1)
                 meet your Coinsutance requirement                                  is                       the mortgage will be transferred to us
                 $225,000 ($250,000 x 90%).
                                                                                                             to the extent of the amount we pay:
                 Therefore. the Limit of Insurance in this                                                   and
                 Example     adequate and no penalty ap—
                                         is
                                                                                                             The mongageholder's
                                                                                                      (2)                                             rights   lo     re-
                 plies. We will pay no more than $39,750
                                                                                                             cover the full amount                    of the mort-
                 ($40.000 amount of loss minus the de-                                                       gagehofder's claim             will       not be im-
                 ductible of $250).
                                                                                                             paired.

            .    Coinsurance does not apply                       to:                                        At our option,         we may
                                                                                                                                       pay to the
                         "Money" and               "securities";
                                                                                                             mortgageholder  the whole principal
                 (1)
                                                                                                             on the mortgage plus any accrued in-



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                                                                                                                                       B USI N ESSOVVNERS


                              terest. In this event. your mortgage                                    (6)    The cracking of any   park on any in-
                              and note will be transferred to us and                                         ternal combustion gas turbine ex-
                              y0u will pay your remaining mortgage                                           posed to the products of combustion.
                              debt 10 us.
                                                                                          3.    "Communication Supply Services"
               f.      If   we
                             cancel this policy, we will give writ-
                                                                                                a.   Means propedy supplying communication
                       ten notice to the mqrjgageholde; at least
                                                                                                     sgwiops, including telephone. radio, mi-
        “    "‘“W'
                       (1)    10 days‘b'éfer'é         tlie effective   déie 6f                      crowave o: té:evision-services. to the de=                      -'




                             cancellation       if   we    cancel for your non-                      scribed premises, such as:
                              payment      of   premium; or                                                 Communication               transmission
                                                                                                     (1)                                                    lines.
                       (2)    30 days before the effective date of                                          including ﬁber              optic    transmission
                             cancellation       if   we cancel for any other                                lines;
                             reason.
                                                                                                     (2) Coaxial cables;               and
               g.      If   we   elect not to    renew this        policy,   we win                  (3)    Microwave radio             relays. except satel-
                       give written notice to the mortgageholder
                                                                                                            lites;and
                       at least 10 days before the expiration
                       date of this policy.                                                     b.   Does not mean overhead transmission
                                                                                                     lines.
   G.   PROPERTY DEFINI‘I10NS
                                                                                          4.    "Covered Equipment"
        1.     "Banklng Premises" means the interior of
               that portion of any building which is occupied                                   a.   Means the following types of equipment:
               by a banking institution or similar safe deposi-                                      (1)    Equipment designed and built to op-
               tory.                                                                                        erateunder internal pressure or vac-
        2.     "Breakdown"                                                                                  uum     other than weight of contents;

              a.     Means:                                                                          (2)    Electrical         or mechanical equipment
                                                                                                            that   is   used     in the generation, trans-
                     (1) Failure of pressure or                vacuum        equip-
                                                                                                            mission or utilization of energy;
                             ment;
                                                                                                     (3)    Fiberoptic cable; and
                     (2)     Mechanical         failure,     including rupture
                             or      bursting    caused by            centrifugal                    (4)    Hoists      and cranes;
                             force;or                                                          b.    Does     not    mean       any:
                     (3) Electrical failure including arcing;                                        (1) "Electronic            Data Processing Equip-
                     thatcauses physical damage to "covered                                                 ment";
                     equipment" and necessitates its repair or                                       (2) "Electronic           Data Processing Data and
                     replacement; and                                                                       Media";
              b.     Does notmean:                                                                   (3)    Part of pressure or              vacuum      equip-
                     (1)     Malfunction, including but not limited                                         ment     that is not       under    internal pres-
                             to adjustment. alignment. calibration,                                         sure of      its    contents or internal vac-
                             cleaning or modiﬁcation;                                                       uum;

                     (2)     Leakage      at    any valve,         ﬁtting,    shaft                  (4)    Insulating     or refractory     material;
                             seal,    gland packing, joint or connec-                                (5)    Pressure vessels and piping that are
                             tion;                                                                          buried      below ground and
                                                                                                                                       require the
                     (3)     Damage       to    any vacuum            tube.    gas                          excavation  of materiais to inspect,
                                                                                ‘

                             tube, or brush;                                                                remove. repair or replace;

                     (4)     Damage       to    any structure or founda-                             (8)    Structure. foundation, cabinet or            com-
                             tion supporting          the "covered equip-                                   partment supporting or containing the
                             ment" or any of         its   pans;                                            "covered equipment" or part of the
                                                                                                            "covered equipment" including pen-
                     (5)     The     functioning of        any safety or      pro-
                                                                                                            stock, draft tube or well casing;
                             tective device; or
                                                                                                     (7) Vehicie, aircraft, seIf-propelled equip-
                                                                                                            ment or ﬂoating vessel,             including   any




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                              equipment mounted on or used solely                             b.    Does not mean equipment used                       to oper-
                              with   any vehicle, aircraft, self-                                   ate production type of:
                              propelled equipment or ﬂoating ves—
                                                                                                    (1)    Machinery; or
                              sel;
                                                                                                    (2)    Equipment.
                   (8)        Elevator or escalator, but not exclud-
                                                                                         .   "Electronic Vandalism"            means any acts by
                         '
                             .ir!g,any electrical machine or_ appara-
                              tfis 5'ihoun'te'd "6n =0} lis'éd With“ thié
                                                                                     .   ‘:Ipersons. other.            than "employees"; ‘invquing‘
                              equipment; or                                                   any   of the following:

                                                                                              a.    \Mllful or      malicious destruction of com-
                   (9)        Equipment or any part of such equip-
                                                                                                    puter programs, content                 instructions or
                              ment manufactured by you for sale.
                                                                                                    other       electronic or         digital   data    stored
             "Diagnostic Equipment"                      means any:                                 within      computer systems; or
             a.    Equipment; or                                                                    Unauthorized           computer
                                                                                             b.                                            code    or      pro-
             b.    Apparatus;                                                                       gramming       that:

             used solely for research, diagnostic, medical,                                         (1)    Deletes, distorts, corrupts or manipu-
            surgical,          therapeutic, dental or pathologiul                                         lates computer programs, contents.
            purposes.                                                                                     instructions or other electronic or digi-

            "Electronic Data Processing Data                                                              taldata, or otherwise results in dam-
                                                                      and Me-
            dia"                                                                                          age to computers or computer sys-
                                                                                                          tems or networks {o which is intro-
            a.     Means any of the following used                      in   your                         duced;
                   computer operations:
                                                                                                   (2) Replicates           itself,   impairing the per-
                   (1)       Data stored as or on, created or used                                        formance of computers or computer
                             on. or transmitted to or from com-
                                                                                                          systems or networks; or
                             puter        software     (including      systems
                             and  applications) on electronic data                                 (3)    Gains remote control access to data
                             processing, recording or storage me—
                                                                                                          and programming within computers
                                                                                                          or computers. systems or networks to
                             dia such       as hard or ﬂoppy disks, CD-
                             ROMS,          tapes,
                                                                                                          which it is introduced, for uses other
                                                       drives,- data
                                                                   cells,
                             processing devices or any other re-                                          than those intended for authorized
                             positories of computer soﬂware which                                         users of the computers or computer
                             are used with electronically controlled                                      systems or networks.
                             equipment:                                                      "Employee(s)"

                  (2)        The     electronic      media on which the                      a.    Means:
                             data    is   stored;   and                                            (1)    Any    natural petson:
                  (3)        Programming records and instruc-                                             (a)   While in your service (and for 30
                             tions used for "Electronic Dam Proc-                                               days after lamination of sewice);
                             essing Equipment"; and
                                                                                                          (b)   Whom       you compensate              directly
            b.    Does not mean "Valuable Papers and                                                            by salary. wages or commissions;
                  Records".                                                                                     and
            "Electronic Data Processing Equipment"
                                                                                                          (c)   Whom you have the right to direct
            a.    Means any             of the following equipment                                              and control while performing ser-
                  used        in   your operations:                                                             vices for you;

                  (1)        Electronic data processing equip—                                     (2)    Any natural person employed by an
                             ment. facsimile machines, word proc-                                         employment contractor while that
                             essors.        multi~functional        telephone                             person      is   subject to your direction
                             equipment and laptop and porbble                                             and control and performing services
                             oomputers;and                                                                for you excluding. however, any such
                                                                                                          person while having care and custody
                  (2)        Any component  parts and peripherals
                                                                                                          of property outside the premises: or
                             of such equipment, including relaned
                             surge protection devices; and




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                     (3)   Your directors or trustees while acting              15.    "Manager" means a person sewing in a di-
                           as a member of any of your elected                          rectorial capacity for a limited liability oom—
                           or appointed committees to perform                          pany.
                           on your behalf speciﬁc, as distin-                   16.    "Member" means an owner of a limited liabil-
                           guished from general, directorial acts;
                                                                                       ity company represented by its membership
                           and
                                                                                       interest, who also may service as a "man-
             b:      Dales nut:mean any agenﬁbqu‘er, persgn                            ager"..      -':
                                                                                                                            ‘                .-r-._   r.



                     leased to you by a labor leasing ﬁrm, fac-
                                                                                17.   “Money" means currency and coins                          in     cur-
                     tor, commission merchant. consignee. in-
                                                                                      rent use, bank notes. travelers checks, regis-
                     dependent contractor or representative of                        ter checks and money orders herd for sale to
                     the same general character.
                                                                                      the public.
      10.    "Employee Dishonesty" means only dis-
                                                                                18. "Operations"      means your business activities
             honest acts, committed by an "employee".
                                                                                      occurring at the described premises and the
             whether identiﬁed or                  alone or in
                                                not, acting
                                                                                      tenantability of the described premises.
             collusion with other persons,      except you, a
                                                                                19. "Period of Restoration"
             partner,      a "member“, or a “manager" with the
             manifest intent         to:                                              a.   Means the           period of time       that:

             a.   Cause you          to sustain loss;   and also                           (1)     Begins:
             b.   Obtain ﬁnancial beneﬁt (other than sala-                                         (i)    rFor Business Income coverage:
                  ries. commissions, fees. bonuses, promo-
                                                                                                          a)   Wlth the date of direct physi-
                  tions. awards, proﬁt sharing. pensions or
                                                                                                               cal loss or damage. if the
                  other employee beneﬁts earned                      in   the                                  Declarations show Immedi-
                  normal course of employment)                for:
                                                                                                               ately for Period of Restora—
                  (1)      The "employee"; or                                                                  tion   - Time    Period; or

                  (2)      Any person or         organization intended                                    b)   72 hours     after the time of di-
                           by the "employee" to receive that                                                   rect physical loss or         damage,
                           beneﬁt.                                                                             ifthe Declarations show 72
     11. "Flne        Ara"                                                                                     hours for Period of Restora—
                                                                                                               tion   — Time    Period; or
            a.    Means       paintings. etchings. pictures, tap-
                                                                                                   (ii)   For Extra Expense coverage with
                  estries, art glass          windms, valuable        rugs.
                                                                                                          the date of direct physical loss or
                  statuary, marbles, bronzes, antique fumi-
                  lure,     rare     books, antique        silver,   porce-                               damage;
                  lains,     rare glass. bric-a-brac.         and    similar                     caused by or          resulting     from any Cov-
                  properly with historical value, or artistic                                    ered Cause of Loss             at the   described
                  merit;    and                                                                  premises; and
            b.    Does not mean any glass that                is part of   a               (2)     Ends on the        earlier of:
                  building or structure.
                                                                                                 (i)      The date when the properly                       at
     12. "Forgery"           means the         signing of the    name      of                             the described premises should be
            another person or organization with intent to                                                 repaired, rebuilt or replaced with
            deceive. "Forgery" does not mean a signature                                                  reasonable       speed       and     similar
            which consists in whole or in part of one's                                                   quality; or
            own name signed                with or without authority,      in
                                                                                                 (ii)     The date when business is re—
            any capacity for any purpose.
                                                                                                          sumed at a new permanent Ioca—
     13. "lnmrior           of     any       building   or    structure"                                  tio‘n; and

            means all  portions of the building or structure
                                                                                      b.   Does not mean any increased period re
            that are within the exterior facing surface ma—
                                                                                           quired due to the enforcement of any law
            terial   of the building or structure.
                                                                                           ihat:
     14.    "Maintenance Fees" means the regular
                                                                                           (1)   Regulates the oonstmction, use or
            payment made to you by unit—owners and
            used to service the common property.
                                                                                                 repair, or requires the tearing             down          of
                                                                                                 any property; or




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                     (2)    Requires any insured or others to test                          b.     Includes  "covered equipment" that is
                            for.monitor, clean up, remove, con—                                    used solely with or forms an integral part
                            tain, treat, detoxify or neutralize, or            I'n
                                                                                                   ofthe:
                            any way respond            to,   or assess the ef-
                                                                                                   (1)     Production;
                            fects of ".pollutanm"
                                                                                                   (2)     Process; or
      '
               The    expiration date          of_   this policy will   not   cu_t
          ‘
               gffért the "peri'od      o‘f   restoration"-                                      -~-(3)    Apparatus.
      20. "Pollutanu"                means any          solid,    liquid,   gase-          H'Renhl Value' means Business Income                   that
               ous or thermal irritant or contaminant, includ-                              consists       of:

               ing smoke, vapor, soot, fumes, acids, alkalis.                               a.    Net Income (Net Proﬁt or Loss before in-
               chemicals, waste,              and any         unhealthful      or                  come   taxes) that would have been
               hazardous building materials (including but                                        earned or incurred as rental income from
               not limited to asbestos and lead products or                                       tenant occupancy of the premises de-
               maten'afs containing lead) Waste includes                                          scribed in the Declarations as furnished
               materials to be recycled. reconditioned or re-                                     and equipped by you, including the fair
               claimed.                                                                           rental value of.any portion of the de-
      21.     "Power Generating Equipment"                                                        scn‘bed premises which is occupied by
                                                                                                  you; and
              a.   Means the following types of equipment
                   or apparatus:                                                            b.    Continuing   normal operating expenses
                                                                                                  incurred In connection with that premises,
                   (1)     Pressure;
                                                                                                  including:
                   (2)     Mechanical;or
                                                                                                  (1)     Payroll;   and
                   (3) Electrical;
                                                                                                  (2)     The amou nt      of charges which are the
                   used      in    or associated with the generation                                      legal obligation of the tenant(s)       but
                   of electric power,          and                                                        would otherwise be your obligations.
              b. Does nol mean such equipment that is                                  .   "Secun'ties"  means all negotiable and non-
                 used solety to generate emergency power                                   negotiable  instruments or contracts repre-
                 that is less than or equal to 1000KW.                                     senting either "money" or other property and
     22.      "Powet Supply Services"                                                      includes revenue or other stamps in current
                                                                                           use. tokens, tickets and credit card slips for
              a.   Means the following types of property
                                                                                           sales made by you and held by you for reim-
                   supplying electricity, steam or gas to the
                                                                                           bursement from companies issuing credit
                   described premises:
                                                                                           cards, but does not include "money". Lottery
                   (1)     Utility   generating plants;                                    tickets held for sale are not securities

                   (2)     Switching stations;                                       26. "Specified           Causes of Loss" means the           fol-

                   (3) Substations;
                                                                                           lowing:

                   (4)     Transformers: and                                               Fire; lightning; explosion;          windslorm or     hail;
                                                                                           smoke; aircraﬂ or           vehicles; riot or civil   oom-
                   (5)   Transmission          lines;   and                                motion; vandalism; leakage from ﬁre extin-
              b.   Does not mean overhead transmission                                     guishing equipment; sinkhole collapse; vol-
                   lines.                                                                  canic action; falling objemS; weight of snow,
     23. "Production               Equipment"                                              ice or sleet; water damage.

              a.   Means      any:                                                         a.     Sinkhole         collapse   means   the      sudden
                                                                                                 sinking or collapse of land into under-
                   (1)   Production machinery: or
                                                                                                 ground empty spaces created by the ac-
                   (2)   Process machinery;                                                      tion of water  on limestone or dolomite.
                   that processes, shapes, forms or grinds:                                      This cause of loss does not include:

                   (1)   Raw       materials;                                                    (1)      The cost of ﬁlling   sinkholes; or

                   (2)   Materials      in   process; or                                         (2) Sinking or collapse of land into un-
                                                                                                          derground    man-made nviﬁes.
                   (3)   Finished products; and




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           b.    Falling objects        does not include loss of or                         ant.   Such   building    is   vacant when   it   does
                 damage to:                                                                 not contain enough business personal
                 (1)    Personal Property            in   the open; or                      propedy to conduct customaty opera-
                                                                                            tions.
                 (2)    The      "interior ofa building or struc-
                        ture",    or property inside a building or                    (2)   When              iSSued to the owner or
                                                                                                     this policy is
                                                                                            general lessge of a building, building
                        structure, unless the ,roof or an_ out-_
                                                                                      _‘. .means the entire building. Such building
                        side wail‘o‘i l‘h‘é building‘br Etructufé is”
                                                                                           is vacant unless at least 31 “/o of its total
                        ﬁrst   damaged by a          falling object.
                                                                                           square footage is:
           c.    Water damage means                        accidental    dis-
                                                                                            (a)    Rented to a lessee or sub-Jessee and
                 charge or leakage of water or steam as
                                                                                                   used by the lessee or sub—lessee to
                 the direct result of the breaking apart or
                                                                                                   conduct its customary operations; or
                 cracking of any part of a system or appli-
                 ance (other than a sump system including                                   (b)    Used by the       building   owner    to con-
                 its       equipment and pans) that is lo-
                       related                                                                     duct customary operations.
                 cated on the described premises and                             31. "Valuable       Papers and Records"
                 contains water or steam.
                                                                                      a.    Means     inscribed, printed or written:
     Z7. "Stock"        means merchandise       storage    held   in
                                                                                            (1)    Documents;
           or for sale, raw materials and in-process or
           ﬁnished goods. including supplies used in                                        (2) Manuscripts; or
           their packing or shipping.                                                              Records;
                                                                                            (3)
     28.   "Suspension" means:
                                                                                            including abstracts. books. deeds, draw-
           a.    The    partial or    complete cessation of your                            ings. ﬁlms,   maps   or mortgages: and
                 business        activities;   or                                     b.    Does not mean "money" or            "securities" or
           b.    That a pan or all of the described prem-                                   "Electronic    Data Processing          Data and
                 ises is rendered untenantable.                                             Media".
     29. "Theft"       means any        act of stealing.                        32.   "Water Supply Services" means the follow-
     30. "Vacant" means the following:                                                ing types of property supplying water to the
                                                                                      described premises:
           (1)   When      this policy         is   issued to a tenant,
                 and with respect to that tenant's interest                           a.    Pumpingstaﬁons;and
                 in Covered Property. building means the                              b.    Watermains.
                 unitorsuite rented or leased to theten-




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                                                                                                                                BUSINESSOWNERS

             THIS       ENDORSEMENT CHANGES THE                              POLICY. PLEASE              READ           1T   CAREFULLY.

                              AMENDATORY PROVISIONS
                         CONDOMINIUM ASSOCIATION COVERAGE
   This endorsement modiﬁes insurance provided under the following:

              BUSINESSOWNERS COVERAGE PART
   A.   The BUSINESSOWNERS PROPERTY COVER-                                                         If   not covered by other insurance:
                                                                                            (8)
        AGE SPECIAL FORM is changed as follows:
                                                                                                   (a)    Additions under oonstrucﬁon, al-
        1.   Paragraph A.1.a.          is   replaced by the following:                                    terations and repairs (o the build-
             a.    Building, meaning the building or struc—                                               ing or structule; and
                   ture described in the Declarations, includ—
                                                                                                   (b) Materials,              equipment.         supplies
                   ing:
                                                                                                          and temporary             structures.        on or
                   (1)    Completed         additions;                                                   within 1,000 feet of the described

                   (2)    Fences;                                                                        premises, used for making addi-
                                                                                                         tions. alterations or repairs to the
                   (3)    Fixtures, outside of individual units,
                                                                                                         building or structure;           and
                          including outdoor ﬁxtures;
                                                                                            (9)    Any of the following types of property
                   (4)    Retaining walls, whether or not at—
                                                                                                   contained within a unit. regardless of
                          iached;
                                                                                                   ownership,        if your Condominium As-
                   (5)    Permanently attached:                                                    sociation       Agreement requires you to
                                Machinety; and                                                     insure   it:
                          (a)

                          (b) Equipment;                                                          (a)    Fixtures,           improvements and            ai-
                                                                                                         terations           that   are   part    of     the
                  (6)     Personal property owned by you that
                                                                                                         building or structure;           and
                          is used to maintain or service the
                          building or structure or its premises.                                  (b)    Appliances, such as those used
                          including:                                                                     for refrigerating, ventilating. cook-
                                                                                                         ing, dishwashing, laundering, se-
                         (a)    Fire extinguishing       equipment;
                                                                                                         curity or housekeeping.
                         (b) Outdoorfurniture;
                                                                                           But Building does not include personal
                         (c)    Lobby and hallway furnishings;                             property owned by. used by or in the
                         (d) Floor. wall      and   ceiling coverings;                     care, custody or contml of a unit—owner
                                                                                           except for personal property listed I'n
                         (e)    Appliances used for refrigetating,
                                                                                           Paragraph (9) above.
                                ventilating, cooking, dishwashing
                                or laundering. that are not con-                 2.   Paragraph A.1.b.            is   replaced by the following:
                                tained within individual units;                       b.   Business Personal Property located in
                         (f)    Lawn maintenance           or   snow   re-                 or on the buildings described in the Dec-
                                moval equipment;                                           larations or in the open (or in a vehicle)
                                                                                           within 1,000 feet of the described                      prem-
                         (g)    Personal property used for main—
                                                                                           ises. including:
                                taining and servicing of pools and
                                other recreational facilities on the                       (1)    Propeﬂy owned by you or owned
                                premises; and                                                     indivisibly by all unit—awners;

                         (h)    Alarm systems;                                             (2)    Your interest in the labor, materials or
                                                                                                  services furnished or arranged by you
                  (7)    Outdoor swimming pools, associated
                                                                                                  on personal property of others;
                         structures and appurtenant structures
                         and equipment.        including                                   (3)    Property of others that is              in   your care,
                                                           pumps;
                                                                                                  custody or control; and
                                                                                           (4)    "Money" and           "securities".



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                       Business Personal Property does not in-                       4.   The   following   is   added   to   Paragraph   F.9.:

                       clude personal properly owned only by a                            a.    Waiver of Rights of Recovery
                       unit—owner, unless it is in your care, cus-
                       tody or control as covered in Paragraph
                                                                                                We waive    our rights to recover payment
                                                                                                from any unit-owner of the condominium
                       (3) above'.
                                                                                                that is shown in the Declarations, except
      3.        The following      is   added   to Paragraph E.:                                for losses that are payable under the Em—
      ‘*                                                 "
           -'

                "éF‘Unif—Ov‘vner‘sfrnsx-irancei'             .   L215                          'ployee Dishonesty or-Ferger’yor-Altera-‘v-J‘:
                                                                                                tion Additional Coverages.
                       A    unit—owner   may have     other insuranw
                       covering the same property as this insurv                B.   The COMMERCIAL GENERAL LIABILITY COV-
                       ance. This insurance is intended to be                        ERAGE FORM is changed as follows:
                       primary. and not to-contribute with such                       . The following is added to SECTION — WHO           II


                       other insurance.                                                 IS AN INSURED:
                       insurance Trustee                                                        Each individual unit—owner of the insured
                       If   you name an insurance      trustee,     we   will                   condominium, but only for liability arising
                       adjust losses with you. but we will pay the
                                                                                                out of the munership. maintenance or re—
                                                                                                pair of that portion of the premises which
                       insurance trustee. If we pay the trustee,
                                                                                                is   not reserved for that unit-ownefs ex—
                       the payments will satisfy your claims
                       against us.                                                              clusive   use or occupancy.




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                                                                                                      BUSINESSOWNERS
    POLICY NUMBER: 680-240811586-15-42                                                                ISSUE DATE: 03/12/2015

            THIS     ENDORSEMENT CHANGES THE                         POLICY. PLEASE             READ    IT   CAREFULLY.

                           SEWER OR DRAIN BACK UP EXTENSION
   This endorsement modiﬁes insurance provided under the following:

             BUSINESSOWNERS PROPERTY COVERAGE SPECIAL FORM
                                                                 SCHEDULE
         Limit of Insurance         $ 25000
   The   following    is   added   to Paragraph A. 7.   Coverage               y0u may also extend that insurance to apply to
   Extensions:                                                                 the actual loss of Business Income you sustain
   Water or Sewage Back Up and                 Sump Overﬂow                    and reasonabie and necessary Extra Expense
                                                                               you incur caused by or resuﬂing from water or
   (1)   When   the Declarations        show
                                       that you have cov-
                                                                               sewage that backs up o, overflows from a sewerl
         erage for Building or Business Personal Property,
                                                                               drain 0r sump.
         you may extend that insurance to apply to direct
         physical loss of or damage to Covered Property                  (3)   Paragraph B.1.g.(3) does nol apply to   this   Cover-
         at the described premises caused by or resulting                      age Extension.
         from water or sewage that backs up or overflows                (4)    The most we will pay under this Coverage Exten-
         froma sewer,       drain or   sump.                                   sion in any one occurrence at each described
   (2)   When me      Declarations      show mat you have cow                  premises is the Limit of Insurance shown in the
         erage for Business Income and Extra Expense.                          SChedu'e above'




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             THIS   ENDORSEMENT CHANGES THE                           POLICY. PLEASE                       READ     IT   CAREFULLY.

                               TERRORISM RISK
                       INSURANCE ACT OF 2002 DISCLOSURE
    Ihi's   endofsement modiﬁes insurance       p‘roVid'ed   under the’foﬂo‘iﬁih‘gz‘
              BUSINESSOWNERS COVERAGE PART
   On December 26. 2007, the President of the United                       Losses      in   excess of each Insurers statutorily estab-
   States signed into law amendments to the Terrorism                      lished deductible, subject to the      "Program Trigger",
   Risk Insurance Act of 2002 (the "Act"), which, among                    (as deﬁned in the Act). In no event, however, will the
   other things, extend the Act and expand its scope.                      federalgovernment or any Insurer be required to pay
   The Act    establishes a program under which the                        any portion of the amount of aggregate Insured
   Federal Government may partially reimburse "ln-                        Losses occurring in any one year that exceeds
   sured Losses" (as deﬁned in the Act) caused by "acts                   $100,000.000.000. provided that such Insurer has
   of terrorism". An "act of terrorism" is deﬁned in                      met its deductible. If aggregate Insured Losses
   Section 102(l) of the Act to mean any act that is                      exceed $100,000,000,000 in any one year, your
   certiﬁed by the Secretary of the Treasuty — in                         coverage may therefore be reduced.
   concurrence with the Secretary of State and the
                                                                          The charge         for Insured         Losses under   this   Coverage
   Attorney General of the United States — to be an act
                                                                           Part   is          the Coverage Part premium. The
                                                                                       included     in
   of terrorism; to be a violent act or an act that is
                                                                          charge that has been included for this Coverage Part
   dangerous to human life, property. or infrastructure;
                                                                          is indicated below, and does not include any charge
   to have resulted in damage within the United States.
                                                                          for the portibn of losses covered by the Federal
   or outside the United States in the case of certain air
                                                                          Government under the Act:
   carriers or vessels or the premises of a United States
   Mission; and to have been committed by an individ-
                                                                          °
                                                                                 4%    of your total Businessowners             Coverage Part
   ual or individuals as part of an effort lo coerce the                         premium      if   your primary location        is in a Desig-

   civilian population ofthe United States or to inﬂuence                        nated City (as listed below).
   the policy or affect the conduct of the United States                  '
                                                                                 2%    of your totai         Businessomers Coverage Pad
   Government by coercion.                                                       premium      if   your primary Iowtion   is n_ot in a Des-

  The   federal government's share of compensation for                           ignated City (as listed below).
   Insured Losses is 85% of the amount of Insured




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                                                                                                BUSINESSOWNERS

           THIS   ENDORSEMENT CHANGES THE                  POLICY. PLEASE        READ     IT   CAREFULLY.

             NON-COMPENSATED OFFICERS INCLUDED FOR
                     EMPLOYEE DISHONESTY
   This endorsement modiﬁes insurance provided under the:

            BUSINESSOWNERS PROPERTY COVERAGE SPECIAL FORM
   Under   G. PROPERTY DEFINITIONS, the deﬁnition of "employee" under         Paraglaph   9.a. is   changed to include
   your non-compensated ofﬁcers.




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                                                                                                              BUSINESSOWNERS


             THIS    ENDORSEMENT CHANGES THE                       POLICY. PLEASE             READ      IT   CAREFULLY.

                          PROPERTY MANAGERS INCLUDED FOR
                               EMPLOYEE DISHONESTY
   This endorsement modiﬁes insurance provided under the:

              BUSINESSOWNERS PROPERTY COVERAGE SPECIAL FORM
   Under G. PROPERTY DEFINITIONS, lhe deﬁnition                            (2)    Each such agent and the partners, ofﬁcers
   of "employee" under Paragraph 9.a. is changed lo                               and employees of that agent are considered
   include;                                                                       to be. collectively, one "employee" for the

              Each   natural person. partnership or corpora-                      purposes    of this   insurance.   However. the
       (1)
              tion you appoint in writing to act as your                          Cancellation   As To Any Employee     Condition
              agent in the capacity of Property Manager for                       under Paragraph A.6.d.(4) applies individu-
              Covered Property but only while acting on                           ally to each of them.

              your behalf or while in possession of Covered                (3)    The most we  will pay under this insurance for
              Property.   These   natural persons, partnerships                   loss in any one occurrence caused by an
              or corporations are not covered for faithful                        agent included as an "employee" is the Limit
              performance of duty, even in the event that                         of Insurance applicable to "Employee Dis-
              this insurance may have been amended by                             honesty".
              endorsement to provide such coverage on
                                                                           (4)    Payments under this insurance are subject to
              other "employees“ as they are deﬁned in
                                                                                  and not in addition to the applicable Limits of
              Paragraph G. Property Deﬁnitions. The only
                                                                                  Insurance for "Employee Dishonesty".
              Covered Cause of Loss for the Agents is
              "Employee Dishonestf'




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                                                                                                                         BUSINESSOWNERS

             THIS    ENDORSEMENT CHANGES THE POLICY. PLEASE READ                                                  IT   CAREFULLY.

                                        EQUIPMENT BREAKDOWN —
                                 SERVICE INTERRUPTION LIMITATION
   This endorsement modiﬁes insurance provided under the following:

              BUSINESSOWNERS PROPERTY COVERAGE SPECIAL FORM
   A.   The BUSINESSOWNERS PROPERTY COVER-                                                       (d) Explosion (except for      steam or cen-
        AGE SPECIAL FORM is changed as follows:                                                       trifugal explosion);

        1.   The following is added to Paragraph A.7.                                           (e)   Smoke;
             coverage Extensions i. Equipment Break—
                                                                                                (f)   Aircraﬂ or vehicles;
             down:
                                                                                                (g) Riot or civil    commotion;
             (9)   \Mth respect to Service Interruption cov-
                   erage, we will not pay under this Cover-                                     (h) Vandalism;
                   age Extension for loss or damage caused                                      (i)   Sprinkler Leakage;
                   by or resulting from any of the following:
                                                                                                (i)   Falling objects;
                   (a)   Fire;
                                                                                                (k)   weightof snow.     ice or sleet;
                   (b) Lighhing;
                                                                                                (I)   Freezing; or
                   (c)   Windstorm or   hail;
                                                                                                (m) Collapse




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                                                                                                                        BUSINESSOWNERS

             THIS     ENDORSEMENT CHANGES THE POLICY. PLEASE READ                                                            IT   CAREFULLY.

         AMENDATORY PROVISIONS         GREEN BUILDING AND                              ——

                  BUSINESS PERSONAL PROPERTY COVERAGE
                                                             ENHANCEMENZFS
   This endorsement modiﬁes insurance provided under the following:

              BUSINESSOWNERS PROPERTY COVERAGE SPECIAL FORM
   A.   DEFINITIONS                                                                                        (b)   The reasonable              additional      cost
        As used      in this    endorsement:                                                                     you incur to employ "green"
             "Green" means products. materials. methods                                                          methods or processes of con-
        1.
                                                                                                                 struction, disposal or recycling in
             and processes that conserve natural re-
                                                                                                                 the course of the repair and re—
             sources, reduce energy or water consump-
                                                                                                                 placement of the lost or damaged
             tion. avoid toxic or other polluting emissions
                                                                                                                 building,    in    accordance with the
             or othenlvise minimize the environmental im-
                                                                                                                 documented               standards     of     a
             pact,
                                                                                                                 "Green Authority".
        2.   "Green Authority" means a recognized au-
                                                                                                    (2)   The insurance provided under this
                   on green building or green products.
             thority
                                                                                                          AdditionalCoverage applies only if
             materials or processes.
                                                                                                          replacement cost valuation applies to
   B.   The BUSINESSOWNERS PROPERTY COVER-                                                                the lost ordamaged building and then
        AGE SPECIAL FORM is changed as follows:                                                           only   the building is actually repaired
                                                                                                                  if

        1.   The     following          Additlonal        Coverages are                                   or replaced as soon as reasonably
             added:                                                                                       possible after the loss or damage.

             a.    Green          Building           Altematlves         —    ln-                   (3)   The insurance provided under this
                   creased Cost                                                                           Additional Coverage does not apply
                                                                                                          to any building that has been “vacant"
                   (1)   If   direct physical loss or        damage by a                                  for more than 60 consecutive days
                         Covered Cause of Loss occurs                        lo    a                      before the loss or         damage       occurs.
                         building that          is   covered property.        we
                         wili   pay     for:                                                        (4)   The most we             will    pay   for the addi-
                                                                                                          tional 00st incurred with               respect to
                         (a)    The reasonable            additional cost
                                                                                                          each building in any one occurrence
                                you     incur to repair or replace the
                                                                                                          under this Additional Coverage is de-
                                lost    or     damaged     portions of the
                                                                                                          termined by:
                                building using products or               mate-
                                rials   that                                                              (a)    Multiplying      5%; times

                                (l)    Are "green" alternatives                   to                      (b)    The amount we would othemise
                                       the products or materials of                                              pay for the direct physiwl loss of
                                       the lost or damaged property,                                             or damage ta the building. prior to
                                       in      accordance         with       the                                 application of          any applicable de-
                                       documented standards                                                      ductible.
                                                                         of       a
                                       "Green Authority"; and                                       (5)   However. the most we will pay for the
                                (ii)   Are otherwise of comparable                                        additional cost incurred in               any one
                                       quality and function to the                                        occurrence, regardless of the number
                                       damaged                                                            oi buildings involved. is $25,000.
                                                      property;

                                and




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   BUSINESSOWNERS


             b.    Green Buildlng Reengineering and Re-                                                (4)    The most  we will pay in any one oc-
                   certiﬁcation Expense                                                                       currence under this Additional Cover-
                   (1)    If,   as a result of direct physical loss or                                        age     for.

                          damage by a Covered Cause           of Loss                                         (a)    All        expenses incurred with            re-
                          to    a   building that     is   Covered Progeny,                                          spect to each building             is   5%    of
                          the pre-loss level of "green" building                                                     the sum of:
                          certiﬁcation by a "Gre'e'h Authority" on
                          the building is lost. we will pay for the
                                                                                                                     (i)     The amount we pay               for the
                                                                                                                             direct     physical     loss    of    or
                          followingreasonable additional ex-
                                                                                                                             damage         to the building.      in-
                          penses you incur to re-attain the pre-
                                                                                                                             cluding any amount paid un-
                          loss tevel of "green" building certiﬁca—
                                                                                                                             der the Green Building Alter-
                          tion      from that "Green Authority":
                                                                                                                             natives    — Increased Cost Ad-
                          (a)    The      reasonable          additional    ex-                                              ditional   Coverage; and
                                 pense you       incur to hire     a qualiﬁed
                                                                                                                     (ii)    The    deductible      amount ap—
                                 engineer        or    other     pmfessional
                                                                                                                             plied to the loss      payment for
                                 required by the "Green Authon'ty"
                                                                                                                             direct physical       loss or dam-
                                   be involved in:
                                 to»
                                                                                                                             age   to the building;
                                 (i)    Designing.   overseeing     or
                                                                                                             (b) All        expenses        incurred, regardless
                                        documenting the repair or re-
                                                                                                                     of the number of buildings                   in-
                                        placement of the lost or dam-
                                                                                                                     volved, is $25,000.
                                        aged   building; or
                                                                                       2.      The      following               Coverage Extensions are
                                 (ii)   Testing and recalibrating the
                                                                                               added:
                                        systems and mechanionls of
                                        the lost or        damaged   building                  a.     Green Building and Business Personal
                                        to verify that the
                                                         systems and                                  Property Alternatives                  — Increased Pe-
                                        mechanical: are performing                                    riod of Restoration
                                        in accordance with the design
                                                                                                      (1)    If:

                                        of such systems and me-
                                        chanicals or the speciﬁca-
                                                                                                             (a)    Direct physical loss or          damage by
                                                                                                                    a Covered           Cause     of Loss occurs
                                        tions of the manufacturer;
                                                                                                                    to      a    building    at   the described
                                and                                                                                 premises or Business Personal
                         (b)    The reasonable              registration   and                                      Property at the described prem-
                                recertiﬁcation         fees     charged     by                                      ises to which the Green Business
                                the "G reen Authority".                                                             Personal Property Alternatives —
                                                                                                                    Increased Cost Coverage Exten-
                  (2) This Additional             Coverage applies to
                                                                                                                    sion applies; and
                         the        additional    expenses described
                         above  that you incur to achieve the                                                (b)    The Declarations show that you
                         pre-Iosa level of "green" building certi-                                                  have coverage for Business In—
                         fication in accordance with the stan-                                                      come and Extra Expense;
                         dards of the "Green Authority" that                                                you may extend that insurance to in-
                         exist at the time of repair or replace-                                            clude the amount of actual loss of
                         ment, even if the standards have                                                   Business Income you sustain and
                         changed since the                 original certiﬁca-                               reasonable and necessary Extra Ex-
                         tian   was     achieved.                                                           pense you incur during the increase
                  (3)    The insurance            provided       under     this                             in the "period of restoration" that                   is

                        Additional Coverage does not apply                                                  reasonably necessary to:
                        to any building that has been "vacant"                                                              Repair or replace the
                                                                                                                    (i)                                     lost or
                        for     more than 60 consecutive days                                                               damaged          portions   of     the
                         before the loss or           damage oocu rs.                                                       building or Business Personal
                                                                                                                            Pmperty (as described in
                                                                                                                            Green Business  Personal



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                                                                                                                           BUSINESSOWNERS


                                     Property Alternatives             —    In—                         (c)    Such        loss   or    damage       requires
                                    creased Cost Coverage Ex-                                                  replacement of such property, or
                                    tension) using products or                                                 with respect to improvements and
                                    materials that:                                                            betterments,            requires    repair     or
                                    a)    Are "green" alternatives                                             replacement;
                                          to the products or           mate-                            you     may extend      that insurance to ap—
                                          ri'als of the‘lost‘ or       dami                             ply to the         reasonable additional cost
                                          aged properly, in accor-                                     you incur to replace the iost or dam-
                                          dance with the docu-                                         aged BusineSS Personal Propeny, or
                                          mented standards of a                                        with respect to improvements and
                                          "Green Authority“; and                                        betterments. to repair or replace the
                                          Are otherwise of compa-                                       lost or damaged portions of such im-
                                    b)
                                          rable quality and function                                    provements and betterments. using
                                          to the   damaged      property;
                                                                                                       products or materials              that:

                                    and                                                                        (i)    Are    "green"      alternatives        to
                                                                                                                      the products or materials of
                            (ii)    Employ "green" methods or                                                         the lost or damaged property,
                                    processes         of    construction,
                                                                                                                      in    accordance            with      the
                                    disposal or recycling           in     the
                                                                                                                      documented standards of a
                                    course of the repair and re—                                                      "G reen Authority"; and
                                    placement of the lost or dam-
                                    aged building or Business                                                  (Ii)   Are othewvise of comparable
                                    Personal Properly (as de—                                                         quality and function to the
                                    scribed     in    Green Business                                                  damaged      property.
                                    Personal       Properly Alterna-                             (2)   With respect to improvements and
                                    tives   -   Increased Cost Cov—                                    betterments you may also extend that
                                    erage Extension),          in   ascor-                             insurance to apply to the reasonable
                                    danoe with the documented                                          additional cost            you    incur to    employ
                                    standards of a "Green Au-                                          "green" methods or processes of con-
                                    thority";                                                          strucﬁon, disposal or recycling in the
                            subject to a        maximum of 30
                                                         addi—                                         course of the repair and replacement
                            tional days from the date the "pe-                                         of the lost or damaged building, in
                            riod of restoration" would other-                                          accordance with the documented
                            wise have ended.                                                           standards of a "Green Authority“.

                (2) This    Coverage Extension is included                                       (3)   The insurance provided under                        this

                      in, and does not increase. the amount
                                                                                                       Coverage Extension applies only                        if

                      of coverage available based on the                                               replacement cost valuation applies to
                      applicable Business Income and Ex-                                               the lost or          damaged         property       and
                      tra Expense provision shown in the                                               then only if the property is actually
                      Declarations.                                                                    repaired or replaced as soon as rea-
                                                                                                       sonably         possible     aﬁer the loss or
           b.   Green Business Personal Property                           Al-
                                                                                                       damage_
                temafms             Increased        cut
                                                                                                 (4) This    Coverage Extension does not
                (1)   'f'
                                                                                                       apply to "stock" or propeny of others
                      (a)   The Declaraﬁons show                that     you                           that is in your care, custody or con-
                            have coverage            for Business Per-                                 trol.

                            sma'Pmpe'tWan“
                                                                                                 (5)   The insurance provided under                        this
                      (b) Direct physical loss             ordamage by                                 Coverage Extension does not appIy
                            a Covered Cause of Loss occurs                                             10 Business Personal Property at any
                            to covered Business Personal                                               building that has been "vacant" for
                            Property at the described prem-                                            more than 60 consecutive days be-
                            ises;   and                                                                fore the loss or       damage occurs.


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   BUSINESSOWNERS


                  (8)   The most we    will pay in any one oc-                         attain a pre-ioss level of "green" building certi—
                        currence under this Coverage Exten-                            ﬁcation from a "Green Authority".
                        sion for the increased cost incurred
                                                                                 .     This endorsement does not apply to properly
                        with respect to the damaged property
                                                                                       covered under the Newly Acquired or Con-
                        to which this Coverage Extension ap—
                                                                                       structed Properly Additional Coverage.
                        plies   is   determined by:
                                                                                       Nth    respegt to me Additional _Coveragesand        ._
                        (é)    Muftiplyin'g‘5%:"tlmes
                                                                                       Coverage Extensions of this endorsement we
                        (b)    The amount we would othenm'se                           will not pay for any Business Income or Extra
                               pay   for   the direct physical loss of                 Expense loss caused by or resulting from ob—
                               or    damage     to the business per-                   taining "green" building certiﬁcation from a
                              sonal property, prior to applica-                        "Green Authority“. However. this does not
                              tion of any applicable deductible.                       apply to any increase in the "period of resto-
                        However. the most we will pay                                  ration" required to re-attain a pre-loss leveLof
                  (7)                                          for the
                                                                                       "green" building certiﬁcation from a "Green
                        additional cost incurred in any one
                        occurrence, regardless of the number                           Authority" as otherwise covered         under the
                        of described premises involved, is                             Green Building and BusineSs Personal Prop-
                        $25,000.                                                       erty Altemalives    —   Increased Period of Resto-
                                                                                       ration   Coverage Extension.
      3.    The following provision is added to the Loss
            Payment Loss Condition in Section EA.               :
                                                                                       Under the DEFINITIONS in Section G. the
                                                                                               is added to the deﬁnition of "period
                                                                                       following
            Except as speciﬁcally provided under the:
                                                                                       of restoration ":
            a.    Green       Building Alternatives     —   Increased                  "Period of restoration" does not include any
                  Cost Additional Coverage; and
                                                                                       increased period required to re-attain a pre-
            b.    Green       Building Reengineering    and Re-                        Ioss lever of "green" building certiﬁcation from
                  cerliﬁcalion        Expense Additional Cover-                        a "Green Authority". But this does not apply lo
                  age; and                                                             any increase in the "period of restoration"
           c.     Green Business Personal Properly Alter-                              otherwise covered under the Green Building
                  natives — Increased Cost Coverage Ex-                                and Business Personal Property Alternatives
                                                                                     —   Increased Period of Restoration Coverage
                  tension;
                                                                                       Ext'ension.
           the cost to repair. rebuiid or replace does not
           include any increased cost incurred to re-




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                                                                                                    BUSINESSOWNERS
   POLICY NUMBER: 680-240511536—15-42                                                               ISSUE DATE: 03/12/2015

             THIS    ENDORSEMENT CHANGES THE                          POLICY. PLEASE        READ      IT   CAREFULLY.

                    EMPLOYEE DISHONESTY AND FORGERY OR
                                       ALTERATION INCREASED                                LIMIT

   This endorsement modiﬁes insurance provided under the following:
              BUSINESSOWNERS PROPERTY COVERAGE SPECIAL FORM
   A.   The   BUSFNESSOWNERS PROPERTY COVERAGE SPECIAL FORM                        is Changed as follows:

        1.    The   limit   applicable to the Additional   Coverage — Employee Dishonesty is increased from $25,000 to
              $         50 , noo.

        2.    The   limit   applicable to the Additional   coverage — Forgery or Alteration    is   increased from $25,000 to
              $         5 u , o o o.




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                                                                                                                                          BUSINESSOWNERS
       POLICY NUMBER:                     sao-24oaN586-15-42                                                                              ISSUE DATE: 03/12/2015

               THIS         ENDORSEMENT CHANGES THE                                       POLICY.        PLEASE READ                       IT    CAREFULLY.

                                        BUILDING                        OWNERS ENDORSEMENT
   This-endersement modiﬁes; insurance provided under. the following—zl.                                  - - .-
                                                                                                                                                     :-

                   BUSINESSOWNERS PROPERTY COVERAGE SPECIAL FORM

                                                                                   SCHEDULE
        Prem.                               Prem.                              Prem.                         Prem.                                   Prem.
        Loc.                Bldg   .         Loc.            Bldg.              Loc.         Bldg.           Loc.                 Bldg.              Loc.             Bldg
         No.                 No.             No.              No.                No.          No.              No.                 No.                No.                  No.
        001                 ALL




   Schedule of Limits of Insurance under Paragraph A.2. of this endorsement:

   $          100. ooo       in   any one occurrence at each described premises
   $          250, 000       in   any one occunence regardless of the number of described premises Involved

  A.    The BUSINESSOWNERS PROPERTY COVER-                                                                           the premises describedin the Sched-
        AGE SPECIAL FORM is changed as fOIIOWS:                                                                      uleabove caused by or resulting from
         1.    “me limit applicable to the Additional Cover-                                                         a Covered Cause of Loss during the
               age — Debris Removal, as referenced in                                                                term    onhe         policy‘
               Paragraph               A.6.c.(4).     is     increased          from                          (2)   Covered Leasehold                     Interest:
               $25900        t0 “30-000-
                                                                                                                     (a)    Means          the       difference        between
        2.     Paragraph A.6.k.(6)              is   replaced by the follow-                                               the:
               "193
                                                                                                                           (i)     Rent you were collecting at
               (6)    The most we       pay for loss under this
                                            will                                                                                   the describEd Premises Prior
                      Additional Coverage for the total of all                                                                     totheloss;and
                      coverages described in Paragraph (1)
                                                                                                                           (Ii)    ”Rental  Value“ of the de-
                      above in any one occurrence is the
                                                                                                                                   scribed premiSES aﬂerloss or
                      amount shown in the above Schedule, at
                      each described premises. But, we will not                                                                    damage has been                repaired or
                                                                                                                                   rebuilt;     and
                      pay more than the amount shown in the
                      above Schedule, in any one occurrence                                                         (b)    Does       not       mean        refunds        or     re-
                      regardless          of the     number      of described                                              hates     °f:

                      premisesinvolved.                                                                                            Prepaid rent;
                                                                                                                           (i)

        3.    The       following         Additional         Coverages           are                                               Security          or
                                                                                                                           (ii)                             other      deposits
              added:                                                                                                               made by your tenants:                or
              a.      Lessors Leasehold               Interest                                                                     Insurance.             taxes
                                                                                                                           (iii)                                      or    other
                      (1)   We     will   pay   for the cost of      Covered                                                       payments made 0" y°ur be'
                            Leasehold Interest             you sustain due to                                                      half   by tenants-
                            the cancellation of lease contracts by                                                  The most we
                                                                                                            (3)                            will   pay under         this    Addi-
                            your tenants. The cancellation must                                                     tionai   Coverage           is   the smallest          of:
                            result     from direct physical loss of or
                            damage to your Covered                                                                  (a)    Your Covered LeasehoId Interest
                                                                   Property at
                                                                                                                           forme 12 months immediately


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   BUSINESSOWNERS


                                   following the "Period of Restora-                                                  (d)       Unpacking and reshelving stock
                                   tion"       plus the
                                                  60 days of Ex-                                                                and supplies.
                                   tended Business Income but end—
                                                                                                              (3)     If       your tenants have valid and col-
                                   ing with the normal expiration
                                                                                                                      lectibleinsurance for Covered Move
                               -

                                   dale of each cancelled lease; or
                                                                                                                      Back Costs, we will pay only for the
                         (b)       $25,000        for   all   Covered Lease-                                          amgunt of Covered Move ﬂack Costs
                                   hold Interest of  all your tenants                                                 in excess of the amount payable. from
                                   canceling their leases arising out                                                 such other irisurance.
                                   of an occurrence at a described
                                                                                                              (4)   The most we  will pay under this Addi-
                                   premises.
                                                                                                                    tionalCoverage is $25,000 for the
            b.    Tenant Move Back Expenses                                                                         sum of aii such expenses arising out
                                                                                                                           '




                  (1)   We         will   reimburse you for expenses                                                of an occurrence at a described
                        you   pay for Covered Move Back                                                             premises.
                        Costs of your tenants who temporar-                                            c.     Utility          Services   —   Direct   Damage
                        ily vacate a portion of the building at

                        the premises described in the Sched-
                                                                                                              (1)   We  will pay for loss of or damage to

                                                                                                                    Covered Property caused by the in-
                        ule above. The vacancy must have
                                                                                                                    terruption of services to the described
                        occurred               while    the    portion      of the
                                                                                                                    premises. The interruption must re-
                        building rented                by your tenant could
                                                                                                                    sultfrom direct physical loss or dam-
                        not be occupied due to direct physical
                                                                                                                    age by a Covered Cause of Loss                   to
                        loss of or damage to your Covered
                                                                                                                    the foliowing property not on the de-
                        Property caused by or resulting from
                                                                                                                    scribed premises:
                        a Covered Cause                  of Loss during the
                        term of the              policy.      The move back                                         (a)        "Water Supply Services":
                        must take place                 within   60 days        after                               (b)        "Communication           Supply     Ser-
                        the portion of the building rented by                                                                  vices"; or
                        your tenant has been repaired or re-
                                                                                                                    (c)        "Power Supply Services".
                        built      and    is   ready    for   occupancy.
                        Covered Move Back Costs means                                                         (2)   The most we will pay for loss or dam-
                  (2)
                                                                                                                    age under this Additional Coverage in
                        only documented, reasonable and
                        necessary costs of:
                                                                                                                    any one occurrence is $1 0,000 at
                                                                                                                    each described premises.
                        (a) Packing,              insuring     and transpon-
                                   ing business personal property:
                                                                                                              (3)   Payments under this Additional Cov-
                                                                                                                    erage are subject to and not in addi-
                        (b)        Re—establishing electric           utility   and                                 tion to the applicable Limit of Insur-
                               communication services, less re-                                                     ance.
                               funds from discontinued services:
                                                                                                  4.   The    limit    applicable to the          Coverage Exten-
                        (c)    Assembling and setting up ﬁx-                                           sion    - Ordinance or Law — Increased "Pe-
                               tures       and equipment; or                                           riod  of            Restoraﬂon"                 increased
                                                                                                                                                 is                 by
                                                                                                       $50,000.




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                                                                                                                BUSINESSOWNERS
    POLICY NUMBER: 680-240831586-15-42                                                                          ISSUE DATE:          03/12/2015
              THIS   ENDORSEMENT CHANGES THE                           POLICY. PLEASE                   READ     IT   CAREFULLY.

                                CAUSES OF LOSS — EARTHQUAKE
   This Endorsement modiﬁes insurance proyided under the following.

                BUSINESSOWNERS PROPERTY COVERAGE SPECIAL FORM
   A.   SCHEDULE
   001 0f 001
                                                                       Annual
   Pram.                                                            Agg regate
    Loc.           Bldg   .   Deductible   Occurrence                Locatlon
    Np.             No.           %           Limit                    Limit                  Business Income and Extra Expense
   oo1             001           5%        $4,192,636                $4,192,686                     Included




   Annual Aggregate Policy Limlt S 4 . 192 . 686




   B.   COVERED CAUSES OF LOSS                                                  single Earthquake or Volcanic Eruption. The expi-.

        Covered Causes of Loss and "speciﬁed cause of                           ration of this policy will not reduce the 168-hour

        loss" are revised to include the following as Cov-                      period.    We
                                                                                            will not pay for loss or damage caused

        ered Causes of Loss only for Covered Property at                       by or resulting from earthquakes or volcanic erup-
        the Premises LocationIBuiIding number(s) shown                         tions which begin before the effective date of this

        in the Schedule above:                                                 insurance

        1.     Earthquake. meaning a shaking or trembling                      EXCLUSIONS, LIMITATIONS AND RELATED
               of the earth's crust, caused by underground                     PROVISIONS
               volcanic or tectonic forces or by breaking or                   1.   The       Earth   Movement Exclusion does          not ap-
               shifting of rock beneath the surface of the
                                                                                    ply to the insurance provided under this en-
               ground from natural causes.                                          dorsement.         All   other Exclusions   and    Limita-
        2.     Volcanic Eruption. meaning the eruption. ex—                         tions apply to the insurance provided   under
               plosion or effusion of a volcano.                                    this endorsement. For example, loss caused
                                                                                    directly or indirectly by a cause of loss ex-
        With respect to othemise covered Business In-
                                                                                    cluded under the Water Exclusion. such as
        come and    Extra Expense, Earthquake and Vol-
                                                                                    ﬂood or tidal wave, is excluded even if the
        canic Eruption will be considered a Covered
                                                                                    ﬂood or tidal wave is attributable          to   an Earth-
        Cause of Loss, but only for Premises Loca-
                                                                                    quake or Volcanic Eruption.
        tionsIBuilding number(s) for which "Included" is
        shown in the Schedule above under Business ln-                        2.    The following EXCLUSION is added as re-
        come and Extra Expense. If "Not Covered" is in-                             specb coverage provided by this endorse-
        dicated in the above Schedule there is no Busi-                             ment:
        ness Income and Extra Expense coverage for the
                                                                                    We  will not pay for the cost of restoring or
        applicable Premises LocationlBuildlng number(s).
                                                                                    remediating land or for loss resulting from the
        Allearthquake shocks or volcanic eruptions that                             time required to restore or remediate land.
        occur within any 168-hour period will constitute a


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         3.      The  foilowing LIMITATION is added as re-                                          duct an amount equal to 2%. 5%. or 10%,
                 spects coverage provided by this endorse-                                          as shown in the Schedule above, of the
                 ment:                                                                              Limit(s) of Insurance applicabie to the

                 We willnot pay for loss or damage to exterior                                      property that has sustained loss or dam-
                 masonry veneer (except stucco) on wood                                             age.
                frame walls caused by or resulting from                                             Example #1 — Speciﬁc Insurance
    .:_.____:   gaﬁhquake or. Volcanic Eruption- The value                                         -.T.heamounts of loss t_e the damaged‘
                of such veneer’ will not be included in the
                                                                                                    property are  $60, 000  (building) and
                value of Covered Property or the amount of
                                                                                                    $40 000 (business personal property in
                 loss     when    applying the Deductible applicable
                                                                                                    building).
                 to this endorsement.
                                                                                                    The value of the damaged building at
                 This limitation does no! apply if less than 10%
                                                                                                    time of loss is $100,000. The value of the
                 of the total outside wall area is faced with
                                                                                                    business personal property in that build-
                 masonry veneer             (excluding stucco).
                                                                                                    ing    is   $80,000.
   D.    COINSURANCE                                                                                The                     on the damaged
                                                                                                            Limits of Insurance
        The Coinsurance Commercial Property                               Condition                 properly are $80,000 on the building and
        does not appiy            to this       endorsement.                                        $64,000 on the business personal prop—
   E.   PROPERTY DAMAGE DEDUCTIBLES                                                                 eny.

        1.      The   provisions of Section E. 2. through E. 5.                                     The Deductible          is    2%.
                of this endorsement do not apply to Business                                        Building
                Income and Extra Expense.
                                                                                                    Step    (1):   $80,000        X 2%       = $1.600
                The               any. in this Coverage Form
                        Deductible,
                                                                                                                   $60,000 — $1 .600 = $58,400
                                           if
                                                                                                    Step    (2):
                is replaced by the following with respect to

                Earthquake and Volcanic Eruption and ap-                                            Business Personal Property
                plies to the Premises LocationlBuilding num—                                        Step    (1):   $64,000        X 2% =      $1 .280
                ber(s)      shown     in   the Schedule above:
                                                                                                    Step    (2):   $40,000        —-   $1.280 = $38,720
                We    will   not pay for [ass or         damage           until    the
                                                                                                    The most we        will      pay    is   $97,120 ($58,400
                amount of         loss or       damage exceeds
                                                      the appli-                                    + $38,720).
                cable deductible. We will then pay the amount
                of loss or damage in excess of the deductible,                                      The     portion of the total loss that              is   not
                up to the applicable Limits of Insurance.                                           covered due to the application of the De-
                                                                                                    ductible is $2.880 ($1,600 + $1 .280).
                This deductible is calculated separately                          for.
                and applies separately to:                                                          Example #2 - Speciﬁc Insurance
                a.    Each     building.         if two or more           buildings
                                                                                                   The amounts of loss to the damaged
                      sustain loss or           damage:                                            property are $60,000 (bu‘ﬂding). $40,000
                                                                                                    (business personal property in building).
                b.   The     building      and separately      to the total of
                                                                                                   $40,000    (Appurtenant   Buildings   and
                     personal property in that buiiding,                    if   both
                                                                                                    Structures)      and $40,000              (Electronic Data
                     sustain loss or damage:
                                                                                                   Processing).
                c.   The     total   personal property in or on each
                                                                                                   The  Limits of Insurance on the damaged
                     building,        personal property in or on two
                                     if
                                                                                                   property are $100,000 on the building.
                     or   more     buildings sustain loss or             damage;                   $64,000 on the business personal prop-
                d.   The     total    personal property            in   the open:                  erty. $50,000 on the Appurtenant Build-
                     a'nd                                                                          ings and Structures and $50,000 for Elec-
                e.   Any     other property insured                                                tronic Data Processing.
                                                                        under     this
                     Coverage Form.                                                                The Deductible          1's
                                                                                                                                 2%.
                The percentage (%) shown                 in   the Schedule                         Bullding
                above applies as follows:
                                                                                                   Step     (1):$1   00.000       x 2% =      $2.000
                a.   Calculation Of the Deductible                        — Spe-                                                 h $2.000 =
                                                                                                   Step (2):$60.000                             $58,000
                     ciﬁc Insurance
                                                                                                   Business Personal Pmperty
                     In   determining the amount.             if   any. that      we
                     will   pay   for loss or       damage.        we     will    de-              Step     (1)   $64,000        X 2%    = $1 .280


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             Step (2):$40,000              — $1 .280 = $38,720                                   ductible                is              $4,000       (52,000+
             Appurtenant Buildings and Structures                                                $1 .OOO+$1 .000).

             Step    (1):      550.000X 2% = $1 .000                                        .    Calculation Of                The Deductible — Blan-
                                                                                                 ket Insurance
             Step    (2):             —
                               $40,000 $1 .000 = $39,000
                                                                                                 Indetermining the amount, if any, that we
             Electronic Data Proce55ing
                                                                                                 willpay for loss or damage. we will de-
             Coverage under Electronic Data Process—                                             duct an amount equal to 2%. 5%; or 10%.
             ing is included in the Limit of Insurance                                           as shown in the Schedule above, of the
             applicable to business personal property.                                           vakues(s) of the property that has s'us-
             Since covered business personal prop-                                               tained loss or damage. The value(s) to be
             erty   was damaged as                part of the loss     and                      used are those shown in the Statement of
             Electronic Data Processing                   is   subject to                       Values on ﬁle with us. If there is no
            the business personal property Limit of                                             Statement of Values on ﬁle with us or
            Insurance. the deductible will be calcu-                                            there is no value stated in the Statement
            lated using the business personal prop-                                             of Values for such property. then the
            erty Limit of Insurance.                                                            value(s) to be used will be the value of
            Amount                                                                              the property at the time of loss.
                              of loss:    540.000
            The      most            we                                                         Example #            1   — Blanket Insurance
                                           will    pay    is 5175.720
            ($58,000             +    $38,720         +    $39.ooo +                            The sum    of the values of Building #1
            $40,000).                                                                           ($500,000), Building #2 ($500,000) and
            The     portion of the total loss that                is   not                      Building #3 ($1,000,000) a5 shown in the
            covered due to the application of the De-                                           most recent Statement of Values on ﬁle
            ductible                                +                                           with us.       is   $2,000,000.
                         is    $4.280   ($2,000
            $ 1 ,280+$1 .000).                                                                  Buildings #1 and #2 have sustained dam-
            Example #3 - Speciﬂc Insurance                                                      age; the amounts of loss to these build-
                                                                                                ings are $40,000 (Building #1) and
            The amounts    of loss to the damaged
                                                                                                $20,000 (Building #2).
            property are $60,000 (building). $40,000
            (Appurtenant Buildings and Structures)                                              The Deductible                is   2%.
            and $40,000               (Electronic      Data Process-                            Building #1
            ing).
                                                                                                Step    (1):   $500,000         $10,000 X 2% =
            The                     on the damaged
                    Limits of Insurance
                                                                                                Step    (2):   $40,000 — $10,000 = $30,000
            property are $100,000 on the building,
            $50,000 on the Appurtenam Buildings                                                 Building #2
            and Structures and $50,000 for Electronic                                           Step                     X 2% = $10,000
                                                                                                        (1):    $500,000
            Data Processing.
                                                                                                Step    (2):    $20,000 — $10,000 = $105000
            The Deductible            is   2%.
                                                                                                "the most we will pay is $40,000 ($30,000
            Building                                                                            + $10,000). The portion of the total loss
            Step    (1):$1      00.000      X 2% = $2,000                                       that is not covered due to the application

            Step (2):$60.ooo               — $2.000 = $58,000                                   of the Deductible                  is   $20,000.

            Appurtenant Buildings and Structures                                                Example # 2 —                 Blanket Insurance

            Step (1): $50.000 X 2% = $1.000                                                     The sum             of the values of Building #1

                                           — $1,000 = $39,000                                   ($500,000). Building #2 ($500,000), Busi-
            Step    (2):      $40,000
                                                                                                ness Personal Property a! Building #1
            Electronic Data Processing                                                          ($250,000) and Business Personal Prop—
            Step    (1   )2   $50,000      X 2% = $1 .000                                       erty at Building #2 ($250,000), as shown
                                                                                                in the most recent Statement of Values
            Step(2): $40,000 — $1.000 = $39.00!)
                                                                                                on ﬁle with us, is $1,500,000. Additionally.
            The most we will pay is $136,000                                                    the applicable Limit of Insurance to Ap-
            ($58.000+$39.000+$39.000).                                                          purtenant Buildings and Structures is
            The     portion of the total loss that is not                                       $50,000 and $50,000 for Electronic Data
            covered due to the application of the De-                                           Processing.




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              Buildings         #1     and          Business       Personal                       Building #1             has sustained damage; the
              Property at Building #1 have sustained                                              amounts           of loss are $40.000 (building).
              damage; the amounts of loss are $40,000                                             Additionally,           Appurtenant Buildings and
              (building) and $100,000 (business per-                                              Structures          and    Electronic Data Process-
              sonal property). Additionally. Appunenant                                           ing have sustained damage; the amount
              Buildings and Structures and Electronic                                             of       lo Appurtenant Buildings and
                                                                                                         loss
          _   Data Erpgessjng have,sustained damage;                                              Sgructpres is $40,000 and, the amount of
              the amount- Gf-Tésﬁ t6 Ap'purte’riaﬁt’ B'uildr                                      i033 to Electronic Data P'roC'éSSErngrvis
              ings and Structures is $40,000 and the                                              $40,000.
              amount of loss to Electronic Data Proc-
                                                                                                  The Deductible               is   2%.
              essing      is   $40,000.
              The Deductible           is   2%.                                                   Building #1

              Building #1                                                                         Step       (1):   $500,000 X 2% = $10,000
              Step   (1):      $500,000X 2% = $10,000                                             Step       (2):   $40,000 — $1 0,000 = $30,000
              Step   (2):
                                      —
                               $40,000 $1 0,000 = $30.00!]                                        Appurtenant Buildings and Structures
              Business Personal Property                                                          Step       (1):   $50,000 X          2%   = $1.000
              Step (1): $250,000 X 2% = $5,000                                                    Step       (2):   $40,000 — $1,000              = $39,000

              Step   (2):      $1 00.000      — $5.000 =         $95,000                          Electronic Data Processing
              Appurtenant Buildings and Structures                                                Step       (1):   $50,000         X 2% =    $1.000
              Step                          x 2%     = $1.000
                     (1):      $50,000                                                            Step       (2):   $40,000 — $1 ,ooo = $39,000
              Step   (2):      $40,000      — $1 ,ooo =     $39,000
                                                                                                  The         most        we        will   pay         is     $108,000
              Electronic Data Processing                                                          ($30,000 + $39.000 + $39,000). The por-
              Coverage under Electronic Data Process-                                             tion of the total loss that is not covered
              ‘mg   is   includedthe Limit of Insurance
                                       in                                                         due        to the application of the Deductible is

              applicable to business personal property.                                           $12,000.
              Since covered business personal prop-                                        c.     When         property     is      covered under the Addi-
              erty was damaged as part of the loss and                                            tional       Coverage             for Newly Acquired or
              Electronic Data Processing is subject to
                                                                                                  Constructed Property:
              the business personal property Limit of
              Insurance. the deductible                   will    be calcu-                       ln   determining the amount.                    if   any. that      we
              lated using the business personal prop-                                             will pay for loss or damage, we will de-
              erty Limit of Insurance.                                                            duct an amount equal to a percentage of
                                                                                                  the value of the property at the time of
              Amount       of loss: $40,000
                                                                                                  loss. The applicable percentage for Newly
              The        most     we        will    pay    is     $204,000                        Acquired or Constructed Property is the
              ($30,000 + $95,000 + $39.000+ $40,000).                                             highest percentage shown in the Sched-
              The portion of the total loss that is not                                           ule above.
              covered due to the application of the De-
              audible is $1       5mm                                                 4.   Minimum             Deductible:

              Example          #3- Blanket Insurance                                       The minimum Deductible                          that   we        will   deduct
                                                                                           with        respect       to    Earthquake and                      Volcanic
              The sum of             the values of Building #1
              asoo-ooo»
              ness Personal Property at Building #1
                                                   #2 «500.com-
                                                                                           Em:           g
                                                                                                               'zeszzi:::"h:s::"::iﬁe                          3:5?
                                                                                           ﬂ °"s'
              ($250.000) and Business Personal Prop-
              eny    at Building #2 ($250,000), as shown                              5.   If there is loss or damage caused by Earth-

              in   the most recent Statement of Values                                     quake or Volcanic Eruption. and loss or dam-
              on ﬁle with us. is $1.500.000.~Additionally.                                 age caused by a Cause of Loss (such as ﬁre)
              the applicable Limit of insurance to Ap-                                     that is covered by means of an exception to
              Punenam           BUildinQS           and SWUCthES           i5              the Earth          Movement              Exclusion, then the only
              $50.000‘30d $50,000 for Elemonic Data                                        applicable           Deductible            provisions            are those
              PFOCBSSIHQ-                                                                  stated      in this      endorsement.




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                                                                                                                                                                                         BUSINESSOWNERS

      F.    Business Income And Extra Expense Period                                                                            Business Income and Extra EXpense if "In—
            ofRestoration                                                                                                       cluded" is shown in the Schedule above un-

            The  “period of restoration" applies to each Earth-                                                                 der Busmess Income and Emra EXpense for
            quake or Volcanic Eruption. A single Earthquake                                                                     the       applicable                   Premises                LocationlBUi'ding
            or Volcanic Eruption is deﬁned in Section B. of                                                                     "“mber(s)'
            this   endorsement.                                                                                            4.    If   a Cause         of Loss (such as ﬁre) is covered by
 "
     G"     L‘lmns 6F                                         --          ~
                                                                                7-                                              (neans                _anuexcepﬁon t0 ”11% Earth. MOVE: TH...”
       ’                        .NSURANeE                             ‘                                                                         O_f

                                                                                                                                men!       Exclusion.              we        will        also p‘ay for the loss
            1.     The    following Li_mits of lnsgrance apply                           a          if
                                                                                                                                or damage caused by that other Covered
                   dollar      amount Als shown                      In       the Schedule                                      Cause 0f Loss But the most we wi" pay, f0,
                   above         sucm'm't
                               f°r
                                                                                                                                the total of all loss or damage caused by
                   a.    Occurrence Limit                                                                                       Earthquake. Volcanic Eruption and other
                         The app      I.
                                       ’cable           occunence L'mms)
                                                                                .        .

                                                                                               cf    m    _                     Covered Cause of Loss, is the Limit of Insur-
                                                                                                                                                  _


                         surance shown         the Schedule above
                                                         in
                                                                                                                                ance applicable to such other Covered Cause
                         applies l0 any one occurrence. even if the
                                                                                                                                °f    L055
                         loss involves more than one coverage.                                                                  We       wull    not pay the                         sum    of_the two llmlts
                                                                                                                                                                                                               .   '




                         ”mums      Payable under any Additional                                                                (Earthquake,                    Volcanic                 Eruption and other
                         Coverage or Coverage Extensions do not                                                                 Covered Cause of Loss).
                         increase the Occurrence Limit(s) of In-
                                                                                                                                Example_Ensuing Loss
                         surance. This limit is part of. and does not
                         increase, the Limits of Insurance (hat ap-                                                             A     building        is    damaged by     Earthquake. and by
                         ply   under       this   Coverage Form.                                                                Fire which            is        caused by the Earthquake. The
                                                                                                                                value of the               damaged                   building is 51.000.000.
                   b'   Am“! Agg'egate L°cati°n ”m“                                                                             The      Limit of Insurance appricable to the build-
                        The applicable Annual Aggregate Loca-                                                                   ing is $800,000.  The Limit of Insurance for
                                   shown in the Schedule above
                        tion Limit(s)                                                                                           Earthquake    $400,000. The Earthquake De-
                                                                                                                                                           is
                        applies. regardless of the                        number              of 0c-                            ductible amount is $40,000 (5% X $800,000).
                        currences. to             all   loss occurring in                    any one                            The damage due                     to Earthquake                 is   5500.000
                        policy year commencing wilh the incep-                                                                                                                   .       .

                        tion or anniversary date of mis endorse-                                                                The damage due to                            F're '5         $soo'ooo
                        ment. whichever is less.                                                                                Payment          for    Earthquake damage is $400,000
                  c'    Annua'Aggregate Poncyymft.
                                                                                     -
                                                                                                                                ($500,000              damage minus $40,000 Eanh-
                                                                                                                                quake           deductible                   =           $460,000:      Limit      is
                        The Annual Aggregate Policy Limit shown                                                                 $400,000)
                        mthe Schedule above applies, regardless
                        Of the       numb”           0f occurrences 0' prem‘                                                    Payment               for        Fire            damage          is     $400300
                        ises. for all           loss occurring in any one pol—                                                  ($500,000 damage capped at the difference
                                                                                                                                                                   .         .       .



                        icyyear commencing with the inception or                                                                between the Basnc LImIt and the Earthquake
                                                                                                                                Limit)
                        anniversary date of this endorsement,
                        whichever is fess.                                                                                      Total Loss            Payment            is          $800,000.
           2.     The most we              will   pay    for loss         caused by any                         H.     The       limit         Newly Acquired or Con-
                                                                                                                                          applicable to
                  Earthquake or Volcanic Eruption                              is    the lesser                        structed Property Additional Coverage. and with
                  of:                                                                                                  respect to otherwise covered Business Income
                  a.    The applicable Occurrence                             Limit of Insur-
                                                                                                                       and Extra Expense-Newly Acquired Premises
                        ance;                                                                                          Coverage Extension. is replaced with the follow-
                                                                                                                       ing provision:
                  b.    The remaining ponion of any applicable
                        Annual Aggregate Location Limit of ln-                                                        The most we will pay for loss or damage under
                        surance; or                                                                                   Newly Acquired or Constructed Property Addi—
                                                                                                                       ,                                                 _

                                       v    ,             I
                                                                                                                      tional Coverage or Busmess Income and Extra
                 c-     The remanfng Porno" 0f the Annual Ag'
                                                                                                                      Expense—Newly Acquired PremiSes Coverage Ex-
                        gregate P°"Cy L'm't °f '"Surance-
                                                                                                                      tension under this endorsement is a total of
           3.    The Limit of Insurance that applies to cover—                                                        $100,000 in any one occurrence and in any one
                 age underthis endorsement also applies to                                                            policy year.




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                                                                                                                              BUSINESSOWNERS
       POLICY NUMBER:                  680—2408N536—15—42                                                                     ISSUE DATE: 03/12/2015

                 THIS    ENDORSEMENT CHANGES THE                                        POLICY. PLEASE                      READ          IT   CAREFULLY.

i
                             FUNGUS, WET ROT, DRY ROT AND OTHER
                                  CAUSES 0F LOSS CHANGES
       This endorsement modiﬁes insurance provided under the following:

                 BUSINESSOWNERS PROPERTY COVERAGE PART
       A.   SCHEDULE
            Limited "Fungus",            Wet Rat or Dry Rot Coverage:
i
            Direct     Damage         Limit of Insurance
            $15,000                OR     D $25,000 D $50,000 D $100,000 U $250.000
       B.   The EXCLUSIONS contained                       in    Section B. of the                             moisture or vapor that occurs over a pe—
            BUSINESSOWNERS PROPERTY COVERAGE                                                                   riod of 14 days or more.
            FORM are amended as follows:                                                  C.   The    Additional            Coverages contained               in   Section
            1.   The following exclusion              is   added     to B.1.:                  A.6.      BUSINESSOWNERS PROPERTY
                                                                                                          of    the

                 "Fungus", Wet Rot or Dry Rot                                                  COVERAGE FORM are amended as follows:
                 a.    We      not pay for lass or damage, or
                              will
                                                                                               1.    The following            Additional        Coverage     is   added:
                       any increase in the amount of loss or                                         Additional Coverage                        - Limited "Fungus",
                       damage, caused directly or indirectly by                                      Wet Rot or Dry Roi
                       or resulting from the presence. growth,                                                 The covetage described in
                                                                                                     a.                                                  b. and c. be-
                       proliferation, spread or any activity of
                                                                                                               low only applies when the                 "fungus". wet
                       “fungus", wet rot or dry rot.
                                                                                                                                             a "speciﬁed
                                                                                                               rot or dry rot is the result of
                       But if "fungus", wet rot or dry rot results in                                          cause of       other than ﬁre or lightning.
                                                                                                                             loss".
                       a "speciﬁed cause of loss". we will pay for                                             that occurs during the policy period and
                       the loss or damage caused                            by   that                          only if all reasonable means have been
                       "speciﬁed cause of loss”.                                                               used to save and preserve the property
                                                                                                               from further damage at the time of and af—
                       This exclusion does not apply:
                                                                                                               ter that     occurrence.
                       (1)    When      "fungus".     wet        rot or dry rot re—                                                                                        —
                                                                                                               Limited "Fungus".               Wet Rot   or Dry Rot
                              sults   from ﬁre or      lightning; or
                                                                                                               Direct      Damage
                       (2)    To the extent that coverage is pro-
                              vided in the Additiona! Coverage —-
                                                                                                               (1)   We     will   pay
                                                                                                                                   for direct physical loss or
                                                                                                                      damage   to Covered Property caused
                              Limited "Fungus", Wet Rot or Dry Rot
                                                                                                                      by "fungus". wet rot or dry rot, includ-
                              in Section C.1. below of this en-
                                                                                                                     ing:
                              dorsement with respect to loss or
                              damage by a cause of loss other than                                                   (a)    The cost       of removal of the "fun-
                              ﬁre or lightning.                                                                             gus", wet      rot or dry rot;

            2.   The exclusions contained                  I'n
                                                                 B.2. are   amend-                                   (b)    The cost       to tear out    and replace
                 ed as follows:                                                                                             any pan        of the building or other
                                                                                                                            property as needed to gain ac-
                       Under exclusion B.2.d.(2), reference to
                                                                                                                            cess to the "fungus", wet rot or
                       fungus. wet rot or dry rot. mold is deleted.
                                                                                                                            dry    rot:   and
                 b'                              '5   daleted and replaced
                       Eﬁres'foo'l‘loali’;                                                                           (c)    The cost     of testing performed af-
                                             ‘
                                                                                                                            ter    removal. repair, replacement
                       We   will not pay for loss or damage                                                                 or  restoration of the damaged
                       caused by or resulting from continuous or                                                            preperty is completed. provided
                       repeated seepage or leakage of water. or                                                             there is a reason to believe that
                       the presence or condensation of humidity.




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   BUSINESSOWNERS


                                  "fungus",     wet      rot or dry rot are                         pense coverage applies to the described
                                  present.                                                          premises and only if the suspension of
                                                                                                    "operations" satisﬁes all of the terms of
                    (2)    The coverage described in b.(1)
                                                                                                    the applicable Business Income andlor
                           above is limited to $15,000. or the
                                                                                                    Extra Expense coverage:
                           limit of insurance shown in the
                           Schedule of this endorsement                     for                     (1)   1f   the loss which results              in   the "fun-
     'w—ww          ;."   ‘L‘imitéd "Fungus'l'; Wet Rot or DlyRot                                         gus". wet mt erdry rot does riét-‘I'n—ilg
                          Coverage — Direct Damage. Regard-                                               self necessitate a suspension of "op-
                          less of the number of claims, this limit                                        erations". but such suspension of
                          is the most we will pay for the total of                                        "operations" is necessary due to loss
                          all    loss or     damage under        this cover-                              or  damage to property at the de-
                          age     arising out of  occurrences of
                                                         all                                              scribed premises caused by "fungus“,
                          "speciﬁed causes of loss" (other than                                           wet    rot or     dry      then our payment
                                                                                                                                  rot.
                          ﬁre or lightning) which take place in a                                         for    Business         Income andlor Extra
                          12 month period (starting with the                                              Expense        fs limited       to the    amount of
                          beginning of the present annual pol-                                            loss andlor        expense sustained               in   a
                          icy period). With respect to a particu-                                                     more than 30 days. The
                                                                                                          period of not
                          lar occmrence of loss which results in                                          days need not be consecutive.
                          "fungus", wet rot or dry rot, we will not
                                                                                                    (2)   If   a covered suspension of "opera~
                          pay more than a total of this annual                                            tions"   is   caused by loss or damage at
                          limit even if the "fungus", wet rot or
                                                                                                          the described premises by other than
                          dry rot continues to be present or ac-
                                                                                                          "fungus". wet rot or dry rot. but reme-
                          tive.   or recurs,    in   a   later policy period.
                                                                                                          diation of “fungus", wet rot or dry rot
                   (3)    The coverage provided under                      this                           prolongs the "period of restoration",
                          Limited "Fungus",Wet Rot or Dry Rot                                             we will pay for loss andlor expense
                          Coverage — Direct Damage does not                                               sustained during the delay. regard-
                          increase the applicable Limit of                  In-                           less of when such a delay occurs dur-
                          surance on any Covered Property. If                                             ing the "period of restoration". but
                          a particular occurrence results in loss                                         such coverage is limited to 30 days.
                          or damage by “fungus". wet rot or dry                                           The days need not be consecutive.
                          rot.    and other loss or damage, we             will
                                                                                                    The coverage provided under this Limited
                          not pay       more   for the total of   all   loss or                     "Fungus". Wet Rot or Dry Rot Coverage
                          damage   than the applicable Limit of                                     — Business Income and Extra Expense is
                          Insurance on the Covered Property.
                                                                                                    included in. and not in addition to any limit
                   (4)    If   there covered loss or damage to
                                        is                                                          or description of coverage for Business
                          Covered Properly that is not caused                                       Income shown on the Businessowners
                          by “fungus". wet rot or dry rat, loss                                     Coverage Part Declarations or under the
                          payment will not be limited by the                                        Extra Expense Additional Coverage.
                          terms of this Limited "Fungus", Wet
                                                                                            d.      The terms  of this Limited Coverage do
                          Rot or Dry Rot Coverage — Direct
                                                                                                    not increase or reduce the coverage un-
                          Damage. except to the extent that                                         der the Water Damage. Other Liquids,
                          "fungus", wet rot or dry rot causes an
                                                                                                    Powder or Molten Damage Additionaf
                          increase in the loss. Any such in-
                                                                                                    Coverage Extension or the coverage pro-
                          crease in the loss will be subject to
                                                                                                    vided for collapse of buildings or struc-
                          the terms of this Limited "Fungus".
                                                                                                    tures under the Collapse of Buildings ex-
                          Wet Rot or Dry Rot Coverage - Di-                                         clusion.
                          rect    Damage.
                                                                                  D.   The DEFINITIONS contained                         in   Section G. are
            c.     Limited "Fungus".            Wet Rotor Dry Rot
                                                                                       amended as follows:
                   Coverage         ~    Business Income and Extra
                   Expense                                                             1.   The     deﬁnition of "Speciﬁed                Causes        of Loss"
                                                                                            is   deleted and replaced by the following:
                   The    following Limited "Fungus".              Wet Rot
                   or Dry Rot   Coverage provisions for Busi—                               "Speciﬁed Causes of Loss"                    means the        follow-

                   ness Income and Extra Expense apply                                      ing:     Fire;     lightning; explosion: Windstorm or
                   only if Business Income andlor Extra Ex-                                 hail:   smoke;       aircraft or vehicles; riot or civil




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                                                                                                                                  BUSINESSOWNERS


             commotion; vandalism; leakage from ﬁre ex-                                          only to the extent such cause of loss Is                 in-
             tinguishing  equipment: sinkhole collapse as                                        sured against under this Coverage Form.
             deﬁned below; volcanic action: falling objects
                                                                                                 The following       deﬁnition   is   added:
             as limited below: weight of snow. ice or sleet;
             and water damage as deﬁned below; all only                                          "Fungus" means any type or form of fungus.
             as otherwise insured against in this Coverage                                       including but not limited to mold or mildew.
      H ...Eorm.”              _   ,
                                                                                                 and any- mycotpxins,.spores. scents or by-
                          l.              H
         '

             3L" 'Si'ﬁkhole
                                                                                             -
                                                                                                 productszprotiuced or i'eleased by fungi.
                                         cotla‘pseMFneans        théI-su'ddenv
                  sinking              or collapse of land into under-             E.   Ordinance or Law Coverage Change
                  ground empty spaces created by the ac-                                Under;
                  tion of water on limestone or dolomite.
                  This cause of loss does not include:
                                                                                        1.       The ordinance          or law coverage in Section
                                                                                                 A.6.i. Increased        Cost of Construction of the
                  (1)    The cost             of ﬁlling sinkholes; or                            Businessowners Property Coverage Form:
                  (2)    Sinking or collapse of land into               man-            2.       Ordinance or          Law Coverage endorsement
                         made underground                cavities.                               MP T1 35: and
             b.   Falling objects               does not include loss or                3.       Any  other Ordinance or Law covemge or Or-
                  damage to:                                                                     dinance or Law — Increased "Period of Resto~
                                                                                                 ration" coverage provided under this Cover-
                  (1)    Personal property              in   the open; or
                                                                                                 age   Part;
                  (2)    The               a building or struc-
                                       "interior of
                         ture", or property inside a building or                        the following exclusion           is   added:
                         structure. unless the roof or an out-                                   This coverage does not apply            to:
                         side wall of the building or stmcture                is

                        damaged by a falling object.
                         ﬁrst
                                                                                                 a.    Loss caused by or mSuIt'mg from the en-
                                                                                                       forcement of any ordinance or law which
             c.   Water damage means accidentaf                             dis-                       requires the demolition,          repair.   replace-
                  charge or leakage of water or steam as                                               ment. reconstruction, remodeling or re-
                  the direct result of the breaking apart or                                           mediation of property due to the pres-
                  cracking of any part of a system or appli-                                           ence. growth. proliferation, spread or any
                  ance (other than a sump system including                                             activity of “fungus". wet rot or dry rot; or
                  its   relatedequipment and parts) contain-
                  ing   water or steam.                                                          b.    Costs associated with the enforcement of
                                                                                                       any ordinance or law which requires any
             When       Causes of Loss — Earthquake en-
                        the                                                                            insured or others to test for. monitor,
             dorsement,   Causes of Loss — Earthquake                                                  clean up. remove, contain, treat, detoxify
             Sprinkler Leakage endorsement or Causes of                                                or neutralize, or in any way respond to. or
             Loss - Broad Form Flood endorsement is in-                                                assess the effects of "fungus". wet rot or
             cluded in this policy, “speciﬁed causes of                                                dry   rot.
             loss"a|so includes such cause of loss, but




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                                                                                                                                                 BUSINESSOWNERS

                    THIS        ENDORSEMENT CHANGES THE                                         POLICY. PLEASE              READ           IT   CAREFULLY.

                                                        POWER PAC ENDORSEMENT
    '—
-
         -Thiswdoasemenh‘nodiﬁes; insurancgquovirkdwﬁerﬁmfqllnwing;j:_
                     BUSINESSOWNERS PROPERTY COVERAGE SPECIAL FORM
          A.   The BUSINESSOWNERS PROPERTY COVER-                                                              We will pay reasonable costs you incur to
               AGE SPECIAL FORM is changed as follows:                                                         perform the activity described in Para—
               1.   With respect to Business Income and Extra                                                  graphs (1) and (2) above. The most we
                    Expense, the time frame referenced in Pala-                                                will pay for these costs and the value of

                    graph A.3.c.(2)(b) is increased from sixty                                                 the damaged property under this Addi-
                    consecutive days to ninety consecutive days.                                               tional      Coverage        is   $25,000.

               2.   The        limit   applicable to the Additional Cover-                                     Payments under this Additional boveme
                    age — Claim Data Expense                      is   increased from                          are subject to and not in addition to the
                    $5.000 to $1 0,000.                                                                        Limits of Insurance.

               3.   The limit applicable to the Additional Cover-                                         b-   “WW Fm" ExPense
                    age - Newly Acquired or Constructed                                                        (1)   We will pay for Expenses incurred by
                    Property for Business Personal Property                                is                        an Insured Person as a direct result
                    increased from $250,000 to $500,000.                                                             of any one Identity Fraud ﬁrst discov-
               4.   The limit applicable to the Additional Cover-                                                    ﬁred      ”Jam“        0f
                                                                                                                                               ?y
                                                                                                                                                   such dlnsumd
                    age — Outdoor Trees, Shrubs, Plants and                                                           ergo"         """g the polcy perm               '



                    Lawns is           increased from $3,000to $5,000.                                               Any  act or series of acts cqmmitged
               5.   \Mth respect to the Additional                       Coverage -                                  by :"e or more persons' or       .Wh'Ch   'r.‘



                    Ordinance or Law, coverage is                        extended to                                 sgcﬁPermt: °r persqns are a'ld'”9r:dr
                    include tenant's improvements                        and   better—
                                                                                                                        e ”‘9. ° e'suagaMStba"
                    menls as described in Paragraph                      A.1.b.(3)   if.
                                                                                                                     g.erson' 's cons' eyed to .e one”5|:en'
                                                                                                                     trtyFraud. even If a senes of acts
                    3-    Y0” are a        tenant;       and                                                         continues into a subsequent policy
                    b.    A Limit of Insurance is         shown in the Dec-                                          PeriOd-
                          laratlons              Busine5§ Personal Property
                                          for_
                                                                                                               (2)   wnh respecno this Additional                 Cover-
                          at the       descnbed premises.
                                                                                                                     age;
               6.   The        fOHOWirIg         Additional       coverages are                                      (a)    Expenses means:
                    added-
                                                                                                                            (i)    Costs for notarizing afﬁdavits
                    3-    Brands °r Labels                                                                                         or similar         documens        attest-
                          If   branded or labeled merchandise that                     is                                          Ing t9 (mus!   [equired Py. ﬁ-
                          covered property is damaged by a CW.                                                                     nancral Institutions or sumllar
                          ered Cause of Loss, we may take all or                                                                   Credit    QTEMOTS 0F Grad“ 399n-
                          part of the property at an agreed or ap—                                                                 c‘esi
                          praised value.           If   so,   you may:                                                             Costs for certiﬁed mail to Iav_v
                                                                                                                            (II)

                          (1)    Stamp the word    "Salvage" on the                                                                enf°r°.emem agenc'eszcreﬂ't
                                 merchandise or its containers, if the                                                             agenc'es- ﬁPanc'a' .msmu'
                                                                                                                                                  ,



                                 sbmp will not physically damage the                                                               “m? °r s'm'lar cred" 9’3""
                                 merchandise; or                                                                                   10's:
                                                                                                                                                           A



                         (2)     Remove    the brands and labels, if do-                                                    ("0 '-°s‘ '"°°me resumng "0"“
                                 ing so will not physically damage the                                                             a)   Time taken  off work to
                                 merchandise or its containers to                                                                       complete fraud afﬁdavits;
                                 comply with the law.                                                                                   or




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   BUSINESSOWNERS


                                 b)     Meeting with or talking to                                                                  The    individual      who is the sole
                                        law enforcement agen—                                                                       proprietor of the         Named ln-
                                        cies, credit agencies or                                                                    sured shown           in   the Declara-
                                        legaloounsel;                                                                               tions;

                                up io a total payment of                                                                  (ii)      For pannerships;
   l                            $5000. subject to a maxynym'
                         m                                                                                            r
                                                                                                                               .
                                                                                                                                    Any individual that is ‘a pan—
                                oi $200 per dam?                                                                  "        1
                                                                                                                                   ‘ne'r of 'the Named ln‘smed‘?‘

                        (iv)    Loan application fees             for re-                                                           shown     in   the Declarations;
                                applying for a loan or ioans                                                                        For corporations or any other
                                                                                                                      (iii)
                                when the original application
                                                                                                                                   type of organization;
                                is    rejected solely    because the
                                lender          received      incorrect
                                                                                                                                   The Chief            Executive Ofﬁcer,
                                credit information;
                                                                                                                                   and any individual who has
                                                                                                                                   an ownetship interest of at
                        (v)     Reasonable attorney fees             to:
                                                                                                                                   least20% of the Named ln-
                                a)      Defend lawsuits brought                                                                    sured shown in the Declara~
                                        against an Insured Per-                                                                    tions; or
                                        son by merchants, ﬁnan-                                                                    For religious
                                                                                                                      (iv)                               institutions;
                                        cial   institutions    or    their
                                        collection agencies;
                                                                                                                                   The    individual who is the sen-
                                                                                                                                   ior   pastorai "employee" of the
                                b)      Remove any         criminal      _or
                                                                                                                                   Named       Insured shown           in   the
                                       civil    judgments wrongly
                                                                                                                                   Deciarations.
                                       entered agalnst          an       ln-
                                       sured Person; or                                               (3)   The  following additional exclusions
                                                                                                            apply to this Additional Coverage:
                                c)     Challenge the accuracy
                                       or completeness of any                                               We will not pay for:
                                       information in a oon-                                                (a)       Expenses incurred due                           to    any
                                       sumer credit     report;                                                       fraudulent, dishonest or criminal
                       (vi)Charges for long                   distance                                                act by:
                           telephone calls to:                                                                        (l)          An    Insured Person;
                                a)     Merchants;                                                                     (ii)         Any person           aiding or abetting
                                h)     Law enforcement agen-                                                                       an Insured Person;            or
                                       cies;                                                                          (iii)        Any       authorized representa-
                               c)      Financial                 or
                                                      institutions                                                                 tive of    an Insured Person;
                                       similar credit grantors; or                                                    whether acting alone or                      in collu-

                               d)      Credit   agenciesmr                                                            sion with others;

                      (vii)    Reasonable fees for profes-                                                  (b)       Expenses incurred                        that are not
                               sional ﬁnancial advice or pro-                                                         related to the identity of an indi-
                               fessional credit advice.                                                               vidual; or

                (b)    Identity        Flaud means:                                                         (c)       Loss other than Expenses. Ac-
                       The act  of knowingly transferring                                                             count balances which an‘se out of
                       or using, without lawful authority.                                                            fraudulent or unauthorized charg-
                       a means   of identiﬁcation of an ln-
                                                                                                                      es would be one example of loss
                       sured Person with the intent to                                                                other than Emenses.
                       commit. or to aid or abet another                                              (4)   This Additional Coverage does not
                       lo commit, any unlawful activity                                                     appiy to Expenses otherwise covered
                       that constitutes a violation of fed-                                                 under the Unauthorized Business
                       eral law or a felony under any                                                       Card Use Additional Coverage.
                       appliwble state or local law; and
                                                                                                      (5)   Regardless of the amount of the
                (c)    Insured Person means:                                                                Businessowners Property Coverage
                       (i)     For sole proprietorships;                                                    Deductible                   shown     in   the Declarations,

  Page 2 of 4                Includes the copyrighted material of Insurance Services Ofﬁce.       Inc.   with   its   permission.                        MP T9    70 03 06
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                                                                                                                                               BUSINESSOWNERS

                               the most we will deduct from any                                               The most we               will   pay under this Addi—
                               claim for Expenses under this Addi—                                                         Coverage
                                                                                                              tional                     in    any one occurrence is
                               tional    Coverage         for   any one   Identity                            $5,000.
                               Fraud     is   $250.
                                                                                                              Utility      Services — Direct        Damage
                  (6)          The most we will pay under this Addi-                                                 We will
                                                                                                              (1)           pay             damage lo
                                                                                                                                         for loss of or
                      _       ginna! _‘quegagg, is. $1 51090 .for .the
                          .


                                                                                                                     Covered _Prppony caused bv=the in-n.
                              éum‘o'f'all covéred Expeh'sés’ 'arising
                                                                                                                     terruption of services to the described
                              out of aH Identity Fraud against'an In-
                                                                                                                     premises.        The      interruption   must    re-
                              sured Person discovered during each
                                                                                                                     sultfrom direct physical loss or dam—
                              separate 12 month period of this pol—                                                  age by a Covered Cause of Loss to
                              icy beginning with the effective dale
                                                                                                                     the following property not on the de-
                              of this endorsement.                                                                                                               '
                                                                                                                     scribed premises:
                 (7)          In     order for coverage to be provided                                                      "Water Supply Services";
                                                                                                                     (a)
                              under     this Addilional         Coverage. you
                              must:                                                                                  (b)    "Communication            Supply         Ser-
                                                                                                                            vices"; or
                              Send      to us, within       60 days    after our
                                                                                                                     (c)    "Power Supply         Services".
                              request,        receipts,     bills   or other re-
                              cords that support your claim for Ex-                                           (2)   The most we will pay  for loss or dam-
                              penses under ldenﬁty Fraud cover-                                                     age under this Additional Coverage in
                              age.                                                                                  any one occurrence is $2.500 at each
                 Lost Key Consequential Loss                                                                        described premises.

                 (1)          We will pay for consequential loss to                                           (3)   Payments under this Additional Cov-
                              keys and locks if a master or grand                                                   erage are subject to and not in addi-
                                                                                                                    tion to the applicabie Limit of Insur-
                              master key is lost or damaged from a
                              Covered Cause of Loss. We will pay                                                    ance.
                              for:                                                                 7.   The       following     Coverage Extensions are
                                     The                                                                changed as         follows:
                              (a)          actual cost of keys,       and
                                     Adjushnent of locks to accept                                           The     limits applicable to         the Coverage Ex-
                              (b)
                                     new keys,or                                                             tension         — Accounts Receivable                   are
                                                                                                             changed as follows:
                          (c)        If required, new locks including

                                     cost of their installation.                                             (1)    The     limit   appliwble Io records of ac-
                                                                                                                    counts receivable while in transit or at
                (2) Loss or                damage must be caused by                                                 a premises other than the described
                          or result from        a Covered Cause of                                                  premises is increased by $100,000.
                          Loss including mysterious disappear-
                          ance.                                                                             (2)     The limit applicable to records of ac-
                                                                                                                    counts receivable at each described
                (3)       The most we will pay for loss or dam-                                                     premises is increased by $100,000.
                          age under this Additional Covemge is
                          $500 at each described premises.                                                  The     limit    applicable to the Coverage Ex-
                                                                                                            tension- Business Income and Extra
            .   Unauthorized Business Card Use
                                                                                                            Expense From Dependent Property is
                We   will pay for your loss of "money" or                                                   increased from $10,000 to $25,000.
                charges and costs you incur that result di-
                                                                                                            The     limit   applicable to the Coverage Ex-
                rectly from the unauthorized use of credit.                                                        - Business Income and Extra
                                                                                                            tension
                debit or charge cards issued in your busi-
                                                                                                            Expense - Newly Acquired Premises is
                ness name, including:
                                                                                                            increased from $250,000 to $500,000.
                (1)       Fund transfer            cards;                                                   Two     of the limits applicable to the Cover-
                (2)       Charge        plates; or                                                          age Extension — Electronic Data Proc-
                (3)    Telephone cards.                                                                     essing are changed as follows:

                                                                                                            (1)     The     limit    applicable to       "Electronic
                                                                                                                    Data Processing Equipment"and to

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      BUSINESSOWN ERS


                               "Electronic Data Processing Data                    and                                   at the described premises. you may
                               Media" while           in transit   or at a prem-                                         extend that insurance to apply to di-
                               ises other than the described                 prem-                                       rect physicai         loss of or      damage   to
                               ises      is     increased from $25,000 to                                                that    pan of a         you occupy as
                                                                                                                                               building
                               $50,000.                                                                                a tenant caused by or resulting from
                                                                                                                     "_a Coyergd Causepf Loss other than
                        12) The. limit applicable to loss or dam-
  '




      1;     '--         '




                             Jageta "Electronic Dam Processing                                        _=_   ..     ,,;"tH:-=ﬂ‘."or_ attempged "theft;


                               Data and Media" caused by or result-                                              ('2)   This      Coveége Extension dS-e—s not
                               ing from "electronic vandalism" is in-                                                   apply to any othewvise covered:
                               creased from $25,000 to $50,000.
                                                                                                                        (a)     Building glass; or
                   e.   The     limit    applicable to the         Coverage Ex-
                                                                                                                        (b)     Tenants improvements and bet-
                        tension          — Ordinance or Law -                      ln-
                                                                                                                                terments as described in Para-
                        creased "Period of Restoration"                       is   in-
                                                                                                                                graph A.1.b.(3).
                        creased from $25,000 to $50,000.
                                                                                                                 (3)    The most we will pay under this Cov-
        8.     The           following          Coverage Extensions                are                                  erage Extension in any one occur—
               added:
                                                                                                                        rence is $5,000 at each described
               a.       Computer Fraud                                                                                  premises.

                        (1)    When   a Limit of Insurance is shown                                    c.        Utility      Services      — Time Element
                               in the Declarations for Business Per-
                                                                                                                 (1)    When  the Declarations show that you
                               sonal Property at the described prem—
                                                                                                                        have coverage for Business Income
                               ises, you may extend that insurance
                                                                                                                        and Extra Expense, you may extend
                               lo apply to loss of or damage to Busi-
                                                                                                                        that insurance to apply to the loss of
                               ness Personal Property resulting di-
                                                                                                                        Business Income or Extra Expense
                               rectly from the use of any computer
                                                                                                                        caused by the Interruption of service
                              to     fraudulently       cause a transfer of
                                                                                                                        to the described premises. The inter—
                              that propeny from inside the building
                                                                                                                        ruption must result from dired physi-
                               at the described         premises or "banking
                                                                                                                        cal loss or damage by a Covered
                               premises":
                                                                                                                        Cause of Loss lo the following prop-
                              (a)    To a person outside those prem-                                                    erty not       on the described premises:
                                     ises; or
                                                                                                                        (a)     "Water Supply Services";
                              (h)    To a place         outside those prem-
                                                                                                                        (b)     "Communication             Supply     Ser-
                                     ises.
                                                                                                                                vices"; or
                        (2)   Paragraph 8.2.0. does not apply to
                                                                                                                        (c)     “Power Supply        Services".
                              this   Coverage Extension.
                              The most we will pay under this Cov-                                               (2)    We      will     pay the actual    loss sustained
                        (3)
                                                                                                                        from the initial time of servioe(s) fail-
                              erage Extension in any one occur-
                                                                                                                        ure at the described premises but
                              rence        is   $5,000. regardless of the
                                                                                                                        only when the sewice interruption at
                              number of premises             involved.
                                                                                                                        the described premises exceeds 24
               b.       Limited Building               Coverage — Tenant                                                hours immediately following the direct
                        Obligation                                                                                      physical loss or damage. Coverage
                        (1)   If:                                                                                       does not apply to any reduction of in-
                                                                                                                        come after service has been restored
                              (a)    You      are a tenant;
                                                                                                                        to your premises.
                              (b)    A   Limit of Insurance         is   shown     in
                                                                                                             (3)        The most we           will   pay      under
                                                                                                                                                           for less
                                     the        Declarations     for     Business
                                                                                                                        this    Coverage Extension         any one
                                                                                                                                                              in
                                     Personal Property; and
                                                                                                                        occurrence is           $2,500 at each de-
                              (c)    You are       contractually obligated to                                           scribed premises.
                                     repair or replace that part of                 a
                                     buifding     you occupy as a tenant;


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                                                                                                                                COMMERCIAL PROPERTY

              THIS          ENDORSEMENT CHANGES THE                              POLICY. PLEASE                        READ         IT   CAREFULLY.

                        INDIANA                    CHANGES - RIGHTS OF RECOVERY
   This endorsement modiﬁes insurance provided under the following:

                COMMERCIAL _gFgQPERTanyEgAGE‘EAEﬁI                                 .3.
                                                                                                            __.                           -        .   .                '.

   A.     Unless       SECTION B           or    SECTION C       of this en-               you   will    bring "suit" or transfer those rights to us
         dorsement applies. the Transfer Of Rights Of                                      and help us enforce them.
         Recovery Against Others To Us Condition is
                                                                                           The Transfer Of Rights Of Recovery Against
         replaced by the following:
                                                                                           Others To Us Condition in the Mortgageholders
         TRANSFER 0F RIGHTS                             OF     RECOVERY                    Errors And Omissions Coverage Form is replaced
         AGAINST OTHERS TO US                                                              by the following:
         ff any person or organization to or for whom
                                                      we                                  TRANSFER OF RIGHTS                                  OF       RECOVERY
         make payment Under this Coverage Part has                                        AGAINST OTHERS TO US
         rights to recover damages from another, those
         rights are transferred tous to the extent of our                                 1.    Under Coverages A,                    B   and E,       if   any person
         payment. Our right to recover damages from an-                                         or organization to or for                 whom we make             pay—
         other may be enforced even if the person or or-                                        ment under              this   Coverage Form has              rights to
         ganization to or for whom we make payment has                                          recover damages from another. those rights
         not been fully
                      compensated for damages.                                                  are transferred to us to the extent of our pay-
                                                                                                ment. Our right to recover damages from an-
        The person or organization to or for whom we
                                                                                                other may be enforced even if the person or
        make payment must do everything necessary to                                            organization to or for whom we make pay-
        secure our rights and must do nothing after loss
                                                                                                ment has not been fully compensated for
        to impair them. But you may waive your rights
                                                                                                damages.
        against another party             in writing:
                                                                                               The person or organization to or for whom we
         1.    Prior to a loss to           your Covered Property or                           make payment must do everything necessary
               Covered Income.                                                                 to secure our rights and must do nothing after
        2.     After a loss to your             Covered Property or Cov—                       loss to impair them. But you may waive your
               ered Income only           if.   at time of loss. that party                    rights against            another party        in writing:

               is   one of the   following:                                                    a.     Prior to        a loss to your Covered Property.
               a.     Someone         insured by this insurance;                               b.     After a loss to your Covered Property only
               b.     A business       ﬁrm:                                                           if. at time cf loss, that party is one of the

                                                                                                      following:
                      (1)   Owned      or controlled by you: or

                            That owns or controls you; or                                             (1)      Someone         insured by this insurance;
                      (2)
                                                                                                      (2)      A business        ﬁrm:
               c.     Your tenant.
                                                                                                               (a)    Owned        or controlled by you: or
        This   will   not restrict your insu rance.
                                                                                                               (b)    That owns or controls you: or
   .    The Transfer Of Rights Of Recovery Against
        Others To Us Condition in the Legal Liability                                                 (3)      Your tenant.
        Coverage Form is replaced by the following:                                            This     will   not restrict your insurance.

        TRANSFER OF RIGHTS                            OF      RECOVERY                   2.    Under Coverages                 Cand D,        if you have rights

        AGAINST OTHERS TO US                                                                   to recover         all   or part of any        payment we have
        If you have rights to recover all or part of
                                                                                               made under this Coverage Form. those rights
                                                     any
        payment we have made under this Coverage                                               are transferred to us. Our right to recover
        Form. those       rights are transferred to us. Our right
                                                                                               damages may be enforced even if you have
                                                                                               not been fully corn pensated for damages.
        to recover      damages may be enforced even if you
        have not been         fully   compensated       for   damages.                         You must do          nothing after loss to impair our
        You must do  nothing after loss to impair our rights                                   rights to       recover all or part of any payment we
        to recover all or part of any payment we have                                          have made under this Coverage Form. At our
        made under this Coverage Form. At our request.                                         request, you will bring "suit" or transfer those
                                                                                               rights to us and help us enforce them.



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                            t_b   .   _...PW.“




                                                    GENERAL LIABILITY




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     GENERAL LIABILITY




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                                                             CG DD           B1     1001

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                                                                                                                                            Beginning on             Page
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               DiRECTORS AND OFFICERS ENDORSEMENT
                      ~             »




                                         FORM wCG             Dalg-
  The following indicates the contents of the principal forms which may be attached to
                                                                                       your   policy.    It   contains
  no reference to the Declarations or Endorsements which also may be attached.

                                                                                                               Begins
                                                                                                              on Page
     INSURING AGREEMENT                                                                                                1

         Exclusions
     WHO Is AN INSURED
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     CONDITIONS
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         Conformity to Statute
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                                                                                                              COMMERCIAL GENERAL LIABILITY


         COMMERCIAL GENERAL                                                          LIABILITY             COVERAGE FORM
   Various provisions in this policy restrict coverage.                                        (1)    The     "bodily injury" or "property             damage"
   Read the entire poliw carefully to determine rights                                                is caused by an "oocunence" that takes
   duties    and what         Is   and'Is not covered.                                                place in the “coverage territory";
                    poncy the words “you" 'a'nd "yout'
    Irirough’out this
                                                                                               (2)     Hie "bodily         injury"   oi’   "propetiy   damage"
   refer to the          Named
                      Insured shown'In the Declarations,                                              occurs during the policy period; and
   and any other person or organization qualifying as a
                                                                                               (3) Prior to    the policy period, no insured
   Named Insured under this policy. The words "we"
   'us" and "our" refer to the                                                                             under Paragraph 1. of Section ll —
                                                                                                      listed
                               company providing this                                                Who ls An Insured and no "employee"
   insurance
                                                                                                     authorized by you to give or receive no-
   The word         "insured"   means any person or organization                                     tice of an "occurrence" or claim, knew
   qualifying as            such under Section ll - Who Is An                                        that the ”bodily injury" or "property                  dam-
   Insured.                                                                                          age" had occurred, in whole or in part. if
   Other words and phrases that appear in quotation                                                  such a listed insured or authorized "em-
   marks have special meaning. Refer to Section V —                                                  ployee" knew. prior to the poiicy period,
   Deﬁnitions.                                                                                       that the "bodiiy injury" or "property dam-
                                                                                                     age" occurred, then any continuation,
   SECTION - COVERAGES
                    l
                                                                                                     change or resumption of such "bodin in-
   COVERAGE A BODILY INJURY AND PROPERTY                                                             jury" or "property         damage" during or after
   DAMAGE LIA BILlTY                                                                                 the policy period             be deemed to have
                                                                                                                                will

   1.   Insuring          Agreement                                                                  been known            prior to the policy period.

              We will                                                                    c.   "Bodin injury" or "property damage" which
        a.                    pay those sums        that the insured be-
              comes  legally obligated to pay as damages
                                                                                              occurs during the policy period and was not,
              because of "bodily injury" or "property dam-                                    prior to the policy period. known to have oc-

              age" to which this insurance applies. We will                                   curred by any insured listed under Paragraph
              have the right and duty to defend the insured                                   1. of Section II - Who ls An Insured or any

              against any "suit" seeking those damages.                                       "employee" authorized by you to give or re-
              However, we will have no duty to defend the                                     ceive notice of an "occurrence" or claim, in-
              insured against any "suit" seeking damages                                      cludes any continuation, change or resump-
              for "bodily injury" or "property                 damage"                        tion       of   that        "bodily    injury“    or     "property
                                                                                to
              which this insurance does not apply. We may.                                    damage"         after the      end    of the policy period.

              at our discretion, investigate any "occurrence"                                 "Bodily injury" or "propedy         damage" will be
              and        settle   any claim or    "suit" that     may       result            deemed          to have been known to have oc-
              But:                                                                            curred at        the earliest time when any insured
                        The amount we                                                         listed     under Paragraph 1. of Section II— Who
              (1)                           will   pay for damages              is
                        limited    as described    in   Section   Ill
                                                                        —   Limits
                                                                                              Is    An   Insured or any "employee" authorized
                        Of Insurance; and                                                     by you to give or receive notice of an "occur~
                                                                                              tence" or claim:
              (2)       Our       and duty to defend ends when
                              right
                        we have   used up the applicable limit of                             (1)    Reports       all,   or any pan, of the "bodily          in-

                        insurance in the payment of judgments or                                     jury" or "property             damage"     to us or     any
                        settlements under Coverages A or B or                                        other insurer;
                        medical expenses under Coverage c.                                    (2)    Receives a written or verbal demand or
              No        other obligation or   liability   to   pay sums or
                                                                                                     claim for  damages because of the "bodily
              perform acts or services is covered unless                                             injury“ or "property damage": or

              explicitry provided for under Supplementary                                     (3)    Becomes aware by any                  other   means     that
              Payments — Coverages A and B.                                                          "bodily injury“ or "property              damage" has
        b.    This insurance applies to "bodily injury" and                                          occurred or has begun to occur.
              "property damage" only if:




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   COMMERCIAL GENERAL                          LIABILITY



         e.     Damages because of "bodiby injury" include                                         (3)    Any          ordinance or regulation relat-
                                                                                                                     statute.
                damages claimed by any person or organiza-                                                ing lo the sale,gift, distribution or use of
                tion for care, loss           of services or death result-                                alcoholic beverages.
                ing at      any time from the          "bodily injury".
                                                                                                   This exclusion applies only if you are in the
   2.    Exclusions                                                                                business of manufacturing, distributing, sell-
         IP15 inéymnrﬁ 6°95                                                                        ing, serving on furnishing _gloqﬂglig
                                            n91. §PQ|¥;to=-             :-_:                                                                            Eﬁ‘fﬂiggir         ~
                                                                                                                                                                               .7
                                                                                                                                                                                    -




                Expected Or Intended Injury                                                  d.   Workeis' Coinpensatioh                  And     Simil'ar    Laws
                "Bodily injury" or "property                 damage" expemed                      Any  obligation of the insured under a workers'
                or intended          fmm
                                  the standpoint of the in-                                        compensation. disability benefits or unem-
               sured. This exclusion does not apply to "bod“                                       ployment compensation law or any similar
               ily injury" resulting from the use of reasonable                                    law.
               force to protect persons or property.                                              Employer’s               Liability
               Contractual Liability                                                              "Bodily injury" to:
               "Bodily injurY' or "property                 damage"            for   which        (1)    An "employee"             of the insured arising out
               the insured    obligated to pay damages by
                                    is                                                                   of and       in    the course   of:
               reason of the assumption of liability in a con—
               tract or agreement. This exclusion does not                                               (a)    Employment by the               insured; or

               appiy to liability for         damages:                                                   (b) Performing duties related to the con-
                                                                                                                duct of the insured's business; or
               (1)    That the insured would have in the ab-
                      sence of the contract or agreement; or                                      (2)    The spouse,            child. parent, brother or sis-
                                                                                                                   “employee" as a consequence
                                                                                                         ter of that
               (2)    Assumed     in a contract or agreement that
                                                                                                         of Paragraph (1) above.
                      is    an "insured contract". provided the
                      "bodily injury" or "propertydamage" oc—                                     This exclusion applies:
                      curs subsequent to the execution of the                                            Whether the insured may be liable as an
                                                                                                  (1)
                      contract or agreement. Soleiy for the pur-                                         employer or in any other capacity; and
                      poses of       liability   assumed           in   an "insured
                      contract",         reasonable attorney fees and                             (2)    To any        obligation to share         damages          with

                      necessary
                                                                                                         or repay           someone      else     who must pay
                                         litigation   expenses incurred by
                      or for a party other than an insured are
                                                                                                         damages because               of the injury.

                      deemed to be damages because of "bod-                                       This exclusion does not apply to liability as-
                      ily   injury" or "property           damage", provided:                     sumed by the insured under an "insured con-
                                                                                                  tract".
                      (a)    Liability to    such parly for, or for the
                             cost   of.   that pady's defense has also                            Pollution
                             been assumed             in    the    same        "insured                                          or "property damage" aris-
                                                                                                  (1) "Bodily injury"
                             contract”; and                                                              ing out of the actual, alleged or threat-
                     (b)     Such attorney fees and                  litigation       ex-                ened discharge, dispersal, seepage. mi-
                             penses are for defense of that party                                        gration, release or escape of "pollutants":
                             against a civil or alternative dispute                                     (a)    At or from any premises, site or loca-
                             resolution proceeding in which dam-                                               tion which is or was at any time
                             ages to which this insurance applies                                              owned or occupied by. or rented or
                             are alleged.                                                                      loaned to, any insured. However, this
        C.    Liquor        Liability                                                                          subparagraph does not apply to:

              "Bodily injury" or "property                 damage"                                             (i)     "Bodily injury"     if   sustained within
                                                                           which
                                                                           for
              any insured may be held                                                                                  a         and caused by smoke.
                                                                                                                           building
                                                      liable      by reason of:
                                                                                                                       fumes. vapor or soot from equip-
              (1)    Causing or contributing                to    the intoxication                                     ment used Io heat that building;
                     of    any person;
                                                                                                               (II)    "Bodily injury" or "property             dam-
              (2)    The     furnishing of alcoholic              beverages to a                                      age" for which you may be held
                     person under the legal drinking age or                                                           liable, if you are a contrador and
                     under the inﬂuence of alcohol; or                                                                the owner or lessee of such



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                                                                                                    COMMERCIAL GENERAL                            LIABILITY



                            premises, site or location has                                                 "bodily injury" or "property                dam-
                            been added to your policy as an                                                age" arises out of the                 intentional
                            additional insured with respect to                                             discharge, dispersal or release of
                            your ongoing operations per-                                                   the fuels, lubricants or other op-
                            formed for that additional insured                                             erating ﬂuids, or          if   such    fuels, lu-
                            at that premises, site or loution                                              nbriqvants 9r.othe,r. pperating ,ﬂuids
                            ,and sughrprqmiscs, site or_lnca;=_                                            'are brought on or to the -prem-.                     m
                            tibn is not         and   riever   was owned                                    ises, s'ite of Iocation' v'vflh the in-
                            or  occupied by, or rented or                                                  tent that theybe discharged, dis-
                            foamed to, any insured, other than                                             persed or released as pan of the
                            that additional insured; or                                                    operations being performed by
                     (iii)"Bodily injury" or "property                     dam-                            such insured, contractor or sub-
                            age" arising out of heat, smoke or                                             contractor;

                            fumes from a “hostile fire";                                           (ii)    "Bodily injury" or "property                dam-
                                                                                                           age" sustained within a building
               (b) Al or from any premises, site or loca-
                   tion which is or was at any time used                                                   and caused by the release of
                                                                                                           gases. fumes or vapors from ma-
                     by or for any insured or others for the
                     handling, storage, disposal, process-                                                       brought into that building in
                                                                                                           terials

                     ing or treatment of waste;                                                            connection with operations being
                                                                                                           performed by you or on your be—
               (c)   Which are          or    were at any time trans-                                      half by     a contractor or subcon-
                     ported. handled. stored, treated. dis-
                                                                                                           tractor; or
                     posed       of,   or processed as          waste by
                     orfor:                                                                        (iii)   "Bodily injury" or "property                dam-
                                                                                                           age" arising out of heat. smoke or
                     (i)    Any     insured; or
                                                                                                           fumes from a "hostile ﬁre“.
                     (ii)   Any person           or organization            for
                                                                                             (e)   At or from any premises, site or loca-
                            whom        you may be             legally      re~
                                                                                                   tion on which any insured or any con-
                            sponsible; or
                                                                                                   tractors or subcontractors working di-
               (d) At or from    any premises, site or loca-                                       rectly or indirectly              on any insured's
                     tion on which any insured or any con-                                         behalf are performing operations if
                     tractors or subcontractors working d'I—                                       the operations are to test for. monitor.
                     rectly or indirectly on any insured's                                         clean up, remove, contain,                     treat,   de-
                     behalf are performing operations if                                           toxify or neutralize, or in               any way       re-
                     the "pollutants" are brought on or to                                         spond       to,    or assess the effects                of.
                     the premises, site or location in con-                                        "pollutants".
                     nection      w‘tth   such operations by such
                     insured, contractor or subcontractor.
                                                                                     (2)   Any      loss, cost or           expense        arising out of
                                                                                           any:
                     However.          this   subparagraph does not
                     apply    to:                                                          (a) Request.      demand. order or statutory
                                                                                                   or regulatory requirement that any in-
                     (i)    "Bodiry injury" or "property               dam-
                                                                                                   sured   or others test for, monitor,
                            age" arising out of the escape of
                                                                                                   clean up. remove. contain, treat, de-
                            fuels.     lubricants or other operat-
                                                                                                   toxify or neutralize, or in any way re-
                            ing ﬂuids which are                needed        to
                                                                                                   spond       to,    or assess the effects                of,
                            perform the normal electrical, hy-
                                                                                                   "pollutants"; or
                            draulic or mechanical functions
                            necessary for the operation of                                 (b)     Claim or "suit" by or on behalf of a
                            "mobile equipment" or its parts, if                                    governmental aulhority for damages
                            such       fuels,    lubricants     or     other                       bacause of              testing    for,       monitoring,
                            operating         ﬂuids escape from a                                  cleaning          up.    removing.            containing,
                            vehicle       part designedhold,     to                                treating, detoxifying or neutralizing, or

                            store or receive them. This ex-                                        in   any way responding                 to,   or assess’
                            ception does          not    apply        if   the                     ing the effects          of. "poliutants".




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   COMMERCIAL GENERAL UABILITY


                              However,       this   patagraph does not apply                           (2)    The use               of "mobile equipment"               in,    or
                              to liability for   damages because               of "prop-                      while          in   practice for, or while being pre-
                              erty damage" thatthe insured would have                                         pared          for,   any prearranged        racing, speed,
                              in the absence of such request, demand.                                         demolition, or stunting activity.
                              order or statutory or regulatory require-
                                                                                                       War
                              ment. or such claim or "suit" by or on be-
           '          ‘   ‘
                              half'éii'a   governmental ?mth'mﬁryi"                 f   *i                          0r»»"prqpertstdam39§" dueJO
                                                                                                   —¥.Bogil¥:-irliW'--                                             .»




                                                                                                   war, whether or not declared, or 'any' éét or
      g.        Aircraft,            Auto 0r Watercraft
                                                                                                   condition incident to war. War includes civil
                "Bodily injury“ or "property                      damage"               arising    war. insurrection. rebellion or revolution. This
                out of the ownership, maintenance. use or en-                                      exclusion applies only to liabiiity assumed
                trustmenl to others of any aircraft, "auto" or                                         under a contract or agreement.
                watercraft             owned
                                  or operated by or rented or
                loaned to any insured. Use includes operation
                                                                                                   Damage To                      Property
                and "loading or unloading".                                                        "Property             damage"         to:

                This exclusion applies even if the claims                                          (1)       Property you own. rent, or occupy, includ~
                against any insured aliege negligence or                                                     ing any costs or expenses incurred by
                other wrongdoing in the supervision, hiring.                                                 you, or any other person, organization or
                employment. training or monitoring of others                                                 entity, for repair,replacement, enhance-
                by that insured, if the "occurrence" which                                                   ment, restoration or maintenance of such
                caused the "bodily injury" or "property dam-                                                 property for any reason, including preven-
                age" involved the ownership, maintenance.                                                    tion of injury to a person or damage to
                use or entrustment to others of any aircraft,                                                another's property;
                "auto" or watercraft that is owned or operated
                                                                                                   (2)       Premises you      sell. give away or abandon,
                by or rented or loaned to any insured.                                                       if   the "property damage" arises out of any
                This exclusion does not apply                     to:                                        part of lhosa premises;

                (1)       A        watercraft while ashore              on premises                (3)       Property loaned lo you;
                          you awn or rent;                                                         (4)       Personal propetty                 in   the care. custody or
                (2)       A watercraft you do              not   own   that   is:                            control of the insured;

                          (a)       Less than 26 feet long; and                                    (5)       That particular pan of real property on
                                                                                                             which you or any contractors or subcon-
                          (b)      Not being used to carry persons or
                                                                                                             tractors working direme or indirectly on
                                   property for a charge;
                                                                                                             your behalf are performing operations, if
               (3) Parking              an "auto" on, or on the ways next                                    the "property damage" arises out of those
                          to, premises you own or rent, provided                                             operations; or
                          the "auto" is not owned by or rented or
                                                                                                  (6)    That particular part of any properly that
                          ioaned to you or the insured;
                                                                                                         must be restored. repaired or replaced
               (4)        Liability    assumed under any "insured oon-                                   because "your work" was incorrectly per-
                          tract" for the ownership, maintenance or                                       formed on it
                          use of aircraft or watercraft; or
                                                                                                  Paragraphs                  (1), (3)   and        (4) of this exclusion
               (5) "Bodily injury" or "property                    damage" an's-                  do not apply                to "property          damage"
                                                                                                                                                   (other than
                          ing out of the operation                 of any of the                  damage by                   ﬁre) to premises, including the
                          equipment          listed   in    Paragraph          f.(2)         or   contents of such premises. rented to you for a
                      f.(3)    of the deﬁnition of "mobile equip-                                 period of 7 or fewer consecutive days. A
                          ment".                                                                  separate limit of insurance applies to Damage
      .        Mobile Equlpment                                                                   To Premises Rented To You as described                                      in
                                                                                                  Section          Ill
                                                                                                                         —   Limits   Of Insurance.
               "Bodily injury" or "property                      damage“        arising
               outof:                                                                             Paragraph (2) of this exclusion does not apply
                                                                                                  ifthe premises are "your work" and were
               (1)    The transportation of "mobile equipment"
                                                                                                  never occupied, rented or held for rental by
                      by an "auto" owned or operated by or
                                                                                                  you.
                      rented or loaned to any insured; or




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                                                                                                                                COMMERCIAL GENERAL                  LIABILITY



                           Paragraphs         (3), (4), (5)      and   (6) of this exclu—                    o.     Personal      And Advertising         Injury
                           sion do not apply to liability              assumed under         a                      "Bodily injury" arising out of "personal and
                           sidetrack agreement.
                                                                                                                    advertising injury".
 _...




                           Paragraph         (6) of this exclusion       does not apply                      Exclusions c. through n. do not apply to damage
                           to    'property       damage' included          in   the "prod-
                                                                                                             by ﬁre to premises while rented to you or tempo-
                           ucts-compleled .operatiops hazard".
                                                                                                             _rari_ly os_cupigd by you with permission of the
                                                                                                 '
-.....«..~



                           uama‘ge To Your Product                                                    'v
                                                                                                             oWner        A   s‘é'parate iimit of ihsur‘ance        appiih        16'

                                            damage"                                                          this   coverage as described'In Section                Ill
                                                                                                                                                                          —   Limits
                           "Property                   to "your product" arising
                           out of    it   or any part of   it.
                                                                                                             0f Insurance.

                           Damage To Your Work                                                       COVERAGE B PERSONAL AND ADVERTISING
                                                                                                     INJURY LIABILITY
                           "Property     damage" to "your work" arising out
                           of it     or any part of it and included in the                           1.      Insuring      Agreement
                           "prod ucls—completed opelations hazard".                                          a.     We will     pay those sums        that the insured be—

                           This exclusion does not apply if the damaged                                             comes                         pay as damages
                                                                                                                                legally obligated to

                           work or the work out of which the damage                                                 because of "personal and advertising injury"
                           arises was performed on your behalf by a                                                 to which this insurance applies. We will have

                           subcontrador.                                                                            the right and duty to defend the insured
                                                                                                                    against any "suit" seeking those damages.
                       .   Damage To Impaired               Property       Or     Property
                                                                                                                    However, we will have no duty to defend the
                           Not Physically Injured                                                                   insured against any "suit" seeking damages
                           "Properly        damage"    to "impaired property" or                                    for "personal and advertising injury" to which
                           propedy        that   has not been physicarly              injured.                      this insurance does not apply. We may, at our
                           arising out of.                                                                          discretion, investigate any offense and settle

                           (1)   A   defect. deﬁciency, inadequacy or dan-                                          any claim or "suit" that may result. But:
                                  gerous condition          in    "your product"           or                       (1)   The amount we       will   pay    for    damages is
                                  ”you: work"; or                                                                         limitedas described        in   Section     — Limits
                                                                                                                                                                    Ill


                                 A delay or failure by you or anyone acting                                               0f Insurance; and
                           (2)
                                  on your behalf to perform a contract or                                           (2)   Our       and duty to defend end when
                                                                                                                                 right
                                  agreement in accordance with its terms.                                                 we have  used up the applicable limit of
                           This exclusion does not apply to the loss of                                                   insurance in the payment of judgments or
                           use of o‘her property arising out of sudden                                                    settlements under Coverages A or B or
                           and accidental physical injury to "your prod-                                                  medical expenses under Coverage c.
                           uct“ or "your work" after it has been put to its                                         No  other obligation or liability to pay sums or
                           intended use.                                                                            perform acts or services is covered unless
                   .       Recall         Of Pmducw, Work 0r Impalred                                               explicitly provided for under Supplementary

                           Properly                                                                                 Payments — Coverages A and               B.

                           Damages   claimed for any loss, cost or ex~                                      b.      This insurance applies to "personal and ad-
                           pense incurred by you or others for the loss of                                                         caused by an offense arising
                                                                                                                    vertising injury"

                           use, withdrawal,         recall, inspection, repair, re—                                 out of your business but only if the offense
                           placement, adjustment. removal or disposal                                               was committed in the "coverage territory" dur-
                           of:                                                                                      ing the policy period.

                                 "Your product";                                                 2.         Exclusions
                           (1)

                                 "Yourwork";or                                                              This insurance does not apply             to:
                           (2)

                                 "Impaired property";                                                       a.      Knowing Violation Of Rights Of Another
                           (3)
                                                                                                                    "Personal and advertising injury" caused by
                           ifsuch product, Work, or propetty is withdrawn
                                                                                                                    or at the direction of the insured with the
                           or recalled from the market or from use by
                                                                                                                    knowledge that the ac! would violate the
                           any person or organization because of a
                                                                                                                    ﬁghts of another and would inﬂict "personal
                           known or suspected defect. deﬁciency, in-
                           adequacy or dangerous condition                 in   it.
                                                                                                                    and advenising       injury"




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   COMMERCIAL GENERAL                       LIABILITY



           .    Material      Published           With   Knowledge            Of        Insured:          In    Media And lnhemet Type Busi-
                Falsity                                                                 nesses
                "Personal and advertising injury" arising out                           "Personal and advertising injury" committed
                of oral or written publication of material, if                          by an insured whose business is:
                done by or at the direction of the insured with
                                                                                        (1) Advertising,            broadcasting,        publishing    or
                knowledge      _of its   falsﬂy            ,____   .
                                                                       _
                                                                                                t_eiecastingy-       __,


                Material Published Prio‘r To‘ olicy Period                             “(.2)
                                                                                                Designing or determining content of web—
                "Personal _and advertising injury" arising out                                  sites for others; or
                of oral or written publication of material whose
                                                                                        (3)     An       Internet search.       access.    content or
                ﬁrst publication took place before the begin-
                                                                                                service provider.
                ning of the policy period.
                                                                                        However. this exclusion does not apply lo
           .    Criminal    Ans
                                                                                        Paragraphs 14.a.. b. and c. of "personal and
               "Personal and advertising injury" arising out                            advertising injury" under the Deﬁnitions Sec-
               of a criminal act committed by or at Ihe direc-                          tion.
               tion of the insured.
                                                                                        For the purposes of this exclusion, the pfacing
               Contractual Liabillly                                                    of frames, borders or links. or advertising, for
               "Personal and advertising injury" for which the                          you or others anywhere on the lniernet, is not
               insured has assumed Iiabiiity in a contract or                           by     itself,   considered the business of advertis-
               agreement. This exclusion does not apply to                              ing, broadcasting, publishing      or telecasting.
               liability for damages that the insured would                             Electronic Chatrooms               Or   Bulletin   Boards
               have in the absence of the contract or
                                                                                        "Personal and advertising injury" arising out
               agreement.
                                                                                       of an electronic chatroom or bulletin board the
               Breach Of Contract                                                      insured hosts, owns, or over which the in-
               "Personal and advertising injury" arising out                           sured exercises control.
               of a breach of contract, except an implied                              Unauthorized Use Of Anolher's                        Name Or
               contract to use another's adveﬂising idea in                            Product
               your "advertisement".
                                                                                       "Personal and advenising injury" arising out
       .       Quality Or Performance 0f Goods                         —   Fail-       of the unauthorized use of another's name or
               ure To Conform To Statements                                            pmduct in your e-mail address, domain name
               "Personal and advertising injury" arising out                           or metatag, or any other similar tactics to mis-
               of the failure of goods, producis or services to                        lead another's potential customers.
               conform with any statement of quaﬁty or per—                        .   Pollution
               formance made in your "advenisement".
                                                                                       "Personal and advertising injury" arising out
       .       Wrong      Description      Of Prices                                   of the actual, alleged or threatened discharge,
               "Personal and advertising injury" arising out                           dispersal, seepage, migration, release or es-
               of the wrong description of the price of goods,                         cape of "pollumnts" at any time.
               products or services stated in your "adver-                             Pollution-Related
               lisemenl“.
                                                                                       Any     loss, cost or       expense   arising out of any:
               Infringement Of Copyright, Patent, Trade-
                                                                                       (1) Request,             demand     or order that       any    in-
               mark Or Trade Secret
                                                                                               sured or others test for, monitor, clean up,
               "Personal and advertising injury" arising out                                   remove, contain, treat, detoxify or neutral-
               of the infringement of copyright, patent.                                       ize. or in any way respond to, or assess
               trademark. trade secret or other intellectual                                   the effects      of. "pollutants";   or
               propertyrights.
                                                                                       (2)     Claim      o'r
                                                                                                        suit by or on behan of a govern-
               However,     this exclusion        does not apply to         in—                mental authority for damages because of
               fringement,     in   your "advertisement". of copy-                             testing      for,   monitoring.    cleaning            re-
                                                                                                                                               up,
               right,   trade dress or slogan.                                                 moving, containing, treating, detoxifying
                                                                                               or neutralizing. or in any way responding




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                                                                                                                               COMMERCIAL GENERAL LlABlLlTY


                            to,    or assessing the effects                 of,           "pollut-                  d.   Workers        Compensation            And   Similar
                            ants".                                                                                       Laws
   COVERAGECMEDICAL PAYMENTS                                                                                             To a   person. whether or not an "em—
                   '

   1. 'nsunng A gr” rn en t                                                                                              ployee" of any insured, if beneﬁts for the
                                                                                                                         "bodily   injury" are payable or must be
         a.    We           will    pay medical eﬁpenses as describes!                                                   provided under a workers' compensation
                                  fN-"DDFHIV INIUW- caused by an 300!‘
               dhelmfv                                                                                                   nr disability bennﬁis law ora slmilarilt‘xv:"‘“”

                  1e";                    _
                                                                                                                   e.    Athletics Activities
              (        )         n prem'ses you          own orient
                                                                                                                         To a person          injured while taking part in
              (2)           On ways            next to premises you                    awn          or                   athletics.
                            rent'   or
                                                             .
                                                                                                                   f.    Products-Completed              Operations        Haz-
              (3)           Because           of your operations;
                                                                                                                         ard
              providedthat                                                                                               Included within the "products-completed
              (1)          The accident           takes place     in   the "coverage                                     Operations hazard"-
                           territory"     and during the         policy period;                                    g,    Coverage A Exclusions
              (2)          The expenses are               incurred     and reponed                                       Exduded under coverage            A.
                           to us within          one year    of the date of the
                           accident;          and
                                                                                                                   h'    war
                           The      injured person submits to                 examina—
                                                                                                                         Due to war, whether or not decllred. or
              (3)
                           tion, atour expense, by physicians of our                                                     any act or condition incident to war. War
                                                                                                                         includes     civil   war, insurrection. rebellion
                           choice as often as we reasonably require.
                                                                                                                         or revolution.
        b.    We            willmake these payments regardless of
              fault.          These payments will notexceed the ap—                                      SUPPLEMENTARY PAYMENTS " COVERAGES A
              plicable limit of insurance.                       We                                      AND B
                                                                       will       pay rea-
              sonable expenses                    for.                                                   1.   We will pay,     with respect to    any claim we investi-
                                                                                                              gate or              or any "suit" against an insured we
              (1)          Fim      aid administered         a me           time of an
                                                                                                              dafend:
                                                                                                                         settle.

                           accident;
                                                                                                                                          _

                                                                                                              a'   N'ewenseswemcur'
              (2)          Necessary medical‘ surgiml, x-ray and                                                                                     _

                           dental services, incIuding pmsgheﬁc de.                                            b.   Upto $250    forcost of ball bonds required be~
                           vices; and                                                                              cause of accidents or trafﬁc law violations
                                                                        .                                          arising out of the use of any vehicle to which
              (3)
                           :gﬁzlsiirysinagmabnuéafﬂzee};22%:25pwfes’                                               the Bodily Injury Liability Coverage applies.
                                                                                      '

                                                                                                                   We do     not have lo furnish these bonds.
        2'    Exeluflons
                                                                                                              c.   The cost of bonds to release attachments, but
              We WI“ "0t Pay BXPenseS f0r"b0dlly                        '     _   _


                                                                              InJUTY
                                                                                            n
                                                                                                I
                                                                                                                   only for bond amounts within the applicable
              a.           Any Insured                                                                             limit of insurance.        We   do not have    to furnish
                                                                                                                   these bonds-
                           T0 any insumd. EXCEpt                 "volunteer work-
                           ers".                                                                              d.   All reasonable  expenses incurred by the in-
                             .                                                                                     sured at our request to assist us in the inves—
              b'           H'red    Fem,"
                                                                                                                   tigation or defense of the claim or "suit". in-
                           TO a Person  hired 10 d0 work for 0r 0n                                                 cluding actual loss of earnings up to $250 a
                           pehalf of any insured or a tenant of any                                                day because of time off from work.
                           'nﬁured‘
                                                                                                              e.   Ail costs taxed against the insured                in   the
              c.           Injury    On       Normally Occupied Premises                                           "suit",

                           To a person injured on that part of prem-                                          f.   Prejudgment interest awarded against the in-
                           lses YOU 0WD 0r rem [hat the Person ”0"-
                                                                                                                   sured on that pan of the judgment we pay. If
                           many occupies.                                                                          we make an offer to pay the applicable Iim'rt of
                                                                                                                   insurance,wewi|l not pay any prejudgment




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    COMMERCIAL GENERAL                               LIABILITY



                  interest         based on        that period of time after the                                      (a)    Obtain records and other information
                  offer.
                                                                                                                             related to   the    "suit";   and
           g.         on the full amount of any judgment
                  All interest
                                                                                                                      (b)    Conduct and contwl the defense of
           that accrues aﬂer entry of the judgment and                                                                       the indemnitee in such "suit".
           before we have paid offered to pay, or de-
                                                                                                       So    long as the above conditions are met, attor-
       .__posited 1n court the part of the judgment th‘a_t                                     7'
                                                                                                       neys‘ fees          by us in the defense of--th_a_t
                                                                                                                            incuj'g'ed
                  xswithin {he ap'pllcable limit of in'suranc‘e
                                                                                                       indemnﬂ'ee'  necessary litigation expenses in-
       These payments                      will    not reduce the        limits    of    in-           curred by us and necessary litigation expenses
       surance.                                                                                        incurred by the indemnitee at our request will be
       If we defend an insured against a "suit"                                                        paid as Supplementary Payments. Notwithstand—
                                                   and an
       indemnitee of the insured is also named as a                                                    ing the provisions of Paragraph 2. b. (2) of Section
       party to the “suit", we will defend that indemnitee                                             I
                                                                                                        — Coverage A — Bodily Injury And Property
       if   all   of the following conditions are met:                                                 Damage Liability, such payments will not be
                                                                                                       deemed to he damages for "bodily injury" and
       a.         The   "suit"
                             against the indemnitee seeks dam-
                                                                                                       'propeny damage" and                   will   not reduce the     limits
                 ages       which the insured has assumed the
                             for
                                                                                                       of Insurance
                 liability of the indemnitee in a contract or

                 agreement that is an "insured contract";                                              Our              defend an insured's indemnitee
                                                                                                              obligation to
                                                                                                       and    pay for attorneys‘ fees and necessary liti-
                                                                                                              Io
       b.        This insurance applies to such                          liability      as—
                                                                                                       gation expenses as Supplementary Payments
                 sumed by the insured;
                                                                                                       ends when:
       c.        The obﬂgation to defend.                     or the cost of the
                 defense                 that indemnitee,
                                                                                                       a.    We       have used up the applicable limit of in-
                                   of,                              has also been
                                                                                                             surance     in the payment of judgments or set-
                 assumed by              the insured     in   the   same     "insured
                                                                                                             tlements; or
                 contract“;
                                                                                                       b.    The  conditions set foﬂh above, or the terms
      d.        The     allegations in the "suit"              and the informa-                              of the agreement described In Paragraph f.
                tion    we know           about the "occurrence" are such
                                                                                                             above. are no longer met,
                that no conﬂict appears to exist between the
                interests of the insured and the interests of                                       SECTION     ll
                                                                                                                     - WHO      IS   AN INSURED
                the indemnitee;                                                                       If   you are designated            in   the Declarations as:
      e.        The indemnitee and the   insured ask us to                                            a.    An       individual,     you and your spouse are           insur-
                conduct and cohtrol the defense of that in-                                                  eds, but only with respect to the conduct of a
                demnitee against such "suit" and agree that                                                  business of which you are the sole owner.
                we can assign the same counsel to defend
                the insured and the indemnitee; and
                                                                                                      b.    A   partnership orjoint venture,                you are an in-
                                                                                                            sured. Your              members. your          partners, and
      f.        Theindemnftee:                                                                              theirspouses are also insureds, but only with
                (1)   Agrees         in writing to:                                                         respect to the conduct of your business.

                       (a)    Coopemte             with us in the investiga-                          c.    A   limited fiability         company, you are an             in-

                              tion,       settlement     or defense          of the                         sured. Your          members are
                                                                                                                                        also insureds. but
                              "suit";                                                                       only with respect to the conduct of your busi—
                                                                                                            ness. Your managers are insureds. but only
                      (b) Immediately                send us copies of any
                                                                                                            with respect to their duties as your managers.
                              demands.            notices,   summonses or               |e-
                              gal        papers      received       in   connection                   d.    An organization   other than a partnership, joint
                              with the         "suit";                                                      venture or limited liability company. you are
                                                                                                            an insured. Your "executive ofﬁcers" and di-
                      (c) Notify          any other insurer whose cov-
                                                                                                            rectors are insureds. but only with respect to
                              erage       is    available to the indemnitee;
                                                                                                            their duties as your ofﬁcers or directors. Your
                              and
                                                                                                            stockholders are also insureds, but only with
                      (d)     Cooperate with us with respect to co-                                         respect to their liability as stockholders.
                              ordinating other applicable insurance
                              available to the indemnitee; and
                                                                                                      e.    A trust,you are an insured. Your trustees are
                                                                                                            also insureds, but only with respect to their
                (2)   Provides us with wn'tten authorization                      to:                       duties as trustees.



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                                                                                                               COMMERCIAL GENERAL                  LIABILITY



    2.    Each of the      following      is   also an insured:                            b.    Any  person (other than your "employee" or
          a.    Your "volunteer workers" only while perform-                                     "volunteer worker'), or any organization while

                ing duties related to the conduct of your busi-                                  acting as your real estate manager.

                ness, or your "employees", other than either                               c.    Any person   or organization having proper
                your "executive ofﬁcers" (if you are an organi-                                  temporary custody of your property if you die,
                zation ojhettthan  a partnership. joint venture                                  but only:
           —'                                                                          ‘
                ar limited ifahﬂity'c‘or'npanyWEyour-gnanagerér                                  ﬁ-‘lmtif’re‘spéct to          liability ari'siiw‘g-Eufﬁi‘imé“
                (if you are a limited liability company), but
                                                                                                        maintenance or use of that property; and
                only for acts within the scope of their em-
                ployment by you or while performing duties                                       (2) Until      your legal representative has been
                related to the conduct of your business. How-                                           appointed.
                ever, none of these "em ployees" or "volunteer                          d.      Your legal representative if you die, but only
                workers" are insureds for:                                                      with respect to duties as such. That represen-

                (1) "Bodily injury" or "personal               and   advertis-
                                                                                                tative will      have all your        rights   and duties un-
                    ing injury":                                                                der     this   Coverage Part.

                          To                                                     3.     \Mth respect to "mobile equipment" registered in
                    (a)          you, to your partners or            members
                          (ifyou are a partnership or joint ven-                        your name under any motor vehicle registration
                                                                                        law, any person is an insured while driving such
                          ture), toyour members (if you are a
                          limited liability company), to a co-
                                                                                        equipment along a public highway with your per-
                                                                                        mission. Any other person or organization re-
                          "employee" while            in   the course of his
                                                                                        sponsible for the conduct of such person is also
                          or her       employment or performing du-
                                                                                        an insured. bu‘ only with respect to liability arising
                          ties related lo           the conduct of your
                                                                                        out of the operation of the equipment, and only if
                          business, or to your other "volunteer
                          workers" while performing duties re-
                                                                                        no other insurance of any kind is available to that
                                                                                        person or organization for this liability. However,
                          lated to the conduct of your business;
                                                                                        no person or organization is an insured with re-
                   (b)    To the spouse. child, parent. brother                         spect     to:
                          or sister of that co-"employee" or
                                                                                        a.      “Bodily injury" to          a co—"employee" of the          per-
                          "volunteer worker" as a consequence
                                                                                                son driving the equipment; or
                          of Paragraph          (1 )(a)   above;
                                                                                        b.      "Property        damage"    to property owned by.
                   (c)    For which there is any obligation to
                                                                                                rented     to, in   the charge of or occupied by you
                          share damages with or repay some-
                          one else who must pay damages be~
                                                                                                or the employer of any person                  who   is   an   in-
                                                                                                sured under this provision.
                          cause of the injury described in Para-
                          graphs (ma) or (b) above; or                           4.    Any organization you newly   acquire or form, other
                                                                                       than a partnership, joint venture or limited Iiability
                   (d) Arising out of his or         her providlng or
                                                                                       company. and over which you maintain ownership
                          failing to      provide professional health
                                                                                       or majority interest, will qualify as a Named ln-
                          care services.
                                                                                       sured if there is no other similar insurance avail-
               (2) "Properly          damage" to      property:                        able to that organization. However:

                   (a)    Owned. occupied or used              by,                     a.       Coverage under this provision is afforded only
                          Rented                                                                until the 90th day after you acquire or form
                   (b)                  to,    in   lhe care, custody or
                                      over which physical con-
                          control of. or                                                        the organization or the end of the policy pe-
                          trol   being exercised for any pur-
                                 is
                                                                                                riod.   whichever      is   eaﬂier;
                          pose by                                                      b.       Covemge A does not    apply to "bodily injury"
                   you, any of your "employees", "volunteer
                                                                                                or "property         damage"
                                                                                                                       that occurred before
                   workers". any partner or member‘ (if you                                     you acquired or formed the organization; and
                   are a partnership or joint venture). or any                         c.       Coverage        B   does not apply        lo "personal      and
                   member (if you are a limited liability com-                                  advertising injury" arising out of an offense
                   pann-                                                                        committed before you acquired or formed the
                                                                                                organization.




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    COMMERCIAL GENERAL                            LIABILITY



    No     person or organization is an insured with respect                                    The  Limits of Insurance of this Coverage Part apply
    to the conduct of any current or past partnership, joint                                    separately to each consecutive annual period and to
    venture or limited liability company that is not shown                                      any remaining period of less than 12 months, starting
    as a Named Insured in the Declarations.                                                     with the beginning of the policy period            in the      shown
    SECTION            III
                             - LIMITS OF INSURANCE                                              Declarations, unless the policy period         extended           is
                                                                                                after issuance for an additional period of less than 12
    1.-   The     l   imits of Insurance. shqwn'In thg Dec_lar_ationr                    _.’_
                                                                                                months. _ln_.that..case, the-radditian‘m‘ periodiwiII-be“=-                        3"“
           and the           rules   below ﬁx the most           we   will   pay re—            deemed   part of the last pleCéding period for purposes
           gardless of the               number of.
                                                                                                of determining the Limits of Insurance.
           a.     Insureds;
                                                                                                SECTION IV — COMMERCIAL GENERAL LIABILITY
           b.     Claims made or             "suits" brought; or                                CONDITIONS
           c.     Persons or organizations making claims or                                     1.    Bankruptcy
                  bringing "suits".
                                                                                                     Bankruptcy or insolvency of the insured or of the
           The General Aggregate                   Limit   is   the most     we   will               insured's estate will not relieve us of our obliga-
           pay for the sum of:                                                                       tions under this Coverage Part.

           a.    Medical expenses under Coverage C;                                                  Duties In The Event Of Occurrence, Offense,
           b.    Damages under Coverage     A, except dam-                                           Claim 0r Suit
                 ages because of "bodily injury" or "property                                        a.   You must see               to   it   that   we    are notiﬁed as
                 damage" included in the "products-completed                                              soon as practicable of an "occurrence" or an
                 operations hazard"; and                                                                  offense which may result in a claim. To the
          c.     Damages under Coverage B.                                                                extent possible, notice should include:

          The Products-Completed Operations Aggregate                                                     (1)    How, when and where the "occurrence"
          Limit              the most      we                                      A                             or offense look place;
                      is                        will   pay under Coverage
          for    damages because of "bodily injury" and "prop-                                            (2)    The names and addresses                     of   any    injured
          erty    damage" included in the "pmducts~completed                                                     persons and witnesses; and
          operations hazard"
                                                                                                          (3)    The nature and location of any injury                        or
          Subject to     above the Personal and Advertising
                              2.                                                                                 damage arising out of the "occurrence"                       or
          Injury Limit'Is the most we will pay under Cover-                                                      offense.
          age B for the sum of all damages because of all
          "personal and advertising injury" sustained by any
                                                                                                     b.   If   a claim   is   made or           "suit" is   brought against
                                                                                                          any    insured.     you must:
          one person or organization.
                                                                                                          (1)    Immediately record the speciﬁes of the
          Subject to 2. or 3. above. whichever applies, the
          Each Occurrence Limit is the most we will pay for
                                                                                                                              and the dale received; and
                                                                                                                 claim or "suit"

          the    sum of:                                                                                  (2)    Notify us     as soon as practicable.

          a.     Damages under Coverage A; and                                                            You must see          to   it   that   we   receive written no-
                                                                                                          tice of the claim or "suit"               as soon as practica-
          b.     Medical expenses under Coverage                      C                                   ble.
          because of all "bodily injury" and "property dam-
          age" arising out of any one "occurrence".
                                                                                                     c.   You and any          other involved insured must:

                                                                                                          (1)    Immediately send us copies of any de-
          Subject to           5.    above, the        Damage To PremiSes
                                                                                                                 mands.  notices, summonses or legal pa-
          Rented To You Limit is the most we will pay un-
                                                                                                                 pers received in connection with the claim
          der Coverage A for damages because qf "prop-
                                                                                                                 or"suit";
          erty   damage"            to any one premises. while rented
          to you, or           in   the case of damage by ﬁre. while                                      (2) Authorize us to obtain records                       and other
          rented to you or temporarily occupied by you with                                                      information;
          permission of the owner.                                                                               Cooperate with us in the investigation or
                                                                                                          (3)
          Subject to 5. above, the Medical Expense Limit is                                                      settlement of the claim or defense against
          the most we will pay under Coverage C foi’ all                                                         Ihe "suit"; and
          medical expenses because of “bodily injury" sus-                                                (4) Assist us,        upon our            request.      in    the en-
          tained by any             one person.                                                                  forcement of any              right against   any person



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                                                                                                                COMMERCIAL GENERAL LIABILITY


                         or organization which may be liable to the                                       (c)   Thal is insurance purchased by you
                         insured because of injury or damage to                                                 to cover your iiability as a tenant for
                         which this insurance may also apply.                                                   "property   damage" to premises
                                                                                                                rented to you or temporarily occupied
        d.        No     insured       will,      except a1 that insured's own
                  cost, voiuntarily                make a payment, assume                                       by you with permission of the owner:
                                                                                                                or
                  any_obligati9n.uor incur                   any expense,_ other
             -
                  man fér’ﬁrst aidIWIth‘c‘Faﬁ               601' cbn'sentf                                (di   Ifthe ioss-‘ariSes outaf—the jma’i'tite-SiA-‘M-                 r'


   3.   Legal Action Against Us                                                                                 nance or use of aircraft, "autos" or
                                                                                                                watercraft to the extent not subject to
        No person or organization has a right under                               this
                                                                                                                Exclusion g. of Section                   I- Coverage
        Coverage Part                                                                                           Aw                                                   Dam-
                                                                                                                      Bodily lnjuty           And        Property
        a.        To     join us as a party or othemise bring us                                                age   Liability.
                  into    a "suit" asking for damages from an in-
                                                                                                  (2)   Any     other primary insurance available to
                  sured; or
                                                                                                        you covering           liability      for   damages         arising
        b.        To sue us on        Coverage Part unless
                                         this                                   all   of                out of the premises or operations for
                  its   terms have been fully complied with.                                            which you have been added as an addi-
                                                                                                        tional Insured by attachment of an en-
        A        person or organization                    may sue   us to recover
                                                                                                        dorsemenl.
        on an agreed settlement or on a ﬁnal judgment
        against an insured; but we will not be liable for                                        When   this insurance is excess, we will have
        damages that are not payable under the terms of                                          no duty under Coverages A or B to defend
        this Coverage Part or that are in excess of the                                          the insured against any "suit" if any other in-
        applicable limit of insurance An agreed settle-                                          surer has a duty to defend the insured against
        ment means a settlement and release of liability                                                    If no other insurer defends, we will
                                                                                                 that "suit".
        signed by us, the insured and the claimant or the                                        undertake to do so, but we wiu be entitled to
        claimant's legal representative.                                                         the insured's rights against alt those other in-
                                                                                                 surers.
   4.   Other Insurance
        Ifother valid and collectible insurance is available
                                                                                                 When       this     insurance         is   excess over other             in-

        to the insured for a loss we cover under Cover—
                                                                                                 surance,        we
                                                                                                                  pay only our share of the
                                                                                                                        will

        ages       A or B of this Coverage Part.                    our obligations
                                                                                                 amount of the loss. if any. that exceeds the
        are limited as follows:
                                                                                                 sum      of:


        a.        Primary Insurance                                                              (1)    The total amount that all such other in-
                                                                                                        surance would pay for the loss in the ab—
                  This insurance  is primary except when b. be-
                                                                                                        sence of this insurance; and
                  low applies. If this insurance is primary. our
                  obligations are not affected unless any of the                                 (2)    The total       of all deductible and self-insured

                  other insutanoe is also primary. Then. we will
                                                                                                        amounts under            all   that other insurance.

                  share with all that other insurance by the                                     We will share the remaining loss, if any. with
                  method described                 in c.   below.                                any other insurance that is not described in
        b.        Excess Insurance                                                               this Excess Insurance provision and was not
                                                                                                 bought speciﬁcally to apply                        in   excess of the
                  This insurance             is   excess over:                                   Limits of Insurance              shown        in   the Declarations
                  (1)   Any     of the other insurance, whether pri-                             of this    Coverage           Part.
                         mary. excess. contingent or 0n any other                                Method 0f Sharing
                         basis:
                                                                                                 If all    of the other insurance permits contribu-
                        (a‘)    That     is       Fire.     Extended Coverage,                                                               we
                                                                                                 tion      by equal shares,                         will    foilow       this
                                Buibder‘s         Risk.        Risk
                                                            Installation              or         method         also.    Under         this   approach each               in-
                                slmilar coverage for "your work";
                                                                                                 surer contributes equal amounts            has             until   it


                         (b)    That    is     Fire insurance for premises                       paid its applicable limit of insurance or none
                                rented to you or temporarily occupied                            of the loss remains, whichever comes ﬁrst.
                                by you with permission of the owner;                             If   any of the other insurance does not permit
                                                                                                 contribution by equal shares,                      we     will contrib-




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        COMMERCIAL GENERAL                                   LIABILITY


                              ute by limits. Under this method, each in-                          9.    When We Do Not Renew
                              surers share Is based on the ratio of its appli-
                                                                                                        If we decide not to renew this Coverage Pan, we
                              cable limit of insurance to the total applicable
                                                                                                        will mail or deliver to the first Named Insured
                              limits of   insurance of        all   insurers.
                                                                                                        shown        in    the Declarations written notice of the
    5.               Premium Audit                                                                      nonrenewal not less than 30 days before the expi-
        .   ,    _a_.,
                         1   We will
                             age
                                     compute
                                'Part'      'in
                                                        _pggmiums for this
                                                      a‘ll

                                                  accordance wifﬁ our rules and
                                                                                      v
                                                                                      aep;              ration date.
                                                                                                        I'f
                                                                                                              noﬁce      Is   mauled. proof of mailing         will   be sufﬁ-
                             rates.                                                                     cient proof of notioe‘
                 b.           Premium shown in this Coverage Part as ad-                          SECTION V — DEFINITIONS
                             vance premium is a deposit premium only. At
                                                                                                  1.    "Advertisement" means a notice that is broadcast
                             the close of each audit period we will com-
                                                                                                        or published to the general public or speciﬁc mar-
                             pute the earned premium for that period and
                                                                                                        ket segments about your goods, products or scr—
                             send notice to the ﬁrst Named Insured. The
                                                                                                        vfces for the purpose of attracting customers or
                             due date for audit and retrospective premi-
                                                                                                        supporters. For the purposes of this deﬁnition:
                             ums is the date shown as the due date on the
                             bill. If the sum of the advance and audit pre-                             a.     Notices that are published include material
                             miums   paid for the policy period is greater                                     placed on the Internet or on similar electronic
                             than the earned premium, we will reium the                                        means of communication; and
                             excess to the ﬁrst Named Insured.                                         b.      Regarding web-sites, only that part of a web—
                 c.          The   ﬁrst   Named      Insured must keep records of                              site that isabout your goods, products or ser-
                             the information  we need for premium compu-                                       vices for the purposes of attracting customers
                             tation,   and send us copies at such times as                                     or supporters is considered an advertisement.
                             we may       request.                                                     "Auto"        means a          land motor vehicle.         Irailer   or
                 Represenhtions                                                                        semitrai!er designed for travelon public roads. in-
                                                                                                       cluding any attached machinery or equipment.
                 By accepting             this policy,   you agree:                                    But "auto" does not include "mobile equipment".
                a.           The statements in the Declarations are accu-
                                                                                                       "Bodily injury" means bodily injury, sickness or
                             rate and complete;
                                                                                                       disease sustained by a person, including death
                b.       Those statements are based upon represen-                                     resulting from any of these at any time.
                               you made to us; and
                         tations
                                                                                                       "Coverage           territory"   means:
                c.       We        have issued       this policy in reliance           upon            a.     The    United States of America (including its
                         your representations.
                                                                                                              territories and possessions). Puerto Rico and
    .           Separation Of lnsureds                                                                        Canada;
                Except with respect to the Limits of Insurance,                                        b.     International waters or airspace, but oniy if
                and any rights or duties speciﬁcally assigned in                                              the injury or damage occurs in the course of
                this Coverage Pan to the ﬁrst Named Insured.                                                  travel or transponation between any places
                this     insurance applies:                                                                   included in a. above; or
                a.       As if each Named                    Insured were the only                     c.     All other parts of            the world    if   the injury or
                         Named Insured; and                                                                   damage arises           out   of:

                b.       Separately to each insured against                           whom                    (1)   Goods or products made or sold by you                   in
                         claim is made or "suit" is brought.                                                        the territory described in a. above;
    .           Transfer Of Rights Of Recovery Against Oth-                                                   (2)   The    activities of a person whose home is
                ers To Us                                                                                           in   the territory described in a. above, but
                     the insured has rights to recover                                                              is   away   for   a short time on your business;
                lf                                                         all    pan of
                                                                                 or
                                          we                                                                        or
                any payment                    have made under            this Coverage
            Pad, those rights are transferred                            to us. The in-                       (3) "Personal       and advertising       injury"   offenses
            sured must do nothing after loss to impair them.                                                        that take place through the Internet or
            At our request, the insured will bring "suit" or                                                        similar electronic means of communica-
            transfer those rights to us                        and help us enforce                                  tion
            them.



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                                                                                                            COMMERCIAL GENERAL                            LIABILITY


               provided tne Insured's responsibility to pay dam-                           damage"              to   a   third    person or organization.
               ages   is determined in a "suit" on the merits, in the                      Tort      liability       means a        liability that would be
               territory described in a. above or in a settlement                          imposed by law                 in    the absence of any con-
               we agree to.                                                                tract or        agreement.
               "Employee" includes a "leased worker'                "Em-                   Paragraph f does not include that part of any
      ,        pl_oyee" doe_s not indu_de a "_temporary worker".                           contract or agreement}                     -'     ...V               .
                                                                                                                                                    .5
                                                                           U   1'
           “Executive officer“ Eneaﬁs a p'ers'on ‘ﬁolding any of
                                                                                           (1; That indémniﬁes a railroad for "bo’diéy‘w
                                                                                                                                      iii:
           the ofﬁcer positions created by your charter con-                                   jury‘ or 'property damage" arising out of
           stitution, by-laws or any other similar governing                                       construction            or     demolition             operations,
           document.                                                                               within 50 feet of any railroad property and
           "Hostile ﬁre"         means one which becomes uncon-                                    affecting any railroad bridge or trestle,
           trollable or        breaks out from where it was intended                               tracks. road-beds, tunnel, underpass or
           to be.                                                                                  crossing;

           "Impaired  property" means tangible property,                                   (2)     That indemniﬁec an               architect,       engineer or
           other than "your product“ or "your work". that                                          sumeyor           for injury or    damage          arising out
           cannot be used or is less useful because:                                               of:


           a.     It    incorporates "your product" or "your work"                                 (a)     Preparing,          approving,       or failing               to
                  that    is known or thought lo be defective, deﬁ~                                        prepare        or     approve,           maps,           shop
                  cient,    inadequate or dangerous; or                                                    drawings, opinions, reports, surveys.
                                                                                                           ﬁeld orders. change orders or draw-
           b.     You have       failed to fulﬁll the   terms of a con-
                                                                                                           ings and speciﬁcations; or
                  tract or     agreement;
                                                                                                 (h) Giving directions or instructions, or
           if   such property can be restored to use by:
                                                                                                           failing to     give them, if that is the pri-
           a.     The          replacement, adjustment or re-
                           repair.                                                                         mary cause        of the injury or damage;
                  moval of ”your product" or "your work"; or                                               or
          b.      Your     fulﬁlling the    terms of the contract or                      (3)    Under which the insured, if an architect,
                  agreement.                                                                     engineer or surveyor, assumes liability for
          "Insured contract" means:                                                              an injury or damage arising out of the in-
                                                                                                 sured's rendering or failure to render pro-
          a.      A     contract for a lease of premises. However,
                                                                                                 fessional services. including those listed
                  that portion of the contract for          a   lease of
                                                                                                 in (2)         above and supervisory.                   inspection,
                  premises that indemniﬁes any person or 0r-
                                                                                                 architectural or engineering activities.
                  ganization for damage by ﬁre lo ptemises
                  while rented to you or temporarily occupied                  10.   "Leased worker“ means a person leased to you
                  by you with permission of lhe owner is not an                      by a labor leasing ﬁrm under an agreement be-
                  "insured contact";                                                 tween you and the labor leasing ﬁrm. lo perform
                                                                                     duties related Io the condu‘ct of your business.
          b.     A sidetrack agreement;                                              "Leased worker" does not include a "temporary
          c.     Any easement    or license agreement, except                        worker'.
                  inconnection with construction or demolition
                                                                               11. "Loading or unloading"                        means     the handling of
                 operations on or within 50 feet of a railroad;
                                                                                     propeny:
          d.     An obligation, as required by ordinance. to in-
                                                                                     a.   Afterit is moved from the place where                                     it   is
                 demnify a municipality. except in connection
                                                                                          accepted for movement into or onto an                                     air-
                 with    work for a   municipality;
                                                                                          craft,    watercraft or "auto";
          e.     An     elevator maintenance agreement;
                                                                                     b.   While       it   is in     or on an aircraft. watercraft or
          f.     That part of any other contract or agreement                             "auto"; or
                 pertaining to your business (including an in-
                                                                                     c.   While      it    is   being    moved from an              aircraft        wa-
                 demniﬁcation of a municipality in connection
                                                                                          tercraft or "auto' to the place                  where it        Is   ﬁnally
                 with work performed for a municipality) under
                                                                                          delivered;
                 which you assume the tort liability of another
                 partylo pay for         "bodily injury" or "property                but "loading or unloading" does not include the
                                                                                     movement of property by means                         of   a mechanical


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     COMMERCIAL GENERAL                  LIABILITY



       device. other than a hand truck. that is not al-                        13. "Occurrence"            means          an      accident,         including
       tached to the aircraft. watercraft or "auto"                                continuous or repeated exposure to substantially
    12. "Mobile equipment” means any of the following                              the same general harmful conditions.
       types of land vehicles, including any attached                          14. "Personal        and advertising              injury"   means           injury,
       machinery or equipment:                                                     including consequential "bodily injury". an'sing out
       a.     Bulldozeprs. farm machinery, fotkliftsand ather                     gt one pr more Qf the following offenses}?
              vehicles designed for use principally off 'public                   a.     False arrest. detention or imprisonment;
              roads;
                                                                                   b.    Malicious prosecution;
       b.     Vehic1es maintained for use solely on or next
                                                                                  c.     The     wrongful eviction from. wrongful entry
              to premises you own or rent;
                                                                                         into,   or invasion of the right of private occu—
       P     Vehicles that travel on crawler treads;                                    pancy of a room. dwelling or premises that a
       d.    Vehicles. whether self-propelled or not, main-                             person occupies, committed by or on behalf
             iained primarily to provide mobility to perma-                             of its owner, landlord or lessor;
              nently mounted:                                                     d.    Oral or written publication, in any manner. of
             (1)    Power cranes,        shovels. loaders, diggers                      material that slanders or libels a person or or-
                    or   drills;   or                                                   ganization or disparages a person's or or—
                                                                                        ganization's goods. products or services;
             (2)    Road      construction or resurfacing equip-
                    ment such as graders, sctapers or                             e.    Oral or written publication. in any manner, of
                                                                  rollers;
                                                                                        material that violates a person's right of pri-
       e.    Vehicles not described in a., b., c. or d.
                                                                                        VacY;
             above that are not sle-propelled and are
             maintained primarily to provide mobility to                          f.‘   The use       of another‘s advertising idea in your
             permanently attached equipment of the                     fol-
                                                                                        "advertisement"; or
             lowing types:                                                        9.    Infringing         upon        another's     copyright,            trade
             (1) Air compressors. pumps and generators,
                                                                                        dress or slogan           in   your "advertisement".
                 including  spraying, welding, building                       15. "Pollutants"       mean any
                                                                                                          solid, liquid, gaseous or
                   cleaning. geophysical exploration, lighting                    thermal        or contaminant, including smoke,
                                                                                               irritant
                   and well servicing equipment; or                              vapor, soot, fumes, acids, alkalis, chemicals and
             (2)   Cherry pickers and similar devices used                       waste. Waste includes materials lo be recycled,
                   to raise or lower workers;                                    reconditioned or reclaimed.

      f.     Vehicles not described in 3., b._ c. or d.                       1E. "Products-completed operations hazard":
             above maintained primarily for purposes other                       a.     Includes     all   "bodily injury"        and "pmpeﬂy dam-
             than the transportation of persons or cargo.                               age" occurring away from premises you own
             However. seff-propelled vehicles with the fol-                             or rent and arising out of "your product" or
             lowing types of permanently attached equip—                                “your work" except:
             ment are not "mobile equipment" but will be                                (1) Products that              are   still   in    your physical
             considered "autos“:                                                              possession: or
             (1)   Equipment designed           primarily for:                          (2)   Work that has not yet been completed or

                   (a)   Snow removal:                                                        abandoned. However. "your work" will be
                                                                                              deemed completed at the earliest of the
                   (b)   Road maintenance, but          not construc-
                                                                                              following times:
                         tion or resurfacing; or
                                                                                              (a)   When     all   of the“wod( called for            in    your
                   (c)   Street cleaning;
                                                                                                    contract has       been completed.
            (2)    Cherry  pickers    and similar devices
                                                                                              (b)   When   all of the work to be done at
                   mounted on automobile or truck chassis
                                                                                                    the job site has been completed if
                   and used to raise or lower workers; and
                                                                                                    your contract calls for work at more
            (3) Air      compressors, pumps and generators,                                         than one job         site.
                   including        spraying,    welding,        building
                                                                                              (c)   When     that part of the         work done at a
                   cleaning. geophysical exploration, lighting
                                                                                                    job site has been put to                its   intended
                   and well servicing equipment.


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                                                                                                             COMMERCIAL GENERAL LIABILITY


                               use by any person or organization                               must submit or does submit with our consent;
                               other than another contractor or sub-                           or
                               contractor working on the same pro—
                                                                                          b.   Any    other alternative dispute resolution pro-
                               ject.
                                                                                               ceeding in which such damages are claimed
                         Work       that     may need            service,   mainte—            and to which the insured submits with our
                                                                                                                      '     "          "
                         nance, correction. repair or replacement,                             cons‘er'lt:
              v-E’--'
       '~--
                         but‘wm‘ch isothér‘Mé’v‘EmﬁpEtﬁ; will ba‘
                                                                                      19. "Téhiporé‘ly‘        Women" uiiéan'é’a      pe‘rs'ifﬁ‘;WﬁU‘i$
                         treated as completed.
                                                                                          furnished to you to substitute for a permanent
         b.      Does not include "bodily                injury" or "property             "employee" on leave or to meet seasonal or short-
                 damage" arising out of:                                                  term workload conditions.

                 (1)     The   transportation of property, unless the                 20. "Volunteer worker'         means a person who is          not
                         injury or     damage    arises out of         a condition        your "employee", and          who donates his or          her
                         in   or   on a vehicle not owned or Operated                     work and acts at the direction of and within the
                         by you, and that condition was created by                        scope of duties determined by you, and is not
                         the "loading or unloading" of that vehicle                       paid a fee, salary or other compensation by you
                         by any insured;                                                  or anyone else for their work performed for you.

                 (2)     The       existence      of     tools,        uninstalled    21. "Your product":
                         equipment or abandoned or unused ma-                             a.   Means:
                         terials; or
                                                                                               (1)   Any goods       or products, other than real
                 (3)    Products or operations for which the clas-
                                                                                                     property.   manufactured, sold,         handled,
                        siﬁcation, listed in the Declarations or in a
                                                                                                     distributed or disposed of by:
                        policy schedule. states that products-
                        completed operations are subject to the                                      (a)   You;
                        General Aggregate Limit.                                                     (b) Others trading         under your name; or
    17. "Propetty          damage" means:                                                            (c)   A person or organization whose busi-
         a.      Physical injury to tangible property, including
                                                                                                           ness or assets you have acquired;
                 all resulting loss of use of that property. Al!
                                                                                                           and
                 suchIo'ss of use shall be deemed to occur at                                        Containers (other than vehicles). materi-
                                                                                               (2)
                the time of the physical injury that caused it;                                      als. parts or equipment furnished in con-
                or                                                                                   nection wilh such goods or products.

         b.      Loss of use of tangible property that is not                             b.   Includes:
                 physically injured. All such loss of use shall
                                                                                               (1) Warranties        or representations      made     at
                 be deemed to occur at the time of the "occur—
                                                                                                     any time with respect to the ﬁtness, qual-
                 rence" that caused it
                                                                                                     ity. durability. performance or use of "your

        For the purposes of this insurance, electronic                                               produc "; and
        data is not tangible property.
                                                                                               (2)   The providing of or failure to provide
        As used           in this deﬁnition,      electronic data           means                    warnings or instructions.
                            programs stored as or on,
        information. facts or
                                                                                         c.    Does not        include vending machines or other
        created or used on. or transmitted to or from
                                                                                               property rented to or located for the use of
        computer soﬂware,                   including systems and appli-
                                                                                               others but not sold.
        cations software, hard or               ﬂoppy disks. CD-ROMS,
        tapes. drives, cells, data processing devices or                              22. "Your work":
        any other media which are used with electroni-                                   a.    Means:
        cally controlled equipment
                                                                                               (1)   Work      or operations performed by you or
    18. "Suit"      means a         civil  which damages
                                            proceeding      in
                                                                                                     on your     behalf:   and
        because of "bodily injurV', "property damage" or
        "personal and advertising injury" to which this in-                                    (2) Materials,  pans or equipment furnished in
        surance applies are alleged. "Suit" includes:                                                connection with such work or operations.

        a.      An      arbitration    proceeding      inwhich such dam-
                ages are claimed and              to   which the insured



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        b.    Includes:
                                                                              ity,   durability,   performance or use of "your
              (1)    Warranties or representations made at                    “KW" and
                     anytime with respecttothe ﬁtness, qual-            (2)   The providing of or failure to provide
                                                                              warnings or instructions.




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                                                                                                               COMMERCiAL GENERAL                  LIABILITY



                                THIS   ENDORSEMENT CHANGES THE                       POLICY. PLEASE                    READ     IT   CAREFULLY.

       .
                        CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
  ..‘.




  u
  .-




                   V.   Ihésgndorsement modiﬁes insuran -.pmueq yndggghe fqquwbgg.‘
.»..-_-.—....-                    COMMERCIAL GENERAL'LmBILITY COVERAGE PART
                                  LIQUOR LIABILITY COVERAGE PART
                                  OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
“-...




                                  POLLUT!ON LIABILITY COVERAGE PART
                                  PRODUCTSICOMPLETED OPERATIONS LIABILITY COVERAGE PART
                                  RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                                  UNDERGROUND STORAGE TANK POLICY
                        1f   aggregate insured losses attributable to    terrorist     ant to the federal Terrorism Risk Insurance Act The
                        acts certiﬁed under the federal Terrorism Risk Insur-          criteria contained in the Terrorism Risk Insurance Act
                        ance Act exceed $100       billion   in   a Program Year       for   a "certiﬁed act of terrorism" include the              following:
                        (January   1through December 31) and We have met
                                                                                       1.    The act resulted           in   insured losses   in   excess of $5
                        our insurer deductible under the Terrorism Risk Insur-
                                                                                             million in the aggregate. attributable to
                                                                                                                                    all types of
                        ance Act, we shall not be liable for the payment of any
                                                                                             insurance subject to the Terrorism Risk Insurance
                        portion of the amount of such losses that exceeds
                                                                                             Act;   and
                        $100 billion. and in such case insured losses up to
                        that amount are subject to pro rata allocation in ac-          2.    The act      is   a        an act that is dangerous
                                                                                                                   violent act or
                        cordance with procedures established by the Secre-                   to   human        property or infrastructure and is
                                                                                                               life,

                        tary of the Treasury.                                                committed by an individual or individuals as part
                                                                                             of an effort to coerce the civilian population of the
                        "Certiﬁed act of terrorism" means an act that is certi-
                                                                                             United States or to inﬂuence the policy or affect
                        ﬁed by the Secretary of the Treasury, in concurrence
                                                                                             the conduct of the United States Government by
                        with the Secretary of Stale and the Attorney General
                                                                                             coercion.
                        of the United States. to be an act of ﬁerrorism pursu-




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                                                                                           COMMERCIAL GENERAL                  LIABILITY



           THIS    ENDORSEMENT CHANGES THE                            POLICY. PLEASE           READ     IT    CAREFULLY.

                                                        EXCLUSION —
                    REAL ESTATE DEVELOPMENT ACTIVITIES —
                           COMPLETED OPERATIONS
    This endorsement modiﬁes insurance provided under the following:

             COMMERCIAL GENERAL                 LIABILITY    COVERAGE PART
    PROVISIONS                                                           C.   The   following deﬁnition      is   added   to   SECTION V—
    A.   This insurance does not apply to "bodily injury" or                  DEFINITIONS:
         "property damage" that is included in the "prod-                     "Real estate development activities"              means       the
         ucts-completed operations hazard" and that                           design, site preparation,       construction. marketing
         arises out of any "real estate development activi-                   or sales of residential,       commercial or        industrial
         ties" by or on beharf of any insured.
                                                                              buildings.
         Paragraph 18.     b. (3)   of    SECTION V - DEFINI-                 The  Provisions of this endorsement do not apply
         TIONS does not apply        to   any   "real estate devei-
                                                                              to the repair. maintenance, renovation, alteration
         opment   activities"   by or on behalf of any insured.               or addition lo an existing building owned by the
                                                                              Named   Insured‘




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                                                                                          COMMERCIAL GENERAL                  LIABILITY



             THIS     ENDORSEMENT CHANGES THE                       POLICY. PLEASE             READ         IT   CAREFULLY.

                      AMENDMENT OF COVERAGE — POLLUTION
    ThiS.   .en‘deSP-mﬁnt modiﬁgs. inwrgnce mqyidgdpnde: the following:

               COMMERCIAL GENERAL              LIABILITY   COVERAGE PART
    PROVISIONS                                                                     move,       contain, treat, detoxify or neutral-

    Paragraph       f.(2)   Pollution,   Part 2. Exclusions of
                                                                                   ize.   or   in   any way respond     to.    or   assess
                                                                                   the effects      of.   "pollutans": or
    SECTION l— COVERAGES, COVERAGE A BODILY
    INJURY AND PROPERTY DAMAGE LIABILITY is                                  (b)   Claim or “suit" by or on behalf of a gov-
    deleted and replaced by the following:                                         ernmental authority because of testing
                                                                                   for.   monitoring,        cleaning up,      removing,
        (2)   Any   Foss. cost or   expense   arising out of any:
                                                                                   containing,       treating.    detoxifying or neu—
              (a)   Request, demand, order or statutory or
                                                                                                  any way responding
                                                                                   tralizing, o'r in                                 to.      or
                    regulatory requirement that any insured                        assessing the effects of "pollutants".
                    or others test for, monitor, clean up, re-




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                                                                                     COMMERCIAL GENERAL                 LIABILITY



                THIS     ENDORSEMENT CHANGES THE                 POLICY. PLEASE          READ         IT   CAREFULLY.

                    AMENDATORY ENDORSEMENT — PRODUCTS-
                       COMPLETED OPERATIONS HAZARD
    This endorsement modiﬁes insurance provided under the following:

                 COMMERCIAL GENERAL          LIABILITY   COVERAGE PART
    PROVISIONS
    The   deﬁnition of "producis-completed operations hazard” Section        V—   Deﬁnitions     is    amended by     deleting item
    16.b. (3) and replacing it with:
          (3)   Products or operations for which the classiﬁcation, listed in the Declarations. in a policy schedule or in our
                manual of rules. states that the products-oompleted operations are subject to the Genera! Aggregaie
                Limit.




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                                                                                                            COM M ERCIAL GENERAL                       LIABJ LITY



              THIS       ENDORSEMENT CHANGES THE                                 POLICY. PLEASE                  READ         IT       CAREFULLY.

              AMENDMENT OF COVERAGE B — PERSONAL AND
                                           ADVERTISING INJURY LIABILITY
    This endorsement modiﬁes insurance provided under the following:

                 COMMERCIAL GENERAL                     LIABILITY    COVERAGE PART
    PROVISIONS
    A.   AMENDMENT OF DEFINITION OF PERSONAL                                                     Paragraph 2. of SUPPLEMENTARY PAY-
         AND ADVERTISING INJURY                                                                  MENTS — COVERAGES A AND B:
         The     following replaces the deﬁnition of "personal                                   Notwithstanding the provisions of Paragraph
         and advertising          injury” in the       DEFINITIONS Sec-                          2.b.(2) of Section       l
                                                                                                                              — Coverage           A—     Bodily ln-
         tion:                                                                                   jury   And   Property        Damage          Liability    or Para-
         "Personal and advertising                injury"   means   "personal                    graph 2.e. of Section      Coverage B — Per-
                                                                                                                                   l
                                                                                                                                       ~—

         injury" or "advertising injury".                                                        sonal and Advertising    Injury Liability. such
                                                                                                 payments will not be deemed to be damages
         AMENDMENT OF CONTRACTUAL                               LIABILITY                        because of "bodily injury“, "property damage"
         EXCLUSION — EXCEPTION FOR DAMAGES                                                       or "personal injury". and will not reduce the
         BECAUSE OF PERSONAL INJURY ASSUMED                                                      limits   of insurance.
         BY NAMED INSURED IN AN INSURED CON-
                                                                                          3.     The    following replaces the ﬁrst paragraph of
         TRACT
                                                                                                 Paragraph     f.   of the deﬁnition of "insured con-
         1.   The    foliowing        is   added to Exdusion        e.,   Con-                   tract” in the   DEFINITIONS                Section:
              tractual Liability,            in   Paragraph    2.   of    SEC-
                     — COVERAGES — COVERAGE B                                                    f.     That parl of any other contract or agree-
              TION       I
                                                                                                        ment pertaining to your business (includ-
               PERSONAL AND ADVERTISING INJURY                                                          ing an indemniﬁcation of a municipality in
               LIABILITY:                                                                               connection with work performed for a mu-
              This exclusion also does not apply to liability                                           nicipality) under which you assume the
              for damages because of “personal injury" as-                                              tort liability of another party to pay for
              sumed by you in a contract o: agreement that                                              "bodily injury". "propertydamage" or "per-
              is an "insured contract", provided that the                                               sonal injury” to a third party or organiza-
              "personal injury" is caused by an offense                                                 tion. Tort liability means a liability that
              committed subsequent   to the execution of the                                            would be imposed by law in the absence
              contract or agreement. Solely for the pur-                                                of any contract or agreement.
              poses of liability assumed by you in an "in-
                                                                                    C.    ADDITION OF ACCESS OR DISCLOSURE 0F
              sured contract“, reasonable attorney fees and
                                                                                          CONFIDENTIAL OR PERSONAL INFORMA-
              necessary litigation expenses incurred by or
              for a party other than an insured will be
                                                                                          TION EXCLUSION
              deemed to be damages because of "personal                                   The    following exclusion          is   added      to   Paragraph     2.,
              injury",       provided that:                                               Exclusions, of       — COVERAGES —
                                                                                                                    SECTION            I




              (1)   Liability to    such party for. or for the cost                       COVERAGE B PERSONAL AND ADVERTISING
                    of, that party's    defense has also been as-                         INJURY LIABILITY:
                    sumed        by you in the same "insured con-                        Accss Or    Disclosure Of Conﬁdential 0r Pen-
                    tract";     and                                                       sonal Information
              (2)   Such attorney fees and litigation ex-                                "Personal injury" or "advertising injury" arising out
                    penses are for defense of that party                                 of any access to or disclosure of any person's or
                    against a civ-il or alternative dispute reso-                        organization's conﬁdential or personal informa-
                    lution pro-ceeding in which damages lo                               tion.
                    which      this insurance applies are alleged.
                                                                                         AMENDMENT OF OTHER EXCLUSIONS
         2.   The   following replaces the third sentenCe of
                                                                                         1.     The     following replaces Exclusion b., Material



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             COMMERCIAL GENERAL                                   LIABILITY
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                          Published With Knowledge Of Falsity, in                                                5.         The following replaces Exclusion h.. Wrong
                          Paragraph 2. of SECTION — COVERAGES                  I
                                                                                                                            Description 0f Prices. in Paragraph 2. of
                          — COVERAGE B PERSONAL                                    AND ADVER-                              SECTION — COVERAGES — COVERAGE
                                                                                                                                            l

                          TISING INJURY LIABILITY:                                                                         B PERSONAL AND ADVERTISING INJURY
                          b.          Material Published With                      Knowledge Of                            LIABILITY:

                              "   a
                                      Falsity    H _
                                                                              y            __
                                                                                                        "
                                                                                                                      __ h...     Mona. pesqipuqq 0f Prices
                                      “Persona              i‘n'jury"'
                                                         or "advertising ir'u‘ur'y“                                               "Advéftising       injdry"    arisiﬁg    out   of the"
                                      arising out of oral or written publication,                                                 wrong description of the price of goods,
                                      inciuding publication by electronic means,                                                  products or services stated in your "ad-
                                      of material. if done by or at the direction                                                venisement".
                                      of the insured with knowledge of                     its fal-
                                      sity.
                                                                                                             6.            The    following replaces Exclusion L. Infringe-
                                                                                                                           ment Of Copyright,             Patent. Trademark, Or
                         The          following replaces Exclusion                 Material
                                                                                     c.,                                   Trade Secret.        in   Paragraph   2. of SECTION           |

                         Published Prior To                         Policy Perlod, in Para-                                — COVERAGES — COVERAGE B PERSON-
                                          — COVERAGES -
                         graph 2. of SECTION                             l
                                                                                                                           AL AND ADVERTISING INJURY LIABILITY:
                         COVERAGE B PERSONAL AND ADVER-
                         TISING INJURY LIABILITY:                                                                          i.    Intellectual     Property
                                                                                                                                 "Personal      injury"   or "advertising injury"
                      c.              Material Published                     Or Used Prior To
                                      Policy Period
                                                                                                                                 arising out of       any  actual or alleged in-
                                                                                                                                fringement or violation of any of the fol—
                                      (1)   "Personal injury" or "advertising in-                                               lowing rights or laws, or any other "per-
                                            jury" arising out of oral or written pub-                                           sona! injury" or "advertising injury" alleged
                                            licatiOn. including publication  by elec-                                           in any claim or "suit" that also alleges any
                                            tronic      means, of material whose ﬁrst                                           such infringement or violation:
                                            publication took place before the be—
                                                                                                                                (1)   Copyright;
                                            ginning of the policy period; or
                                                                                                                                (2)   Patent;
                                   (2)      "Advertising injury? arising oul of in-
                                            fringement of copyright. 'title" or "sio-                                           (3)   Trade dress;
                                            gan"     your "advertisement" whose
                                                       in
                                                                                                                                (4)   Trade name;
                                            ﬁrst infringement in your "advertise-
                                            ment" was committed before the be-                                                  (5)   Trademark;
                                            ginning of the policy period.                                                             Trade secret: or
                                                                                                                                (6)
                     The following replaces Exclusion f., Breach                                                                (7)   Other     intellectual    property rights or
                     Of Contract, In Paragraph 2. of SECTION —                                  I                                     laws.
                     COVERAGES — COVERAGE B PERSONAL                                                                            This exclusion does not apply             to:
                     AND ADVERTISING INJURY LIABILITY:
                                                                                                                                (1) "Advertising injury" arising out of            any
                     f.           Breach Of Contract
                                                                                                                                      actual or alleged infringement or vio-
                                  "Advertising injury" arising out of a breach                                                        lation of another‘s copyright, "title" or
                                  of contract                                                                                         “slogan" in your "advertisement"; or

                    The following replaces Exclusion 9., Quality                                                                (2)   Any   other "personal injury" or "adver-
                    Or Performance of Goods — Failure To                                                                              tising injury" alleged in any claim or
                    Conform To Shtements. in Paragraph 2. of                                                                          "suit" that also alleges
                                                                                                                                                                any such in-
                    SECTION — COVERAGES — COVERAGE
                                              l
                                                                                                                                      fringement or violation of another's
                    B PERSONAL AND ADVERTISING INJURY                                                                                 copyright, "title" or "slogan" in your

                    LIABILITY:                                                                                                        'advertisement".

                    g.            Quality Or Performance Of Goods                                   —       7.        The following replaces Exclusion j.. Insureds
                                                                                                                      In Media And lnternei Type Businesses, in
                                  Failure To Conform To Statements
                                                                                                                      Paragraph   2. of SECTION — COVERAGES     I
                                  “Advertising injury“ arising out of the fail-                                       —     COVERAGE B PERSONAL AND ADVER-
                                  ure of goods, products or services to con-
                                                                                                                      TISING INJURY LIABILITY:
                                  form with any statement of quality or per-
                                  formance made in your "advertisement".                                              j.        lnsureds In Media              And   Internet    Type
                                                                                                                                Businesses


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                                                                                                                     COMMERCIAL GENERAL                  LIABILITY


                            "Personal         injury"        or "advertising           injury"     “personal         injury“   and "advertising injury"                 sus-
                            arising out of         an offense committed by an                      tained by any          one person or organization.
                            insured     whose business                  is:
                                                                                                   ADDITIONAL DEFINITIONS
                            (1) Advertising,             "broadcasting"             or pub-
                                                                                                   The     following      is   added     to the   DEFINITIONS Sec-
                                  ﬁshing;
                                                                                                   tion:
                            (2)   Designing or determlning content of
                                                              ’                                   _"Advertisipg        iniurv'_':
         —.                       web-sites foe otha‘s, arr:-   :~-".-__                                                                                            _

                                                                                                                                                                               ::-"-_~~‘=,—_   ‘1 -.'


                                                                                                   é.    Means        other than "personal injury",
                                                                                                                      injury,
                            (3)   An   Internet search. access. content
                                                                                                         caused by one or more of the following of-
                                  or service provider.
                                                                                                         fensa:
                          This exclusion             does not apply to Para-
                                                                                                         (1)    O:a| or written publication, including publi-
                          graphs        a.(1),     (2) and (3) of the deﬁnition
                                                                                                                cation by electronic means, of material in
                          of "personal injury“.
                                                                                                               your "advertisement” that slanders or li-
                          For the purposes of this exclusion:                                                  bels a person or organization or dispar-

                          (1)     Creating and producing correspond-                                           ages a person's or organization's goods,
                                  ence written in the conduct of your                                          products or services, provided that the
                                                                                                               claim is made or the “suit" is brought by a
                                  business, bulletins. ﬁnancial or annu-
                                  al reports, or newsletters about your                                        person or organization that claims to
                                  goods, products or services will not                                         have been slandered or Iibeled. or that
                                  be considered the business of pub-                                           claims to have had its goods, products or
                                  llshing;   and                                                               services disparaged;

                                  The      placing       of frames,                                     (2) Oral or written publication, including publi-
                          (2)                                                   borders or
                                  links,   or advertising. for                you or others
                                                                                                               cation     by electronic means, of material               in

                                  anywhere on the Internet will not, by                                        your "advertisemenf'           that:

                                  itself. be considered the business of                                        (a)   Appropriates a person's name. voice.
                                  advertising,          “broadcasting"            or     pub-                        photograph or likeness; or
                                  Iishing.
                                                                                                               (b)   Unreasonably places a person                   in    a
              8.    The  following replaces Paragraph (2) of Ex-                                                     false     light;   or
                    clusion n.. Pollution-Related, in Paragraph
                                                                                                        (3)    Infringement of copyright, "title" or "slo-
                    2. of   SECTION— COVERAGES - COVER-
                                              I
                                                                                                               gan"  in your "advertisement", provided
                    AGE B PERSONAL AND ADVERTISING IN-                                                         that the claim is made or the "suit" is
                    JURY LIABILITY:                                                                            brought by a person or organization that
                    (2)   Claim or suit by or on behalf of a govem-                                            claims ownership of such copyright, "title"
                          mental authority because of testing for,                                             or "slogan".
                          monitoring. cleaning up. removing. con-                                 b.    Includes "bodily injury" caused by one or
                          taining. treating, detoxifying or neutraliz-                                  more  of the offenses described in Paragraph
                          ing. or In any way responding to, or as—
                                                                                                        a.    above.
                          sessing the effects of. "pollutants".
                                                                                                  "Broadcasting"           means        transmitting   any audio or
    E.    AMENDMENT OF WHO                              IS   AN INSURED                           visual material for          any purpose:
              The   following replaces the introductory                          phrase of        a.    By    radio or television: or
              Paragraph 2.a.(1) of                SECTION          II
                                                                        —-    WHO   IS   AN
                                                                                                  h.    In. by or with any other electronic means of
              INSURED:
                                                                                                        communication, such as the Internet. if that
              (1) "Bodily injury"          or "personal          injury":                               material     is   part of:
   F.     AMENDMENT OF LIMITS 0F INSURANCE                                                              (1)    Radio or television programming                 being
          The                                                                                                  transmitted;
                    following replaces Paragraph 4. of                          SECTION
          lll -—    LIMITS        OF INSURANCE:                                                         (2)    Other entertainment. educational. instruc-
          Subject to 2. above. the Personal and Advertising                                                          music or neWS programming being
                                                                                                               tional,
                                                                                                               transmitted; or
          injury Limit is the most we will pay under Cover-
          age B       for the       sum      of   all   damages because                of   all         (3) Advertising transmitted with               any of such
                                                                                                               programming.
                                                                                                  "Personal      injury“:




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     COMMERCIAL GENERAL                   LIABILITY



               Means        injury,   other than "advertising        injury".                        0r
               caused by one or more of the                  following of-
                                                                                              (5) Oral or written publication, including publi-
               fenses:
                                                                                                     cation by electronic               means. of material
               (1)      False arrest, detention or imprisonment:                                    that:

              (2)       Malicious prosecution;                                                      (a)        Appropriates a person's name. voice.
     2»     9;:(‘31'   The‘WrongiuPethiﬁii           frm‘ﬂ; winn‘gful   'e'n»                        _    ..
                                                                                                               Ph.°t99raph or Iikénﬁésaerf
                       try into.of invasion of the right of private                                 (b)        Unreasonably         place‘s   é    pefso—nﬂ-in la
                       occupancy of a room. dwelling or prem-                                                  false light.
                       ises that a person occupies. provided that
                                                                                        b.   Includes            ”bodily      injury"   caused by one or
                       the wrongful eviction, wrongful entry or in-
                                                                                             more        of the offenses described in           Paragraph
                       vasion of the right of private occupancy is                           a.    above.
                       committed by or on behalf of the OWner.
                                                                                        "Slogan":
                       landlord or lessor of that room, dwelling
                       or premises;                                                          Means a phrase           that others use for the pur-
                                                                                             pose        of attracting attention in their advertis-
             (4)       Oral or written publication. including publi-
                                                                                             ing.
                       cation by electronic means, of material
                       that slanders or libels      a person or organi-                 b.   Does not           include    a phrase used          as, or   in,   the
                       zation or disparages a person's or organi-                            name of:
                       zation‘s goods. products or services, pro-                            (1)    Any person             or organization, other than
                     vided that the claim is made or the "suit"                                     you; or
                     is brought by a person or organization
                                                                                             (2)    Any  business, or any of the premises,
                     that claims to have been slandered or li-
                                                                                                    goods, products. services or work, of any
                     beled, or that claims to have had its                                          person or organization. other than you.
                     goods. products or services disparaged;                           "‘ﬁtle'    means a name of a               literary   or artistic work.




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                                                                                                                       COMMERCIAL GENERAL               LIABILITY
       POLICY NUMBER: 68044032586454:                                                                                  ISSUE DATE: (13/12/2015

                  THIS     ENDORSEMENT CHANGES THE                                             POLICY. PLEASE            READ         IT   CAREFULLY.

            DIRECTORS AND OFFICERS LIABILITY ENDORSEMENT
                       COMMUNITY ASSOCIATIONS
       ‘zHiLa‘ ENDOquEMENI PRGVIDES CLAIMS .MA'Z‘E COVERAGE. DLFL-NSE COC‘.ZARE
   :




                                                                                                                                            INCLL-JDED W!THIN
       THE LIMITS OF INSURANCE. PLEASE READ THE ENTIRE FORM CAREFULLY

       DECLARATIONS:
       1.    Named      Insured:            summon VILLAGE Homomms
                                            ASSOCIATION, INC a THEIR INDIVIDUAL UN

       2.    Address:                       1205 N WALNUT STREET

                                            amoxmawou                                          IN 47404
       3.    Coverage Period: 03/10/2015t0 03/10/2016
       4.    Limit of Insurance:              $            1.000.000 Each Claim
                                              $            1,000,000 Aggregate
       5.    Premium: $ INCLUDED
       6.    Special Provisions, ifany:




       Throughout  this endorsement the wards "you" and "your" refer to the Named Insured shown in Rem 1 of the
       Declarations above, and any other person or organization qualifying as a Named Insured under this endorse-
       ment. The words "we." "us" and "our" refer to the Company providing this insurance. The word "insured" means
       any person or organization qualifying as such under SECTION ll —      I5 AN INSURED.               WHO
       PROVISIONS
       I.    Insuring Agreement -— Directors and Ofﬁcers                                                         not limited to any payment toward judg-
             Condominium and Community Associations                                                              ment, settlement or "defense expense."
             L'abmty
                                                                                                    B.    This      insurance   applies to     ”wrongful    acts"
             A.   We    will   pay those sums               that the insured be-                          committed at any time prior to the end of the
                  comes        legally obligated to              pay as compen-                           coverage period. but only if:
                  satory       damages because                  of any' "wrongful
                                                                                                          (1)   The   "wrongful act" took place    in   the "cov-
                  act" to      which        this insurance applies.             We      will
                  have the right and duty to defend any "suit"
                                                                                                                erage   territory":   and
                  seeking those damages. We may at our dis-                                               (2)   A claim for compensatory damages be-
                  cretion      investigate         any "wrongful           act"      and                        cause of the "wrongful act" is ﬁrst made
                  settle   any claim or           "suit" that    may result.       But:                         against any insured. in accordance with
                                                                                                                paragraph C. below. during the coverage
                  (1)   lhe amount            we    will   pay   is   limited   as de-
                                                                                                                period or any Extended Reporting Period
                        scribed        inLIMITS       OF INSUR'ANCE               (Sec-
                        tion   III);   and                                                                      we provide under CONDITIONS—Ex-
                                                                                                                tended Reporting Period (Section IV).
                  (2)   Our     right       and duty       to   defend end        when
                        we have used up                the applicable           limit    of
                                                                                                      .   A claim by a person or organization seeking

                        insurance by any payment. including but
                                                                                                          compensatory damages will be deemed to
                                                                                                          have been made at the earlier of the follow—
                                                                                                          ing times:




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     COMMERCIAL GENERAL LIABILITY


                (1)        When  notice of such claim is received by                                     member of the condominium. or
                           any insured or by us. whichever comes                                         other community association, board
                           ﬁrst, or                                                                      of directors.

                (2)        When we make            settlement        in   accordance                     Any    claim or "suit"    made by any          in-
                           with paragraph A. above.                                                      sured against another insured.
                Al! claims arising ou' of the same oz related
                                                                                                   j.    Employmenturelated            practice's,    pnli;
                "wrongfuf acts“ will be deemed to haVe been
                                                                                                         cies, acts or omissions.
                made at the time the ﬁrst                  of these claims            is
                made against any insured.                                                   (4)    Damages       resulting from:

            .   Exclusions                                                                         a.    The   actual. alleged or threatened dis-
                                                                                                         charge. dispersal, seepage. migra-
                The insurance provided by                     this   endorsement                         tion, release or escape of "pollutants"
                does not apply to:                                                                       or asbestos.
                (1)        "Bodily injury," "property           damage,» "per                      b.    Any    request,    demand    or order that
                           5°"a'   inJ'UI'y."   or "advenising injury."
                                                                                                         any    insured      or   others test for.
                (2)        Punitive or exemplary         damages.                                        monitor,   clean up, remove. contain.
                                                                                                         treat, detoxify or neutralize. or in any
                (3)    Damages           resulting from:
                                                                                                         way respond to, or assess the effects
                       a.     "Wrongful acts" which result in any                                        of "pollutants" or asbestos.
                              insured gaining personal proﬁt. re-
                                                                                                  c.    Any  claim or "suit" by or on behalf of
                              muneration or advantage to which
                                                                                                         a governmental authority because of
                              such insured is not legally entitled.
                                                                                                        testing for.      monitoring,     cleaning up.
                       b.     Any  dishonest. fraudulent, criminal or                                   removing,      containing,       treating. de-
                              malicious act     error   or omission                                     toxifying    or    neutralizing    or   in    any
                              committed by or w‘rth the knowledge                                       way responding     to or assessing the
                              or consent of any insured.                                                effects of "pollutants" or asbestos.

                       c.     The  failure of any person to effect or                             “Pollutants" means any solid. liquid. gas-
                              maintain acceptable amounts, forms.                                 eous or therma! irritant or contaminant,
                              conditions or provisions of any insur-                              including smoke. vapor.    soot, fumes,
                              ance or bonds.                                                      acids.  alkalis. chemicals and waste.
                                                                                                  Waste includes materials to be recycled.
                      d.      Any violation of the Employee Retire-
                                                                                                  reconditioned, or reclaimed.
                              ment Income Security Act of 1974.
                              the Pension Reform Act of 1974, or                           (5)    Damages       resulting from:
                              similar      provisions     of     any       Federal,               a.    Any    claim      made    or   "suit"   brought
                              state or local         statutory       or    common                       prior to or  pending as of the incep-
                              law.
                                                                                                        tion date of the coverage period, as
                      e.      Operations (including but not limited                                     shown in the Declarations. However.
                              lo constmction,  design. survey and                                       if this insurance is a renewal of the

                              engineering services) performed by                                        same or similar coverage provided
                             or on behalf of the builder. sponsor                                       by us. this exclusion applies to
                             or developer of the property desig-                                        claims made or "suits" brought prior
                             nated     m the Declarations.                                              to or pending as of the date such
                                                                                                        coverage was ﬁrst provided by us.
                      f.     The failure of any insured to enforce
                             the rights of the Named Insured a-                                   b.    Any   subsequent claims made                   or
                             galnst the builder, sponsor or devel-                                      "wits” broughl which misc [rum                or
                             oper of the property designated                     in                     are    based upon substantially the
                             the Declarations.                                                          same  matters as alleged in the plead-
                                                                                                        ings of such prior or pending claims
                      g.     Discrimination.
                                                                                                        or‘suits."
                      h.     The       'wrongful       act"     of        any   de-
                             veloper/sponsor whois an ofﬁcer or




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                                                                                                         COMMERCIAL GENERAL LIABILITY


                           c.   Any     act of any insured which gave         IV.   CONDITIONS
                                rise to   such prior or pending claim or
                                “suit."
                                                                                    A.    Extended Reporting Period.
                                                                                          1.    If    this    insurance         is    canceled or nonre-
                           d.   Any     claim or "suit" which      may be                       newed for any reason other than non-
                                reasonably anticipated as of the in-
                                                                                                payment of premium. we will provide an
                                ception datg of t,t-Ie coverage period.
                                                                                                Extended Reporting Period ‘of one year.
                 --_   -
                                as shown in the Dgclaratiggs.
                                                                                                Th5: Extended Reportingi-Period doeb‘ﬁot“'-"
   II.    WHO IS AN INSURED                                                                    extend the coverage period or change
                                                                                               the scope of coverage provided. It ap-
          A.    If you are named in Item 1 of the Declara-
                                                                                               plies only to claims for ”wrongful acts"
                tions above, you are an insured.
                                                                                               committed before the end of the cover-
                Your                                       are also
                             directors. trustees or officers                                   age     period.
                insureds.          but only while acting within the
                scope of their duties for you. This includes:                            2.    The Extended Reporting Period does not
                                                                                               apply to claims that are covered under
                1.         Those who      currently are directors. trus-                       any subsequent insurance you pur-
                           tees or ofﬁcers;                                                    chase. or that would be covered but for
                2.         Those who were                                                      exhaustion of the amount of insurance
                                               directors, trustees or of-
                           ﬁcers when the "wrongful act" took place;                           applicable to such claims.

                3.         Those who become directors. trustees or                       3.    The Extended Reporting Period does not
                                                                                               reinstate or increase the Limits of Insur—
                           ofﬁcers aﬂer the effective date of this in-
                           surance. but only for subsequent "wrong-                            ance.
                           ful acts."                                                    Bankruptcy.
               Your employees and members are insureds,                                  Bankruptcy or insolvency on the part of the
               but only while acting at your direction and                               insured will not relieve us of our obligations
               within the scope of their duties for you.                                 under this insurance.
   III.   LIMITS           OF INSURANCE                                                  Insured's Duties In                  The Event 0f A Wrong-
          A.   The         Limits of Insurance     shown
                                                   the Decla- in                         ful Act,      Claim Or Suit.
               rations and the rules below ﬁx the most we                                            the event of a "wrongful a
                                                                                         1.    In                                             ",
                                                                                                                                                   you must
               will pay regardless of the number of:
                                                                                               see to        it          we
                                                                                                                  are notiﬁed as soon as
                                                                                                                  that
               1.          lnsureds:                                                           is practicable. To the extent possible.
                                                                                               notice should include:
               2.      Claims      made    or "suits" brought;
                                                                                               a.      How. when and where the "wrongful
               3.      Persons or organizations making claims
                                                                                                      act" took place;
                       or bringing "suits."
                                                                                               b.     The         nature of the "wrongful act"; and
               The         Limit of Insurance    shown   in    the Declara—
               tions above as "Aggregate" is                  the mast we                      c.     The names and addresses                      of injured
               willpay for all damages and "defense expen-                                            parties       and witnesses.
               se“ for all claims made during the Coverage
                                                                                               Notice of such             a   "wrongful act" does not
               Period shown in the Declarations.
                                                                                               constitute notice of a claim.
               Subject to B. above. the Limit of Insurance                               2.    ff a claim is received by any insured. you
               shown as "Each Claim" is the most we will                                       must immediame record the speciﬁcs of
               pay for damages and "defense expense" aris-                                     me claim and the date received. and no-
               ing out of any one claim. For the purposes
                                                                                               tify   us immediately. Written notice shou1d
               of determining the Limit of Insurance. all
                                                                                               be provided as soon as                  is practicable.
               claims arising out of the same or related
               ”wrongfui acts“ wilt be considered as one                                 3.    You and any                    other    involved      insured
               claim.                                                                          must:

                                                                                               a.     Immediately send us copies of any
                                                                                                      demands.            notices.       summonses        or
                                                                                                      1egal papers received in connection
                                                                                                      with the claim or a "suit“;




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    COMMERCIAL GENERAL LIABILIW


                      b.     Authorize us to obtain records and                                    terms of this insurance with our consent.
                             other information;                                                    This endorsement‘s terms can be amended
                                                                                                   or waived only by       endorsement issued speci-
                      c.    Cooperate with us in the investiga-
                            tion of any "wrongful act," or the in-
                                                                                                  ﬁcally to   amend   this insurance.

                            vestigation. settlement or defense of                                 Transfer Of Rights Of Recovery Against
                            the claim or       "suit";   and                                      Others To Us.
                                                                             _   _V
                      d.    Assist us, upon our request, in the                                   If the insured has rights ta recover all or part

                            enforcement of any right against any                                  of any payment we have made under this
                            person or organization which may                                      insurance, those rights are transferred to us.
                            be liable to any insured because of                                   The insured must do nothing after loss to
                            damages to which this insurance ap-                                   impair them. At our request, the insured will
                            plies.                                                                bring "suit" or transfer those rights to us and
                                                                                                  help us enforce them.
             4.      No      insureds       will.     except at their own
                     cost,    voluntarily         make a payment,                as—              Conformity To Statute.
                     sume any        obligation. or incur            any expen—                   The terms of this insurance which are in con—
                     se without our consent.                                                      ﬂict with
                                                                                                          the statutes of the state wherein this
       D.    Legal Action Against Us.                                                             insurance is delivered are hereby amended
                                                                                                  to   conform to such statutes.
             No person    or organization has                    a   right   under
             this insurance:                                                                      Representations.

             1.      To    join   us as a pany or otherwise bring                                 By accepting     this   insurance you agree:
                     us    into   a "suit" asking for damages from                                1.    The statements  in the application are ac-
                     an    insured: or                                                                  curate and complete:
             2.      To sue us on          this     insurance unless all of                       2.    Those statements are based upon             repre-
                     its   terms have been           fully complied with.                               sentations you made to us; and
             A person or organization may sue us to re-                                          3.     We have    issued this insurance      in   reliance
             cover on an agreed settlement or on a ﬁnal                                                 upon your representations.
             judgment against an insured obtained after
             an actual trial: but we will not be liable for                            V.   DEFINITIONS
             damages          that    are     not      payable       under the              A.   "Advertising injury" means injury arising out
             terms of        this insurance or that are in              excess                   of one or more of the following offenses:
             of      the    applicable        limit    of      insurance.        An              1.    Oral or written publication of material
             agreed settlement means a settlement and
                                                                                                       that slanders or libels a person or organi—
             release of liability signed by us, the insured
                                                                                                       zation or disparages a person's or or-
             and the claimant or the daimant's legal rep-
                                                                                                       ganization's goods. products or services;
             resentative.
                                                                                                 2.    Oral or written publication of material
            Other Insurance.
                                                                                                       mat violates a person's right of privacy;
            This insurance           is   excess over any other              valid
                                                                                                 3.    Misappropriation of advertising ideas or
            and      collectible insurance available to                 any      in—
                                                                                                       style of doing business; or
            sured. whether primary, excess, contingent,
            or on any other basis, unle55 such other in-                                         4.    Infringement of copyright.    title   or slogan.
            surance was purchased speciﬁcally to be ex-                                          "Bodily injury"    means     bodily injury. sickness
            cess over the limits of insurance this insur-                                        or disease sustained by a person, including
            ance provides.                                                                       death resulting from any of these at any time.
            Changes.                                                                             "Coverage territory" means the United States
            This endorsement contains                                                            of America (including its territories and pos-
                                                         all   of the agree-
            ments between you and us conceming the                                               sessions), Puerto Rico and Canada.
            insurance afforded under this endorsement.                                      D.   "Defense expense" means fees charged by
            The ﬁrst Named Insured shown in the Decla-                                           (an) attomey(s) designated or approved in
            rations is authorizedto make changes in the                                          writing by us and all other fees. costs, and
                                                                                                 expenses resulting from the investigation, ad-



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                                                                                          COMMERCIAL GENERAL                 LIABILITY



           justment.  defense and appeal of a claim.                           1.   Physical injury to tangible property. in-
           "suit"     proceeding arising in connection
                        or                                                          cluding all resulting loss of use of that
           therewith, if incurred by us or by an insured                            Property;
           with our wriﬂen consent.
                                                                               2.   Loss of use of tangible property that             is
           "Personal                   means
                              injury                   other than
                                                     injury,                        not physically injured; or

                                                                                                                            W
       .


           "bodily injury,"         arising out of one or more of
                                                                               3.   Dimjnution ._ofjgropert'y yaly'eé: _~
           t_l_-1e   ﬁallgwhgq offenses:       3;;
                                                                               "Suﬁ".           a‘
                                                                                     meéhé    Cali]       'pr'oceeding       In-
           1.        False arrest. detention or imprisonment:
                                                                               damages because of a             "wrongful      act"   to
           2.        Malicious prosecution;                                    which    this    insurance   applies    are    alleged.
                                                                               "Suit" includes:
           3.        The wrongful                  from, wrongful
                                            eviction
                     entry into,    or invasion of the right of pri-           1.   An arbitration proceeding in which such
                     vate occupancy of a room. dwelling or                          damages are ciaimed and to which you
                     premises that a person occupies by or                          must submit or do submit          with our con—
                     on behalf of its owner. landlord or lessor:                    sent; or

           4.        Oral    or   written  publication of material             2.   Any   other alternative dispute résolution
                     that slanders      or libels a person or or—                   proceeding in which such damages are
                     ganization     or disparages       a person‘s or               Claimed and to which you submit with
                     organization's     goods,       products or ser—               our consent.
                     vices:or
                                                                               "Wrongfu! act"  means any actual or alleged
           5.        Oral    or   written    publication       of   material   error, mistake. misstatement or misleading
                     that violates a person's right of privacy.                statement. act. omission or neglect or breach
                                                                               of duty by any insured.
           "Property damage" means:




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                                                                                                    COMMERCIAL GENERAL                LIABILITY


                THIs          ENDORSEMENT CHANGES THE POLICY. PLEASE READ                                           IT    CAREFULLY.
                     OTHER INSURANCE — ADDITIONAL INSUREDS
    This endorsement modiﬁes insurance provided under the following:
    '




             ilédMK/IERGML GENERAL                 t:ABJL-sé1‘-f£0VEI<AGE'PAR"f       v




    PROVISIONS                                                                   b.    The      "personal injury" or "advenising injury" for
    COMMERCIAL GENERAL               LIABILITYVCONDI‘I’IONS                            which coverage is sought arises out of an                 of-
    (Section      1V).    Paragraph 4. (Other Insurance). is                           fense committed
    amended as follows:                                                         subsequent to the signing and execution of that
    1. The following is added              to   Paragraph   a.   Primary        contract or agreement by you.
        Insurance:                                                              The ﬁrst Subparagraph (2) of Paragraph b. Ex-
        However,     you speciﬁcally agree in a written con-
                         if                                                     cess Insurance regarding any other primary in-
        tract or written agteement that the insurance pro-                      surance available to you            is   deleted.
        vided to an additional insured under this                          3.   The       following         added
                                                                                                       to Paragraph b. Excess
                                                                                                       is
        Coverage Part must apply on a primary basis, or                         Insurance, as an additional subparagraph under
        a primary and non—contributory basis, this insur—                       Subparagraph          (1):
        ance is primary to other insurance that is avail-
                                                                                That      is   available lo the insured       when the insured
        able to such additional insured which covers such
                                                                                is   added as an additional insured under any other
        additional insured as a            named    insured.     and we
                                                                                policy, including any umbrella or excess policy.
        will    not share with that other insurance, provided
        that:

        a.     The   "bodily injury" or "propeﬂy        damage"      for
               which coverage       is   sought occurs; and




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                                                                                                                         COMMERCIAL GENERAL                          LIABILITY



              THIs      ENDORSEMENT CHANGES THE                                    POLICY.             PLEASE READ                            IT   CAREFULLY.

                                                   XTEND ENDORSEMENT
    Thi-sgndorsemelgﬁquiﬁeSanranqepmvidedjgyderlhe                                  follomdn'g):            i-   ..__.    1..                                'f_7-f;__~r        ._.;

                COMMERCIAL GENERAL                      LIABILITY      COVERAGE PART
    GENERAL DESCRIPTION OF COVERAGE — This endorsement broadens coverage. The following listing is a
    general coverage description only. Limitations and exclusions may apply to these coverages. Read all the PRO-
    VISIONS of this endorsement carefully to determine rights. duties, and what is and is not covered.


    A.    Broadened Named Insured                                                      l.        Injury to          Co-Employees and Co-Volunteer
    B.    Damage To Premises Rented To You                       Extension                       W°rker5
         ' Perils     of ﬁre. explosion, lightning, smoke, water                      J-         A'mraﬂ Chaﬂered W'm crew
         .
              Limit increased to       sgoolooo                                        K.        Non-Owned                Watercraft           — Increased
                                                                                                 from 25 feat to 5° feet
    c.    Blanket Waiver of Submgation
                                                                                      L'         Increased SUpplemenhry Payments
    D.   Blanket Additional Insured— Managers or
                                                                                                 -   Cost                     bonds increased
         Lessors of Premises                                                                                      for bail                                  to   $2,500
                                      Insured — Lessor of
                                                                                                 '   LOSS 0f earnings increased f0 $500 per day
    E.   Blanket Additional
         leased Equipment                                                             M.         Knowledge and Notice                         of Occurrence
    F.   Incidental Medical Malpractice                                                          °|'   Offense
    G.   Personal Injury      —Assumed by Contract                                    N-         Unintentional 0miSSi0n

    H.   Extension       or Coverage — Bodiry Injury                                  O.         Reasonable Fame — Bodily                               Injury or
                                                                                             Property               Damage
    PROV'S'ONS
                                                                                     B.     DAMAGE To PREMISES RENTED To You
   A.    BROADENED NAMED INSURED                                                            EXTENSION
         1.    The Named         Insured    in   Item   1.   of the Declara—                1_         The |ast paragraph of COVERAGE A_ BOD-
               tions   i5   asfolluws:                                                                 ILY INJURY AND PROPERTY DAMAGE LI-
               The person        or organization        named     in   Item   1.                       ABILITY (Seam        — COYeI'aQes) I                          is    “lewd
               of the Declarations and any organization.                                               am! l'eP'aCEd by the fOI'OWINQZ
               Other than a P?ﬂn§r8hip Ofiojnt ventufeg OYe'                                           Exclusions c. through n. do not apply to dam-
               Wh|°h YOU mama"! qwnerShIP 0r maJOFWAln'                                                age  to premises while rented to you, or tem-
               ‘eres‘ 0“ the eﬁedwe date 0f me _POI'CY-                                                poran'ly occupied by you with permission of
               However. coverage for any such organization                                             the awnen caused by;
               willcease as of the date during the policy pe-
                                                                                                       a'        Fire.'
               riod thatyou no longer maintain ownership of.
                                                                                                                          _

               or majority interest in, such organization.                                             b-        EXPIOSIOH:

         2.    WHO      IS AN INSURED (Section ll) Item 4.a.                                           c.        Lightning;
               '5   de'e‘ed and rep'aced by me f°“°w'"93
                                                                                                       d.        Smoke resulting              from such ﬁre, explosion,
               a.     Coverage under this provision is afforded                                                  or lightning; or
                      only until the 180th day after you acquire                                       e.        Water.
                      or form the organization or the end of the
                      policy period,     whichever is earlier, unless                                  A    separate          limit   of insurance applies to this
                      reported   in            us within 180 days.
                                      writing to
                                                                                                       coverage as described                       in    LIMITS     OF    INSUR-
                                                                                                       ANCE          (Section     III).
         3.    This Provision A. does not apply to any per-
               son or organization for which coverage is ex-                                2.         This insurance does not apply to                             damage       to

               cluded by endorsement.                                                                  premises while rented to you. or temporarily



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     COMMERCIAL GENERAL                          LIABILITY



                  occupied by you                 with    permission          of    the                             COVERAGE                A.     BODILY           INJURY           AND
                  owner, caused by:                                                                                  PROPERTY DAMAGE                LIABILITY (Section l —
                 a.            Rupture, bursting, or operation of pres-                                             Coverages)         is   excluded by endorsement.
                               sure relief devices;                                                     C.     BLANKET WAIVER OFSUBROGATION
                 b.         Rupture or bursting due to expansion or                                            We  waive any right of recovery we may have
                      r

                            swelling oﬁhe contentiofany buildingﬂr,                            -«
                                                                                          _~

                                                                                                              agaiﬂsatzgny persqngo; grganization hecause qf-
                            structure, causéd by or re'stjltir'ié from WE-
                                                                                                              péymehls we make for injury 9r damage arising
                           ter;
                                                                                                              out of premises owned br occupied by or Ténted
                 c.        Explosion of steam boilers, steam                   pipes.                         or loaned to you; ongoing operations performed
                           steam engines. or steam turbines.                                                  by you or on your behalf, done under a contract
                                                                                                              with that person or organization; "your work"; or
                 Part 6. of LIMITS           0F INSURANCE (Section                                            "your products". We waive this right where you
                 Ill)     is   deleted and replaced by the following:
                                                                                                              have agreed to do so as part of a written contract.
              Subject to              5.   above. the     Damage To Prem-                                     executed by you prior to loss.
              ises             Rented To You      Limit   is   the most      we will                          BLANKET ADDITIONAL INSURED — MANAG-
              pay under COVERAGE                         A     fordamages be-
                                                                                                         .


                                                                                                              ERS 0R LESSORS OF PREMISES
              cause of "property damage"  to                     any one prem-
             ises while rented to you. or temporarily occu-                                                   WHO IS AN INSURED (Section is amended to        ll)

             pied by you with permission of the owner.                                                        include as an insured              any person or organization
             caused by ﬁre, explosion. lightning, smoke                                                       (referred to below as "additional insured") with
             resulting from such ﬁre, explosion, or light-                                                    whom you   have agreed in a wn'uen contract, exe-
             ning.  or water. The Damage To Premises                                                          cuted prior to loss, to name as an additional in-
             Rented To You Limit will apply to all damage                                                    sured, but only with respect lo liability an‘sing out
             proximately caused by the same "occur-                                                          of the ownership, maintenance or use of that part
             rence", whether such damage results from                                                        of any premises leased to you, subject to the fol-
             ﬁre, explosion. lightning, smoke resulting from                                                 lowing provisions:
             such ﬁre, explosion, or lightning, or water, or                                                  1.   Limits of Insurance. The limits of insurance
             any combination of any of these.                                                                      afforded lo the additional insured shall be the
             The Damage To Premises Rented To You                                                                  limits     which you agreed to provide, or the lim-
             Limit will            be the higher   of:                                                             its   shown on the Declaraﬁons. whichever                           is
                                                                                                                   less.
             a.           $300,000; or
             b.           The amount shown on the Declarations
                                                                                                             2.    The insurance            afforded to the additional                in-
                                                                                                                   sured does not apply            to:
                          for Damage To Premises Rented To You
                          Limit.                                                                                   a.        Any   "occurrence" that takes place aﬂer
                                                                                                                             you cease  to be a tenant in that premises;
             Under DEFINITIONS (Section                          V),      Paragraph
             a.of the deﬁnition of "insured contract" is                                                           b.    Any premises  for which coverage                       is   ex-
            amended so that it does not include that por-                                                                cluded by endorsement; or
            tion of the contract for a lease of premises
                                                                                                                   c.    Structural alterations,new construction or
            that indemniﬁes any person or organization
                                                                                                                         demolition operations performed by or on
            for damage to premises while rented to
                                                    you,                                                                 behalf of such additional insured.
            or temporarily occupied by you with permis-
            sion of the owner. caused by:                                                                    3.    The insurance afforded                to the additional in-
                                                                                                                   sured    excess over any valid and collectible
                                                                                                                              is
            a.            Fire;
                                                                                                                   insurance available to such additional in-
            b.            Explosion;                                                                               sured, unless you have agreed in a written
            c.
                                                                                                                   contract for this insulance to apply on a pri-
                          Lightning;
                                                                                                                   mary or contributory           basis.
            d.            Smoke     resulting   from such ﬁre, explosion,
                          or lightning; or
                                                                                                    .        BLANKET ADDmONAL INSURED — LESSOR
                                                                                                             OF LEASED EQUIPMENT
            e.            Water.
                                                                                                             WHO        IS   AN INSURED          (Section   ll)   is   amended        to
            This Provision B. does not apply                              coverage
                                                                     if                                      include as an insured            any person      or organization
            for    Damage To Premises Rented To You                                of                        (referred to below             as “additional insured")                with



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                                                                                                                 COMMERCIAL GENERAL                   LIABILITY


          whom you           have agreed    in   a written contract,      exe                              for   which no remuneration          is    demanded
          cuted prior to loss, to name as an additional in-                                                or received.
          sured. but only with respect to their liability arising
          out of the maintenance, operation or use by you
                                                                                       3.           Paragraph        2.a.(1)(d)      of   WHO        IS   AN    IN-
                                                                                                    SURED         (Section    II)   does not apply         to   any
          of equipment leased to you by such additional in-
                                                                                                    registered      nurse.     licensed    practical       nurse,
         ..suredt subject lp the fpllowitjg provisions:                                        '

                                                                                                   emergency medical- technician =or paramedic
          '1.
                 Limits of lrizéuranbe. The Hmits 'of insurance                                    Emplnyﬁd bY'VOU. but only‘while getfennlng-                        ~5-

                 afforded to the addiﬁonal insured shall be the                                    the services described in paragraph 2. above
                 limits  which you agreed to provide, or the lim-                                  and whire acting within the scope of their em-
                 its   shmun on the Declarations, whichever is                                     ployment by you. Any "employees" rendering
                 less.                                                                             "Good Samaritan services" will be deemed Io
          2.     The insurance        afforded lo the additional            in-
                                                                                                   be acting within the scope of their employ-
                 sured does not apply        to:
                                                                                                   ment by you.

                 a.    Any   "occurrence" that takes place after                           .       The following  exclusion is added to paragraph
                        the equipment lease expires; or                                            2.   Exclusions of COVERAGE A.         BODILY
                                                                                                   INJURY AND PROPERTY                    DAMAGE          LIABIL—
                 b.    "Bodily injury" or "property damage" aris-
                                                                                                   ITY (Section l— Coverages):
                       ing out of the sote negligence of such ad-
                       ditional insured.
                                                                                                   (This insurance        does not apply        toz) Liability
                                                                                                   arising out of the willful violation of                a penal
          3.    The insurance         afforded to the additional in-                               statute or ordinance relating to the sale of
                sured is excess over any valid and collectible                                     pharmaceuticals by or with the knowledge or
                Insurance available to such additional in-                                         consent of the insured.
                sured, unless you have agreed in a written
                                                                                                   For the purposes of determining the applica-
                contract for this insurance to apply on a pri-
                                                                                                   ble limits of insurance, any act or omission,
                mary or contributory        basis.
                                                                                                   together with all related acts or omissions in
    F.    INCIDENTAL MEDICAL MALPRACTICE                                                           the furnishing of the services described in
          1.    The  deﬁnition of "bodily injury" in DEFINI-                                       paragraph 2. above to any one person, will be
                TIONS (Section V) is amended to include "ln-                                       considered one "occurrence".
                cidental Medical Malpmctice Injury".                                               This Provision F. does not apply if you are in
         2.     The     following deﬁnition        is    added   to DEFINI-                        the business or occupation of providing any of
                TIONS        (Section V):                                                          the services described in paragraph 2. above.

                "lncidentai medical malpractice injury"                means                       The   insurance provided by this Provision F.
                bodify injury. mental anguish, sickness or dis-                                    shall be excess over any other valid and col-
                ease sustained by a person. including death                                        lectible insurance available to the insured,

                resulting from any of these at any time, aris-                                     whether primary, excess. contingent or on
                ing out of the rendering           of.   or failure to ren-                        any other basis, except for insurance pur-
                der, the following services:                                                       chased speciﬁcally by you to be excess of
                                                                                                   this policy.
                a.     Medical, surgical, dental. laboratory. x-ray
                       or nursing service or treatment, advice or                 G.   PERSONAL INJURY — ASSUMED BY CON-
                       instruction,   or the related furnishing of                     TRACT
                       food or beverages;                                              .       The Contractual               Liability Exclusion in Part

                b.     The    furnishing or dispensing of drugs or                             2.,                COVERAGE B. PER-
                                                                                                         Exclusions       of
                       medical, dental, or surgical supplies or                                SONAL AND ADVERTISING INJURY LIABIL-
                       appliances; or                                                          ITY (Section l— Coverages) is deleted and
                                                                                               replaced by the following:
                c.     Firstaid.
                                                                                               (This insurance         does not apply to:)
                d.     "Good Samaritan       services".       As used      in
                       this Provision F.,"Good Samaritan ser-                                  Contractual Liability
                       vices" are those medical sewices ren—                                   "Advenising injury" for which the insured has
                       dered or provided in an emergency and                                   assumed liability in a contract or agreement.
                                                                                               This exclusion does not apply to liability for




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                 damages         that the insured would        have       in   the              3.        Subparagraphs             2.a.(1)(a),         and                     and
                                                                                                                                                  (b)                (c)
                 absence        of the contract of agreement.                                           3.a. of    WHO         IS   AN INSURED          (Section           ll)   do
                 Subparagraph     of the deﬁnition of "insured
                                      f.                                                                not apply to "bodily injury" for which insurance
                 contract"      (DEFINITIONS — Section V)
                                                        is de—
                                                                                                        isprovided by paragraph 1. or 2. above.
                 leted and replaced by the following:                                 J.        AIRCRAFT CHARTERED WITH CREW
                 f.-   That part of any           ath_eg contract or   agggs»                   >1.“   Jhe-{Qllowjng ﬁg, added-ta the exceptions can"
                       ment pe‘rtaining to your business (includ-                                      fained‘in the Aircraft, Auto Or Watercraft
                       ing an indemniﬁcation of a municipality in                                       Exclusion in Part 2., Exclusions of COVER-
                       connection with work performed for a                                             AGE A. BODILY INJURY AND PROPERTY
                       municipality) under which you assume the                                         DAMAGE LIABILITY (Section — Coverages):     l

                       tort liability of another party to pay for
                       "bodily injury." "property damage" or "per-
                                                                                                        (This exclusion          does not apply toz)                 Aircraft
                                                                                                        chartered with         crew to any insured.
                       sonal injury" to a third party or organiza-
                       tion.   Tort   liability    means a    liability    that                         This Provision J. does not apply                  if   the char-
                       would be imposed by law in the absence                                           tered aircraﬁ      is   owned by any        insured.
                       of any contract or agreement.                                                   The   insurance provided by this Provision J.
                This Provision G. does not apply  if COVER—
                                                                                                       shall be excess over any other vaiid and col-
                AGE     B.     PERSONAL AND ADVERTISING IN—                                            lectible insurance available to the insured.
                JURY         LIABILITY     is     excluded by endorse-                                 whether primary. excess, contingent or on
                ment.                                                                                  any other basis, except for insurance pur-
                                                                                                       chased speciﬁcally by you to be excess of
    H.    EXTENSION OF COVERAGE — BODILY                                       IN—
                                                                                                       this policy.
         JURY
         The
                                                                                      K.    NON-OWNED WATERCRAFT
                 deﬁnition of "bodily injury"           (DEFINITIONS —
         Section V)       is   deleted and replaced by the follow—                          1.         The exception contained in Subparagraph (2)
         ing:                                                                                          of the Aircraft. Auto Or Watercraft Exclu-
                                                                                                       sion in Pad 2., Exclusions of COVERAGE A.
         "Bodily injury" means bodily injury. mental an-
                                                                                                       BODILY INJURY AND PROPERTY DAMAGE
         guish, mental injury, shock. fright, disability, hu-
                                                                                                       LIABILITY (Section l- Coverages) is deleted
         miliation. sickness or disease sustained by a per-
                                                                                                       and replaced by the             following:
         son. including death resulting from any of these at
         anytime.                                                                                      (2)   A watercraft you do not own that                  is:


   l.    INJURY  TO CO-EMPLOYEES                             AND          CO-                                (a)   Fifty feet       long or less; and
         VOLU NTEER WORKERS                                                                                  (b)   Not being used to curry persons or
         1.     Your "employees" are insureds with respeci                                                         propeny for a charge;
                to "bodily injury" to a co-"employee" in the                                           This Provision K. applies to any person who.
                course of the co-"employee's" employment by                                            with your expressed or implied consent, either
              you, or to your "volunteer workers" while per-                                           uses or is responsible for the use of a water-
              forming duties related to the conduct of your                                            craft.
              business, provided that this coverage for your
              "employees" does not apply to acts outside
                                                                                                       The   insurance provided by this Provision K.

              the scope of their employment by you or while
                                                                                                       shall be excess over any other valid and col-
                                                                                                       lectible insurance available to the insured.
              performing duties unrelated to the conduct of
                                                                                                     whether primary, excess, contingent or on
              your business.
                                                                                                     any other basis, except for insurance pur-
              Your "volunteer workers" are insureds with                                             chased speciﬁcally by you to be excess of
              respect to "bodily injury" to a co-“volunteer                                          this policy.
              worker" while performing duties related to the
                                                                                     L.    INCREASED SUPPLEMENTARY PAYMENTS
              conduct of your business. or to your "employ-
              ees" in the course of the "employee's" ern-                                  Parts b. and d. of SUPPLEMENTARY PAY-
              ployment by you, provided that Ihis coverage                                 MENTS — COVERAGES A AND B (Section —                                             I


              for your "volunteer workers" does not apply                                  Coverages) are amended as                       follows:
              while performing duties unrelated to me con-                                 1.        In Part b.     the    amount we will pay           for the cost
              duct of your business.                                                                 of          bonds
                                                                                                          bail            is   increased to $2500.



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             2.       In   Pad   d.    the amount   we      will   pay     for ioss of                       which you are required to notify us in writing
                     earnings      is   increased to $500 a day.                                             of the abrupt commencement of a discharge,
    M.      KNOWLEDGE AND NOTICE                                   OF        OCCUR-                          release or escape of "pollutants" which
            RENCE OR OFFENSE                                                                                 causes "bodily injury" or "property damage"
                                                                                                             which may otherwise be covered under this
     "‘0‘
            1.
            -'   '
                     The       following    is   added      to     COMMERCIAL                                policy.                                       _7
                     GENERAL'LIABILITY‘couomons                                (section
                                                                                                                                .                ‘




                     IV). paragraph'IZ'.‘ ‘Uuties        I'ri‘
                                                                 Tﬁe    ‘E'Véﬁf b'f'Oc-‘
                                                                                           ~‘1‘ﬁ"N;   vBNSNTEE-TIONM. OMISSIDN
                     currence, Offense, Claim or Suit):                                               The     following is   added   to   COMMERCIAL GEN-
                     Notice of an "occurrence" or of an offense                                       ERAL   LIABILITY CONDITIONS                      (Section     IV),

                     which may result in a claim under this insur-                                    paragraph 6. (Representations):
                     ance shall be given as soon as practicable af~                                   The      unintentionai omission of.            or unintentional
                     tar knowledge of the "occurrence" or offense                                     error    any information pmvided by you shall not
                                                                                                               in,
                     has been reported to any insured listed under                                    prejudice your rights under this insurance. How-
                     Paragraph 1. of Section ll — Who ls An In-                                       ever, this Provision N. does not affect our right to
                     sured or an "employee" (such as an insur-                                        collect additional premium or to exercise our right
                     ance, loss control or risk manager or adminis-                                   of can‘cellation or nonrenewal        in   accordance with
                     trator)   designated by you to give such notice.                                 applicable state insurance laws,           codes or regula-
                     Knowledge by other "employee(s)" of an "oc-                                      tions.

                     currence" or of an offense does not imply that                               .   REASONABLE FORCE — BODILY INJURY 0R
                     you also have such knowledge.                                                    PROPERTY DAMAGE
            2.       Notice shall be  deemed prompt if given in                                       The Expected Or Intended              Injury Exclusion         in
                     good         as soon as practicable to your
                               faith                                                                  Part    2.,      COVERAGE A. BODILY
                                                                                                                     Exclusions of
                     workers’ compensation insurer. This applies                                      INJURY AND PROPERTY DAMAGE LIABILITY
                     only if you subsequently give notice to us as                                    (Section l — Coverages)        is   deleted      and replaced
                     soon as practicable aﬂer any insured listed                                      by the following:
                     under Paragraph 1. of Section II — Who Is An
                                                                                                      (This insurance does not apply to:)
                     Insured or an "employee" (such as an insur-
                     ance, loss control or risk manager or adminis-                                   Expected or Intended Injury or Damage
                     trator) designated by you to give such notice                                    "Bodily injury" or "property        damage“ expected           or
                     discovers that the "occurrence", oﬁ‘ense or                                      intended from the standpoint of the insured. This
                     claim may involve this policy.                                                   exclusion does not apply to "bodily injury" or
            3.       However.      this Provision    M. does not apply as                             "propertydamage" resulting from the use of rea-
                     respects the specific         number          of                                 sonable force to protect persons or property.
                                                                         days   within




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                                                                                            COMM ERCIAL G ENERAL LIABILITY

            THIS       ENDORSEMENT CHANGES THE                     POLICY. PLEASE              READ      IT   CAREFULLY.

                  AMENDMENT — NON CUMULATION OF EACH
                    OCCURRENCE LIMIT OF LIABILITY and
         NON ?C-UMULA‘TIGN'GFHPERSONAI; and ADVE’R'HSING                                                                              ~    I


                                                      INJURY LIMIT
    This endorsement modiﬁes insurance provided under the following:

                COMMERCIAL GENERAL LIABILITY COVERAGE PART
    1.   Paragraph S of    SECTION            — LIMITS OF INSUR-                                                 — LIMITS 0F INSUR-
                                        Ill
                                                                    2.    Paragraph 4 of      SECTION      Ill
         ANCE,    is   amended   to include the following:                ANCE.      is   amended   to include the following:
         Non cumulation of Each Occurrence Limit - If one                 Non cumulation of Personal and Advertising Limit
         "occurrence" causes "bodily injury" and/or "prop—                — If "personal injury“ andlor "advertising injury" is
         erty damage" during the policy period and during                 sustained by any one person or organization dur-
         the policy period of one or more prior and/or future
                                                                          ing the policy period and during the policy period
         policies that include acommercial general liability              of one or more prior andlor future policies that
         coverage part for the insured issued by us or any                include a commercial          general     liability   coverage
         afﬁliated insurance  company, the amount we will                 part for the Insured issued by us or any afﬁliated
         pay is limited. This policy‘s Each Occurrence Limit              insurance company. the amount we will pay is
         will be reduced by the amount of each
                                                   payment                limited.   This policy’s Personal Injury and Advertis-
         made by us and any afﬁliated insurance company                                      be reduced by the amount of
                                                                          ing Injury Limit will
         under the othe: policies because of such "occur-                 each payment made by us and any afﬁliated in-
         rence"
                                                                          surance company under the other policies be-
                                                                          cause of such “personal injury" and/or "advertising
                                                                          injury".




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                                                                                                      COMMERCIAL GENERAL                   LIABILITY



            THIS    ENDORSEMENT CHANGES THE                                POLICY. PLEASE                    READ         IT    CAREFULLY.

      AMENDMENT 0F COVERAGE POLLUTION— COOLING,
       DEHUMIDiFYIMG AND WATER HEATING EQUIPMENT
                    -—                       a                 EXCEPTION
    This endorsement modiﬁes insurance provided under the following:

                 COMMERCIAL GENERAL               LIABILITY     COVERAGE PART
    PROVISIONS
    The   following replaces       Paragraph      (1)(a)(i)   of Exclusion   f.,   Pollution,    in   Paragraph         2. of   SECTION — COVER-
                                                                                                                                       |



    AGES COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
            ~—                                                                                 LIABILITY:

    (i)   "Bodily injury"  sustained within a building and caused by smoke, fumes. vapor or soot produced by or origi-
                            if

          nating from equipment that  is used to heat. cool or dehumidify the building, or equipment that is used to heat

          water for personal use. by the building‘s occupants or their guests;




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                                                                                                                           COMMERCIAL GENERAL                         LIABILITY
     POLICY NUMBER: 680 ~2408N586 —15 ~42                                                                                  ISSUE DATE: 03/12/2015

              THIS       ENDORSEMENT CHANGES THE                                            POLICY. PLEASE                     READ           IT   CAREFULLY.

                   HIRED AUTO AND                                            NONOWNED AUTO LIABILITY
    This endorsement

               COMMERCIAL GENERAL
                                 q
                                 uiﬁgs _insurangg               provided under
                                                              LIABILITY      COVERAGE FORM
                                                                                          th_e   followmq



    SCHEDULE
    Insurance      is   provided only with respect to those coverages for which a speciﬁc premium charge                                                   is   shown‘

    COVERAGE                                                                  ADDITIONAL PREMIUM
    Hired Auto      Liability                                                  $    INCLUDED
    Nonowned Auto           Liability                                          $    INCLUDED
    (If no entry appears above. information required to complete                                       this   endorsement               be shown
                                                                                                                                will                  in    the Declarations
    as applicable to this endorsement.)

    PROVISIONS                                                                                    c.    WHO Is AN INSURED
    A.   COVERAGE                                                                                       Section       II   — Who   ls        An   Insured       is   replaced by
         Ifa premium charge is shown in the SCHEDULE                                                    the following:
         above. the insurance provided under Section I —                                                Each of the following is an insured under                           this in-
         Coverage A — Bodily Injury And Property                                                        surance to the extent set forth below:
         Damage          Liability applies to "bodily injury"                      and
         "property      damage"       arising out of the maintenance
                                                                                                        1.    You:
         or use of a             "hired auto" or "nonowned auto".                                       2.    Anyone   else including any partner or "execu-
         Maintenance or use of a "nonowned auto" in-                                                          tive ofﬁcer" of yours while using with your
         cludes test driving fn connection with an “auto                                                      permission a "hired auto" or a "nonowned
         business",                                                                                           auto"except:
         EXCLUSIONS                                                                                           a.     The owner or lessee   (of whom you are a
         With respect to the insurance provided by                                 this                              sublessee) of a "hired auto" or the OWner
         endorsement:                                                                                                or lessee of a "nonowned auto" or any
                                                                                                                     agent or "employee‘ of any such owner or
         1.    The exclusions, under Section — Coverage           l
                                                                                                                     lessee;
                 — Bodily Injury And Property Damage
               Liability otherthan              exclusionsa" b..d..            e.. f.
                                                                                                              b.     Your "employee" if the covered "auto" is
               and'I. and the Nuclear Energy                     Liability   Exclu-                                  owned by that "employee“ or a member
               sion (Broad Form) are deleted                      and replaced                                       of his or her household;
               by the following:                                                                                     Your “employee"
                                                                                                              c.                        if the covered "auto" is

              a.    "Bodily injury"       to:                                                                        leased, hired or rented by him or her or a

                           Any    fellow "employee" of the insured
                                                                                                                     member of his or her household under a
                    (1)
                                                                                                                     lease or rental agreement for a period of
                           arising out of       and      in   the course     of:
                                                                                                                     180 days or more;
                           (a)    Employment by the              insured: or
                                                                                                              d.     Any   partner or "executive ofﬁcer" with re-
                           (b) Performing duties related to the                                                      spect to any "auto" owned by such part-
                                  conduct       of the          insured's      busi-                                 ner or ofﬁcer or a member of his or her
                                  ness.                                                                              household;
              b.   "Property       damage"        _to:
                                                                                                              e.     Any  paltner or "executive ofﬁcer" with re-
                   (1)     Property owned or being transported                                                       spect to any 'auto' leased or rented to
                           by. or rented or loaned to the insured;                                                   such partner or ofﬁcer or a member of his
                           or                                                                                        or her househofd under a lease or rental
                                                                                                                     agreement     for       a period of 180 days or
                   (2)    Property in the care, custody or con-
                                                                                                                     more:
                          trol of the insured.



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                     COMMERCIAL GENERAL                      LIABILITY



                                 f.      Any person      while employed       in   or other—     E.      ADDITIONAL DEFINITIONS
                                         W'se engaged, i" dUties i" comedb" With                         Section     V—    Deﬁnitions               amended by
                                                                                                                                               is                       the addi-
                                         an "auto busmess", other than an "auto                          tion of the following deﬁnitions:
                                         business" you operate;
                                                                                                                                                                  _


                                                                          u    u
                                                                                                         1.   "Auto Business"          means         the busmess or oc-
                                 9'      Any‘me          than Wu"
                                                     Other           empbyeesv                                cupation of selling, repairing. servicing. stor-
                                                                                                                                                     '

                                         partners, a lessee or borrower or any of
                                                                                                              ing or parking “autos",
    Tr...

                                "‘“-“-
                                         Their "employee 1::wtﬁk: movin§4)r‘opz=.vty=*         -:»:—-   9:;35 r-c-~-:-~       w ~':::--~   ~                           4 ,, -   ‘.   ,.—-_....--.-f._—_

    -
                                         to or from a "hired auto" or a "nonowned                        2.   "Hired auto“       means any               "éuto"       you léasc,
                                         auto"; or                                                            hire. rent   or borrow. This           does not         include:

_-_....w._....




                          3.     Any      other person or organization.            but only                   a.     Any "auto“ you  lease, hire or rent under a
                                                    liability because of acts
                                 with respect to their                                                               lease a! rental agreement for a period of
                                 or omissions of an insured under 1. or 2.                                           180 days or more, or
                                 above.
-.-—-
                                                                                                              b.     Any "auto" you lease. hire. rent or borrow
                     D.   AMENDED DEFINITIONS                                                                        from any of your “employees". parmers,
                                                                                                                     stockholders, or members of their house-
                          The Deﬁnition           of "insured contract" of Section      V-
                                                                                                                     holds.
                          Deﬁnitions         is   amended by    the addition of the     fol-
                          lowing exceptions to paragraph            f.:                                 3.    'Nonowned        auto"   means any            "autos" you do
                          Paragraph         f.    does not include    that part of      any                   not own. lease. hire. rent or borrow that are
                          contract or agreement:                                                              being used in the course and scope of your
                                                                                                              business at the time of an “occurrence". This
                          (4)    That pertains to the loan. lease or rental of an                             includes “autos" owned by your "employees"
                                 "auto" to you or any of your "employees". if
                                                                                                              or partners or members of their households
                                 the "auto“ is loaned, leased or rented with a                                but only while being used in the course and
                                 driver: or                                                                   scope of your business at the time of an “oc-
                                That holds a person or organization engaged                                   currence".
                          (5)
                                in the business of transporting property by                                   If   you are a sole   proprietor. "nonowned auto“
                                "auto" for hire harmless for your use of a cov~                               means any        "autos" you do hot own, lease,
                                ered "auto" nver a route or territory that per-                               hire. rent or borrow that are being used in the
                                son or organization is authorized to seNe by                                  course and scope of your business or per-
                                 public authority.                                                            sonal affairs at the time of an "occurrence".




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                                                                                                           COMMERCIAL GENERAL                      LIABILITY



              THIs          ENDORSEMENT CHANGES THE                                POLICY. PLEASE             READ          IT   CAREFULLY.

                                     FUNGI                OR BACTERIA EXCLUSION
    This endorsementmodiﬁe‘s insurance provided underthe foliawingz'                                                                      '    -   v.
                                                                                                                                                        '




               COMMERCIAL GENERAL                       LIABILITY       COVERAGE PART
    A.   The following exclusion is added to Paragraph 2.,                           B.    The fbllowing exclusionis added to Paragraph 2.,
         Exclusions of Section I - Coverage A - Bodily                                     Exclusions of Sectlon l — Coverage B — Per-
         Injury   And        Property Damage:                                              sona: And Advertising Injury Liability:
         2.    Exclusions                                                                 2.    Exclusions
               This insurance does not apply               to:                                  This insurance does not apply            to:
               Fungi or Bacteria                                                                Fungi or Bacteria
                      "Bodily     injury"     or      "property       damage"                   a.   "Personal injury" or "advertising injury"
                      which would not have occurred,                  in   whole                     which would not have taken place. in
                      or in parl. but for the actual, alleged or                                     whole or in part, but for the actual, al-
                      threatened inhalation of, ingestion of,                                        leged or threatened inhalation of, inges-
                      contact with, exposure lo, existence of. or                                    tion of. contact with, exposure to, exis—
                      presence of, any "fungi" or bacteria on or                                     tence of, or presence of any "fungi" or
                      within a building or structure. including its                                  bacteria      on or within a    building or sttuc—
                      contents. regardless of whether any other                                      ture, including its contents, regardless of
                      cause. event. material or product contrib-                                     whether any other cause, event, material
                      uted concurrently or in any sequence to                                        or product contributed concurrently or                          in
                      such    injury or   damage.                                                    any sequence to such          injury.

                      Any    loss. cost or    expenses         arising out of                   b.   Any   loss,   cost or expenses arising out of
                      the     abating.      testing     for.     monitoring,                         the   abatjng, testing for.  monitoring,
                      cleaning up; removing. containing. treat-                                      cleaning up. removing, containing, treat-
                      ing, detoxifying, neutralizing,            remedialing                         ing. detoxifying.  neutralizing, remediating
                      or disposing    of,   or   in   any way responding                             or disposing      or in any way responding
                                                                                                                      of.
                      to.   or assessing the effects           of,   "fungi" or                      lo, or assessing the effects of, "fungi" or
                      bacteria, by    any insured or by any other                                    bacteria, by any insured or by any other
                      person or   entity.                                                            person or entity.
              This exclusion does not apply to any "fungi"                          C.    The   following deﬁnition         is   added   to the Defini-
              or bacteria that are‘ are on, or are contained                              tions Section:
              in, a good or product intended for consump-
                                                                                          "Fungi"    means any type or form of fungus, in—
              tion.
                                                                                          cluding    mold or mildew and any mycoloxins.
                                                                                          spores, scents or byproducts produced or re-
                                                                                          leased by fungi.




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                                                                                                      COMMERCIAL GENERAL               LlABlLlTY



             THIS   ENDORSEMENT CHANGES THE POLICY. PLEASE READ                                                    IT   CAREFULLY.

           AMENDMENT 0F COVERAGE - PROPERTY DAMAGE
   .r;,5rhi;gnd9rsetq§m modﬂeg.jnsuranoe_mv§d_ef1undepjhcinﬂowlnn;                              _-7.;.h_    .
                                                                                                                              _V            _.._.

              COMMERCIAL GENERAL LIAELITY COVERAGEuPART
              OWN ERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    PROVISIONS                                                                          to occur at the time        of the "occurrence" that
    The   deﬁnition of "property        damage"            in   SECTION V —             causedit.
    DEFINITIONS         is   deleted   in its    entirety       and replaced      "Property   damage" does not include loss of or dam-
    by ihe following:                                                             age               media and records".
                                                                                        to “electronic
    "Property   damage" means:                                                    As used     in    this   deﬁnition.   "electronic   media and
    a.    Physical injury to tangible propeﬂy, including all                      records" means:
          resulting loss of use of that property. All such loss                   a.    Electronic data processing. recording or storage
          of use shall be deemed to occur at the time of the                            media such as ﬁlms, tapes,       discs.    drums   or cells;
          physical injury that caused           it;   or
                                                                                  b.    Data stored on such media; or
    b.   Loss of use of tangible property that is not physi-
                                                                                  c.    Programming records for electronic data process-
         cally injured. All such loss of use shall be deemed
                                                                                        ing or electronically controlled equipment.




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                                                                                                                       COMMERCIAL GENERAL                         LIABILITY



                             THIS    ENDORSEMENT CHANGES THE                                 POLICY. PLEASE                READ               IT   CAREFULLY.

                             EMPLOYMENT-RELATED PRACTICES EXCLUSION
‘--:T«-='--':-'—-»'T'his
                           endousementmndiﬁes‘inanance prayidedunderthe-fellowing?nmnn                                       ..-.‘-:     1:
                                                                                                                                               ,
                                                                                                                                                   ~r:<=~»-.«;~-.        Tzar:   ...:   .




                             COMMERCIAL GENERAL                    LIABILITY    COVERAGE PART
                 A.    The    following exclusion is        added     to   Paragraph   2.,     B.   The following exclusionis added to Paragraph 2.,
                       Exclusions of Section            - Coverage A —
                                                        I
                                                                                 Bodily             Exclusions of Section l - Coverage B - Per-
                       Injury      And    Property   Damage Liability:                              sona! And Advertising Injury Liabiiity:
                       This insurance does not apply            to:                                 This insurance does not apply                     to:

                       "Bodily injury" to:                                                          "Personal injury"       to:

                       (1)   A person alising        out of any:                                    (1)   A person       arising out of any:

                             (a)    Refusal to employ that person;                                        (a)   Refusal to employ that person;
                             (b)   Termination of that person's employment;                               (b)   Termination of that person's employment;
                                   or                                                                           or
                             (c)   Employment-rerated           practices.     policies,                  (c)   Employment—related                   practices,     policies,
                                   acts or omissions, such as coercion, de-                                     acts or omissions. such as coercion, de-
                                   motion, evaluation. reassignment. disci-                                     motion, evaluation, reassignment, disci-
                                   pline,    defamation. harassment, humilia-                                   pline,    defamation, harassment. humilia-
                                   tion     or discrimination directed at that                                  tion     or discrimination directed                 at   that
                                   person;or                                                                    person;or
                       (2)   The spouse,       child. parent,   brother or sister of                (2)   The spouse,       child, parent, brother            or sister of
                             that person as       a consequence of "bodily in-                            that person as       a consequence of "personal
                             jury" to that     person at whom any of the em-                              injury" to that    person at whom any of the em-
                             ployment-related practices described in Para-                                ployment-related practices described in Para-
                             graphs (a), (b), or (c) above is‘directed.                                   graphs (a). (b). or (c) above is directed.
                      This exclusion applies:                                                       This exclusion applies:
                      (1)    Whether the insured may be fiable as an em-                            (1)   Whether the insured may be liable as an em-
                             ptoyer or in any other capacity; and                                         ployer or
                                                                                                                  in any other capacity; and

                      (2)    To any obligation to share damages with or                             (2)   To any obligation to share damages with or
                             repay someone else who must pay damages                                      repay someone else who must pay damages
                             be'cause of the     injury.                                                  because of the       injury.




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                                                                                                 COMMERCIAL GENERAL              LIABILITY



             THIS   ENDORSEMENT CHANGES THE                            POLICY. PLEASE                   READ    IT   CAREFULLY.

                   EXCLUSION — UNSOLICITED COMMUNICATION
    Th‘ls   éndorsement modifies insurance providediunder the           fqll'owing:

               COMMERCIAL GENERAL              LIABILITY   COVERAGE PART
    PROVISIONS                                                                 COVERAGE B PERSONAL AND ADVERTISING
    1.   The following exclusion is added to Paragraph 2.,                     INJURY LIABILITY:
         Exclusions, of SECTION l — COVERAGES -                                Unsolicited       Communication
         COVERAGE A BODILY INJURY AND PROP-                                    "Personal injury" or "advertising injury" arising out
         ERTY DAMAGE LIABILITY:                                                of any actual or alleged violaiion of any law that
         Unsolicited    Communication                                          restricts or prohibits the sending, transmitting or

                                   damage"
         "Bodily injury" or "property                arising ou’t of
                                                                               distributing of "unsolicited       communication".
         any actual or alleged   violation of     any law that   re-          The      fqllowing   is   added   to the   DEFINITIONS Sec-
         stricts or prohibits the sending, transmitting or dis-                tion:
         tributing of "unsolicited communication".
                                                                               "Unsolicited communication"               means any commu-
         The   following exclusion   is   added   to Paragraph 2..             nication,    in   any form.      that the recipient of      such
         Exclusions, of    SECTION         l
                                               — COVERAGES—                   communication did not speciﬁcally request                   to re—
                                                                              ceive.




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                                                                                                           COMMERCIAL GENERAL                       LIABILITY


                THIS        ENDORSEMENT CHANGES THE                             POLICY. PLEASE                    READ       IT   CAREFULLY.

                       MOBILE EQUIPMENT REDEFINED —
                  EXCLUSION OF VEHICLES SUBJECT TO MOTOR
                               VEHICLE LAWS
     This endorsement modiﬁes insurance provided under the foltowing:

                COMMERCIAL GENERAL                    LIABILI'IY    COVERAGE PART
     PROVISIONS                                                                         2.     ”Auto"    means:
     1.   The  following replaces Paragraph (5) of Exclusion
                                                                                                    A
                                                                                               a.        land motor vehicle.            trailer   or semitrailer
          9., Aircraft, Auto Or Watercraft. in Paragraph 2.                                         designed for travel on public roads,                           in-
          ofSECTION a COVERAGES — COVERAGE A.
                               I
                                                                                                    cluding  any attached machinery                                   or
          BODILY INJURY AND PROPERTY DAMAGE                                                         equipment; or
          LIABILiTY:
                                                                                               b.   Any    other land vehicle that            is   subject to         a
          (5) "Bodily         injury" or "properly      damage"      arising                        compulsory or ﬁnancial responsibility law,
                out   of:
                                                                                                    or other motor vehicle insurance law,
                (a)   The operation of machinery or equipment                                       where    it   is   ficensed or principally garaged.
                      that    is   attached
                                     to. or part of, a land vehi-                              However, "auto" does not include "mobile
                      cle that would qualiﬂ as "mobile equip-                                  equipmen".
                      ment" under the deﬁnition of "mobile
                      equipment" if such land vehicle were not                          The    following    is    added as to the deﬁnition of "mo-
                      subject to a compulsory or ﬁnancial re-                           bile   equipment"        in the DEFINITIONS Section:
                      sponsibility law, or other motor vehicle in-                             However, "mobile equipment" does not in—
                      surance law, where it is licensed or prin-                               clude any land vehicle mat is subject to a
                      cipally garaged; or                                                      compulsory or ﬁnancial responsibility law. or
                      The operation       of
                                                                                               other motor vehicie insurance law. where it is
                (b)                             any of the machinery or
                                                                                               licensed or principally garaged. Such land
                      equipment        listed    in Paragraph f.(2) or
                                                                                               vehicles are considered "autos".
                      f.(3)of the deﬁnition of "mobile equip-
                      ment".                                                            Paragraph 3. of           SECTION         _II
                                                                                                                                        —   WHO     IS   AN       IN-
    2.    The  following replaces the deﬁnition of “auto" in
                                                                                        SU RED      is   deleted.

          the DEFINITIONS Section:




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                                                                                                                        COMMERCIAL GENERAL                         LIABILITY



                THIS        ENDORSEMENT CHANGES THE                                            POLICY. PLEASE                 READ IT CAREFULLY.

         AMENDMENT OF CONTRACTUAL LIABILITY EXCLUSION
         — EXCEPTION FOR DAMAGES ASSUMED IN AN INSURED
            CONTRAGIAPPLLEs @NMIO NAMEDINSURED                                                                                                                                 ».




    This      endorsement modiﬁes insurance provided under the                                 following:

                 COMMERCIAL GENERAL                               LIABILITY      COVERAGE PART
    PROVISIONS                                                                                               a.   The "suit" against the indemnitee seeks
    1.   The     following replaces Paragraph (2) of Exclusion
                                                                                                                  damages for which you have assumed
                                                                                                                  the   liability    of the indemnitee        in   a contract
          b.,    Contractual               Liability.        in    Paragraph        2.    of
                                    —                                                                             or    agreement         that   is    an "insured con—
         SECTION    COVERAGES - COVERAGE A
                                I
                                                                                                                  tract";
         BODILY INJURY AND PROPERTY DAMAGE
         LIABILITY:                                                                                         b.    This insurance applies to sud)                   liability   as-
                Assumed by you                         a contract or agreement
                                                                                                                  sumed by you;
         (2)                                     in

                that       is   an "insured      contract". provided that the                               c.    The  obligation to defend, or the cost of
                "bodily injury" or "property                        damage" occurs                                the defense of. that lndemnitee has also
                subsequent to the execution of the contract or                                                    been assumed by you                  in   the    same        "in-

                agreement. Solely for the purposes of liability                                                   sured contract";
                assumed by you in an "insured contract", rea-
                                                                                                            d.    The allegations in the "suit" and the in-
                sonable attorney fees and necessary litigation
                                                                                                                  formation we know about the "occur-
                expenses incurred by or for a party other than                                                    rence" or offense are such that we de-
                an insured will be deemed lo be damages                                                           termine that no conﬂict exists between
                because of "bodily injury" or "property dam-                                                      your interests and the              interests of the in—
                age", provided that:
                                                                                                                  demnitee:
                (a)    Liability to         such party for. or for the cost                                 e.    You and  the indemnitee ask us to con-
                       of, that party's        defense has also been as-                                          duct and control the defense of that in-
                       sumed by you               in   the   same          "insured con-                          demnitee against such "suit" and agree
                       tract";      and                                                                           that we can assign the same counsel to
                                                                                                                  defend you and the indemnitee: and
                (b)    Such attorney fees and litigation ex-
                       penses are for defense of that party                                         3.      The    following replaces the last sentence of
                       against a civil or alternative dispute reso-                                         Paragraph2. of SUPPLEMENTARY PAY-
                       lution proceeding in which damages to                                                MENTS - COVERAGES A AND B of SEC-
                       which this insurance applies are alleged.                                            TION — COVERAGES:
                                                                                                                    I



   2.    The     following              replaces the beginning of Para-                                     Our obligation to defend your indemnitee and
         graph       2.,   and Paragraphs              2.3.. h.. c., d.       and   e.. of                  to pay for attorneys' fees and necessary litiga—
         SUPPLEMENTARY PAYMENTS — COVER-                                                                    tion expenses as Supplementary Payments
         AGES A AND B of SECTION - COVERAGES:                I                                              ends when:
         2.     If   we defend you              against a         "suit"   and your      in-
                                                                                                            a.    We  have used up ﬂ'le applicable limit of
                demnitee            is   also    named as a                party to the                           insurance in the payment of judgments,
                “suit", we will have the right and
                                                   duty to de-                                                    settlements or medical expenses; or
                fend that indemnitee if all of the following
                conditions are met:                                                                         b.    The conditions           set forth        above, or the
                                                                                                                  terms of the agreement described                                  in
                                                                                                                  Paragraph f. above. are no longer met.




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                                                                                                              COMMERCIAL GENERAL             LIABILITY


                THIS   ENDORSEMENT CHANGES THE                                  POLICY. PLEASE                       READ   IT   CAREFULLY.

           EXCLUSION — VIOLATION OF CONSUMER FINANCIAL
                         PROTECTION LAWS
    This endorsement modiﬁes insurance provided under the following:

                COMMERCIAL GENERAL                       LIABILITY   COVERAGE PART
    PROVISIONS                                                                              "Consumer ﬁnancial            identity fnformaiion"   means
    1.    The    following exclusion     is    added        to   Paragraph                  any of the following information for a person that
            Exclusions, of SECTION — COVERAGES
          2.,                                        I
                                                                                            is used or collected for the purpose of serving
         —-
            COVERAGE A BODILY INJURY AND                                                    as a factor in establishing such person's eligibil-
          PROPERTY DAMAGE LIABILITY:                                                        ity   for personal credit, insurance oremployment.
                                                                                            or for the        purpose of conducting a business
         Violation       Of Consumer          Financial Protection                      transaction:
          Laws
                                                                                        a.         Part or   all of the account number, the a(pi-
         "Bodily injury" or "property damage" arising out
                                                                                                  ration    date or the balance of any credit,
         of any actual or alleged violation of a "consumer
                                                                                                  debit.   bank or other ﬁnancial acmunt.
         ﬁnancial protection law", or any other "bodily in-
         jury" or "property damage“ alleged in any claim                                b.        Information bearing on a petson's credit
         or "suit" that also alleges any such violation.                                          worthiness, credit standing or credit capac-
                                                                                                  ity.
         The    following exclusion      is   added        to    Paragraph
         2.. Exclusions. 0f SECTION — COVERAGES  l
                                                                                        c.        Socialsecurity number.
         — COVERAGE B PERSONAL AND ADVER-                                               d.        Drivers license number.
         TISING INJURY LIABILITY:
                                                                                        e.        Birth date.
         Violation     Of Consumer            Financial Protection                      "Con sumer ﬁnancial protection law" means:
         Laws
                                                                                        a.        The Fair Credit Reporting Act (FCRA) and
         "Personal injury" or "advertising injury" arising
                                                                                                  any of is amendments, including the Fair
         out of any actual or alleged violation of a "con-
                                                                                                  and Accurate Credit Transactions Act
         sumer ﬁnancial protection law". or any other
                                                                                                  (FACTA):
         “personal injury" or “advertising injury“ alleged 'ln
         any claim or "suit" that also alleges any such                                 b.        California's       Song-Beverly   Credit   Card Act
         violation.                                                                               and any of     its   amendments: or
         The    following   is   added   to     the       DEFINITIONS                   c.        Any  other law or regulation that restricts or
         Section:                                                                                 prohibits   the    collection.    dissemination,
                                                                                                  transmission. distribution or use of "con-
                                                                                                  sum er ﬁnancial identity information".




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                                                                                              COMMERCIAL GENERAL           LIABILITY



            THIS   ENDORSEMENT CHANGES THE                            POLICY. PLEASE               READ       IT   CAREFULLY.

                  EXCLUSION — ACCESS OR DISCLOSURE OF
                 CONFIDENTIAL OR PERSONAL INFORMATION
    This endorsement modiﬁes insurance provided under the following:

             COMMERCIAL GENERAL                   LIABILITY   COVERAGE PART
    The   following exclusion   is   added   to   Paragraph   2., Exclusions, of   SECTION I— COVERAGES — COVERAGE A
    BODILY INJURY AND PROPERTY DAMAGE                         LIABILITY:
    Access Or Dlsclosure Of          Confidential     Or Personal Information
    “Bodily injury" or "property damage" arising cut of          any access    to or disclosure of      any person's or organization's
    conﬁdential or personal information.




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                                                                                              COMMERCIAL GENERAL LIABILITY


               THIS   ENDORSEMENT CHANGES THE                        POLICY. PLEASE              READ   IT   CAREFULLY.

                                                EXCLUSION — LEAD
    This endorsement modiﬁes insurance provided under the follewing:
                                                                                                                                        ‘7 -

                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                OWNERS AND CONTRACTORS LIABILITY COVERAGE PART
                PRODUCTSICOMPLETED OPERATIONS LIABILITY COVERAGE PART
                RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                CATASTROPHE UMBRELLA POLICY
    PROVISIONS                                                         2.   Any    obligation to share   damages,   losses. costs.
   This insurance does not apply to       any   injury,   damage,           payments °r       menses     w'th or repay
                                                                                                                     someone
   loss. cost.  payment or expense. including, but not                      ?'?e   Who   "“‘St   make payment because of such
   limited to, defense and investigation. ofany kind aris-                  "11"” or damage' [035' °°StI payment °r ex'
   ing out of. resulting from. caused by or contributed                     pense; °r
   to by the actual or alleged presence or actual, al-                 3.   Any    request.order or requirement to abate.
   leged or mreatened dispersal, release, ingestion, in-
                                                                                                        remove or dispose
                                                                            mitigate, remediate, contain,
   halation or absorption of lead. lead compounds or                        of lead. lead compounds or materials or sub-
   lead which is or was contained or incorporated into                      siances containing lead.
   any material or substance. This exclusion              applies.
   but   is   not limited   to:

   1.    Any    supervision, instructions. recommendations.
         warnings or advice given    in   connection with the
         above;




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                                                                                       COMMERCIAL GENERAL            LIABILITY



               THIS   ENDORSEMENT CHANGES THE POLICY. PLEASE READ                                  lT   CAREFULLY.

                                EXCLUSION—DISCRIMINATION
    Ihis_a{udorsement mcdjﬁaain_surancggmyidedmﬁgrfhe. jounwing;              .;




                COMMERCIAL GENERAL        LIABILITY    COVERAGE PART
    PROVISIONS
    1.   COVERAGE A — BODILY INJURY AND PROP-                        2.   COVERAGE B — PERSONAL AND ADVERTIS-
         ERTY DAMAGE LIABILITY — is amended by ad-                        ING INJURY LIABILITY -        is   amended by adding
         ding the following additional exclusion:                         the fcllowing additional exclusion:
         (This Insurance does not apply   10:)                            (This insurance   does not apply 10:)
         ”Bodily injury" resulting from or as a   consequence             “Personal injury” resulting from or as a conse-
         of discrimination. whether intentional or uninten-               quence of discrimination, whether intentional or
         tional. based upon a person's sex, sexual prefer—                unintentional, based upon a person's sex. sexual
         ence, marital status, race. creed, religion, na-                 preference, marital status. race, creed, religion.
         tional origin, age, physiwl capabilities, character-             national origin, age, physical capabilities, charac-
         istics or condition, or mental capabilities or con-              teristics or condition, or mental capabilities or
         dition.                                                          condition.




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                                                                                                                   COMMERCIAL GENERAL                   LIABILITY



              THIs    ENDORSEMENT CHANGES THE                                          POLICY.      PLEASE READ              IT    CAREFULLY.

                                                              EXCLUSION — WAR
    This endorsament‘modiﬁes insumnct.“ prﬁvided under the foilowing:

               COMMERCIAL GEN ERAL                      LIABILITY         COVERAGE PART
    A.   Exclusion        i.   under Paragraph          2.,    Exclusions of             B.   The following exclusion is added to Paragraph 2.,
         Section      l
                          — Coverage A — Bodily                       Injury   And            Exclusions of Section      — Coverage B — Per-
                                                                                                                               l


         Property         Damage      Liability    is    replaced by the                      sonal And Advertising Injury Liability:
         following:
                                                                                              2.    Exclusions:
         2.   Exclusions:
                                                                                                    This insurance does not apply              to:
              This insurance does not apply                   to:
                                                                                                    War
                 War
                                                                                                    "Personal injury" or "advertising injury" aris-
                 "Bodily injury" or "property                  damage"         aris-                ing, directly or indirectly,    nut   of:
                 ing, directly or indirectly,            out        of.
                                                                                                    (1   )   War, including undeclared or            civii   war; or
                 (1)       War, including undeclared or                        civil
                                                                                                    (2) Warlike action       by a   military force, includ-
                           war;or
                                                                                                             ing action in hindering or defending
                 (2)       Warlike action by a military force,                   in-                         against an actual or expected attack, by
                           cluding  action in hindering or de-                                               any   government,      sovereign            or       other
                           fending against an aciual or expected                                             authority using military personnel or other
                           attack.   by any government. sovereign                                            agents; or
                           or other authority using military per-
                                                                                                   (3) Insurrection,          rebellion,               revolution,
                           sonnel or other agents; or
                                                                                                             usurped power, or action taken by gov—
                 (3)       Insurrection,     rebellion,               revolution,                            ernmental authority in hindering or de-
                          usurped power, or action taken by                                                  fending against any of these
                          governmental authority in hindering
                                                                                                   regardless of any other cause or event that
                          or defending against any of these
                                                                                                   contributes concurrently or            in    any sequence
                 regardless of any other cause or event                                            tothe       injury.
                 that contributes concurrently or in any se—
                 quence to the         injury or   damage.




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                                                                                                         COMMERCIAL GENERAL                   LIABILITY



            THls        ENDORSEMENT CHANGES THE Poucv. PLEASE READ                                                           IT    CAREFULLY.

             INDIANA                  CHANGES - DEFINITION OF POLLUTANTS
    Thﬁendarsement modiﬁes insurance provided                        uncle; the follOWingz"

                 COMMERCIAL GENERAL LIABILITY COVERAGE PART
                 OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                 RAILROAD PROTECTIVE LIABILITY COVERAGE PART

    PROVISIONS                                                                      This deﬁnition of "pollutants" applies regardless of
                                                                                    whether:
    The   deﬁnition of "pollutants" in the DEFINITIONS
    Section oi this Coverage Pan or in any endorsement                              1.   The irritant or contaminant, or the particular form.
    to this Coverage Part is replaced by the following:                                  type or source of the irritant or contaminant, in-
                                                                                         volved in the claim or "suit" is speciﬁcally identi-
    "Pollutants"    means any                     gaseous or ther-
                                      solid, liquid.
                                                                                         ﬁed or described in this deﬁnition. such as waste
    mal    irn'mnt or contaminant. including        smoke, vapor,
                                                                                         from manufacturing operations;
    soot, fumes, acids, alkalis.         chemicals and waste‘ "Pol-
    lutants" includes:                                                                   The     irritant or    contaminant has or had any func-
                                                                                         tion in    any of the
                                                                                                             insured's business, operations,
    a.    Petroleum or petroleum derivatives, gasoline,                  fu-
                                                                                         premises, sites or locations. such as:
          els, lubricants.   and     their respective additives         and
          individual chemical          components, including ben—                        (i)    PERC for a dry cleaning             business; or
          zene and      toluene;                                                         (ii)   TCE, or any of the other items included as
    b.    Chlorinated     and halogenated           solvents, including                         examples of "pollutanm" in I1. above, for de-
          tetrachloroethylene   (POE or PERC), trichloro—                                       greasing operations;
          ethylene (TOE). trichloroethane (TCA) and vinyl                                The  irritant or contaminant represents a major
          chloride. and their degradation products;                                      source of potential liability for the insured, such as
    c.    Coal     manufactured gas plant (MGP) byprod-
                 tar.
                                                                                         gasoline. or any of the other items included as
          ucts  and polynuclear aromatic hydrocarbons                                    examples of "pollutants" in a. above. for a gaso-
          (PAHs), phenols and polychlorinated biphenyls                                  line station; or

          (PCBs);and                                                               4.    The insured expects or considers the                   irritant   or
    d.    Organic and-inorganic pesticides, and inorganic                                contaminant      to     be a pollutant
          contaminants,      including       arsenic.    barium,     beryl-        Waste        includes materials to be recycled,                 recondi-
          lium, lead,   cadmium, chromium and mercury.                             tioned or reclaimed.




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                                                                                COMMERCIAL GENERAL        LIABILITY



          THIS   ENDORSEMENT CHANGES THE                   POLICY.       PLEASE READ     IT   CAREFULLY.

                                   EXCLUSION — ASBESTOS
    This endorsement modiﬁes insurance provided under the following:

           COMMERCIAL GENERAL LiABILITY COVERAGE PART                      '




           OWNERS AND CONTRACTORS PROTECTIVE LtABILITY COVERAGE PART
           PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
           RAILROAD PROTECTIVE LIABILITY COVERAGE PART
           CATASTROPHE UMBRELLA POLICY
    This insurance does not apply to "bodily injury."         a.   Any supervision. instructions, recommendations,
    "property damage." "personal injury" or "advertising           warnings or advice given or which should have
   injury" arislng out of the actual or alleged presence           been given in connection with the above; and
   or actual. alleged or threatened dispersal of asbes-
                                                              b_   Any obligation to share damages with or repay
   tos, asbestos ﬁbers or products containing asbestos.
                                                                   someone else who must pay damages because
   provided that the injury or damage is caused or con-
                                                                   of such injury or damage.
   tributed to by the hazardous properties of asbestos.
   This includes:




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                                                     MULTIPLE SUBLINE
                                                        ENDORSEMENTS




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      MULTIPLE SUBLINE
      ENDORSEMENTS




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                                                                                                       COMMERCIAL GENERAL            LIABILITY



                          THIS    ENDORSEMENT CHANGES THE                          POLICY. PLEASE           READ    IT   CAREFULLY.

       .

        A
                          LIMITATION                  WHEN TWO OR MORE                                  POLICIES APPLY
.....A._..




                 This.   ,endotsement, mpdiﬁ§§    imrangg    proviqeq‘unsler tn§:@‘|9w€ng2
_L


                            COMMERCIAL GENERAL LIABILITY COVERAGE PART
“....




                            EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                            LIQUOR LIABILITY COVERAGE PART
A




...



-



n...

                            PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                 Provisions
                 1.   Injury.   damage   or loss might be covered by this policy and also by other policies issued to you by us or any
                      Travelers afﬁliate.   When these other policies contain a provision similar to this one. the amount we will pay is
                      limited.   The   maximum that We will pay under all such policies combined is the highest limit that applies in
                      any one    of these policies.

                 2.   This does not apply to any personal      liabiliiy   policy or to   any Umbrella, Excess or Protective   Liability Policy.




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                                                                      INTERLINE
                                                          ENDORSEMENTS




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      INTERLINE
      ENDORSEMENTS




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                 THIS      ENDORSEMENT CHANGES THE POLICY. PLEASE READ                                                   IT   CAREFULLY.

                 EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA
        This engimsement modiﬁes insgnrangc pmvigieq'undgr
                                                           tbs following:
                  COMMERCIAL PROPERTY COVERAGE PART
                  COMMERCIAL INLAND MARINE COVERAGE PART
                  FARM COVERAGE PART
           The  exclusion set forth in Paragraph B. applies to                         croorganism that induces or             is   capabie of induc—
           all coverage under all forms and endorsements                               ing physical distress. illness or disease.
           that comprise this Coverage Part or Policy, in-
           cluding but not limited to forms or                                         With respect to any loss or damage subject to the
                                                         endorsements
           that    cover property     damage      to buildings or per-
                                                                                       exclusion in Paragraph 8.. such exclusion super-
           sonal property and forms or endorsements that                               sedes any exclusion       relating to "poﬂutants".
           cover business income, extra expense, rental
                                                                                      The terms     of the exclusion in Paragraph B., or the
           value or action of civil authority.
                                                                                      inapplicability of this exclusion to          a particular loss,
           We            not pay for loss or                                          do not serve to create coverage for any loss that
                  will                          damage caused by         or
           resulting      from any virus, bacterium or other mi-                      would otheMise be acluded under this Coverage
                                                                                      Part or Policy.




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       GENERAL PURPOSE ENDORSEMENT                       POLICY NUMBER: 690-240831585-15-42

       CONDOMINIUM pnc                                   ISSUE DATE:      03/12/2015


       The Named Insured   is   amended   to read:


       SYCAMORE VILLAGE HOMOWNERS
     ‘ASSOCIATION, INC E THEIR INDIVIDUAL,           WIT W-ATIKA-;




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                    THIS       ENDORSEMENT CHANGES THE                                 POLICY. PLEASE               READ       IT   CAREFULLY.

                                   NUCLEAR ENERGY LIABILITY EXCLUSION
                                             ENDORSEMENT
                                                                              (Broad Form)


        This endorsement modifies insurance provided un
                                                        der the following:
                     COMMERCIAL AUTOMOBILE COVERAGE PART
                     COMMERCIAL GENERAL LIABILITY COVERAGE PART
                     FARM COVERAGE PART
                     LIQUOR LIABILITY COVERAGE PART
                     MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
                     OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                     POLLUTION LIABILITY COVERAGE PART
                     PRODUCTSICOMPLETED OPERATIONS LIABILITY COVERAGE PART
                     RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                     UNDERGROUND STORAGE TANK POLICY
        1.    The insurance does                 not apply:                                       "hazardous pmperﬁes" of "nuclear material".
              A.     Under any         Liability       Coverage, to "bodily      in-              if:

                    jury" or "property            damage":                                        (1)    The "nuclear material" (a) is at any "nu-
                    (1)    With respect           towhich an "insured" under                                          owned by, or operated by or
                                                                                                         clear facility"
                           the policy       is   also an insured under a nu-                            on behalf of. an "insured" or (b) has been
                           clear energy liability policy issued                                         discharged or dispersed therefrom;
                                                                by Nu-
                           clear Energy Liability Insurance Associa-                              (2)   The "nuclear material" is contained in
                           tion. Mutual Atomic Energy Liability Un-                                     "spent fuel" or "waste" at any time pos-
                           dentvriters. Nuclear Insurance Association                                   sessed,       handled,       used.    processed.
                          of Canada or any of their successors. or                                      stored, transported or disposed of. by or
                          would be an insured under any such pol-                                       on behalf of an "insured"; or
                          icy but for      its   termination upon exhaustion
                                                                                                  (3)   The "bodily injury" or "property damage"
                          of   its limit   of            or
                                                 liability;
                                                                                                        arises out of the furnishing by an "in-
                                                                                                              "
                    (2) Resulting   from the "hazardous properties"                                     sur     of services, materials, parts or
                          of "nuclear material" and with respect to                                     equipment      in     connection with the plan-
                          which (a) any person or organization is                                       ning.     construction.    maintenance, opera-
                          required to maintain ﬁnancial protection                                      tion or    use of any "nuclear facility", but if
                          pursuant to the Atomic Energy Act of                                          such    facility islocated within the United
                          1954, or any law amendatory thereof, or                                       States of America, 'rts territories or pos-
                          (b) the "insured"
                                          is, or had this policy not                                    sessions or Canada, this exclusion
                                                                                                                                                    (3)
                          been issued would be, entitled to indem-                                      applies only to "property damage" to such
                          nity from the United States of America, or                                    "nuclear facility" and any propeﬂy thereat.
                          any agency thereof. under any agreement
                                                                                           As used      in this   endorsement
                          entered into by the United States of
                          America, or any agency thereof, with any                         "Hazardous properties" includes radioactive, toxic
                          person or organization.                                          or explosive properties.

             B.    Under any Medical Payments coverage, to                                 "Nuclear material" means "source material", “spe-
                   expenses incurred with respect to "bodily in-                           cial nuclear material" or "by-product material".
                   jury" multing from the "hazardous properties"                           "Source material", "special nuclear material", and
                   of "nuclear maten‘al" and arising out of the                            "by—product material" have the meanings given
                   operation of a "nuclear facility" by any person                         them in the Atomic Energy Act of 1954 or in any
                   or organization.                                                        law amendatory thereof.
             C.    Under any         Liability      Coverage. to "bodily    in-            "Spent fuel" means any fuel element or fuel com-
                   Jury" 0r        "property       damage"    resulting   from             ponent, solid or liquid, which has been. used or
                                                                                           exposed to radiation in a "nuciear reactor”.

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       "Waste" means any waste material                                                               amount of such material in the
                                         (a) containing                                      the total
       "by-product material" other than the tailings or                                      custody of the "insured" at the premises
       wastes produced by the extraction or concentra-                                       where such equipment or device is [a
       tion of uranium or thorium from any ore proc-                                         cated consists of or contains more than
       essed primarily for its "source material" content,                                    25 grams of plutonium or uranium 233 or
       and (b) resulting from the operation by any per-                                      any combination thereof, or more than
       son or organization of any "nuclear facility" in-                                     250 grams of uranium 235;
       cluded under the ﬁrst twp paragraphs of the deﬁ-
                                                                                      (d)    Any  structure. basin. excavatipn,           pren_1-y
       nition of "nucl'ear’ fidﬁify"?
                                           ‘



                                                                                             ises or place prepared or used              for'   Ih'é‘

       "Nuclear     facility"   means:                                                       storage or disposal of "waste";

             (a)   Any   ”nuclear reactor";                                    and includes the    site on which any of the forego-

             (b)   Any equipment         or device designed      or            ing    islowted, all operations conducted on Such
                   used for (1) separating the isotopes of                     site   and all premises used for such operations.
                   uranium or plutonium, (2) processing or                     "Nuclear reactor“         means any    apparatus designed
                   utilizing    "spent   fuel".   or
                                                   handling.
                                                       (3)                     or used to sustain nuclear ﬁsslon in a seif—
                   processing or packaging "Waste";                            supporting chain reaction or to contain a critical
             (c)   Any equipment    or device used for the                     mass        of ﬁssionable material.
                   processing. fabricating or alloying of                      "Propeny damage" includes             all   forms of radioac-
                   "specialnuclear material" if at any time                    tive   contamination of property.




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                THIS   ENDORSEMENT CHANGES THE                           POLICY. PLEASE             READ   IT   CAREFULLY.

                                    INDIANA  CHANGES — WORKERS'
                                        COMPENSATION EXCLUSION
        This endorsement modiﬁes’insur‘ance provided under the following:

                COMMERCIAL AUTOMOBILE COVERAGE PART
                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
                EMPLOYMENT—RELATED PRACTICES LIABILITY COVERAGE PART
                FARM LIABILITY COVERAGE FORM
                FARM UMBRELLA LIABILITY POLICY
                LIQUOR LIABILITY COVERAGE PART
                MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
                OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                POLLUTION LIABILITY COVERAGE PART
                PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                UNDERGROUND STORAGE TANK POLICY
    A.     For insurance provided under the:                                B.   For insurance provided under the Commercial
           Commercial General Liability Coverage Part                            Automobile Coverage Part. the following is added
           Commercial Liability Umbrella Coverage Part                           to the Workers' Compensation Exclusion:
           Employment-Related Practices Liability                                This exclusion also applies to any obligation of
           Coverage Part                                                         the "insured" under the Indiana Workers' Com-
           Liquor Liability Coverage Part                                        pensation statutes arising out of the failure of the
           Medical Professional Liability Coverage Part                          "insured" to exact from a contractor (or subcon-
           Owners And Contractors        Protective Liability                    tractor the "insured“ is a contractor) a certiﬁcate
                                                                                            if
           Coverage Part                                                         from the workers' compensation board showing
           Pollution Liability
                         Coverage Part                                           that the contractor (or subcontractor) has com-
          Productleompleted Operations            Liability                      plied with the applicable workers' compensation
          Coverage Pan                                                           insurance requirements.
          Railroad Protective Liability Coverage Part
                                                                             .   For insurance provided under the Farm Liability
          Underground Storage Tank Policy
                                                                                 Coverage Form and Farm Umbrella Liability Pol-
          The   following is   added   to the   Workers“      Compen-            icy, the following is added to the Workers' Com-
          sation   And   Similar   Laws   Exclusion:                             pensation Or Similar Law Exclusion:
          This exclusion also applies to any obligation of                       This exclusion also applies to any obligation of
          the insured under the Indiana Workers' Compen-                         the “insured" under the Indiana Workers' Com-
          sation statutes arising out of the failure of the in-                  pensation statutes arising out of the failure of the
          sured to exact from a contractor (or subcontractor                     "insured“ to exact from a contractor (or subcon-
          if the insured is a contractor) a
                                            certiﬁcate from the                  tractorif the "insured" is a contractor) a certiﬁcate
          workers' compensation board showing that the                           from the workers' compensation board showing
          contractor (or subcontractor) has complied with                        That the contractor (or subcontractor) has com-
          the applicable workers' compensation insurance                         plied with the applicable workers'    compensation
          requirements.                                                          insurance requirements.




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            THIS      ENDORSEMENT CHANGES THE                  POLICY. PLEASE              READ    IT   CAREFULLY.

                         INDIANA    CHANGES -— CONCEALMENT,
                               MISREPRESENTATION OR FRAUD
    This endorsemen. modiﬁesmstganee pwvided upéer__t_he.following:                   —.                  r   A
                                                                                                                  .-_.   gang,»        i   ‘._   ,‘—.   ~.-..


              CAPITAL ASSETS        PROGRAM (OUTPUT       POLICY)     COVERAGE PART
              COMMERCIAL AUTOMOBILE COVE RAGE PART
              COMMERCIAL INLAND MARINE COVERAGE PART
              COMMERCIAL PROPERTY COVERAGE PART
              EQUIPMENT BREAKDOWN COVERAGE PART
              FARM COVERAGE PART

    The CONCEALMENT, MISREPRESENTATION                    OR         1.   Concealment or misrepresentation of a material
    FRAUD Condition     is   replaced by the following:                   fact   or
    CONCEALMENT,              MISREPRESENTATION           OR         2.   Fraud
    FRAUD                                                            committed by an insured at any time and       relating to     a
    We will not pay for any loss or damage in any case of:           claim under this policy.




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                                                                                           TRAVELERS DOC MGMT 145 cf 171
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              THIs     ENDORSEMENT CHANGES THE                             POLICY. PLEASE       READ      IT   CAREFULLY.

                                                      INDIANA CHANGES
     This endorsement modiﬁes insurance provided under the following:

                 COMMERCIAL AUI'OMOBILE CQYERAGE EARI                            .g.  - .
                                                                                                          _         v.       s   .   -



                 COMMERCIAL GENERAL LIABILITY COVERAGE PART                                                     ~




                 COMMERCIAL PROPERTY — LEGAL LIABILITY COVERAGE FORM
                 COMMERCIAL PROPER'IY— MORTGAGEHOLDERS ERRORS AND OMISSIONS COVERAGE FORM"
                 EMPLOYMENT—RELATED PRACTICES LIABILITY COVERAGE PART
                 FARM LIABILITY COVERAGE FORM
                 LIQUOR LIABILITY COVERAGE PART
                 MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
                 OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                 POLLUTION LIABILITY COVERAGE PART
                 PRODUCTSICOMPLETED OPERATIONS LIABILITY COVERAGE PMT
                 RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                 UNDERGROUND STORAGE TANK POLICY
    '
           Under the Mortgageholders Ermls And Omissions Coverage Form, the                     followirig condition applies only to
           Coverage c and Coverage D.
           The   following condition   is   added:
           Notice given by or on behalf of the insured to any of our
                                                                     authorized agents           in   Indiana, with particulars sufﬁ-
           cient to identify the insured. shall      be considered   to   be   notice to us.




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                     THIs    ENDORSEMENT CHANGES THE                     POLICY. PLEASE          READ     IT   CAREFULLY.

                                       INDIANA             CHANGES — POLLUTION
‘_   I-    Inf:   endowmentmodjﬁgsjnsgqgangg pLoviqedqundggmgfqllayig‘g:2.___i                                    .r
                    'c’A'FiITAL AssE‘T‘s P‘ROG'RAM                                                 "*
                                                   (OUTPUT POLICY) COVERAGE"                EAR?
                      COMMERCIAL PROPERTY COVERAGE PART
                      FARM COVERAGE PART

           In this   Coverage     Part. any exclusion. limitation or other provision relating to pollutants ("pollutants"), or     any
           amendment        to or replacement of such exclusions, limitations or other provisions. applies whether or not the      irri-
           tant or   contaminant has any function   in   your business, operations, premises. site or location.




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                 THIS        ENDORSEMENT CHANGES THE                            POLICY. PLEASE                          READ       IT     CAREFULLY.

                                     INDIANA CHANGES — CANCELLATION
                                                         AND NONRENEWAL
        .This   endorsement mediﬁes insurance provided undeﬁhe                   following:        :,
                                                                                                        f
                                                                                                                   '




                  CAPITAL ASSETS   PROGRAM (OUTPUT POLICY) COVERAGE PART
                  COMMERCIAL AUTOMOBILE COVERAGE PART
                  COMMERCIAL GENERAL LIABILITY COVERAGE PART
                  COMMERCIAL INLAND MARINE COVERAGE PART
                  COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
                  COMMERCIAL PROPERTY COVERAGE PART
                  CRIME AND FIDELITY COVERAGE PART
                  EMPLOYMENT—RELATED PRACTICES LIABILITY COVERAGE PART
                  EQUIPMENT BREAKDOWN COVERAGE PART
                  FARM COVERAGE PART
                  FARM UMBRELLA LIABILITY POLICY
                  LIQUOR LIABILITY COVERAGE PART
                  POLLUTION LIABILITY COVERAGE PART
                  PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    A.      Paragraph        2. of  the Cancellallon Common Policy                                                fraud or material misrepresentation
           Condition        is   replaced by the following:                                                       on us; or
           2.     Cancellation        Of Policies    In Effect                                                    45 days before the
                                                                                                            (3)                                effective date of
                 a_    9° Days o, Less                                                                            cancellation      if:



                       If    this policy      has been   In   effect for   90                                     (a)   There has bee" a SUPStant‘a'
                       days or       less,   we may cancel this   policy by                                             Change ”1. the _scéle °f "5k °°V'
                       mailing or delivering to the first Named                                                         ered by ”“5 F°“cy-
                       Insured written notice of cancellation at                                                        Reinsurance of the risk associv
                                                                                                                  (b)
                       least:
                                                                                                                        ated with this policy has been
                       (1)       10 days before the effective date of                                                   canwued? 0"
                              cancellation  if we cancel for nonpay—                                                    You have
                                                                                                                  (c)                     failed to   comply with
                                 mentof premium;                                                                        rgasonable safety recommenda-
                      (2)     20 days before the effective date of                                                      "Ons'
                              cancellation ifyou have perpetrateda                B.   The  following is added to the Common Policy
                              fraud or material misrepresentation                      Conditions and supersedes any provision to the
                              on us; or                                                contrary.
                      (3)    30 days Ibefpre the effective date of                     NONRENEWAL
                             cance'htw" 'f we cance'fo" any Other
                                                                                             If We elect not to renew this
                             reason
                                                                                       1.                                    policy, we will
                                                                                             mail or deliver to the ﬁrst Named Insured writ-
                 b.   More Than 90 Days                                                      ten notice of nonrenewal at least 45 days be-
                      If this policy has been in effect for more                             mm:
                      than 90 days. or is a renewal of a policy                              a.         The       expiration date of this policy, if the
                      we issued, we may cancel this policy.                                             policy      is written for a term of one year or
                      only for one or more of the reasons listed                                        less; or
                      below. by mailing or delivering to the ﬁrst
                                                                                                        The       anniversary date of this policy, if the
                      Named         Insured written notice of cancella-
                                                                                                        policy      is written for a term of more than
                      tion at least:
                                                                                                        one year.
                      (1)    10 days before the effective date of
                             cancellation if we ancel for nonpay-
                                                                                       2.    We will              mail or deliver our notice to the ﬁrst

                             ment of premium;
                                                                                             Named                lnsured's last mailing address known
                                                                                             to us.          If   notice   is   mailed. proof of mailing          will
                      (2)    20 days before the effective date of                            be sufﬁcient proof of notice
                             cancellation ifyou hale perpetrated a

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               THls     ENDORSEMENT CHANGES THE                               POLICY. PLEASE                READ   IT   CAREFULLY.

               INDIANA CHANGES — DEFINITION 0F POLLUTANTS
    This endorsement modiﬁes insurance provided under the following:

                COMMERCIAL INLAND MARINE COVERAGE PART
                COMMERCIAL PROPERTY COVERAGE PART”
                DELUXE PROPERTY COVERAGE PART
                FARM COVERAGE PART

    PROVISIONS                                                                  2.   This deﬁnition of “pollutants“ applies regardless of
    The deﬁnition of "pollutants" in this Coverage Pan or                            whether:
    in any endorsement to this Coverage Part is deleted                                    The irritant or contaminant, or the particular
    and replaced by the following:                                                         form, type or source of the irritant or contami-
    1.    "Pollutants"         means any      solid. liquid,   gaseous or                  nant, involved in the loss or damage is spe-
          thermal      irritant   or contaminant, including smoke,                         ciﬁcally identiﬁed or described in this deﬁni-
          vapor, soot, fumes, acids, alkalis, chemicals and                                tion. such as waste from manufacturing op-

          waste. "Pollutants" includes:                                                    erations;

          a.   Petroleum or petroleum derivatives, gasoline,                               The          or mntaminant has or had any
                                                                                                   irritant

               fuels,    lubricants.     and    their respective addi-                     function   any of the insured's business, op-
                                                                                                       in

               tives    and    individual chemical     components,      in-                erations. premises. sites or locations. such
               cluding benzene and toluene;                                                as:

          b.   Chlorinated and halogenated solvents, includ-                               (i)    PERC for a dry   cleaning business; or
               ing tetrachloroethylene (PCE or PERC), tri-                                        TCE, or any of the other items included
                                                                                           (ii)
               chloroethylene (TCE), trichloroethane (TCA)                                        as examples of "pollutants" in 1.b. above,
               and      vinyl     chloride,    and   their     degradation                        for degreasing operations;
               products;
                                                                                           The  irritant or conhminant represents a major
         c.    Coal      manufactured gas plant (MGP) by-
                        tar,                                                              source of potential loss or damage for the in-
               products and polynuclear aromatic hydrocar-                                sured. such as gasoline. or any of the other
               bons (PAHs). phenols and polychlorinated bi-                               items included as examples of "pollutants" in
               phenyls (PCBs); and                                                        1.a. above for a gasoline station; or
         d.    Organic and inorganic pesticides, and inor-                           d.   The     insured expects or considers the     irritant
               ganic contaminants, including arsenic, bar-                                'oi contaminant to  be a pollutant.
               ium, beryllium, lead cadmium, chromium and
                                                                                     Waste includes materials to be recycled, recondi—
               mercury.
                                                                                     tioned or reclaimed.




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                   THIS        ENDORSEMENT CHANGES THE                                     POLICY. PLEASE                       READ         IT   CAREFULLY.

                               CAP ON LOSSES FROM CERTIFIED ACTS OF
                                           TERRORISM
    -’Fhis        endorsement. modifies inSurance provided under the following:-                                                                        -- -'

                     BOILER AND MACHINERY COVERAGE PART
                     COMMERCIAL INLAND MARINE COVERAGE PART
                     COMMERCIAL PROPERTY COVERAGE PART
                     DELUXE PROPERTY COVERAGE PART
                     EQUIPMENT BREAKDOWN COVERAGE PART

        A.   Cap On        Certiﬁed Terrorism Losses                                               If   aggregate insured losses attributable to                 terrorist
             "Ceﬂiﬁed act of terrorism" means an act that is                                       acts certified under the Terrorism Risk Insurance
             certiﬁed by the Secretary of the Treasury, in con-                                    Act exceed $100                billion in      a Program Year (Janu-
             currence with the Secremry of State and the At—                                       ary   1   through           December 31) and we have met our
             torney General of the United States. to be an act                                     insurer deductible  under the Tenorism Risk ln-
             of terrorism pursuant to the federal Terrorism Risk                                   surance Act,            we
                                                                                                                          not be liable for the pay-
                                                                                                                                  shall
             Insurance Act. The criteria contained in the Ter-                                    ment of any portion of the amount of such losses
             rorism Risk Insurance Act for a "certiﬁed act of                                     that exceeds $100 billion. and in such case in-
             terrorism" include the following:                                                    sured losses up to that amount are subject to pro
             1.     The    act resulted                                                           raia allocation in accordance with procedures es-
                                                in   insured losses in excess
                    of    $5   million in the aggregate, attributable to                          tablished by the Secretary of the Treasury.
                    alltypes of insurance subject to the Terrorism                                Application            Of Exclusions
                    Risk Insurance Act; and
                                                                                                  The terms and    limitations of any terrorism exclu-
             2.     The act      is   a   violent act or    an act that     is   dan-             sion. or the inapplicability or omission of a terror-
                   gerous to human life, property or infrastruc-                                  ism exclusion, do not serve to create coverage for
                   ture and is committed by an individual or indi-                                any loss which would othewvise be excluded un’
                   viduals, as part of an effort to coerce the civil-                             der this Coverage Part or Policy, such as losses
                    ian population of the United States or to inﬂu-                               excluded by the Nuclear Hazard Exclusion or the
                   ence the   policy or affect the conduct of the                                 War And        Military Action Exclusion.
                   United states Government by coercion.




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        TRAVEL ERS J
                                  -                                           One Towar Square.          Hartford. Connectlcut    06183

    OTHER INTEREST                                                                                           CHANGE ENDORSEMENT
    INSURING COMPANY:
        TRAVELERS CASUALTY INSURANCE                    comm        0F AMERICA
                                                      Named   Insured;    summon: VILLAGE Housomzxs
                                                                          mm       As pm. n. Ts no
                                                Pollcy Number:    680-240811586—15-42
                                          Policy Effective Date: :03/10/2015
                                         PaliCy Expi‘rhﬁonmamg: i owruxmm-
                                                    Issue Date:   01/14/2015
                                      RETURN         Premium s             - 74 . oo




    Effective from       03/10/15     at the      time of day the policy becomes effective.

    THIS INSURANCE           IS   AMENDED AS FOLLOWS:


    0n the Busineseowners Coverage Part Declarations, the
    Limit(a) of Insurance is/are changed as follows:
    PREM. BLDG. COVERAGE
    N0.   NO.                 FROM     TO

    1                l    BUILDING                 $4564963       $4520643

    Premium Basis and/or Rates are changed. Exposures are changed.


    Under the Busineasowners Coverage Part, Causes of Loss                                    m       Earthquake is changed
    Refer to form attached.


    Under the Businessowners Coverage Part, Businessowners Property Coverage,
    the Limit of Insurance for Blanket Buildings and Business Personal Property
    is changed as follows:

    PREM         .


    LOC      .                    BLDG    .


    NO   .                        NO  .                        BUILDINGS AND
                                                               BUS INESS PERSONAL PROPERTY
                                                               LIMIT OF INSURANCE: $4581463 BLANKET LIMIT
    1                             l                            VALUATION:             R
                                                               COINSURANCE     :    0
                                                               INFLATION GUARD:     0 0%          .




   The following forms and/or endorsements is/are included with this change.
   These forms are added to the policy or replace forms already existing
   on the policy:
   IL TO 07 09 87
   MP T0 2'7 04 07
   MP T1 82 O4 09
   NAME AND ADDRESS 0F AGENT OR BROKER                                                 Countersigned by
   FIRST INS GROUP INC
   1405 N COLLEGE AVE
                                                                                                      Authorized Representatlve
   EmOMINGTON                                            IN    ‘7 ‘ 0 4
                                                                                       DATE: 01/14/2015


   IL 'ro        o7 09 s7 (Page   1 of1       )                                                              Ofﬁce:   INDIANAPOLIS IN

                                                                                                      1RAVELERS DOC MGMT   151 of 171
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                                                               POLICY NUMBER:    680-24oaN586—15-42
                                                               EFFECTIVE DATE:   03/10/2015
                                                                   ISSUE DATE:   01/14/2015


                                LIs'I'mc'.’   0F FORMS. ENDORSEMENTS   m   =SCHEDuw NUMBERS
             THIS LISTING SHOWS THE NUMBER OF FORMS,                    SMULES     AND ENDORSEMENTS
             BY LINE 0F BUSINESS


                 *    IL T0 0'7 09             87     CHANGE   ENDORSI‘M
                      IL TO 19 02              05     CONN   POLICY DECLARATIONS
                      IL TO 25 08              01     RINEWAL CERTIFICATE
                      MP TO 01 02              05     BUSINESSOWNERS COVERAGE PART DECLARATIONS
                 *    IL T8 01 01              01     FORMS ENDORSEMENTS AND SCREDULE NUDERS
                      IL T3 15 09              07     COMO)! POLICY CONDITIONS

            BUS INESSOWNERS

                      MP T1 30 02 05                  TABLE 0F CONTENTS - BUSINESSOWNERS COVERAGE PART -
                                                     DELUXE PLAN
                           O2   T1      02    05     BUSINESSOWNERS PROPERTY COVERAGE SPECIAL FORM
                     ﬁiﬁﬁ
                           03   T1      02    05     WATCH!      PROVISIONS CONDOMINIW ASSOCIATION COVERAGE
                           05   T3      02    07     SEWER OR DRAIN BACK UP EXTENSION
                           25   T3      01    08     TERRORISM RISK INSURANCE ACT OF 2002 DISCLOSURE
                     MP T3 37           02    05     NON—COMPENSATED OFFICERS INCLUDED FOR EMPLOYEE
                                                     DISHONESTY
                                T3 40 02 05          PROPERTY MANAGERS INCLUDED FOR EMPLOYEE DISHONESTY
                                T3 50 11 06          EQUIPMENT BREAKDOWN - SERVICE INTERRUPTION LIMITATION
                                T3 56 02 OB          WATORY      PROVISIONS - GREEN BUILDING AND BUSINESS
                                                     PERSONAL PROP COV ENHANCEENTS
                            Tl 55 02 05              WLOYEE DISHONESTY AND FORGERY OR ALTERATION
                                                     INCREASED LIMIT
                            T1 71 04 09              BUILDING OWERS ENDORSRWT
                            Tl 82 04 09              CAUSES 0F LOSS — EARTHQUAKE
                            T3 23 05 06
                     KP 1‘9 70 D3 06
                                                     FDNGUS, ROT. BACTERIA AND OTHER CAUSES OF LOSS           WGES
                                                     POWER PAC ENDORSWNT
                     CP T9 59 02 11                  INDIANA CHANGES—RIGHTS OF RECOVERY

            COMRC IAL                GENERAL LIABILITY
                     CG TO 34 11 03                  TABLE 0F CONTENTS - COMERCIAL GENERAL LIABILITY
                                                     COVERAGE FORM CG 00 01 10 01
                     CG     1‘0      59 10 91        TABLE OF CONTENTS — DIRECTORS AND OFFICERS ENDORSMM
                                                     FORM CG D0 28
                     CG 00 01 10 01                  COIMBRCIAL GENERAL LIABILITY COVERAGE FORM
                     CG 21 70 01 OB                  CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
                     CG D2 37 11 O3                  EXCLUSION - REAL ESTATE DEVELOPMENT ACTIVITIES          —-


                                                     COMPLETED OPERATIONS
                     CG D2 55 11 03                  AMENDMENT OF COVERAGE - POLLUTION



             "
                     CG D3 09 11 03
                     CG-    D4 71 01 15             mm
                                                     WNBATORY ENDR- PRODUCTS-COIELETED OPERATIONS HAZARD
                                                               OF COVERAGE B - PERSONAL AND ADVERTISING
                                                     INJURY LIABILITY
                 TEXT      IN   THIS   FORM HAS CHANGED, 0R THE FORM WAS NOT ON POLICY BEFORE.

    IL   T8 01 01 01                                                              PAGE :   1   OF   2

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                                                            POLICY NUMBER:       680-2408N586-15—42
                                                            EFFECTIVE DATE:      03/10/2015
                                                                   ISSUE DATE:   01/14/2015



               COWRCIAL GENERAL LIABILiTy (céimmmn)
                      CG DO 28 10 51                DIRECTORS AND OFFICERS LIABILITY ENDORSEMENT COMMUNITY
                                                    ASSOCIATIONS
                      CG       D0 37      04   05   OTHER INSURANCE - ADDITIONAL msmmns
                      CG       D1 86      11   03   x-rmm ENDORSEMENT
                      CG       D2 03      12   97   Amp    - NON CUMULATION 0F EACH occ
                      CG       D4 13      04   08   Amp   cove - POLLu-rrou-EQUIP EXCEPTION
                      MP       T1 25      11   03   HIRED Aura AND won-omn AU'ro LIABILITY
                      CG       D2 43      01   02   FUNGI on BACTERIA EXCLUSION
                      CG       D2 56      11   03   AMENDMENT 0F COVERAGE - PROPERTY DAMAGE
                      CG       D2 88      11   03   mpnovm-r-nzmn- pmcnczs EXCLUSION
                      CG       D3 26      10   11   nxcmsmn — UNSOLICITED COMMUNICATION
                      CG       D3 56      05   14   MOBILE EQUIPMENT REDEFIN- - EXCLUSION or VEHICLES
                                                    SUBJECT To moron VEHICLE mus
                      CG D4 21 0‘1 08               AMEND   comm   LIAB Excr. - Exc To NAMED ms
                      CG D6 18 10 11                ExCLusroN — VIOLATION 0F cousmn FINANCIAL PROTECTION
                                                    mws
                      CG D7 46 01 15                EXCLUSION - Acczss on DISCLOSURE 0F CONFIDmu-IAL            on.
                                                    PERSONAL INFORMATION
                      CG   D0       76    06   93   EXCLUSION - LEAD
                      CG   D1       42    01   99   EXCLUSION — DISCRIMINATION
                      CG   02       42    01   02   EXCLUSION - WAR
                      CG   Fl       19    09   08   INDIANA CHANGES - DEFINITION 0F POLLUTANTS
                      CG   T4       7B    02   90   Excmsmn    -   Assas'ros

              MULTIPLE SUBLINE ENDORSEMENTS
                     CG T3 33 11 03                 LIMITATION WHEN Two on MORE      poucms     APPLY

              INTERLINE ENDORSEMENTS
                     IL T3 82 05 13                 EXCLUSION or Loss DUE 1'0 vnuIs on BACIERIA
                     IL T8 00 03 15                 GENERAL punross Emonsmm
                     IL DO 21 09 OB                 NUCLEAR ENERGY LIABILITY zxcnusxon ENDORSEMENT (BROAD
                                                    FORM)
                     IL 01 17 12 10                 INDIANA CHANGES   WORKERS COMPENSATION EXCI-
                     IL 01 56 09 07                 INDIANA CHANGES   CONCEALKENT, MISREPRESENTATION 0R
                                                    FRAUD
                     IL    01 58 09 08              INDIANA CHANGES
                     IL    01 52 D7 02              INDIANA CHANGES   pomm'xou
                     IL    02 '72 09 D7             INDIANA CHANGES   CANCELLATION AND NONRENEWAL
                     IL    F0 59 09 D7              INDIANA mans    - DEFINITION or POLLUTANTS
                     IL    T3 79 01 OB              CAP on LOSSES FROM CERTIFIED Acrs 0F TERRORISM




               *
                   TEXT   IN   THIS      FORM HAS CHANGED, OR THE FORM WAS NOT ON POLICY BEFORE.

    IL   T8   01 01 01                                                            PAGE z   2    0P    2

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                                                      BUSINESSOWNERS




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                                                                                                                  BUSINESSOWNERS
     POLICYNUMBER: sao-uoansas-ls—u                                                                               ISSUE DATE:      01/14/2015

               THIS    ENDORSEMENT CHANGES THE                            POLICY. PLEASE                  READ     IT   CAREFULLY.

                                   CAUSES 0F LOSS — EARTHQUAKE
    This endorsement modiﬁes unsurqnce             pru_v_ided   under the   following:     .7



                 BUSINESSOWNERS PROPER'W COVERAGE SPECIAL FORM
    A.   SCHEDULE
    001 Of 001
                                                                         Annual
    Prem.                                                              Aggregate
     Loc.           Bldg     .   Deductible   Occurrence                Location
     No.             No.             %           Limit                    Limlt                 Business Income and Extra Expense
    001             001             5%        $4,192,686                $4,192,686                    Included




    Annual Aggregate Policy Limit s 4. 192 . 686




    B.   COVERED CAUSES 0F LOSS                                                   single Earthquake or Volcanic Eruption.           The      a(pi-
         Covered Causes of Loss and "speciﬁed cause of                            ration of this policy will not reduce the 168-hour
         loss" are revised to include the following as Cov-                       period. We will not pay for loss or damage caused

         ered Causes of Loss only for Covered Property at                         by or resulting from earthquakes or volcanic erup-
         the Premises Location/Building number(s) shown                           tions which begin before the effective date of this

         In the Schedule above:
                                                                                  insurance.

         1.     Earthquake. meaning a shaking or trembling                   C.   EXCLUSIONS, LIMITATIONS                  AND RELATED
                of the earth's crust, caused by underground                       PROVISIONS
                volcanic or tectonic forces or by breaking or                     1.     The Earth Movement Exclusion does not ap-
                shifting    of rock beneath the surface of the                         ply to the insurance provided  under this en-
                ground     from natural causes.                                        dorsement.      other Exclusions and Limita-
                                                                                                         Alf

         2.     Volcanic Eruption. meaning the eruption, ex-                           tions apply to the insurance provided under

                plosion or effusion of a volcano.                                      this endorsement. For example. loss caused

         With respect to omelwise covered Business In-
                                                                                       directly or indirectlyby a cause of loss ex-
                                                                                       cluded under the Water Exclusion. such as
         come and Extra Expense. Earthquake and Vol-
                                                                                       ﬂood or tidal wave, is excluded even if the
         canic Eruption will be considered a Covered
                                                                                       ﬂood or tidal wave is attributable to an Earth-
         Cause of Loss. but only for Premises Loca—
                                                                                       quake or Volcanic Eruption.
         tions/Building number(s) for which "Included" is
         shown in the Schedule above under Business ln-                           2.   The      following      EXCLUSION   is   added as      re-
         come and Extra Expense. If "Not Covered" is in-                               spects coverage provided by this endorse-
         dicated in the above Schedule there is no Busi-                               ment:
         ness Income and Extra Expense coverage for the
                                                                                       We  will not pay for the cost of restoring or
         applicable Premises LocationlBuilding number(s).
                                                                                       remediating land or for loss resulting from the
         Allearthquake shocks or volcanic emptions that                                time required to restore or remediate land.
         occur within any 168-hour period will constitute a


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    BUSINESSOWNERS

         3.       The           following       LIMITATION      is   added as          re-                duct an         amount equal           to   2%. 5%. or 10%,
                   spects coverage provided by                       this    endorse-                     as shown          inthe Schedule above, of the
                   ment:                                                                                  Limit(s)        of Insurance applicable to the
                  We willnot pay for loss or damage to exterior                                           property that           has sustained             loss or     dam-
                  masonry veneer (except stucco) on wood                                                  age.
                  frame walls caused by or resulting from                                                 Example #1 — Speciﬁc Insurance
                  Earthquake or _Volcanic Eruption. The value
              _

                  '07
                                                                                                       _,_T_h_e     amounts of            J_os_s_     to   _the   damaged
                     such veneér wiil n6! bé ihEIudéd in the‘                                           'propérty       $60. 000 (building) and
                                                                                                                            are
                  value of Covered Property or the amount of
                                                                                                          $40 000 (business personal property in
                  loss          when   applying the Deductible applicable
                                                                                                          building).
                  to this endorsement.
                                                                                                         The value             of the         damaged         building    at
                  This limitation does not apply if Iess than 10%
                                                                                                         time of loss is $100,000. The value of the
                  of the total outside wall area is faced with
                                                                                                         business personal property in that build-
                  masonry veneer (excluding stucco).                                                      ing is $80,000.
    D.   COINSU RANCE                                                                                    The  Limits of Insurance on the damaged
         The Coinsurance Commercial Property Condition                                                   property are $80,000 on the building and
         does not apply to                 this      endorsement.                                        $64,000 on the business personal prop-
    E.   PROPERTY DAMAGE DEDUCTIBLES                                                                     erty.

         1.       The       provisions of Section E.
                                                 through E. 5.  2.
                                                                                                         The Deductible             is   2%.
                  of this endorsement do not apply to Business                                           Building
                  Income and Extra Expense.
                                                                                                         step      (1):   $80,000 X 2% = $1 .600
                  The Deductible,   any. in this Coverage Form
                                                                                                                          $60,000 — $1 .600 = $58,400
                                                if
                                                                                                         Step      (2):
                  is replaced by the following with respect to

                  Earthquake and Volcanic Eruption and ap-                                               Business Personal Propeny
                  plies to the Premises Location/Building num-                                           Step (1): $64,000 x 2% = $1 ,280
                  ber(s)          shown    in   the Schedule above:
                                                                                                         Step      (2):   $40,000        -—
                                                                                                                                              $1 .280 = $38,720
                  We        will   not pay for loss or         damage        until   the
                                                                                                         The most we             will    pay   is   $97,120 ($58,400
                  amount           of loss or        damage exceeds         the appli-                   .+   $38,720).
                  cable deductible. We will then pay the amount
                  of loss or damage in excess of the deductible.                                         The  portion of the total loss that is not
                  up to the applicable Limits of Insurance.                                              covered due to the application of the De-
                                                                                                         ductible is $2.830 ($1,600 + $1.280).
                  This deductible is calculated separately                           for.
                  and applies separately to:                                                             Example #2 -— Speciﬁc Insurance
                  a.       Each      building.two or more buildings
                                                      if
                                                                                                         The amounts of                   loss      to the        damaged
                           sustain fess or damage;                                                       property are $60,000 (building), $40,000
                                                                                                         (business personal property in building),
                  b.       The building and separately to the                 total of
                                                                                                         $40,000           (Appunenant                 Buildings        and
                           personal property in that building.                 if   both
                                                                                                         Structures)        and $40,000               (Electronic Data
                           sustain loss or           damage;                                             Processing).
               c.          The        personal property in or on each
                                   total
                                                                                                         The       Limits of Insurance              on the damaged
                           building. if persona! property in or on two
                                                                                                         property are $100,000 on the building,
                           or more buildings sustain loss or damage;
                                                                                                         $64,000 on the business personal prop-
              d.           The     total   personal property         in   the open:                      erty.$50,000 on the Appurtenant Build-
                           and                                                                           ings and Structuresand $50,000 for Elec-
                                                                                                        tronic Data Processing.
              e.           Any     other property insured                 under      this
                           Coverage Form.                                                               The Deductible             is    2%.
              The percentage (%) shown                         in    the Schedule                        Building
              above applies as fOIIOWS:
                                                                                                         Step      (1   ):$100.000       X 2%       = $2.000
              a.           Calculation Of the Deductible                     — Spe-                                                     — $2.000 =
                                                                                                        Step (2):$60.000                                   $58.000
                           ciﬁc Insurance
                                                                                                        Buslness Personal Property
                           In   determining the amount. ifany. that we
                           will  pay forloss or damage, we will de-                                     Step (1) $64,000 X 2% = $1,280


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                                                                                                                                       BUSINESSOWNERS

                 Step (2):$40,000            $38,720- $1,280 =                                          ductible               is       $4.000          62,000+
                 Appurtenant Buildings and Structures                                                   $1 ,000+$1 .000).

                 Step (1): $50,000 X 2% = $1 .000                                                 .    Calculation Of                The Deductible — Blan-
                                                    — $1.000 = $39,000                                 ket Insurance
                 Step        (2):   $40,000
                                                                                                        ln determining the amount, if any. that We
                 Electronic Data Processing
                                                                                                       will  pay for loss or damage. we will de-
                 Cfo'vérage uilaé‘rl‘Efééffohié‘l’JaTa‘ P‘w'éeés-                                      ddct-‘i‘an aﬁsbuvit équal ’to 2%:'5%,-                        :‘=+\
                                                                                                                                              or 10%7‘
                 ing    is     included
                                    the Limit of Insurance
                                               in                                                      as shown in the Schedule above. of the
                 applicable to business personal property.                                             v'alues(s) of the property that has sus-
                 Since covered business personal prop-                                                 tained loss or damage. The value(s) to be
                 erlywas damaged as part of the loss and                                               used are those shown in the Statement of
                 Electronic Data Processing is subject to                                              Values on ﬁle with us. if there is no
                 the business personal property Limit of                                               Statement of Values on ﬁle with us or
                 Insurance, the deductible                    will    be caicu-                        there is no value stated in the Statement
                lated using the business personal prop-                                                of Values for such property, then the
                erty Limit of Insurance.                                                               value(s) to be used will be the value of
                Amount          of loss:      $40,000                                                  the property at the time of loss.

                The          most        we      pay
                                                will           is   $175,720                           Example #           1   — Blanket Insurance
                ($58,000             +    $38,720 +               $39,000 +                            The sum of the values of Building #1
                $40,000).                                                                              6500.000), Building #2 ($500,000) and
                The      portion of the total loss that                  is   not                      Building #3 ($1,000,000) as shown in the
                covered due to the application of the De-                                              most recent Statement of Values on ﬁle
                ductible    is    $4,280    ($2.000     +                                              with us,      is   $2,000,000.
                $1 ,280+$1 .000).                                                                                 and #2 have sus‘ained dam—
                                                                                                       Buildings #1
                Example #3 — Specific Insurance                                                       age; the amounts of loss to these build—
                                                                                                      ings are $40,000 (Building #1) and
                The amounts of loss to the damaged
                                                                                                      $20,000 (Building #2).
                property are $60,000 (building). $40,000
                (Appurtenant Buildings and Structures)                                                The Deductible            is   2%.
                and $40,000 (Electronic Data Process—
                                                                                                      Building #1
                ing).

                The     Limits of Insurance
                                                                                                      Step    (1):   $500,000 X         2% =    $10,000
                                        on the damaged
                property are $1 00,000 on the building,                                               Step    (2):   $40,000         — $10,000 =    $30,000
                $50,000 on the Appurtenant Buildings                                                  Building #2
                and Structures and $50,000 for Electronic
                Data Processing.
                                                                                                      Step    (1):   $500,000 x         2% = $10,000
                The Deductible
                                                                                                      Step    (2):   $20,000 — $10,000 = $10,000
                                          is   2%.
                                                                                                      The most we will pay is $40,000 ($30,000
                Bullding
                                                                                                      + $10,000). The portion of the total loss
                Step    (1   ):$100.000        X 2% = $2.000                                          thatis not covered due to the application

                Step (2):$60.000              — $2.000 = $58,000                                      ofthe Deductible is $20,000.

               Appurtenant Buildings and Structdres                                                   Example # 2 — Blanket Insurance
               Step (1): $50,000 X 2% = $1,000                                                        The sum             of the values of Building             #1
               Step     (2):   $4o.ooo         — $1 .ooo = $39.ooo                                    ($500,000), Building             #2    ($500,000), Busi-
                                                                                                      ness Personaf     Property at Building #1
               Electronic Data Processing                                                             ($250,000) and Business Personal Prop-
               Step     (1):   $50,000  X 2% = $1,000                                                 erty at Building #2 ($250,000), as shown
                                                                                                      in the most recent Statement of Values
               Step     (2):   $40.00!) — $1 .000 = $39.00!)
                                                                                                      on ﬁle with us, is $1,500,000. Additionally,
               The       most        we        will    pay   is      $136,000                         the applicable Limit of Insurance to Ap-
               ($58,ooo+$39.ooo+$39,000).                                                             purtenant Buildings and Structures is
               The      portion of the total loss that is not                                         $50.000 and $50.000                  for Electronic     Data
               covered due to the application of the De-                                              Processing.




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    BUSINESSOWNERS

             Buildings #1 and Business Personal                                              Building #1 has sustained damage; the
             Property at Building #1 have sustained                                          amounts of loss are $40,000 (building).
             damage; the amounts of loss are $40,000                                         Additionally. Appurtenant Buildings and
             (building) and 5100.000 (business per-                                          Structures and Electronic Data Process—
             sonal property). Additionally, Appunenant                                       ing have sustained damage: the amount
             Buildings and Structures and Elemonic                                           of loss to Appurtenant Buildings and
             Data Processing have sustained damage;                                          Structures is $40,000 and the amount of
             thc'aﬁi'éuﬁt of lo‘sélo .‘Appurtenant F3uild~
                                                                                             ldSS      nu"   Eiédrbnic            Data        Proce‘ssihg       isv
             Ingsand Structures is $40,000 and the                                           $40,000.
             amount of loss to Electonic Data Proc-
             essing   is   $40,000.                                                         The Deductible             is   2%.

            The Deductible       is   2%.                                                   Building #1

             Building #1                                                                    Step      (1):   $500,000 X 2% = $10,000
            Step    (1):   $500,000        X 2% = $10,000                                   Step      (2):   $40,000 — $1 0,000 = $30,000
            Step    (2):   $40,000 -       $1 0,000 = $30,000                               Appurbenant Buildings and Stmctures
            Business Personal Property                                                      Step      (1):   550.000        x 2% = $1,000
            Step (1): $250,000 X 2% = $5,000                                                Step      (2):   $40,000 — $1 ,000 = $39,000
            Step    (2):   $1 00,000       — $5,000 =    $95,000                            Electronic Data Processing
            Appurtenant Buildings and Structures
                                                                                            Step      (1):   $50,000X 2% = $1 .000
            Step    (1):   $50,000    x 2% =     $1 .000                                                            —
                                                                                            Step      (2):   $40,000 $1 .ooo = $39,000
            Step    (2):   $40,000    .—   $1 .000 = 539.000
                                                                                            The        most       we        win    pay         is     $108,000
            Electronic Data Processing                                                      ($30,000 + $39.000 + $39,000). The por-
            Coverage under Electronic Data Process-                                         tion of the total loss that                   is    not covered
            ing is included in the Limit of Insurance                                       due     to the application of the Deductible is
            applicable to business personal property.                                       $1 2,000.
            Since covered business personal prop-
                                                                                    c.      When       property    is       covered under the Addi-
            erty   was damaged as            part of the loss   and                         tional      Coverage            for Newly Acquired or‘
            Electronic Data Processing is subject to
                                                                                            Constructed Property:
            the business personal property Limit of
            Insurance. the deductible will be calcu—                                        In   determining the amount, if any. that we
            lated using the business personal prop-                                         will   pay for loss or damage, we will de-
            eny Limit of Insurance.                                                        duct ‘an amount equal to a percentage of
                                                                                           the value of the property at the time of
            Amount of loss: $40,000
                                                                                           loss. The applicable percentage for Newly
            The most we will pay                    is    $204,000                         Acquired or Constructed Property is the
            ($30,000 + $95.000 + $39,000+ $40,000).                                        highest percentage shown in the Sched-
            The ponion of the total loss that is not                                        ule above.
            covered due to the application of the De-
            ductible is $16,000.                                               4.   Minimum            Deductible:

            Example # 3 — Blanket Insurance                                         The minimum Deductible                        that    we        will   deduct
                                                                                    with  respect to Earthquake and                                    Volcanic
            The sum         of the values of Building
                                                  #1
                                                                                    Eruption is the Businessowners                                 Property
            ($500,000). Building #2 ($500.000), Busi-
            ness Personal Property at Building #1
                                                                                    Coverage Deductibie shown                            in    the Declara-
                                                                                    tions.
            ($250,000) and Business Personal Prop-
            erty at Building   #2 ($250,000), as shown                         5.   If there is loss or damage caused by Earth-

            in the most recent Statement of Values                                  quake or Volcanic Eruption, and loss or dam-
            on filc with us. i5 $1,500,000. Additionally,                           age caused by a Cause of Loss (such as ﬁre)
            the applicable Limit of Insurance to Ap-                                that is covered by means of an exception to
            purtenant Buildings and Structures is                                   me     Earth      Movement    Exclusion. then the only
            $50,000 and $50,000 for Electronic Data                                 applicable          Deductible provisions are those
            Processing.                                                             stated       in this     endorsement.




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                                                                                                                                                         BUSINESSOWNERS

     F.        Business Income                   And         Extra   Expense Period                           Business Income and Extra Expense if "rn-
               of Restoration                                                                                 cluded" is shown in the Schedule above un-
               The "period of restoration" applies to each Earth-                                             der Business Income and Extra Expense for
               quake or Volcanic Eruption. A single Earthquake                                                the      applicable          Premises                Location/Building
               or Volcanic Eruption                  is    deﬁned    in    Section B. of                      number(s).
               this      endorsement.                                                                  4.     If    a Cause of Loss (such as ﬁre)                        is   covered by
     G. LIMIrs                  DFINSURANCE                                                                   means      of, an_ excqptinn to the              .

                                                                                                                                                                         Eagﬂ Move
               1.        The  following Limits of Insurance apply if a
                                                                                                              ment      Exclh'si'o'ri',
                                                                                                                                          We     V?ifl    alS'o
                                                                                                                                                                   pay fa? the lBss
                         dollar amount is shown in the
                                                                                                              or damage caused by that other Covered
                                                             Schedule
                         above for such limit.                                                                Cause of loss. But the most we will pay. for
                                                                                                              the total of all loss or damage caused
                                                                                                                                                       by
                         a.     Occurrence Limit                                                              Earthquake, Volcanic Eruption and other
                               The applicable Occurrence Limit(s) of ln-                                      Covered Cause of Loss. is the Limit of Insur—
                               surance shown in the Schedule above                                            ance applicable to such other Covered Cause
                               applies to any one occurrence. even if the                                     of Loss.
                               loss involves more than one coverage.                                          We  will not pay the sum of the two limits
                               Amounts payable under any Additional                                           (Earthquake. Volcanic Eruption and other
                               Coverage or Coverage Extensions do not                                         Covered Cause of Loss).
                               increase the Occurrence Limit(s) of ln-
                               surance. This limit is part of, and does not
                                                                                                              Example—Ensuing Loss
                               increase, the Limits of Insurance that ap-                                   A      building is     damaged by    Earthquake, and by
                               ply   under   this   Coverage Form.                                           Fire    which    is      caused by the Earthquake. The
                     b.        Annual Aggregate Location Limit                                              value of the      damaged building is $1,000,000.
                                                                                                            The      Limit of Insurance applicable to the build-
                               The applicable Annual Aggregate Loca-                                        Ing is $800,000.  The Limit of Insurance for
                               tion Limit(s) shown in the Schedule above
                                                                                                            Earthquake    $400,000. The Earthquake De-
                                                                                                                                 is
                               applies, regardless of the number of oc-                                     ductible amount is $40,000 (5% X $800,000).
                               currences. to all loss occurring in any one
                                                                                                            The damage due                to Earthquake             is   $500.000
                               policy year commencing with the incep-
                              tion or anniversary date of this                  endorse-                      The damage due              to Fire        is   $500,000
                              ment, whichever             is less.
                                                                                                            Payment        for Earthquake damage is $400,000
                    c.        Annual Aggregate Policy Limit                                                 ($500,000         damage minus $40,000 Earth-
                                                                                                            quake        deductible            =     $460,000;                Limit
                              The Annual Aggregate Policy Limit shown                                                                                                                 is

                              in the Schedule above applies,
                                                                                                            $400,000)
                                                                regardless
                              of the number of occurrences or prem—                                         Payment          for Fire damage                        is        $400,000
                              ises, for all loss occurring in any one pol-                                  ($500,000        damage capped at
                                                                                                                                         the difference
                              icy year commencing with the inception or                                     between the Basic Limit and the Earthquake
                              ann'wersary        date of this endorsement,                                  Limit)
                              whichever      is less.
                                                                                                            Total Loss      Payment         is     $800,000.
          2.        The most we           will   pay      for loss   caused by any             H.    The     limit    applicable to
                                                                                                                             Newly Acquired or Con-
                    Earthquake or Volcanic Eruption                       is   the lesser            structed Property Additional Coverage. and with
                    of:
                                                                                                     respect to otherwise covered Business Income
                    a.        The applicable Occurrence              Limit of Insur-                 and Extra Expense-Newly Acquired Premises
                              ance;                                                                  Coverage Extension, is replaced with the foltow-
                                                                                                     ing provision:
                    b.        The remaining portion of any applicable
                              Annual Aggregate Location Limit of ln-                                 The most we   will pay for loss or damage under

                              surance; or                                                            Newly Acquired or Constructed Property Addi-
                                                                                                     tional Coverage or Business Income and
                    c.        The remaining   portion of the Annual Ag-                                                                        Extra
                              gregate Policy Limit of Insurance.
                                                                                                     Expense-Newly Acquired Premises Coverage Ex-
                                                                                                     tension under this endorsement is a total of
        3.      The Limit of Insurance that applies to cover-                                        $100,000 in any one occurrence and in any one
                age under this endorsement also applies to                                           policy year.




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           THIS    ENDORSEMENT CHANGES THE                                POLICY. PLEASE                    READ          IT   CAREFULLY.

                                       FEDERAL TERRORISM RISK
                                      INSURANCE ACT DISCLOSURE
        This endorsement modiﬁes ingurance providedundarthe follgwing:
                                                                                                                                          ~_;    -_--_»,«-.—-   -




                COMMERCIAL INLAND MARINE COVERAGE PART
        The federal Terrorism Risk Insurance Act of 83% with                                   respect to such Insured Losses
       2002 as amended (“TWA") establishes a                                      occurring    in   wlendar year 2017.
       program under which the Federal Government
                                                                                  82%   with   respecﬂo such Insured Losses
       may panially reimburse     “Insured Losses” (as
                                                                                  occurring    in calendar year 2018.
       deﬁned in TRIA) caused by "Acts Of Terrorism”
       (as defined in TRIA). “Act Of Terrorism' is                                81%   with respect to such Insured Losses
       deﬁned in Section 102(1) of TRIA to mean any                               occurring    in   calendar year 201 9.
       act that is certified by the Secremry of the
                                                                                  50% with respect to such Irisured Losses
       Treasury —       inconsultation with the Secretary of
                                                                                  occurring in calendar year 2020.
       Homeland         Security and the Attorney General of
       the United States         — to be an   act of terrorism; to              In no event. however. will the Federal
       be a   violent act or     an act that  dangerous to
                                               is                               Government be required to pay any portion of
       human    life.   property, or infrastructure: to have                   the amount of such Insured Losses occurring in
       resulted  in damage within the United states. or                        a calendar year that in the aggregate exceeds
       outside the United States in [he case of certain                        $100 billion. nor will any Insurer be required to
       air carriers or vessels or the premises of a                            pay any portion of such amount provided that
       United States Mission; and to have been                                 such Insurer has met its Insurer Deductible.
       committed by an individual or individuals as part                       Therefore, if such lnsuted Losses occurring in a
       of an effort to coerce the civilian population of                       calendar year exceed $100 billion in the
       the United States or to influence the policy or                         aggregate. the amount of any payments by the
       affect the conduct of the United States                                 Federal Government and any coverage
       Government by           coercion.                                       provided by this policy for losses caused by Acts
                                                                               Of Terrorism may be reduced.
      The Federal Government's share of
      compensation for such Insured Losses is                                 The charge for such Insured Losses under lhis
      established by TRIA and is a percentage of the                          Coverage Part is included in the Coverage Part
      amount of such Insured Losses in excess of                              premium. The charge for such Insured Losses
      each    Insurer’s "Insurer Deductible" (as         deﬁned               that has. been included for this Coverage Part is
      inTRIA), subject to the “Program Trigger‘ (as                           indicated below. and does not include any
      defined in TRIA). Through 2020. that                                    charge for the portion of such Insured Losses
      percentage        is   established by   TRIA as   follows:              covered by the Federal Government under
                                                                              TRIA:
      85%    with respect to such Insured Losses
      occurring   in    calendar year 2015.                                   -     1% of your total Commercial Inland Marine
                                                                                    Coverage Part premium.
      84% with    respect to such Insured Losses
      occurring   in calendar year 2016.




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                                                                                                         TRAVELERS DOC MGMT 162 0f 171
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              THIS         ENDORSEMENT CHANGES THE                                  POLICY. PLEASE                      READ        IT   CAREFULLY.

                                              FEDERAL TERRORISM RISK
                                             INSURANCE ACT DISCLOSURE
    This endorsement modiﬁes insurance provided under the following:

     .I‘          COMMERCIAL PROPERTY COVERAGE PART

           The federal Terrorism Risk                 Insuranbe'Abi of                       82%      w'ith    respéct     to 's'udh      'lhsured" Losses
                                                                                                                                                                   ‘



           2002 as amended ("TRIA")            a      establishes                            occurring    in   calendar year 201 8.
           program under which the Federal Government
                                                                                             81%      with     respect to such Insured                    Losses
           may partially reimburse “Insured Losses' (as
                                                                                             occurring    in   calendar year 2919.
           deﬁned I'n TRIA) caused by “Acts Of Terrorism”
           (as deﬁned in TRIA). “Act 0f Terrorism" is                                     80%   with respect to such Insured                          Losses
           defined in Section 102(1) of TRIA to mean any                                  occurring in calendar year 2020.
           act that    is   certiﬁed      by the Secretary of the                        In no event, however. will the Federai
           Treasury        - in consultation        with the Secretary of                Government be required to pay any portion of
           Homeland             Security and the Attorney Genera! of                     the amount of such Insured Losses occurring in
           the United States          — to be an a_ct of terrorism; to                   a calendar year that in the aggregate exceeds
           be a   violent       ad or an    act that      is   dangerous to              $1 OD billion, nor will any Insurer be required to
           human      life,     property. or infrastructure; to        have              pay any porﬁon of such amount provided that
           resulted in damage within the United States, or                               such Insurer has met its Insurer Deductible.
           outside the United States in the case of certain                              Therefore. if such Insured Losses occurring in a
           air carriers or vessels or the premises of a                                  calendar year exceed $1 DO billion in the
           United States Mission; and to have been                                       aggregate. the amount of any payments by the
           committed by an individual or individuals as part                             Federal Government and any coverage
           of an effort to coerce the civilian population of                             provided by this policy for losses caused by Acts
           the United States or to influence the policy or                               0f Terrorism may be red uoed.
           affect the conduct of the United States
           Government by coercion.                                                       The charge for such Insured Losses under this
                                                                                         Coverage Pan is included in the Coverage Part
           The Federai Govemmenl's share of                                              premium. The charge for such Insured Losses
           compensation
                      for such Insured Losses is                                         thathas been included for this Coverage Part is
       established by TRIA and is a percentage of the                                    indicated below. and does not include any
       amount of such Insured Losses in excess of                                        charge for the portion of such Insured Losses
       each Insurer's "Insurer Deductible” (as deﬁned                                    covered by the Federal Government under
       in TRIA). subject to the "Program Tn'ggef’ (as                                    TRIA:
       defined        in    TRIA). Through 2020. that                                    -       7%  of your total Commercial Property
       percentage            is established by TRIA as follows:
                                                                                                 Coverage Part premium if your primary
       85%        with          respect     to     such        Insured   Losses                  location is in a Designated City (as listed
       occurring           in   calendar year 201 5.                                             below).

       84%        with          respect to such Insured                  Losses          -       3%  of your total Commercial Property
       occurring           in   calendar year 2016.
                                                                                                 Coverage Part premium if your primary
       83%        with          respect    to     such         Insured   Losses                  location is not in a Designated City (as listed
       occurring           in   calendar year 2017.                                              below).




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      Designated Cities are:

                         NM                                                 Miami FL                              San            CA
                                                                                           WI                     San             TX
      Austip   TX                                                          M                MN                    San F             CA
                    MD
                                                                                  V




                                                                                                      TN‘         Sah Jbée      EA
      Boston       MA                                                                        LA                            WA
      Charlotte     NC                                                     New Y        NY                        St.           MO
                   fL
                                                                                       CA                         T         AZ
     Cleveland,     OH                                                     Oklahoma          .
                                                                                                 0K               Tulsa.   OK
     Colorado                 CO                                                      NE                                   Beach   VA
                    OH                                                                     PA                     Wash           DC
               TX
                   CO                                                                 OR
               Ml




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       TRAVELERS J
                                A
       One Tawer Square            103496
       26R — TRIA
       Hanford.   CT 061 83




                                                                                FIRST INS        GROUP        INC
                                                                                1405   N COLLEGE AVE
                                                                                BLOOMINGTON              IN   47404




       SYCAMORE VILLAGE HOMEOWNERS ASSOCIATION,                       INC   &
       1205 N WALNUT STREET

       BLOOMINGTON             IN 47404-3565



                                                                                      March      27.   2015
       Dear Policyholder:

       Due to    the recent reauthorization of the federal Terrorism Risk Insurance Act of 2002 as amended ("TRIA“),
       revisions are being    made to each Terrorism Risk Insurance Act Disclosure endorsement or notice and each
       Cap On Losses From     Certiﬁed Acts 0f Terrorism endorsement currently in yoUr policy or policies. Enclosed is
       a revised version of each such endorsement or notice which reglaces the existing version oi that
       endorsement or notice currently in your policy or policies. This replacement of such endorsemenus) or
       notice(s) dog not change your coverage in any way. Instead. it reﬂects technical revisions to TRIA as
       extended on January 12, 201 5. which include a minor change to the deﬁnition of cnrlified act of terrorism and
       other non—substantive changes, and which. for the Terrorism Risk Insurance Act Disclosure endorsement or
       notice. also include changes to the Federal Government's share of compensation for Insured Losses over
      time.

      The     following grid identiﬁes   each such endorsement or notice currently     in   your policy or policies that    is   being
      replaced by an enclosed endorsement or notice.

                            Terrorism Risk Insurance Act Disclosure Endorsement or Notice
        Ifthe following endorsement or notice current-    Such endorsement or notice is replaced with:
        ly is in your policy or pollcles:

        CM     T3 98 01 08                                       CM T3 98 01    15"

        CP T3     81 01   08                                     CP T3   81 01 15
        lLT368 05 10                                             ILT3 68 01 15
       MP T3 25        01 08                                     MP T3 25 01    15
       'Note:     If   you have a MasterPac policy which includes a Commercial Inland Marine Coverage                      Part,
       form     CM T3 98 01    15 is hereby added to your policy.


                                 Cap On Losses From     Certiﬁed Acts Of Terrorism Endorsement
       If    the following endorsement currently      is in      Such endorsement           is   replaced with:
       your policy or policies:
       0821 70 01 08                                             ILT41401 15
       ILT37610100r01 08                                         ILT4 1401 15
       ILT37901 08                                               ILT4 1401 15
       PRT3 380509                                               ILT4 1401 15



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                               Cap On Losses From Certiﬁed Acts Of Terrorism Endorsement
         Ifthe following endorsement currently  is in     Such endorsement is replaced with:
          our policy or policies:
         UM03 81    01 08                                         ILT4 1401 15

       The replacement of such endorsemenﬂs) or             notica(s) with the enclosed revised document(s) applies
       to the following policy or policies only:

       680              2408N586       CUP                2605T790




       In addition. if you received a proposal or quote
                                                           letter in advance of receiving your poicy or policies,
                                                                                                                   it may
       have contained outdated wording regarding TRIA. In that case,
                                                                             please consider that proposal or quote letter
       to be revised to include information subsmmially
                                                            identical to that contained in (he enclosed endorsements or
       notices, or. in the case of a proposal or quole letter for
                                                                  Workers Compensation and Employers Liability cover-
       age. information substantially identical to that contained in the
                                                                            Policy Change documents for such coverage
       that you will be receiving separately.

       Please contact your agent or broker   if   you have any questions about this   ietter.




                                                                                       TRAVELERS DOC MGMT 166 of 171
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              THIS      ENDORSEMENT CHANGES THE                             POLICY. PLEASE                  READ         IT   CAREFULLY.

                      FEDERAL TERRORISM RISK INSURANCE ACT
                                  DISCLOSURE
    Thisendgrssmantgapplieazomginsurance pmiﬁsdunderjhﬁ_fqﬂq‘cﬂnsz,_- .7                                                         ..                -—~—   .7   -




               COMMERCIAL EXCESS LIABILITY (UMBRELLA) INSURANCE
               COMMERCIAL GENERAL LIABILITY COVERAGE PART
               CYBERFIRST ESSENTIALS LIABILITY COVERAGE PART
               CYBERFIRST LIABILITY COVERAGE
               EMPLOYEE BENEFITS LIABILITY COVERAGE PART
               EMPLOYMENT—RELATED PRACTICES LIABILITY COVERAGE PART
               EMPLOYMENT PRACTICES LIABILITY‘ WITH IDENTITY FRAUD EXPENSE REIMBURSEMENT
                  COVERAGE PART
               ENVIRONMENTAL HAZARD POLICY
               EXCESS (FOLLOWING FORM) LIABILITY INSURANCE
               LAW ENFORCEMENT LIABILITY COVERAGE PART
               LIMITED ABOVE GROUND POLLUTION LIABILITY COVERAGE PART
               LIQUOR LIABILITY COVERAGE PART
               MEDFIRST PRODUCTS/COMPLEFED OPERATIONS. ERRORS AND OMISSIONS, AND
                 INFORMATION SECURITY LIABILITY COVERAGE FORM
               OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
               PRODUCTSICOMPLETED OPERATIONS LIABILITY COVERAGE PART
               PUBLIC ENTITYMANAGEMENT LIABILITY COVERAGE PART
               RAILROAD PROTECTIVE LIABILITY COVERAGE PART
               SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY — NEW YORK DEPARTMENT OF
                  TRANSPORTATION
               TRIBAL BUSINESS MANAGEMENT LIABILITY COVERAGE PART
              Any other Commercial         Liability   coverage included      in this policy that is      subject to the federal Terrorism
                      Risk Insurance Act of 2002 as       amended
    PROVISIONS
    The  federal Terrorism Risk Insurance Act of 2002 as amended ("TRIA") establishes a program under which the
    Federal Government may partially reimburse "Insured Losses" (as deﬁned in TRIA) caused by "Acts Of Terrorism"
    (as defined in TRIA). Act Of Terrorism is deﬁned in Section 102(1) of TRIA to mean any act that is certified the                          by
    Secretary of the Treasury — in consultation with the Secretary of Homeland Security and the Attorney General of
    the United States - to be an act of terrorism; to be a violent act or an act that is dangerous to human life. property.
    or infrastructure; to have resulted in damage within the United States. or outside the United States in the case of
    certain   ai'r   carriers or vessels or the premises of a United States Mission; and to have been committed by an
    individual or individuals    as part of an effort to coerce the civilian population of the United States or to influence the
    policy or affect    the conduct of the United States Government by coercion.

   The Federal Government's share    of compensation for such Insured Losses is established by TRIA and is a
   percentage of the amount of such  Insured Losses in excess of each Insurers "Insurer Deductible" (as defined in
   TRIA), subject to the "Program Trigger" (as 'defined in TRIA). Through 2020, that percentage is established by
   TRIA as     follows:

   85% with      respect to such Insured Losses occurring           in   caiendar year 201 5.
   84% with      respect to such Insured Losses occurring           in   calendar year 201 6.
   83% with      respect to such Insured Losses occurring           in   calendar year 2017.
   82% with     respect to such Insured Losses occurring            in   calendar year 201 8.
   81% with     respect to such Insured Losses occurring            in   calendar year 201 9.
   80% with     respect to such Insured Losses occurring in calendar year 2020.




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    In no event, however, will the Federal Government
                                                        be required to pay any portion of the amount of such insured
    Losses occurring in a calendar year that in the aggregate exceeds $1 00 billion. nor will
                                                                                              any insurer be required to
    pay any portion of such amount provided that such Insurer has met its Insurer Deductible.
                                                                                                     Therefore, if such
    Insured Losses occurring in a calendar year exceed $100 billion in the
                                                                           aggregate, the amount of any payments by
    the Federal Government and any coverage provided by this policy for losses
                                                                                 caused by Acts Of Terrorism         be      may
     reduced.

    Fm   each ‘cove_rage prqvideq by‘thi's policy that appljes, to sych Insured Losses, the charge (qr such
                                                                                                                 _lrjsured
    Losses is lhcluded in the premium for sut‘ifi co'vemge. The charge for such Insured Losses th‘a’t’ h'as
                                                                                                            been indi’qud
    for each such coverage is indicated below. and does not include
                                                                          any charge for the portion of such |n§ured
    Losses covered by the Federal Government under TRIA.
         '
             ﬂ   of each applicable Commercial Liability Coverage premium.




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                                                                                               TRAVELERS DOC MGMT 188 of 171
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         THIS       ENDORSEMENT CHANGES THE                                    POLICY. PLEASE                  READ           IT   CAREFULLY.

                                           FEDERAL TERRORISM RISK
                                          INSURANCE ACT DISCLOSURE
       This.   endpmemenl'modiﬂas insurance prbvidad u‘ndm thwollawmg:                                                                         -‘               _-


                  BUSINESSOWNERS COVERAGE PART
       The     federal Terrorism Risk lnsUranoe Act of                               83%       with     respect io such Insured                      Losses
       2002 as amended (“TRIA") establishes a                                        occurring    in    calendar year 201 7.
       program under which the Federal Govemment
                                                                                     82%       with     respect to such Insured                       Losses
       may partially          reimburse "Insured Losses" (as
                                                                                     occurring    in    calendar year 201 8.
       deﬁned in TRIA) caused by "Acts 0f Terrorism“
       (as deﬁned in TRIA). “Act 0f Terrorism" is
                                                                                     81%       with     respeci to such Insured                      Losses
       defined in Section 102(1) of TRIA to mean any                                 occurring    in    calendar year 201 9.
       act that is certiﬁed by the Secretary 0f the                                  80%       with     respect       to     such        Insured     Losses
       Treasury    —     in   consultation with the Secretary of                     occurring in calendar year 2020.
      Homeland Security and the Attorney General of
                                                                                     In no event, however, will 1he Federal
      the United States # to be an act of terrorism; to
                                                                                     Government be required to pay any portion of
      be a violent act or an act that is dangerous to
                                                                                     the amount of such Insured Losses occurring in
       human     life.   property, or infrastructure; to         have
                                                                                     a calendar year that in the aggregate exceeds
       resulted in       damage within the         United States. or
                                                                                     $100 billion, nor will any Insurer be required lo
      outside the United Slates in               the case of certain
                                                                                     pay any portion of such amount provided that
      air can'iers or vessels or the premises of a
                                                                                     such Insurer has met its Insurer Deductible.
      United States Mission: and lo have been
                                                                                     Therefore. if such Insured Lasses occurring in a
      committed by an individual or individuals as part
                                                                                     calendar year exceed $100 billion in the
      of an effort to coerce the civilian population af
                                                                                     aggregate, the amount of any paym ents by the
      the United States or to inﬂuence the policy or
                                                                                     Federal Govemment and any coverage provided
      affect the    conduct of the United States
                                                                                     by this policy for losses caused by Acts 0f
      Government by                coercion.
                                                                                     Terrorism may be reduced.
      The Federal Government‘s share of                                              The charge  for such Insured Losses under lhis
      compensation for such Insured Losses is                                        Coverage Part is included in the Coverage Part
      established by TRIA and is a percentage of the                                 premium. The charge for such Insured Losses
      amount of such Insured Losses in excess of                                     that has been included for this Coverage Parl is
      each Insurer's "Insurer Deductible' (as deﬁned                                 indicated below, and does not include any
      in TRIA), subject to the “Program Trigger’ (as                                 charge for the ponion of such Insured Losses
      deﬁned in TRIA). Through 2020, that                                            covered by the Federal Government under
      percentage is established by TRIA as follows:                                  TRIA:

      85% with respect to such Insured                           Losses              -    4% of your total          Businessowners Coverage
      occurring in calendar year 2015.                                                    Part   premium       if   your primary location is in a
      84%       with      respect     such Insured
                                        to                       Losses                   Designated City (as               listed be|ow).

      occurring     in   calendar year 2016.
                                                                                     -    2% of your total          Businessowners Coverage
                                                                                          Part   premium       if   your primary location            is   not
                                                                                          in   a Designated City (as listed below).




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        Designated Cities are:

                              NM                                                          FL                               San      CA
              GA                                                                                   WI                      San       TX
        ALStLW-                                                                                           N     ~a-
                                                                                                                           San Frangisggﬂ;
                      MD                                                                                              TN   San     CA“
                    MA                                                           New                 LA                              WA
                         NC                                                      New Y          NY                         St.   Louis   M0
                        IL                                                                     CA                          T         AZ
        Cleveland,       OH                                                      Oklahoma                 0K               T        OK
                                   CO                                                         NE
                         0H                                                                         PA
                    TX                                                                        AZ
        Denver      CO
                    Ml                                                                              CA




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              THIS     ENDORSEMENT CHANGES THE POLICY. PLEASE READ                                                 IT   CAREFULLY.

         CAP 0N LOSSES FROM CERTIFIED ACTS OF TERRORISM
         This endorsement modiﬁes insurance provided under the following:
           ..BQILER ANDqMACHINERY. COVERAGE PART _   ___               _
                                                                                            r




            COMMERCIAL EXCESS LIABILITY (UMBRELLA) INSURANCE
            COMMERCIAL GENERAL LIABILITY COVERAGE PART
            COMMERCIAL JNLAND MARINE COVERAGE PART
            COMMERCIAL PROPERTY COVERAGE PART
            CYBERFIRST ESSENTIALS LIABILITY COVERAGE PART
            CYBERFIRST LIABILITY COVERAGE
            DELUXE PROPERTY COVERAGE PART
            EMPLOYEE BENEFITS LIABILITY COVERAGE PART
            EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
            EMPLOYMENT PRACTICES LIABILIW WITH IDENTITY FRAUD EXPENSE REIMBURSEMENT
               COVERAGE PART
            ENVIRONMENTAL HAZARD POLICY
            EQUIPMENT BREAKDOWN COVERAGE PART
            EXCESS (FOLLOWING FORM) LIABILITY INSURANCE
            LAW ENFORCEMENT LIABILITY COVERAGE PART
            LIMITED ABOVE GROUND POLLUTION LIABILITY COVERAGE PART
            LIQUOR LIABILITY COVERAGE PART
            MEDFIRST PRODUCTSICOMPLETED OPERATIONS, ERRORS AND OMISSIONS, AND
               INFORMATION SECURITY LIABILITY COVERAGE FORM
            OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
            PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
            PUBLIC ENTITY MANAGEMENT LIABILITY COVERAGE PART
            RAILROAD PROTECTIVE LIABILITY COVERAGE PART
            SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY - NEW YORK DEPARTMENT 0F
               TRANSPORTATION
            TRIBAL BUSINESS MANAGEMENT LIABILITY COVERAGE PART
            Any   other Coverage Part or Coverage Form included            in this   policy that is subject to the federal Terrorism Risk
                  Insurance Act of 2002 as amended


 The  following is added to this policy. This provision can                  "Certiﬁed act ofterrorism" means an actthat is certiﬁed by
 limitcoverage for any loss arising out of a "certiﬁed act of                the Secretary of the Treasury, in accordance with the pro-
 terrorism" if such loss is otherwise covered by this policy.                visions of "TRIA". to be an act of terrorism pursuant to
 This provision does not apply if and Io the extent that cov-                "TRIA". The criteria contained in "TRIA" for a “certiﬁed act
 erage for the loss is excluded or limited by an exclusion or                of terrorism" include the following:
 other coverage limimtion for losses arising out of "certified
                                                                             1.   The   act resulted in insured losses      in   excess of $5     mil-
 acts of terrorism" in another endorsement Io this policy.
                                                                                  lion in       the aggregate. attributable to   all   types of insur-
 If aggregate insured losses attributable to "certified acts of                   ance subject to "TRIA"; and
 terrorism" exceed $1 00 billion in a calendar year and we
                                                                             2.   The act is a violent act or an act that is dangerous to
 have met our insurer deductible under "TRIA". we will not
                                                                                  human life. property or infrastructure and is committed
 be liable for the payment of any portion of the amount of
                                                                                  by an individual or individuals as part of an effort to
 such losses thal exceeds $100 billion, and in such case.
                                                                                  coerce the civilian population of the United States or to
 insured losses up to that amount are subject to pro tats
                                                                                  influence the policy or affect the conduci of the United
 allocation in accordance with procedures established by
                                                                                  Slates        Government by coercion.
 the Secretary of the Treasu ry.
                                                                             "TRIA"    means the federal        Terrorism Risk Insurance Act of
                                                                            2002 as amended.




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                                                                                     Nicole Browne
                                               Monroe Circuit Court 1                                                   Clerk
                                                                                                       Monroe County, Indiana



   STATE OF INDIANA                 )                IN THE MONROE COUNTY CIRCUIT COURT
                                    ) SS:
   COUNTY OF MONROE                 )                CAUSE NO. 53C01-1806-CT-001204

   SYCAMORE VILLAGE             )
   HOMEOWNERS ASSOCIATION, INC.,)
                                )
             Plaintiff,         )
                                )
       v.                       )
                                )
   TRAVELERS CASUALTY INSURANCE )
   COMPANY OF AMERICA,          )
                                )
             Defendant.         )

                         E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE

   1. The party on whose behalf this form is being filed is: Plaintiff

      The undersigned attorney and all attorneys listed on this form now appear in this case for the following
   parties:

           Name of party: SYCAMORE VILLAGE HOMEOWNERS ASSOCIATION, INC.

   2. Attorney information for service as required by Trial Rule 5(B)(2):
     (List on a continuance page additional parties this attorney represents in this case):

           Firm: Landman Beatty, Lawyers, LLP
           Name: Donald D. Levenhagen                         Atty. Number: 10327-49
                  9100 Keystone Crossing, Suite 870
                  P.O. Box 40960
                  Indianapolis, IN 46240-0960                 Phone:          317-236-1040
           Email: dlevenhagen@landmanbeatty.com               Fax:            317-236-1049

           IMPORTANT: Each attorney specified on this appearance:

   (a)     certifies that the contact information listed for him/her on the Indiana Supreme Court Roll of
           Attorneys is current and accurate as of the date of this Appearance:
   (b)     acknowledges that all orders, opinions, and notices from the court in this matter that are
           served under Trial Rule 86(G) will be sent to the attorney at the email address(es) specified
           by the attorney on the Roll of Attorneys regardless of the contact information listed above
           for the attorney; and
   (c)     understands that he/she is solely responsible for keeping his/her Roll of Attorneys contact
           information current and accurate, see Ind. Admis. Disc. R. 2(A).

           Attorneys can review and update their Roll of Attorneys contact information on the courts Portal
           at http://portal.courts.in.gov
   3.      This is a CT case type as defined in administrative Rule 8(B)(3).
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   4.    This case involves child support issues:     Yes ___ No X

   5.    This case involves a protection from abuse order, a workplace violence restraining order, or a no-
         contact order. Yes ___ No X

         This case involves a petition for involuntary commitment. Yes ___ No X

   6.    If Yes above, provide the following regarding the individual subject to the petition for
         involuntary commitment:         NOT APPLICABLE

   7.    There are related cases: Yes ____ No X (If yes, list on continuation page)

   8.    Additional information required by local rule:    NOT APPLICABLE

   9.    There are other party members: Yes ___ No X


   10.   This form has been served on all other parties and Certificate of Service is attached:
         Yes      No _X___


                                                    /s/Donald D. Levenhagen
                                                    Donald D. Levenhagen (# 10327-49)



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